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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


                                            x
 CLAUDE A. REESE, Individually and on       :   Civil Action No. 1:08-cv-07202-SHS
 Behalf of All Others Similarly Situated,   :
                                            :   LEAD PLAINTIFF’S SECOND AMENDED
                             Plaintiff,     :   CONSOLIDATED CLASS ACTION
                                            :   COMPLAINT FOR SECURITIES FRAUD
        vs.                                 :
                                            :
 THE MCGRAW-HILL COMPANIES, INC.,           :
 HAROLD MCGRAW III, and ROBERT J.           :
 BAHASH,                                    :
                                            :
                             Defendants.
                                            :
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        1.      Lead Plaintiff Boca Raton Firefighters and Police Pension Fund (“Plaintiff”),

 individually and on behalf of a proposed class (the “Class”) of all purchasers of the publicly traded

 common stock of The McGraw-Hill Companies, Inc. (“McGraw-Hill” or the “Company”) between

 October 21, 2004 and March 11, 2008, inclusive (the “Class Period”), by and through its

 undersigned counsel, brings suit against McGraw-Hill, Harold McGraw III (“McGraw”), and Robert

 J. Bahash (“Bahash”) (McGraw-Hill, McGraw, and Bahash are sometimes collectively referred to as

 “Defendants”).

        2.      Plaintiff seeks remedies under the Securities Exchange Act of 1934 (the “Exchange

 Act”) as a result of the fraudulent scheme undertaken by the Defendants and the economic loss

 suffered when the true facts were partially revealed to the public through a series of disclosure

 events. The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of the

 Exchange Act, 15 U.S.C. §§78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder, 17 C.F.R.

 §240.10b-5.

 I.     INTRODUCTION AND NATURE OF THE ACTION

        Ratings are designed to be stable. Unlike market prices, they do not fluctuate on the
        basis of market sentiment. But they can and do change – either as a result of
        fundamental adjustments to the risk profile of a bond or the emergence of new
        information. Ratings are not recommendations to buy, sell or hold a particular
        security. They simply provide a tool for investors to assess risk and differentiate
        credit quality [. . . .] we base our opinions on documented facts. We are continually
        reviewing and refining our processes, and we make adjustments to our ratings when
        the facts demonstrate the need to make adjustments, and not a moment sooner.

                                               -- Vickie Tillman, Executive Vice President of Credit
                                               Market Services for Standard & Poor’s, August 31,
                                               2007 (printed in The Wall Street Journal)




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        Lord help our fucking scam . . . this has to be the stupidest place I have worked at.

                                               -- Excerpt of internal email from Elwyn Wong,
                                               Global CDO Client Value Manager of Standard &
                                               Poor’s Structured Finance, Wednesday, November
                                               23, 2005, 10:21 AM1

        Let’s hope we are all wealthy and retired by the time this house of cards falters. :o)

                                               -- Internal email from Chris Meyer, Associate
                                               Director of Standard & Poor’s Structured Finance
                                               Ratings Global CDO Group, sent on Friday,
                                               December 15, 2006, 8:31 PM2

        [W]e rate every deal. [I]t could be structured by cows and we would rate it.

                                               -- Internal instant message dialogue between two
                                               officials of Standard & Poor’s Structured Finance
                                               Division in New York City, sent on April 5, 2007 at
                                               3:59 PM3

        Any thoughts you have would be helpful. To give you a confidential tidbit among
        friends the subprime brou haha [sic] is reaching serious levels – tomorrow morning
        key members of the RMBS rating division are scheduled to make a presentation to
        Terry McGraw CEO of McGraw-Hill Companies and his executive committee on the
        entire subprime situation and how we rated the deals and are preparing to deal with
        the fallout (downgrades) Yours truly is not among the anointed for that dubious 15
        minutes of fame.

                                               -- Excerpt of internal email from Michael Gutierrez,
                                               Director of Standard & Poor’s Structured Finance
                                               Division, Servicer Evaluations, sent on Sunday March
                                               18, 2007, 4:02 PM4


 1
   A true and correct copy of the email exchange, made public by the U.S. Senate Permanent
 Subcommittee on Investigations, Committee on Homeland Security and Governmental Affairs (the
 “Senate Subcommittee”), is attached hereto as Exhibit 1.
 2
  A true and correct copy of the email exchange, made public by the U.S. House of Representatives
 Committee on Oversight and Government Reform (the “House Oversight Committee”), is attached
 hereto as Exhibit 2.
 3
  A true and correct copy of the instant message exchange, made public by the House Oversight
 Committee , is attached hereto as Exhibit 3.
 4
   A true and correct copy of the email exchange, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 4.


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        The story of the credit rating agencies is a story of colossal failure. The credit rating
        agencies occupy a special place in our financial markets. Millions of investors rely
        on them for independent, objective assessments. The rating agencies broke this bond
        of trust, and federal regulators ignored the warning signs and did nothing to protect
        the public. The result is that our entire financial system is now at risk . . . .

                                                -- Opening Statement of Rep. Henry A. Waxman,
                                                Chairman, U.S. House of Representatives Committee
                                                on Oversight and Government Reform Hearing,
                                                Credit Rating Agencies and the Financial Crisis,
                                                October 22, 2008

        For a hundred years, Main Street investors trusted U.S. credit rating agencies to
        guide them toward safe investments. Even sophisticated investors, like pension
        funds, municipalities, insurance companies, and university endowments, have relied
        on credit ratings to protect them from Wall Street excesses and distinguish between
        safe and risky investments.

        But now, that trust has been broken. We used as case histories the two biggest credit
        rating agencies in the United States, Moody’s and Standard & Poor’s, and the ratings
        they gave to the key financial instruments that fueled the financial crisis – residential
        mortgage backed securities, or RMBS, and collateralized debt obligations, or CDOs.
        The Subcommittee investigation found that those credit rating agencies allowed Wall
        Street to impact their analysis, their independence, and their reputation for reliability.
        And they did it for the money.

                                                -- Opening Statement of Senator Carl Levin,
                                                Chairman, U.S. Senate Permanent Subcommittee on
                                                Investigations Hearing, Wall Street and the Financial
                                                Crisis: The Role of Credit Rating Agencies, April 23,
                                                2010

        3.      McGraw-Hill’s Financial Services Segment, operating under the Standard & Poor’s

 (“S&P”) brand, assigns credit ratings to structured finance transactions and deals. This case is not

 about the substance of S&P’s actual ratings of specific residential mortgage backed securities

 (“RMBS”) and collateralized debt obligations (“CDOs”). It is not an attack on the veracity or

 reasonableness of those opinions; S&P cannot hide behind the First Amendment to overcome

 Plaintiff’s claims here. Plaintiff does not seek to hold Defendants liable because of the content of

 S&P’s ratings. This case, instead, is based upon Defendants’ false and misleading statements

 regarding McGraw-Hill’s true financial circumstances and future business prospects, and the


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 material omissions that would have rendered those statements not false and misleading.

           4.   Despite Vickie Tillman’s (“Tillman”) statement that “ratings are designed to be

 stable” and change on the “emergence of new information” and “documented facts,” the Company’s

 ratings of RMBS and CDOs during the Class Period suffered from many problems – they were

 neither stable, reflective of an understood risk profile, nor indicative of current information – and

 Defendants knew it. Defendants embarked on a fraudulent scheme and misled the Company’s

 investors by sacrificing all that was considered holy at S&P – criteria, integrity, brand, reputation,

 and analytics – in the name of lucrative short term profits and market share penetration. For

 example, Defendants misled the market regarding the technological ability of the Company’s ratings

 models to properly and completely rate CDOs and RMBS. S&P’s models, however, were not

 equipped to do the job properly. Defendants misled the market by touting the ratings models as state

 of the art, while deliberately not updating them to reflect broader, more recent data, because they

 knew doing so would require them to lower ratings and would cause the Company to lose market

 share to its competitors for lucrative CDO and RMBS ratings. Defendants also misled the market as

 to the frequency of and quality of its ratings surveillance, and failed to disclose that it virtually

 abandoned its own procedures both to rate as many deals as possible and to avoid downgrading deals

 it had already rated. None of these truths were disclosed to the market until the end of the Class

 Period.

           5.   Indeed, the Company deliberately lowered and sacrificed its sacred ratings criteria in

 2004 as it engaged in a now documented “race to the bottom” to avoid losing market share to its

 competitors. Defendants put short term financial results ahead of the Company’s invaluable

 integrity and reputation and, as a result, grossly misled Company shareholders. Unbeknownst to the

 market, the Company’s primary driver of financial success and outlook during the Class Period was

 literally, as the Company’s Associate Director of S&P’s Structured Finance Ratings Global CDO


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 Group stated, a “house of cards.” That house of cards has collapsed on a grand scale, and with it has

 vanished the Company’s financial performance, credibility, reputation, and stock price. Contrary to

 Defendants’ Class Period statements, and Tillman’s above, the Company focused not on rating

 actual credit risk underlying RMBS and CDOs, but on market share, an unchecked “race to the

 bottom,” and not losing deals. Because of those facts, as specifically delineated throughout this

 Complaint, Defendants’ Class Period statements set forth herein were materially false and

 misleading.

        6.      At the start of the Class Period, the Company was beginning to ride a structured

 finance tidal wave of success. Rating RMBS and CDO transactions was big business for McGraw-

 Hill, and the Company reported eye-popping growth in its Financial Services Segment, which drove

 the Company’s overall financial performance and stock price. Indeed, as the Company rode the

 RMBS and CDO – or “structured finance” – tidal wave, its stock price reached an intra-day, Class

 Period high price of $72.50 per share on June 5, 2007, up from $41.31 at the start of the Class

 Period.5

        7.      As the Class Period progressed, however, fundamental problems in the structured

 finance market began to publicly rear their head (especially in the subprime lending area), slowly

 and gradually exposing the falsity of Defendants’ Class Period statements. Despite the fact that

 Defendants knew of these problems (as disclosed and corroborated by the various confidential

 witnesses and internal company documents discussed below), among others, and failed to adequately

 warn McGraw-Hill shareholders of the negative impact they would have on the Company’s financial




 5
  The Company’s stock price split two-for-one following the close of trading on May 17, 2005. For
 ease of reference, for all stock prices prior to May 18, 2005, Plaintiff is relying on adjusted closing
 prices that take into account the impact of the stock’s split.


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 performance and stock price, Defendants issued falsely optimistic and misleading statements

 designed to quell investor unrest and maintain the artificial inflation of the Company’s stock price.

        8.      For example, although the Company’s S&P brand alerted the market to some of the

 problems underlying the RMBS and CDO securitization markets as those markets deteriorated (and

 eventually imploded during late 2006 and throughout 2007), McGraw-Hill described itself as a

 company both positioned and capable of addressing such problems with its ratings, ratings staff, and

 ratings models, and through active surveillance of the transactions S&P rated. As quoted above,

 Tillman assured investors the Company’s ratings were stable, based on facts, reflected an

 understanding of the risk profile, and would change on the emergence of new information.

        9.      The fallacy of Tillman and Defendants’ statements and the Company’s true financial

 condition and future business prospects, as exposed at the end of the Class Period, has been

 corroborated not only by Plaintiff’s ongoing investigation, but by a Securities Exchange

 Commission (“SEC”) examination, the House Oversight Committee hearing, an eighteen-month

 Senate Subcommittee investigation, and internal Company documents revealing that the Company’s

 behind-closed-doors dialogue sang a much different tune than Defendants’ public statements. The

 truth was that Defendants omitted critical, then-known material facts concerning the “house of

 cards” upon which the Company’s financial performance relied and its ongoing failure to monitor

 RMBS and CDO securitizations that it rated – thus making its ratings uninformed and outdated. The

 result of these material omissions was that, at all times, Defendants’ Class Period statements

 concerning the Company’s financial performance and future business prospects lacked a reasonable

 basis, and McGraw-Hill investors were misled.

        10.     The partial truth behind Defendants’ false and misleading statements leaked out to the

 market in fits and spurts during the Class Period – Company investors learned of bits of truth here

 and there. For example, on August 16, 2007, it was reported that the European Union would


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 examine why credit agencies such as McGraw-Hill’s S&P brand were slow to react to early signs of

 U.S. loan defaults. Upon this news, which was a partial revelation of the truth behind the

 Company’s financial condition and began to illuminate the consequences of problems with the

 Company’s ratings models and surveillance, shares of the Company’s stock dropped from $50.74 per

 share on August 15, 2007 to a low of $47.76 on August 16, 2007, on extremely heavy trading of

 7,391,300 shares, more than three times the stock’s daily trading average.

        11.     Also, as the Class Period progressed, the Company’s Financial Services division

 slashed its assessments of thousands of subprime RMBS and CDOs – representing billions of

 dollars worth of structured finance securitized transactions. Since that time, the Company’s S&P

 brand has seen its reputation and credibility vanish and has been maligned by critics for grossly

 underestimating the danger of bonds backed by subprime RMBS and CDOs tied to subprime

 mortgages. By November 2007, the Company’s S&P division had lowered its credit ratings on more

 than $70 billion worth of structured finance transactions, and found itself under investigation or

 examination by the New York Attorney General, the Connecticut Attorney General, the Ohio

 Attorney General, and the SEC. At the same time, the Company’s stock price fell below $50 per

 share. It was not until the end of the Class Period, however, that investors learned the truth with

 respect to the Company’s true financial condition and saw the bigger picture behind Defendants’

 fraudulent scheme and material omissions – when on March 11, 2008, the Company abruptly

 withdrew its recently issued financial guidance for 2008 and refused to offer any revised guidance

 for its shareholders. At that point, investors learned that the Company had no handle on its ratings of

 RMBS and CDOs, or its financial outlook, and that the Company’s stock price had been artificially

 inflated throughout the Class Period.

        12.     Indeed, on March 11, 2008, the last day of the Class Period, McGraw-Hill withdrew

 its recently issued forecast for 2% to 4% full-year revenue growth in its Financial Services Division


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 – citing deterioration in the U.S. housing market and the economy. Speaking at a media conference

 of the now defunct Bear Stearns & Co. in Palm Beach, Florida, McGraw-Hill’s Chief Executive

 Officer (“CEO”), McGraw, stated that “softness” in demand for new credit ratings would “clearly

 have an effect” on the Company’s first-quarter financial results. Moreover, the Company declined to

 give a new forecast for full-year revenue growth. In response to the revelation that the Company

 was abruptly withdrawing revenue guidance (and revealing its true financial condition), the

 Company’s stock price dropped, on a day of broad market gains, to as low as $36.32 on enormous

 trading volume of more than 8.775 million shares – a 49% decline from its Class Period high –

 removing the remaining artificial inflation from the Company’s stock price.

        13.     Although the abrupt removal of the guidance marks the end of the Class Period, since

 that time, volumes of additional evidence regarding Defendants’ fraud have reached the market. For

 example:

                (a)     On May 1, 2008, the Company’s S&P brand, in a stunning and unprecedented

 move, announced it would stop rating new bonds composed of U.S. second mortgages, admitting

 that it could not conduct a “meaningful analysis” of that market segment and could not understand

 the risk profile of the debt. In other words, the Company admitted its rankings had failed on a

 fundamental level and were, in essence, meaningless. The Company had never previously refused to

 rank broad classes of securities linked to U.S. home loans.

                (b)     On June 5, 2008, the Office of the New York State Attorney General issued a

 press release announcing “Landmark Reform Agreements” with McGraw-Hill’s S&P brand to,

 among other things, fundamentally reform the RMBS market, increase the independence of ratings

 agencies, ensure for the first time that “crucial loan data is provided to the agencies before they rate




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 loan pools, and increase the transparency in the RMBS market.”6 As part of the settlement, S&P

 fundamentally altered how it is compensated by investment banks for providing ratings on loan

 pools. The press release stated “The mortgage crisis currently facing this nation was caused in part

 by misrepresentations and misunderstanding of the true value of mortgage securities.              The

 tremendous reach of this crisis cannot be understated – out entire economy continues to feel

 aftershocks from the collapse of the mortgage industry,” said Attorney General Cuomo. “By

 increasing the independence of the rating agencies, ensuring they get adequate information to make

 their ratings, and increasing industry-wide transparency, these reforms will address one of the

 central causes of that collapse.”7

                  (c)     On July 8, 2008, the SEC released its Summary Report of Issues Identified in

 the Commission Staff’s Examinations of Select Credit Rating Agencies (the “Credit Agencies

 Report”), partially revealing additional disturbing truths about the three major credit rating agencies

 in the United States, including McGraw-Hill’s S&P brand.8 These startling revelations, which shed

 additional light on the falsity of Defendants’ Class Period statements, include:

           •      “One analyst expressed concern that her firm’s model did not capture ‘half’ of the
                  deal’s risk, but that ‘it could be structured by cows and we would rate it.’”

           •      “In another email, an analytical manager in the same rating agency’s CDO group
                  wrote to a senior analytical manager that the rating agencies continue to create an
                  ‘even bigger monster - the CDO market. Let’s hope we are all wealthy and retired
                  by the time this house of cards falters. ;o).’”

           •      “[N]ot all our criteria is published. [F]or example, we have no published criteria on
                  hybrid deals, which doesn’t mean that we have no criteria.”




 6
     A true and correct copy of the June 5, 2008 press release is attached hereto as Exhibit 5.
 7
     Unless indicated otherwise herein, all emphasis is added.
 8
     A true and correct copy of the Credit Agencies Report is attached hereto as Exhibit 6.


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        •       “Rating agencies made ‘out of model adjustments’ and did not document the
                rationale for the adjustment” and one firm “did not publicly disclose the practice of
                overriding model outputs regarding loss expectations on subprime second liens.”

        •       “None of the rating agencies examined had specific written procedures for rating
                RMBS and CDOs.”

                (d)     On October 22, 2008, the U.S. House Oversight Committee called before it

 the heads of the three major credit rating agencies, including S&P. During the House Oversight

 Committee’s hearing, it also received testimony from Frank Raiter (“Raiter”), S&P’s Managing

 Director and Head of Residential Mortgage Backed Securities Ratings from March 1995 through

 April 2005. Among other things, it was publicly revealed that S&P deliberately compromised its

 ratings criteria (and thus its reputation) in order to preserve market share on RMBS and CDO deals,

 refused to use updated models that included extensive loan level data (now required by the

 Company’s settlement with the New York Attorney General), despite being in possession of such

 updated models, and would have alerted the market in 2004 that RMBS and CDO securitizations

 were destined for catastrophic failure, and that S&P had lost its credibility in the marketplace. On

 top of the foregoing, actual copies of internal S&P emails were made public for the first time and

 demonstrated a simple fact to the market: the Company’s internal dialogue contradicted and was a

 far cry from Defendants’ false and misleading public statements.

        14.     Significantly, following an eighteen month investigation into the causes and

 consequences of the country’s financial crisis, on April 23, 2010, the Senate Subcommittee held a

 hearing on “Wall Street and the Financial Crisis: The Role of Credit Rating Agencies.” The hearing

 exclusively focused on the conduct of S&P and its competitor Moody’s Investor Service

 (“Moody’s”). The hearing, which centered on S&P and Moody’s conduct during the entirety of the

 Class Period, represented the conclusion of a wide-ranging investigation undertaken by the Senate

 Subcommittee. That investigation included a review of more than one million pages of documents,



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 more than 100 interviews and depositions, and consultations with dozens of government, academic,

 and private sector experts on banking, securities, financial, and legal issues. The end result of the

 Senate Subcommittee’s extensive investigation into S&P and Moody’s was nine formal findings of

 fact:9

          1.       Inaccurate Rating Models. From 2004 to 2007, Moody’s and Standard &
          Poor’s used credit rating models with data that was inadequate to predict how high
          risk residential mortgages, such as subprime, interest only, and option adjustable rate
          mortgages, would perform.

          2.      Competitive Pressures. Competitive pressures, including the drive for
          market share and need to accommodate investment bankers bringing in business,
          affected the credit ratings issued by Moody’s and Standard & Poor’s.

          3.      Failure to Re-evaluate. By 2006, Moody’s and Standard & Poor’s knew
          their ratings of residential mortgage backed securities (RMBS) and collateralized
          debt obligations (CDOs) were inaccurate, revised their rating models to produce
          more accurate ratings, but then failed to use the revised model to re-evaluate existing
          RMBS and CDO securities, delaying thousands of rating downgrades and allowing
          those securities to carry inflated ratings that could mislead investors.

          4.     Failure to Factor In Fraud, Laxity, or Housing Bubble. From 2004 to
          2007, Moody’s and Standard & Poor’s knew of increased credit risks due to
          mortgage fraud, lax underwriting standards, and unsustainable housing price
          appreciation, but failed adequately to incorporate those factors into their credit rating
          models.

          5.     Inadequate Resources. Despite record profits from 2004 to 2007, Moody’s
          and Standard & Poor’s failed to assign sufficient resources to adequately rate new
          products and test the accuracy of existing ratings.

          6.      Mass Downgrades Shocked Market. Mass downgrades by Moody’s and
          Standard & Poor’s, including downgrades of hundreds of subprime RMBS over a
          few days in July 2007, downgrades by Moody’s of CDOs in October 2007, and
          downgrades by Standard & Poor’s of over 6,300 RMBS and 1,900 CDOs on one day
          in January 2008, shocked the financial markets, helped cause the collapse of the
          subprime secondary market, triggered sales of assets that had lost investment grade
          status, and damaged holdings of financial firms worldwide, contributing to the
          financial crisis.


 9
   A true and correct copy of the Senate Subcommittee’s April 23, 2010 memorandum prepared in
 conjunction with the hearing, which contains, among other things, the nine formal findings of fact, is
 attached hereto Exhibit 7.


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        7.     Failed Ratings. Moody’s and Standard & Poor’s each rated more than
        10,000 RMBS securities from 2006 to 2007, downgraded a substantial number
        within a year, and, by 2010, had downgraded many AAA ratings to junk status.

        8.      Statutory Bar. The U.S. Securities and Exchange Commission is barred by
        statute from conducting needed oversight into the substance, procedures, and
        methodologies of the credit rating models.

        9.       Legal Pressure for AAA Ratings. Legal requirements that some regulated
        entities, such as banks, broker-dealers, insurance companies, pension funds, and
        others, hold assets with AAA or investment grade credit ratings, created pressure on
        credit rating agencies to issue inflated ratings making assets eligible for purchase by
        those entities.

        15.     Along with the formal findings of fact, the Senate Subcommittee released a host of

 internal Company documents and related materials.10 For example, the Senate Subcommittee’s

 exhibits included a chart entitled “Percent of the Original AAA Universe Currently Rated Below

 Investment Grade.” That chart, a true and correct copy of which is attached hereto as Exhibit 8,

 revealed that for 2006 and 2007, at least 80% of all classes of RMBS securities given AAA ratings –

 with some classes reaching as high as 98% – are now rated as junk investments. As a result, the

 credibility of S&P’s AAA stamp of approval has been eviscerated.

        16.     These post-Class Period revelations, among others, as well as the Senate

 Subcommittee’s formal findings of fact, support a reasonable inference that Defendants’ Class

 Period statements were materially false and misleading and made with scienter.

 II.    JURISDICTION AND VENUE

        17.     This Court has jurisdiction over the subject matter of this action pursuant to §27 of

 the Exchange Act, 15 U.S.C. §78aa, and 28 U.S.C. §1331.




 10
    Although the Senate Subcommittee Hearing occurred after the close of the Class Period, the
 documents and information underlying the Senate Subcommittee’s conclusions and formal findings
 of fact are primarily from within the Class Period.


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         18.     Venue is proper in the Judicial District pursuant to §27 of the Exchange Act, 15

 U.S.C. §78aa, and 28 U.S.C. §1391(b). In addition, the causes of action asserted herein occurred

 and/or accrued, among other places, in this District. At all times relevant to this action, McGraw-

 Hill was headquartered in this District, and many of the acts and transactions alleged herein,

 occurred in substantial part in this District.

         19.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,

 Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

 including but not limited to, the United States mails, interstate telephone communications, and the

 facilities of the national securities markets.

 III.    THE PARTIES

         20.     Plaintiff Boca Raton Firefighters and Police Pension Fund purchased McGraw-Hill

 securities on the open market during the Class Period, as set forth in its certifications previously filed

 with the Court. On February 11, 2008, the Court appointed Plaintiff as Lead Plaintiff in this action.

         21.     Defendant McGraw-Hill is a New York corporation with its principal place of

 business located at 1221 Avenue of the Americas, New York, New York 10020.

         22.     Defendant McGraw has been Chairman of the Board since 2000 and President and

 CEO of the Company since 1998. Prior to that, McGraw had been President and Chief Operating

 Officer of the Company since 1993. McGraw was Executive Vice President, Operations, of the

 Company from 1989 to 1993. Prior to that, he was President of McGraw-Hill Financial Services

 Company, among other things. In addition, McGraw has served as a Director of the Company since

 1987 and is the Chair of the Executive Committee.

         23.     Defendant Bahash is the Company’s Executive Vice President and CFO. During the

 Class Period, he was also responsible for managing the Company’s use of information technology,

 including the strategic direction of the Company’s electronic commerce strategy, investor relations


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 and the Company’s centralized manufacturing operations. Before his appointment to executive vice

 president and CFO in 1988, Bahash was Senior Vice President, Finance and Manufacturing. He

 joined McGraw-Hill in 1974 as manager of financial auditing, and has held a number of finance-

 related positions.

 IV.    THE INDIVIDUAL DEFENDANTS’ ACCESS TO CRITICAL
        INFORMATION

        24.     McGraw and Bahash (collectively the “Individual Defendants”) were privy to

 confidential and proprietary information concerning McGraw-Hill, its operations, finances, financial

 condition, and present and future business prospects. The Individual Defendants also had access to

 material adverse non-public information concerning McGraw-Hill, as discussed in detail below.

 Because of their positions with McGraw-Hill, the Individual Defendants had access to non-public

 information about its business, finances, products, markets and present and future business prospects

 via access to internal corporate documents, conversations and connections with other corporate

 officers and employees, attendance at management and board of directors meetings and committees

 thereof and via reports and other information provided to them in connection therewith. Because of

 their possession of such information, the Individual Defendants knew or were severely reckless in

 disregarding the fact that adverse facts specified herein had not been disclosed to, and were being

 concealed from (in order to mislead), the investing public.

        25.     Throughout the Class Period, the Individual Defendants were able to, and did, control

 the contents of the Company’s SEC filings, reports, press releases, and other public statements. The

 Individual Defendants were provided with copies of, reviewed and approved, and/or signed such

 filings, reports, releases, and other statements prior to or shortly after their issuance and had the

 ability and opportunity to prevent their issuance or to cause them to be corrected. The Individual

 Defendants were also able to, and did, directly or indirectly, control the conduct of McGraw-Hill’s



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 business, the information contained in its filings with the SEC, and its public statements. Moreover,

 the Individual Defendants made or directed the making of affirmative statements to the investing

 public, and participated in meetings, conference calls, and discussions concerning such statements.

 Each of the Individual Defendants knew that the adverse facts specified herein had not been

 disclosed to and were being concealed from the public, and that the positive representations that

 were being made were then false and misleading. As a result, each of the Individual Defendants is

 responsible for the accuracy of McGraw-Hill’s corporate releases detailed herein and is therefore

 responsible and liable for the misrepresentations and omissions contained therein.

         26.     The Individual Defendants are liable as direct participants and co-conspirators with

 respect to the wrongs complained of herein. In addition, the Individual Defendants, by reason of

 their status as senior executive officers and/or directors, were “controlling persons” within the

 meaning of §20 of the Exchange Act and had the power and influence to cause the Company to

 engage in the unlawful conduct complained of herein. Because of their positions of control, the

 Individual Defendants were able to and did, directly or indirectly, control the conduct of McGraw-

 Hill’s business.

         27.     The Individual Defendants, because of their positions with the Company, controlled

 and/or possessed the authority to control the contents of its reports, press releases and presentations

 to the investing public. The Individual Defendants were provided with copies of the Company’s

 reports and press releases alleged herein to be misleading, prior to or shortly after their issuance, and

 had the ability and opportunity to prevent their issuance or cause them to be corrected. Thus, the

 Individual Defendants had the opportunity to commit the fraudulent acts alleged herein.

         28.     As senior executive officers and/or directors and controlling persons of a publicly

 traded company whose common stock and other securities were, and are, registered with the SEC

 pursuant to the Exchange Act, and whose shares traded on the New York Stock Exchange (“NYSE”)


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 and governed by the federal securities laws, the Individual Defendants had a duty to disseminate

 promptly accurate and truthful information with respect to McGraw-Hill’s financial condition and

 performance, growth, operations, financial statements, business, products, markets, management,

 earnings and present and future business prospects, to correct any previously issued statements that

 had become materially misleading or untrue, so that the market price of McGraw-Hill’s common

 stock would be based upon truthful and accurate information. The Individual Defendants’

 misrepresentations and omissions during the Class Period violated these specific requirements and

 obligations.

        29.     The Individual Defendants are liable as primary participants in a fraudulent scheme

 and wrongful course of business which operated as a fraud or deceit on purchasers of McGraw-Hill

 common stock by disseminating materially false and misleading statements and/or concealing

 material adverse facts. The fraudulent scheme employed by the Individual Defendants was a

 success, as it: (i) deceived the investing public regarding McGraw-Hill’s prospects and business; (ii)

 artificially inflated the price of McGraw-Hill common stock; and (iii) caused Plaintiff and other

 members of the Class to purchase McGraw-Hill common stock at inflated prices (which artificial

 inflation came out of the stock when the relevant truth regarding the true financial condition of

 McGraw-Hill was revealed).

 V.     CLASS ACTION ALLEGATIONS

        30.     Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

 Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased the securities

 of McGraw-Hill during the Class Period. Excluded from the Class are Defendants, the officers and

 directors of the Company, members of their immediate families and their legal representatives, heirs,

 successors, or assigns, and any entity in which Defendants have or had a controlling interest.

        31.     Because McGraw-Hill has millions of shares outstanding, and because the


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 Company’s shares were actively traded on the NYSE, members of the Class are so numerous that

 joinder of all members is impracticable. According to McGraw-Hill’s SEC filings, as of February

 15, 2008 (shortly before the close of the Class Period), McGraw-Hill had more than 322 million

 shares of common stock outstanding. While the exact number of Class members can only be

 determined by appropriate discovery, Plaintiff believes that Class members number at least in the

 thousands and that they are geographically dispersed.

         32.     Plaintiff’s claims are typical of the claims of the members of the Class because

 Plaintiff and all of the Class members sustained damages arising out of Defendants’ wrongful

 conduct complained herein.

         33.     Plaintiff will fairly and adequately protect the interests of the Class members and has

 retained counsel experienced and competent in class actions and securities fraud litigation. Plaintiff

 has no interests that are contrary to or in conflict with the members of the Class it seeks to represent.

         34.     A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy, since joinder of all members is impracticable. Furthermore, as the

 damages suffered by individual members of the Class may be relatively small, the expense and

 burden of individual litigation make it impossible for the members of the Class to individually

 redress the wrongs done to them. There will be no difficulty in the management of this action as a

 class action.

         35.     Questions of law and fact common to the members of the Class predominate over any

 questions that may affect only individual members, in that Defendants have acted on grounds

 generally applicable to the entire Class. Among the questions of law and fact common to the Class

 are:

                 (a)     Whether Defendants violated federal securities laws as alleged herein;

                 (b)     Whether Defendants’ publicly disseminated press releases and statements


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 during the Class Period omitted and/or misrepresented material facts;

                (c)     Whether Defendants breached any duty to convey material facts or to correct

 material facts previously disseminated;

                (d)     Whether Defendants participated in and pursued the fraudulent scheme or

 course of business complained of;

                (e)     Whether Defendants acted willfully, with knowledge or severe recklessness,

 in omitting and/or misrepresenting material facts;

                (f)     Whether the market prices of McGraw-Hill common stock during the Class

 Period were artificially inflated due to the material nondisclosures and/or misrepresentations

 complained of herein; and

                (g)     Whether the members of the Class have sustained damages as a result of the

 decline in value of McGraw-Hill’s stock when the truth was revealed and the artificial inflation came

 out and, if so, what is the appropriate measure of damages.

 VI.    CONFIDENTIAL WITNESSES

        36.     Plaintiff’s allegations herein, concerning the falsity of Defendants’ statements and the

 scienter of the Individual Defendants, are based, in part, on interviews with dozens of former

 McGraw-Hill employees and others with knowledge of the facts underlying Defendants’ fraud.

 Throughout the course of the investigation of Defendants’ fraud, many confidential former insiders

 provided information regarding the various methods employed by Defendants in furtherance of their

 scheme to defraud shareholders. Indeed, among those confidential former employees interviewed in

 the course of the investigation of the fraudulent scheme and wrongful business practices complained

 of herein were a former Managing Director in S&P’s Structured Finance department, a former S&P

 Executive Assistant, a former Secretary in the RMBS department, a S&P Research Associate in

 CDO Surveillance, a former Ratings Analyst Assistant, a former IT Manager, a former Senior


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 Contract Coordinator, a former RMBS Deals Research Assistant, a former Assistant Product

 Manager for S&P’s LEVELS model, a former Structured Finance Associate in the Company’s

 Surveillance Department, a former Director of Structured Finance Sales, and a former Director of

 RMBS Surveillance.

        37.     These confidential witnesses included a former Company Managing Director in

 S&P’s Structured Finance department. This former Managing Director worked for the Company

 until April 2005, and was responsible for maintaining ratings criteria, developing relationships with

 clients, ratings quality control, staffing, and new product development, including creation and

 maintenance of S&P’s models for rating RMBS deals. This confidential witness initially reported to

 the Executive Managing Director of Structured Finance Ratings Joanne Rose (“Rose”), who, in turn,

 reported to Executive Vice President Tillman. In approximately 2001, this confidential witness

 began reporting to the Managing Director of Global Asset Backed Securities (“ABS”)/RMBS Pat

 Jordan (“Jordan”). In approximately 2005, Jordan was promoted and Rosario Buendia (“Buendia”)

 assumed the title of Global Practice Leader for ABS/RMBS. This former Managing Director has

 information concerning, among other things, the Company’s ongoing failure to invest in and update

 its “LEVELS” model for rating RMBS, which caused the model to become outdated, its top-down

 budgeting process, which resulted in inadequate staffing, and the Company’s refusal to use the

 LEVELS model for surveillance.

        38.     Another confidential witness worked as a Secretary in S&P’s RMBS group, within

 the Structured Finance department. This former employee began work for S&P in 2004 and worked

 until she/he resigned in March 2008. This former employee has knowledge concerning the groups

 within the RMBS department and stated that the subprime group was by far the largest. She/he also

 recalled that in early 2008, Company employees “were shredding things like every five seconds.”

 This former employee recalled that the volume of document shredding was so significant that an


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 outside vendor was brought in specifically to shred documents. She/he also was responsible for

 working on downgrading the ratings of securities during 2007, and recalled that “there were so many

 downgrades” that administrative assistants had to “teach the secretaries how to do the downgrades.”

 In addition, she/he recalled that although she/he had to work late to conduct downgrades, she/he was

 not permitted to bill overtime to downgrades, and was specifically instructed to bill overtime

 requests to “assisting with files.”

        39.     Another confidential witness worked for the Company for approximately 20 years,

 until late 2007, as S&P’s Executive Assistant to the President. For most of this former employee’s

 tenure, she/he served as the Executive Assistant to Kathleen Corbet (“Corbet”). Following Corbet’s

 abrupt resignation in August 2007, this confidential witness was “asked to leave” and the new

 President Deven Sharma (“Sharma”) retained his own Executive Assistant. This former employee

 has knowledge concerning the three regularly scheduled meetings that Corbet attended each month:

 (1) an Executive Committee Meeting; (2) a Pre-Management Review Meeting; and (3) a

 Management Review Meeting. She/he stated that the Executive Committee Meeting took place on

 the first Tuesday of every month in either Conference Room One or Conference Room Two on the

 47th Floor, also known as the Executive Floor. This confidential witness recalled that members of

 the Executive Committee included S&P’s Chief Financial Officer (“CFO”) Patrick Milano

 (“Milano”), Tillman, Executive Managing Director Ed Emmer (“Emmer”), Managing Director of

 Global Emerging Markets Cynthia Stone (“Stone”), Director of Finance Ed Hannon (“Hannon”),

 Executive Managing Director Vladimir Stadnyk (“Stadnyk”), Head of Compliance/General Counsel

 Rita Bolger (“Bolger”), Communications Director Margie Appel (“Appel”), and Rose. This former

 employee also recalled that the Management Review Meeting took place on the third Thursday of

 every month and was designed for Corbet to report S&P’s financial results to McGraw-Hill. Corbet

 and Milano participated in the meeting on behalf of S&P, and most of these meetings took place


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 telephonically. This former Executive Assistant believed that Bahash and McGraw both participated

 regularly in the Management Review Meetings. A week prior to each Management Review

 Meeting, Corbet would hold a pre-Management Review Meeting in either Conference Room One or

 Two on the 47th Floor. The purpose of these meetings was to “fine tune the financial information” to

 be provided during the Management Review Meetings. The participants in the pre-Management

 Review Meetings included Milano and Hannon.

        40.     One confidential witness worked for S&P from Fall 2004 until Summer 2006 as a

 Research Associate. As part of her/his responsibilities, this former employee accounted for RMBS

 and CDO deals by “backing-up” S&P’s databases. In that regard, this former employee reviewed

 CDO income statements for discrepancies. This former employee has information concerning,

 among other things, the Company’s bias in rating CDOs and RMBS

        41.     Another confidential witness worked for McGraw-Hill from December 2004 until

 November 2007, and worked as an IT Manager in the S&P Structured Finance Division from

 December 2004 until June 2006. This former employee reported initially to Senior IT Director of

 the Structured Finance Group Juan Vega (“Vega”), who was replaced by Elaina Pressner

 (“Pressner”). Vega and Pressner, in turn, reported to Company Vice President Rom Ranagoff

 (“Ranagoff”). As part of her/his responsibilities, this former employee maintained portfolio

 management software products for the Company, such as “CDO Evaluator” and “LEVELS.” This

 former employee has knowledge, among other things, concerning the information used in the

 Company’s structured finance models and the Company’s surveillance on structured finance deals.

        42.     One confidential witness worked for the Company as a Ratings Analyst Assistant

 from January 2007 through July 2007. This former employee reported to CDO Department

 Associate Director Jimmy Koyliski (“Koyliski”), who, in turn, reported to Steve Vandeberg

 (“Vandeberg”). This former employee was responsible for providing supportive work for the


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 Company’s “CORE” database and has information concerning the S&P’s CDO Department.

        43.     One confidential witness worked for the Company as a Senior Contract Coordinator

 in the S&P Global Licensing and Contracts Department from 2000 until April 2007. This former

 employee reported to Manager of Contract Operations Patrick Allen (“Allen”), who reported to Vice

 President of Global Licensing and Contracts Evonne Inglesh (“Inglesh”). As part of her/his

 responsibilities, this former employee supervised and reviewed Company contracts, including those

 for the Company’s Structured Finance ratings transactions, and prepared weekly, monthly, quarterly,

 and year-end reports from the Contract Management Information System database.

        44.     One confidential witness worked for the Company from October 2006 until January

 2007 as a temporary consultant at S&P. This former employee worked in the Company’s Structured

 Finance Department as part of a team of consultants tasked with building ratings on structured

 finance transactions. This former employee has knowledge regarding the Company’s backlog of

 structured finance transactions that needed to be updated during the Class Period.

        45.     Another confidential witness worked from Fall 2005 through June 2008 as an

 Assistant Product Manager for the Company’s LEVELS model, which was used to rate structured

 finance transactions. This former employee reported to LEVELS Product Manager Steven Galli

 (“Galli”), who reported to Global Practice Leader for ABS/RMBS Buendia. After Buendia left the

 Company in 2008, Galli reported to Director David Goldstein (“Goldstein”).            This former

 employee’s responsibilities including all aspects of prices, enhancements, and releases of the

 LEVELS model. She/he has information concerning, among other things, the Company’s ongoing

 and deliberate failure to update its LEVELS model, including the Company’s misrepresentations to

 its clients concerning those updates. In addition, this former employee has information concerning

 McGraw’s obsession with S&P’s market penetration and absolute awareness of the Company’s

 Structured Finance operations and financial results. This former Assistant Product Manager


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 prepared a monthly Market Penetration Data Report, a summary of which was sent directly to

 McGraw on a monthly basis.

         46.    One confidential witness worked from August 2007 until May 2008 as a Structured

 Finance Associate in the Surveillance Department and had responsibility for providing ongoing

 analysis of subprime RMBS. She/he has knowledge of how the RMBS group was a department

 within the larger structured finance group, and that the RMBS group was further broken down into a

 ratings side and a surveillance side. The RMBS surveillance side was then broken down into groups

 that provided surveillance for specific types of RMBS. For example, this former employee worked

 primarily in a group tasked with providing surveillance to mostly subprime RMBS, a group that was

 headed by Director Andrew Verducci, who reported to Director of RMBS Surveillance Ernestine

 Warner (“Warner”). Warner, in turn, reported to Peter D’Erchia (“D’Erchia”), the Managing

 Director of RMBS Surveillance. This confidential witness has information concerning how the

 surveillance group was understaffed and did not have enough employees for the work that had to be

 done.

         47.    Another confidential witness worked in a variety of sales positions with the Company

 for approximately ten years, until mid-2008. At the time she/he left the Company, this former

 employee worked as a Director of Structured Finance Sales. This former employee recalled that in

 January 2007, she/he was told to focus solely on selling the Company’s structured finance products,

 i.e., its CDO and RMBS models and surveillance tools. This former employee reported to Vice

 President in Charge of Rating Information Sales Carrie Bancroft, who reported to Senior Vice

 President Terry Shine, who led the U.S. sales group. This former employee has information

 concerning how McGraw-Hill set internal budgets and that the internal dialogue within the Company

 was that McGraw pushed revenues so hard that the Structured Finance group was forced to issue

 more ratings. She/he also has information concerning how the Company did not really have a


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 surveillance tool for RMBS.

        48.     One confidential witness worked as a Director in the Company’s RMBS Surveillance

 Department for approximately 19 years, until early 2009. This former employee reported to Warner,

 who reported to D’Erchia. D’Erchia oversaw the surveillance of five different structured finance

 groups, including CDO, ABS, CMBS, Servicer Evaluations, and RMBS. This former employee has

 information concerning how RMBS surveillance group analysts were assigned to monitor securities

 based on certain types of collateral. For example, certain analysts would handle subprime mortgage

 collateral while others would be responsible for Alt-A mortgage collateral. She/he has knowledge of

 how the Surveillance Department’s goal was to rate deals once a year, that there was insufficient

 staffing necessary to conduct surveillance, and how, throughout most of the Class Period, the

 Company had a policy of not taking any ratings action until there were actual losses in the deals it

 rated, even if the Company knew the underlying collateral was non-performing and that a loss was

 inevitable. She/he also has information concerning how, despite what the Company’s Code of

 Conduct stated, the Company always placed a higher emphasis on rating new deals, not surveillance.

        49.     As demonstrated above, each of these corroborating confidential witnesses was

 sufficiently placed within the Company to hear, see, and read information relevant to Plaintiff’s

 claims. Their direct interaction with S&P executives, as well as their day-to-day activities as

 members of the Structured Finance group within S&P’s Financial Services segment, lends additional

 credibility to the facts they provided regarding Defendants’ fraud and scienter.

 VII.   CONTEXT OF DEFENDANTS’ FALSE AND MISLEADING
        STATEMENTS

        A.      Background

        50.     McGraw-Hill was incorporated in December 1925, and touts itself as a leading global

 information services provider serving the financial services, education and business information

 markets. The Company has three reportable segments: McGraw-Hill Education, Financial Services,

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 and Information & Media. The Financial Services segment operates under the S&P brand as one

 reporting unit and, according to the Company, provides credit ratings, evaluation services, and

 analysis globally on corporations, financial institutions, securitized and project financings, and local,

 state and sovereign governments. McGraw-Hill states that its Financial Services segment provides a

 wide range of analytical and data services for investment managers and investment advisors

 globally.

         51.     Prior to and throughout the Class Period, the Company’s Financial Services segment,

 operating as S&P, was heavily involved in rating structured finance transactions made up of RMBS

 and CDOs – including large amounts of transactions in the subprime market. The revenue

 associated with the Company’s structured finance ratings was a tremendous driver of the Company’s

 growth during the Class Period, and was also a primary driver of the Company’s stock price. It

 accounted for some 75% of McGraw-Hill’s total operating income in 2007, up from approximately

 42% in 2000. Put simply, the Company’s entire financial performance ballooned during the Class

 Period as a result of its ratings of RMBS and CDOs. Attached hereto as Exhibit 9 is a true and

 correct copy of a chart demonstrating the tremendous revenue growth of the “Big 3” credit rating

 agencies between 2002-2007.11

         B.      The Evolution of Mortgage Lending Practices Leads to Increased Use
                 of Mortgage-Backed Securities

         52.     Prior to 1980, the mortgage market was dominated by savings and loan associations

 that originated conventional mortgage loans, mortgage bankers that originated government mortgage

 loans, and mortgage brokers that handled everything else. Changes enacted by the Depository

 Institutions Deregulation and Monetary Act of 1980 reduced the lending advantage that savings and



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   The chart was made public by the House Oversight Committee and was also included in the
 Senate Subcommittee’s exhibits for its April 23, 2010 hearing.


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 loans had enjoyed, and allowed the mortgage market to shift toward federal banks and federal

 government sponsored enterprises (“GSEs”). GSEs played a key role in the development of

 mortgage-backed securities.

        53.     The Alternative Mortgage Transaction Parity Act of 1982 authorized state-chartered

 lending institutions to offer alternative mortgage products, including those with variable interest

 rates and balloon payments, and has been credited with increasing parity among state- and federally-

 chartered mortgage banks. The Tax Reform Act of 1986 stimulated mortgage demand by retaining

 the federal income tax deduction for mortgage interest and eliminating similar deductions for

 consumer debt like car loans and educational loans. These legislative changes, together with the

 increased popularity of mortgage-backed securities, encouraged and facilitated product innovation

 and expanded credit availability during the 1980s.

        54.     Prior to the mid-1990s, most lenders required potential homeowners to put 20% down

 on their new home loans. People with damaged credit, employees with non-wage income, and

 young people with few savings for down payments were largely shut out of the housing market. As

 the millennium approached, however, the mortgage lending market changed dramatically, and credit

 became much more widely available.

        55.     The increasing popularity of the Internet and advances in computing technology made

 it easier and cheaper to process and package new loans. Electronic databases made it easier for

 lenders to rapidly attempt to assess the risk of lending to borrowers with damaged credit, and the

 secondary market for mortgage-backed securities helped lenders package riskier loans with less risky

 ones to theoretically mitigate an investor’s risk exposure. Strong interest in highly-rated mortgage-

 backed securities from investors in the United States and abroad gave lenders a great incentive to

 lend – they were able to rapidly resell their loans on the secondary market, make a profit, and unload

 the risk of payment default to others. For this to occur, however, the securitized mortgages had to


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 receive high credit ratings from credit rating agencies such as McGraw-Hill’s S&P.

        56.     These changes had dramatic consequences for home ownership. According to a

 recent study by the Federal Reserve Bank of Chicago, subprime lending put as many as two million

 families into homes over the past decade; helping push the United States homeownership rate to 69%

 in 2005, up from 65% in 1995. Although subprime lending alone did not cause this change, it

 accounted for close to half of the four-percentage point rise in home ownership and is believed to

 have had almost as much of an impact on rising home ownership as demographic changes, low

 interest rates, and government programs combined. Former Federal Reserve Chairman Alan

 Greenspan referred to subprime lending as “the democratization of credit.”

        57.     Changes over the past decade not only helped subprime homebuyers enter the market,

 but also first-time homebuyers. In 2006, 45% of first-time homebuyers purchased their homes with

 no money down, up from 43% a year earlier, and up from nearly zero percent ten years before.

        58.     At about the same time that credit became more readily available, housing prices

 were increasing, and doing so dramatically in certain areas, such as California and Florida.

 Homebuyers seeking to purchase increasingly expensive homes were gravitating toward mortgages

 with low introductory interest rates and other features that put previously unaffordable homes within

 their grasp. Nontraditional mortgages became the norm and fed the appreciation in housing prices.

 Nationwide, nontraditional loans comprised over one-third of all loans made during the first nine

 months of 2006, up from about 2% in 2000.

        59.     The growth of nontraditional mortgages changed the market for securities. As the

 nonprime market has grown, so has the popularity of private-label mortgage backed securities (i.e.,

 those securitized by entities other than the GSEs). Total outstanding private-label CDOs represented

 29% of all CDOs in 2005, more than double its share in 2003. At the same time, the share of CDOs

 held by the GSEs fell by 10 percentage points, from 53% to 43%. The shift is a dramatic reflection


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 of investor choice. Investors left the guaranteed, GSE-backed mortgage market for higher interest

 rates in the potentially riskier, privately-backed mortgage securities market. As they did so, the

 amount of capital available to fund nontraditional mortgages grew, making more of these mortgages

 available to more borrowers.

        60.      In an effort to meet the needs of borrowers who could not fully document their

 income, employment, or assets, a new mortgage lending segment was started in the 1990s called

 Alt-A. Typically, these borrowers were self-employed and had good cash flow, but could not

 document their income via tax returns, W-2’s and pay stubs. The typical Alt-A borrower had a

 higher FICO and a good credit history.

        61.      After 2003, however, Alt-A lending rapidly evolved into loans that had very little

 borrower information or had stated income and stated assets. In other words, information in the

 mortgage loan application (such as income and assets) was not verified by the lender, and lenders

 relied upon the borrowers’ credit scores and the adequacy of the underlying collateral when

 underwriting loans.

        62.      This type of aggressive lending and relaxed underwriting, prior to and during the

 Class Period, enabled more and more borrowers to qualify for loans while providing little or no

 documentation. The more housing prices rose, the more popular Alt-A loans became. But, as the

 Alt-A business grew, more of these loans were offered to less creditworthy borrowers, creating what

 mortgage industry insiders called “Alt-B” products. The result was that the difference between Alt-

 A and subprime loans was virtually eliminated because Alt-A products were burdened with subprime

 deficiencies.




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                 1.      The Creation of RMBS and CDOs12

         63.     The process for creating a RMBS begins when an arranger, typically an investment

 bank, packages mortgage loans into a pool and transfers them to a trust that will issue securities

 collateralized by the pool. There are generally thousands of separate loans in each pool. The trust

 then purchases the loan pool and becomes entitled to the interest and principal payments made by the

 borrowers. The trust finances the purchase of the loan pool through the issuance of RMBS to

 investors. The monthly interest and principal payments from the loan pool are used to make monthly

 interest and principal payments to the investors in the RMBS.

         64.     The trust typically issues different classes of RMBS – known as “tranches” – that

 offer a sliding scale of coupon rates based on the level of credit protection that is supposed to be

 afforded to the security. Credit protection is theoretically designed to shield the tranche securities

 from the loss of interest and principal due to defaults of the loans in the pool. The degree of credit

 protection afforded a tranche security is known as its “credit enhancement.”

         65.     The primary source of credit enhancement is subordination, which creates a hierarchy

 of loss absorption among the tranche securities. For example, if a trust issued securities in 10

 different tranches, the first (or senior) tranche would have nine subordinate tranches, the next highest

 tranche would have eight subordinate tranches and so on down the capital structure. Any loss of

 interest and principal experienced by the trust from delinquencies and defaults in loans in the pool

 are allocated first to the lowest tranche until it loses all of its principal amount and then to the next

 lowest tranche and so on up the capital structure. Consequently, the senior tranche should not incur

 any loss until all the lower tranches have absorbed losses from the underlying loans.




 12
    The allegations contained in this section concerning the creation of RMBS and CDOs are
 primarily taken from the SEC’s Credit Agencies Report. See Exhibit 6.


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          66.    A second form of credit enhancement is over-collateralization, which is the amount

 that the principal balance of the mortgage pool exceeds the principal balance of the tranche securities

 issued by the trust. This excess principal creates an additional “equity” tranche below the lowest

 tranche security to absorb losses. In the example above, the equity tranche would sit below the tenth

 tranche security and theoretically protect it from the first losses experienced as a result of defaulting

 loans.

          67.    A third form of credit enhancement is excess spread, which is the amount that the

 trust’s monthly interest income exceeds its monthly liabilities. Excess spread is comprised of the

 amount by which the total interest received on the underlying loans exceeds the total interest

 payments due to investors in the tranche securities (less administrative expenses of the trust, such as

 loan servicing fees, premiums due on derivatives contracts, and bond insurance). This excess spread

 can be used to build up loss reserves or pay off delinquent interest payments due to a tranche

 security.

          68.    The process for creating a typical CDO is similar to that of an RMBS. A sponsor

 creates a trust to hold the CDO’s assets and issue its securities. Generally, a CDO is comprised of

 200 or so debt securities. The CDO trust uses the interest and principal payments from the

 underlying debt securities to make interest and principal payments to investors in the securities

 issued by the trust. Similar to RMBS, the trust is structured to provide differing levels of credit

 enhancement to the securities it issues through subordination, over-collateralization, excess spread

 and bond insurance. In addition to the underlying assets, one significant difference between a CDO

 and an RMBS is that the CDO may be actively managed such that its underlying assets change over

 time, whereas the mortgage loan pool underlying an RMBS generally remains static.

          69.    When it comes to CDOs, rating companies such as McGraw-Hill’s S&P brand

 actually do much more than evaluate them and give them letter grades. The raters play an integral


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 role in putting the CDOs together in the first place. In that regard, they help financial firms divide

 the CDOs into tranches, and participate in every level of packaging a CDO. They tell CDO

 arrangers how to squeeze the most profit out of the CDO by maximizing the size of the tranches with

 the highest ratings. Unlike the corporate bond market, in the Structured Finance market rating

 agencies “run the show.” It is not a passive process of rating corporate debt. It is a financial

 engineering business.

        70.     As the growth of CDOs exploded (fueled by AAA ratings), CDOs became some of

 the largest purchasers of subprime RMBS and the drivers of demand for those securities. It became,

 in effect, a self-fulfilling prophecy. According to one credit rating agency, the average percentage of

 subprime RMBS in the collateral pools of CDOs it rated grew from 43.3% in 2003 to 71.3% in 2006.

 As the market for mortgage-related CDOs grew, CDO issuers began to use credit default swaps to

 replicate the performance of subprime RMBS and CDOs. In this case, rather than purchasing

 subprime RMBS or CDOs, the CDO entered into credit default swaps referencing subprime RMBS

 or CDOs, or indexes on RMBS. These CDOs, in some cases, were composed entirely of credit

 default swaps (“synthetic CDOs”) or a combination of credit default swaps and cash RMBS (“hybrid

 CDOs”). In other words, as CDOs became more popular, they exponentially grew in terms of

 complexity, to the point where few, if any, could determine the actual makeup of assets underlying a

 CDO. This immense and intense complexity led to substantially increased market reliance on ratings

 agencies, such as S&P, to serve as gatekeepers to the entire RMBS and CDO market.

                2.       Credit Ratings of RMBS and CDOs

        71.     A critical step in the process of creating and ultimately selling a subprime RMBS and

 CDO is the issuance of a credit rating for each of the tranches issued by the trust (with the exception

 of the most junior “equity” tranche). A credit rating for each rated tranche is supposed to indicate

 the credit rating agency’s view as to the creditworthiness of the debt instrument in terms of the


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 likelihood that the issuer would default on its obligations to make interest and principal payments on

 the debt instrument. Put simply, without a credit rating, RMBS and CDOs cannot be sold.

        72.     Generally speaking, the arranger of the RMBS initiates the ratings process by sending

 the credit rating agency a range of data on the subprime loans to be held by the trust (e.g., principal

 amount, geographic location of the property, credit history and FICO score of the borrower, ratio of

 the loan amount to the value of the property and type of loan: first lien, second lien, primary

 residence, secondary residence), the proposed capital structure of the trust and the proposed levels of

 credit enhancement to be provided to each RMBS tranche issued by the trust. Upon receipt of the

 information, rating agencies like S&P assign a lead analyst who is responsible for analyzing the loan

 pool, proposed capital structure and proposed credit enhancement levels, and, ultimately, for

 formulating a ratings recommendation for a rating committee composed of analysts and/or senior-

 level analytic personnel.

        73.     The next step in the ratings process is for the analyst to develop predictions, based on

 a quantitative expected loss model and other qualitative factors, as to how many of the loans in the

 collateral pool would default under stresses of varying severity. This analysis also includes

 assumptions as to how much principal would be recovered after a defaulted loan is foreclosed. To

 assess the potential future performance of the loan under various possible scenarios, each rating

 agency generally uses specific credit characteristics to analyze each loan in the collateral pool.

 These characteristics are supposed to include the loan information described above as well as the

 amount of equity that the borrowers have in their homes, the amount of documentation provided by

 borrowers to verify their assets and/or income levels and whether the borrowers intend to rent or

 occupy their homes.

        74.     The purpose of this loss analysis is to determine how much credit enhancement a

 given tranche security would need for a particular category of credit rating. The severest stress test


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 (i.e., the one that would result in the greatest number of defaults among the underlying loans) is

 supposed to be run to determine the amount of credit enhancement required for an RMBS tranche

 issued by the trust to receive the highest rating. The next severest stress test is run to determine the

 amount of credit enhancement required of the next highest tranche and so on down the capital

 structure. The lowest rated tranche is analyzed under a more benign market scenario. Consequently,

 its required level of credit enhancement -- typically provided primarily or exclusively by a

 subordinate equity tranche -- is based on the number of loans expected to default in the normal

 course given the lowest possible level of macroeconomic stress.

         75.     The next step in the ratings process is for the analyst to check the proposed capital

 structure of the RMBS against requirements for a particular rating. Typically, if the analyst

 concludes that the capital structure of the RMBS does not support the desired rating, this preliminary

 conclusion would be conveyed to the arranger. The arranger could accept that determination and

 have the trust issue the securities with the proposed capital structure and the lower rating or adjust

 the structure to provide the requisite credit enhancement for the senior tranche to get the desired

 highest rating. Generally, arrangers aim for the largest possible senior tranche, i.e., to provide the

 least amount of credit enhancement possible, since the senior tranche -- as the highest rated tranche -

 - pays the lowest coupon rate of the RMBS’ tranches and, therefore, costs the arranger the least to

 fund.

         76.     The next step in the process is for the analyst to conduct a cash flow analysis on the

 interest and principal expected to be received by the trust from the pool of subprime loans to

 determine whether it will be sufficient to pay the interest and principal due on each RMBS tranche

 issued by the trust. The rating agency uses quantitative cash flow models that analyze the amount of

 principal and interest payments expected to be generated from the loan pool each month over the

 terms of the RMBS tranche securities under various stress scenarios. The outputs of this model are


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 compared against the priority of payments (the “waterfall”) to the RMBS tranches specified in the

 trust legal documents. The waterfall documentation could specify over-collateralization and excess

 spread triggers that, if breached, reallocated principal and interest payments from lower tranches to

 higher tranches until the minimum levels of over-collateralization and excess spread were

 reestablished. Ultimately, the monthly principal and interest payments derived from the loan pool

 need to be enough to satisfy the monthly payments of principal and interest due by the trust to the

 investors in the RMBS tranches as well as to cover the administrative expenses of the trust. The

 analyst also reviews the legal documentation of the trust to evaluate whether it is bankruptcy remote,

 i.e., isolated from the effects of any potential bankruptcy or insolvency of the arranger.

         77.     Following these steps, the analyst develops a rating recommendation for each RMBS

 tranche and then presents it to a rating committee composed of analysts and/or senior-level analytic

 personnel.    The rating committee is supposed to vote on the ratings for each tranche and

 communicate its decision to the arranger. In most cases, an arranger can appeal a rating decision,

 although the appeal is not always granted (and, if granted, may not necessarily result in any change

 in the rating decision). Final ratings decisions are published and are supposed to be subsequently

 monitored through an ongoing surveillance process. Typically, the rating agency is paid only if the

 credit rating is issued, though sometimes it receives a breakup fee for the analytic work undertaken

 even if the credit rating is not issued.

         78.     The rating agencies’ process for assigning ratings to subprime CDOs is similar and

 also involves a review of the creditworthiness of each tranche of the CDO. As with RMBS, the

 process centers on an examination of the pool of assets held by the trust and an analysis of how they

 would perform individually and in correlation during various stress scenarios. However, this

 analysis is based primarily on the credit rating of each RMBS or CDO in the underlying pool (or

 referenced through a credit default swap entered into by the CDO) and does not include an analysis


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 of the underlying asset pools in the RMBS.

        79.     CDOs collateralized by RMBS or by other CDOs often are actively managed.

 Consequently, there can be frequent changes to the composition of the cash assets (RMBS or CDOs),

 synthetic assets (credit default swaps), or combinations of cash and synthetic assets in the underlying

 pool. As a result, ratings for managed CDOs are based not on the composition of the pool but

 instead on covenanted limits for each potential type of asset that could be put in the pool. Typically,

 following a post-closing period in which no adjustments can be made to the collateral pool, the

 CDO’s manager has a predetermined period of several years in which to adjust that asset pool

 through various sales and purchases pursuant to covenants set forth in the CDO’s indenture. These

 covenants set limitations and requirements for the collateral pools of CDOs, often by establishing

 minimum and maximum concentrations for certain types of securities or certain ratings.

        80.     In developing a rating for a CDO, the analyst uses the CDO’s indenture guidelines to

 run “worst-case” scenarios based on the collateral that is permitted under the indenture. In preparing

 a rating for that CDO, an analyst will run the rating agency’s models based on all possible collateral

 pools permissible under the indenture guidelines, placing the most weight on the results from the

 weakest potential pools (i.e., the minimum permissible amount, 10%, of the highest-rated securities

 and the lowest-rated investment grade securities for the remaining 90%). As with RMBS ratings, the

 analyst then compares the model results against the capital structure of the proposed CDO to confirm

 that the level of subordination, over-collateralization and excess spread available to each tranche

 provides the necessary amount of credit enhancement to sustain a particular rating. The process is

 the same as for an RMBS rating – the analyst makes a recommendation for a rating to a ratings

 committee, which votes on the rating for each tranche and usually communicates its decision to the

 arranger.




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        C.       The Company’s Ratings of RMBS and CDOs was Tremendously
                 Lucrative

        81.      Rating RMBS and CDOs became a tremendous profit center for the Company.

 Indeed, the Company’s revenues ballooned through the Class Period as it rode the structured finance

 wave by rating RMBS and CDOs. See Exhibit 9. Commenting on the same chart attached hereto as

 Exhibit 9, during the April 23, 2010 hearing on Wall Street and the Financial Crisis: The Role of

 Credit Rating Agencies, Senator Levin stated, in relevant part:

        This chart. . . shows that from 2002 to 2007 the three top credit rating agencies
        doubled their revenues from less than $3 billion to over $6 billion per year. Most of
        this increase came from rating complex financial instruments. According to Standard
        & Poor’s, between 2000 and 2006 investment banks underwrote nearly $2 trillion in
        mortgage-backed securities, $435 billion or 36 percent of which were backed by
        subprime mortgages.13

        All of those securities needed ratings. Moody’s and S&P each rated about 10,000
        RMBSs – RMBS securities over the course of 2006 and 2007. Credit rating
        executives got paid Wall Street-sized salaries.

        82.      According to Richard Gugliada (“Gugliada”), S&P’s global ratings chief for CDOs

 until 2005, a typical CDO paid 6 to 8 basis points, with a basis point being a hundredth of a percent.

 Because that amount was far more than the Company would earn by rating a typical corporate bond,

 Defendants were highly motivated to ride the structured finance tidal wave that crested during the

 Class Period.

        D.       The Race to the Bottom: The Pursuit of Market Share and Lucrative
                 Fees Drive the Deliberate Lowering of Credit Analysis Standards

        83.      The goal of Defendants’ fraud was simple: maximize the Company’s short term

 financial performance at all costs. Although the means to achieve Defendants’ fraudulent end were

 varied – and are detailed below – they all stemmed from one root cause: maximize market share for



 13
   A true and correct copy of a S&P chart detailing 2006 originations and RMBS, made public by the
 Senate Subcommittee, is attached hereto as Exhibit 10.


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 RMBS and CDOs in order to obtain lucrative fees. Investors, misled by Defendants’ plethora of

 false and misleading statements, were never clued into Defendants’ fraudulent game, and were never

 told Defendants were knee-deep in a race-to-the-bottom market share war over fattened fees.

 Indeed, the Defendants concealed that the Company’s storied reputation for credibility and

 unassailable ratings criteria had become as meaningless as the AAA ratings S&P would willingly

 slap on pools of toxic mortgages and related assets. Moreover, Defendants hid the reality that the

 Company’s volcanic eruption in financial performance was a passing fallacy built upon ratings

 structured to label what was nothing more than junk as investment grade.

        84.     It is a documented fact that the Company bowed to competitive pressures during the

 Class Period. See Exhibit 7 (Senate Subcommittee Finding of Fact No. 2). These competitive

 pressures, which manifested themselves primarily in the relentless pursuit of maximum market

 share, included S&P accommodating the desires of the very investment bankers who brought

 business to S&P. In other words, if investment bankers wanted high ratings (and why would they

 not?) S&P was happy to oblige, for a lucrative fee, and in order to prevent its customers from

 defecting to the competition (i.e., Moody’s) in search of a more accommodating rating.

        85.     For example, according to a September 24, 2008 article on Bloomberg.com, entitled

 “Bringing Down Wall Street as Ratings Let Loose Subprime Scourge,” “[d]riven by competition for

 fees and market share, the New York-based [ratings] companies stamped out top ratings on debt

 pools that included $3.2 trillion of loans to homebuyers with bad credit and undocumented incomes

 between 2002 and 2007. As subprime borrowers defaulted, the companies have downgraded more

 than three-quarters of the structured investment pools known as [CDOs] issued in the last two years

 and rated AAA.” The article continued, “Without those AAA ratings, the gold standard for debt,

 banks, insurance companies, and pension funds wouldn’t have bought the products.               Bank

 writedowns and losses on the investments totaling $523.3 billion led to the collapse or disappearance


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 of Bear Stearns Cos., Lehman Brothers Holdings, Inc. and Merrill Lynch & Cos. and compelled the

 Bush administration to propose buying $700 billion of bad debt from distressed financial

 institutions.”

         86.      Describing the severity with which S&P went after market share and fees at the

 expense of ratings integrity, and the Company’s reputation, Senator Levin – after completing an

 eighteen month investigation, stated during the Senate Subcommittee hearing:

         Some witnesses here today will describe how the environment changed from an
         academic culture focused on accurate ratings to one of intense pressure to get the
         deals done and preserve market share. The documents also show how the crushing
         volume of ratings undermined the ratings process.

         Despite record profits, both credit rating agencies were understaffed and
         overwhelmed with complex deals that investment bankers wanted to close within
         days. The documents show how investment bankers argued with the credit rating
         analysts, substituted worse assets at the last minute, and pressured analysts to waive
         their procedures and standards.

         We even saw instances of bankers pushing to remove analysts who were not playing
         ball and, at times, analysts who resisted banker demands or challenged ratings were
         restricted from rating deals.

         A focus on short-term profits also permeated the industry. One of the witnesses here
         today will describe how, when he once questioned a banker about the term of a deal,
         the banker replied, “IBGYBG.” When asked what that meant, the banker explained,
         “I’ll be gone, you’ll be gone.” In other words, why give me a hard time when we’re
         both making a lot of money, and we’ll be long gone before the house of cards comes
         crashing down.

         87.      Likewise, the SEC’s July 8, 2008 Credit Rating Agencies Report specifically

 identified the Company’s S&P brand as one of the credit agencies that mislead the market regarding

 its ratings of the RMBS and CDOs. Importantly, the examination review period underlying the

 Credit Agencies Report covered January 2004 through July 2008, and included extensive on-site

 interviews and review of a large quantity of internal records and email communications.14 The


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   Despite the fact that the Credit Agencies Report was issued after the close of the Class Period, the
 data, documents, and information underlying its conclusions are from within the Class Period.

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 startling revelations of the Credit Agencies Report, which shed additional light on the falsity of

 Defendants’ Class Period statements, are referenced herein and in the appropriate sections, below.15

        88.     According to S&P’s top mortgage official, the Company placed a “For Sale” sign on

 its reputation on March 20, 2001, as S&P was competing for fees on a $484 million structured

 finance deal called Pinstripe I CDO Ltd. Unbeknownst to investors, on that day, according to a

 September 24, 2008 article on Bloomberg.com, a member of an S&P executive committee ordered

 Managing Director and head of RMBS ratings Raiter to grade a real estate investment he had never

 reviewed. In other words, Raiter was being directed to piggy-back on the rating of other ratings

 agencies, which violated S&P’s own policies. In a 2001 email exchange between two high-ranking

 managing directors at S&P, Raiter asked for the “collateral tapes” so he could assess the

 creditworthiness of the home loans backing the Pinstripe CDO. A true and correct copy of the 2001

 email exchange is attached hereto as Exhibit 12. The response he received from Gugliada, S&P’s

 Managing Director for CDOs was that:

        Any request for loan level tapes is TOTALLY UNREASONABLE!!! Most investors
        don’t have it and can’t provide it. Nevertheless we MUST produce a credit
        estimate. . . .

        It is your responsibility to provide those credit estimates and your responsibility to
        devise some method for doing so. Please provide the credit estimates requested!

        89.     As stated by Representative Henry Waxman in his October 22, 2008 opening

 statement for the House Oversight Committee, the email shows that Raiter “was stunned” because


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    There is no question that significant portions of the Credit Agencies Report resulted from
 information that came from McGraw-Hill and its S&P brand, including some e-mails and statements
 that have been directly attributed to S&P. In an August 2, 2008, the Wall Street Journal reported
 that “[p]roblems keeping up with the surging growth of mortgage-related debt products were
 particularly acute at [S&P]. . .” and that “[s]ome of the most strongly worded e-mails from analysts
 questioning [the firms’] own ratings came from S&P. . . the largest bond-rating firm by revenue.”
 See Exhibit 11, Aaron Lucchetti, Behind the Ratings, WALL. ST. J., Aug. 2, 2008, at B1. The
 article revealed that in “one e-mail, an S&P analytical staffer e-mailed another that a mortgage or
 structured settlement deal was ‘ridiculous’ and that ‘we should not be rating it.’” Id.


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 “[h]e was being directed to rate Pinstripe without access to essential credit data.” Raiter then e-

 mailed back: “This is the most amazing memo I have ever received in my business career.”

        90.     As set forth in the September 24, 2008 Bloomberg.com article, Gugliada was asking

 Raiter “to just guess, put anything down.” Raiter was “surprised that somebody didn’t say, ‘Richard

 [Gugliada], don’t ever put this crap in writing.’”

        91.     When a credit rating agency relies on a competitor’s credit rating analysis, instead of

 conducting its own, that is called “notching.” When notching occurs, the relying agency assigns a

 slightly lower rating to the competitor’s original rating because of the uncertainty of the judgment.

 For the Pinstripe deal referenced in the email exchange above, over Raiter’s objections, S&P graded

 73% of the Pinstripe bonds AAA.

        92.     According to the September 24, 2008 Bloomberg.com article, S&P outlined the

 alchemy of structured finance in a March 2002 paper for clients entitled “Global Cash Flow and

 Synthetic CDO Criteria.” The article stated that “While arguing that the process wasn’t ‘turning

 straw into gold,’ the authors said ‘the goal’ was to create a capital structure with a higher credit

 rating than the underlying assets would qualify for without financial engineering.”

        93.     The Company’s descent into deceit as a result of Defendants’ fraud was memorialized

 in a host of internal S&P communications during the Class Period that reveal a constant and

 disturbing disconnect between Defendants’ false public statements and the Company’s internal

 dialogue. These communications reveal that the Company set forth on a path to purposefully lower

 its ratings criteria in order to compete with other ratings agencies and maintain market share – the

 quality of ratings was no longer of paramount importance.

        94.     For example, while Defendants touted the Company’s explosive financial growth in

 its Financial Services segment, Company analysts were internally calling the CDO market a

 “monster” and a “house of cards.” In one email, an analytical manager in S&P’s CDO group wrote


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 to a senior analytical manager that the “[r]ating agencies continue to create an even bigger monster –

 the CDO market. Let’s hope we are all wealthy and retired by the time this house of cards falters.

 ;o).” See Exhibit 2.

        95.     For example, on May 25, 2004, just a few months before the start of the Class Period,

 Yu-Tsung Chang, S&P’s Managing Director and Regional Manager for Japan and Korea, sent an

 email to Rose, S&P’s Executive Managing Director for Structured Finance Ratings, and Jordan,

 S&P’s Managing Director of Global ABS, under the subject “Competition with Moody’s.”16 The

 email focused on problems with S&P losing deals because its ratings criteria was not as loose as

 Moody’s, and stated that there should be a shift in thinking to lower criteria so that more deals would

 not be lost in the future. Specifically, the May 25, 2004 email stated:

        Joanne/Pat

        I was hoping to get your thoughts on this.

        We just lost a huge Mizuho RMBS deal to Moody’s due to a huge difference in the
        required credit support level. It’s a deal that six analysts worked through Golden
        Week so it especially hurts. What we found from the arranger was that our support
        level was at least 10% higher than Moody’s. The arranger told us the breakdown of
        the support levels and we found that Moody’s analysis of commingling risk and
        interest rate risk (30 year floaters but a significant majority of the mortgages could
        convert into fixed rate causing serious negative carry risk) were that those two risks
        did not require any credit support. Based on arranger’s feedback, we suspect that
        because Mizuho is a mega bank, they ignored commingling risk and for interest rate
        risk, they took a stance that if interest rate rises, they’ll just downgrade the deal.

        Losing one or even several deals due to criteria issues [sic], but this is so
        significant that it could have an impact on future deals. There’s no way we can get
        back on this one but we need to address this now in preparation for the future
        deals.

        I had a discussion with the team leaders here and we think that the only way to
        compete is to have a paradigm shift in thinking, especially with the interest rate
        risk. Perhaps sizing for interest rate risk for the next 3-5 years only but take a stance


 16
    A true and correct copy of the May 25, 2004 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 13.


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         that we need to downgrade if interest rate risk rises beyond what is reasonable for the
         next 3-5 years.

         In any case, I’m interested in your thoughts as to how to address this problem, and
         whether it is something I should work with Tommy [Gillis] on the criteria issues.

         96.     Another example occurred just prior to the start of the Class Period, in August 2004,

 when S&P took a bigger step down the slippery slope of compromising its own rating criteria in

 order to preserve market share and not lose deals to its competitors, without ever disclosing to the

 market that it was abandoning its own rating criteria (let alone the reasons for doing so). In that

 regard, on August 17, 2004, in response to an email from Gugliada stating that S&P had “no plans

 on changing our methodology”, S&P Managing Director Gale Scott (“Scott”) sent an email to

 Gugliada, David Tesher (“Tesher”), a Managing Director of Structured Finance Ratings, Jordan,

 Raiter, and Thomas Gillis (“Gillis”), the Managing Director and Chief Quality Office for Structured

 Finance Ratings, among others, to discuss lowering ratings criteria for rating CDOs because of the

 ongoing threat of losing deals.17 Scott urged colleagues to adjust the Company’s rating requirements

 for securities backed by commercial properties because of the “threat of losing deals” to competitors

 unless the Company relaxed (i.e., deliberately lowered and compromised) its rating requirements.

 Specifically, the email stated, in pertinent part:

         Subject: RE: [Structure Finance] CIA: CDO methodology invokes reactions

         Importance: High

         Privileged and Confidential – Kim Diamond added

         Rich [Gugliada],

         We are meeting with your group this week to discuss adjusting criteria for rating
         CDOs of real estate assets this week because of the ongoing threat of losing
         deals. I am much less concerned about whether it is an actual investor attack or not.


 17
   A true and correct copy of the August 17, 2004 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 14.


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           Whatever the reason, the fact is, bonds below ‘AAA’ are pricing wider which
           impacts the weighted average pricing on the deals. Ultimately issuers will react by
           taking the path of least resistance and making sure Moody’s is on the deals.
           Thereafter, it’s only a matter of time before their rating is also mandated for the
           primary deal as well. [Emphasis in original].

           So yes, Moody’s reaction is indeed predictable but if they have the ability to
           influence the market, what will be the impact on S&P?

           97.    On August 18, 2004, Raiter responded to Gillis with the following email: “Mickey,

 we particularly like the bold language from a discovery perspective.” See Exhibit 14.

           98.    Thereafter, on November 9, 2004, Scott sent an email concerning proposed changes

 to S&P’s ratings methodology. Scott’s concern centered not on the accuracy of ratings, but whether

 the Company could lose business, and she wrote, in pertinent part: “I’m trying to ascertain whether

 we can determine at this point if we will suffer any loss of business because of our decision and if so,

 how much? We should have an effective way of measuring the impact of our decision over time.”18

           99.    Later in the Class Period, criteria discussions continued to focus on not losing market

 share. For example, on May 5, 2006, Thomas Warrack, a Managing Director in S&P’s RMBS

 Group, sent an internal email discussing proposed changes to the Company’s modeling criteria,

 which stated, in part: “We certainly did [not] intend to do anything to bump us off a significant

 amount of deals.”19 Echoing that sentiment, during an email exchange with Gillis and others on June

 15, 2006, Curt Moulton, a S&P Managing Director and Chief Quality Officer, wrote, in pertinent

 part:20



 18
    A true and correct copy of the November 9, 2004 email, made public by the Senate Subcommittee,
 is attached hereto as Exhibit 15.
 19
    A true and correct copy of the May 5, 2006 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 16.
 20
    A true and correct copy of the June 15, 2006 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 17.


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          First scenario:

          Let’s assume for a moment that S&P does not change the current approach to ratings
          in the corporate area and that Moody’s implements their proposal. We assume this
          scenario to be negative for the corporate business because Moody’s will be giving
          out higher ratings on secured loans so issuers will be less likely to ask for an S&P
          rating on the issue. But what would this mean for the [Structured Finance] business?

          Second scenario:

          Let’s assume S&P follows Moody’s and elevates secured loan ratings by, say, 3-4
          notches. We assume this would keep us competitive with Moody’s on corporate
          ratings. But what would this mean for the [Structured Finance] business?

          Final question: Is there any difference in impact to our [Structured Finance] business
          from these two scenarios?

          100.   The above-email demonstrates that the true driving force behind the Company’s

 purportedly hallowed criteria was not accuracy, predictiveness, or clarity with investors; rather, it

 was keeping pace with the competition and to preserve, or expand, market share.

          101.   The severity of lowering criteria to appease issuers and preserve market share was not

 lost on others working at S&P. In a March 23, 2005 email discussing the Company’s ratings

 models, Dr. Frank Parisi (“Parisi”), S&P’s Chief Criteria Officer for Global RMBS Ratings, writing

 about the Company’s models, described how the Company was “massag[ing] the sub-prime and Alt-

 A numbers to preserve market share.”21 On June 14, 2005, Parisi again expressed concern, sending

 an email that stated, “Screwing with criteria to ‘get the deal’ is putting the entire S&P franchise at

 risk – it’s a bad idea.”22 Company executives, however, ran roughshod over such concerns, and it is

 now a documented fact that the Company lowered criteria to get more deals and maintain market

 share.


 21
   A true and correct copy of the March 23, 2005 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 18.
 22
    A true and correct copy of the June 14, 2005 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 19.


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        102.    The explosive growth in Structured Finance made it the key driver of McGraw-Hill’s

 financials during the Class Period. Indeed, in their Class Period statements, the Individual

 Defendants frequently pointed to Structured Finance as the global pacesetter for the Company’s

 revenue growth. Accordingly, a former Assistant Product Manager for the Company’s LEVELS

 model stated that McGraw kept very close track of the Company’s Structured Finance group.

 McGraw was “obsessed with market penetration.” This former employee described the Structured

 Finance group as McGraw’s “bread and butter” and stated that “without Structured Finance,

 [McGraw] couldn’t even keep daddy’s company afloat.” In other words, McGraw was “absolutely

 aware” of the Structured Finance operations and financial results. Similarly, the former Managing

 Director stated that Bahash was certainly seeing the Structured Finance Group’s budget numbers and

 because the Structured Finance was “just exploding” with growth, the Individual Defendants “were

 tracking the numbers very closely.” The former Executive Assistant to the President also described

 regularly scheduled Executive Committee Meetings, Pre-Management Review Meetings, and

 Management Review Meetings where S&P’s financial results were analyzed and discussed by the

 highest ranking members of the Company, including the Individual Defendants.

        103.    In that regard, each month this former Assistant Product Manager prepared a Market

 Penetration Data Report, a summary of which was sent directly to McGraw. She/he knew that

 McGraw received the report each month because this former employee was “enticed” to take on the

 responsibility of preparing the Market Penetration Data Report by the promise that it would be seen

 each month by McGraw. This former employee was responsible for preparing the European portion

 of the Market Penetration Data Report. Another S&P employee, Amy Yen, was responsible for

 preparing the sections covering the United States. This former Assistant Product Manager recalled

 that she/he spent approximately 15 hours each month preparing her/his part of the report, and that

 she/he would be in the office until 1:00 AM at the end of each month in order to prepare it. The


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 Market Penetration Data Report “basically showed how many deals were out there and who rated the

 deals.”

           104.   Echoing the disturbing details revealed by internal S&P documents and confidential

 witnesses, and describing the market-share penetration that McGraw was so obsessed with (to the

 point that the Company secretly compromised its own ratings criteria), in an article titled “‘Race to

 Bottom’ at Moody’s, S&P Secured Subprime’s Boom, Bust,” Bloomberg.com reported on

 September 25, 2008 that S&P repeatedly eased its standards as it pursued profits from structured

 finance investment pools sold by its clients, “according to company documents, e-mails and

 interviews with more than 50 Wall Street professionals.” Former S&P Managing Director Gugliada

 stated that it amounted to a “market share war where criteria were relaxed.” Gugliada told

 Bloomberg.com “I knew it was wrong at the time.” “It was either that or skip the business. That

 wasn’t my mandate. My mandate was find a way. Find the way.” The market, of course, never

 knew the Company was playing this game. To the contrary, Defendants always touted the

 Company’s credibility, reputation, and integrity. Among other things, the Bloomberg.com article

 stated, in pertinent part:23

           ‘Would Have Stopped Flow’

           “Without these AAA ratings, that would have stopped the flow of money,” says
           [Joseph] Stiglitz, 65, a professor at Columbia University in New York who won the
           Nobel Prize in 2001 for his analysis of markets with asymmetric information. S&P
           and Moody’s “were trying to please clients,” he said. “You not only grade a
           company but tell it how to get the grade it wants.”

                                           *        *     *

           S&P and Moody’s earned as much as three times more for grading the most
           complex of these products, such as the unregulated investment pools known as
           collateralized debt obligations, as they did from corporate bonds. As homeowners


 23
   A true and correct copy of the September 25, 2008, Bloomberg.com article is attached hereto as
 Exhibit 20.


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        defaulted, the raters have downgraded more than three-quarters of the AAA-rated
        CDO bonds issued in the last two years.

                                          *        *     *

        S&P’s Model Changes

        Meanwhile, S&P tinkered with its methodology for grading CDOs that bought
        commercial mortgage securities backed by apartments, hotels, offices and stores,
        according to an Aug. 17, 2004, e-mail obtained by Bloomberg. Managing Director
        Gale Scott warned of the “threat of losing deals” to Moody’s unless the company
        relaxed its rating requirements.

        “OK with me to revise criteria,” replied Gugliada, then S&P’s top CDO-rating
        executive, the e-mail exchange shows.

        In an interview, Gugliada confirmed the e-mail’s contents and said it led to one of
        S&P’s adjustments to accommodate clients. He says Scott did research supporting a
        relaxation of S&P’s assumptions about how closely correlated the default
        probabilities were for commercial real estate securities.

        More Flexibility

        The changes gave S&P’s clients more flexibility. The switch directly preceded
        “aggressive underwriting and lower credit support” in the market for commercial
        mortgage-backed securities from 2005 to 2007, according to an S&P report that Scott
        co-wrote in May 2008. This led to growing delinquencies, defaults and losses, the
        report said.

        Scott left in August as S&P cut staff. The company declined to make her available
        for comment before her departure, and subsequently she couldn’t be reached.

        Errors sometimes worked their way into the analysis. Kai Gilkes, 40, a former S&P
        quantitative analyst in London, says he discovered a flaw in the company’s main
        CDO model, the CDO Evaluator, which he updated in late 2005.

        In some cases, the S&P system overstated the quality of synthetic CDO Squared
        securities, Gilkes says. These complex investment pools are based on credit default
        swaps, a type of insurance against corporate default.

        “On collateral rated AA or higher, the S&P model did not properly stress the default
        behavior of the underlying CDOs, resulting in assets with a lower default probability
        than their ratings suggested,” Gilkes says.

        ‘Line in Sand Shifts’

        He says he fixed the glitch during “a major revision” that December and doesn’t
        know whether any investment was inappropriately rated as a result of the error.

        Still, Gilkes says he believed that competitive considerations, as communicated by
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        management, intruded on S&P’s ratings decisions up until he left the London
        office in 2006.

        “The discussion tends to proceed in this sort of way,” he says. “‘Look, I know
        you’re not comfortable with such and such assumption, but apparently Moody’s
        are even lower, and, if that’s the only thing that is standing between rating this
        deal and not rating this deal, are we really hung up on that assumption?’ You
        don’t have infinite data. Nothing is perfect. So the line in the sand shifts and
        shifts, and can shift quite a bit.”

        “Golden Goose”

        Gugliada says that when the subject came up of tightening S&P’s criteria, the co-
        director of CDO ratings, David Tesher, said: “Don’t kill the golden goose.”

        105.    Summing up the immense value S&P placed on market share, Raiter testified on

 April 23, 2010 that:

        Raiter: . . . The other thing that was heard constantly, and it was in one of these
        emails: if we change, everybody will think that we’ve been wrong. And that just put
        a real anchor on any new ideas quickly going through the process, because they were
        afraid somebody would suggest that they hadn’t been right before and they’d have
        liability or they’d lose some market share. That was not doing the right thing, and
        they don’t have a referee or anyone to tell them when they’ve crossed the line.

                                           *        *      *

        Sen. Levin: So the market share was a factor there as well as to whether or not you
        would use the new available information to re-rate the existing securities?

        Raiter: Yes, sir.

        106.    Indeed, the Minutes of the Regular Meeting of Board of Directors for McGraw-Hill

 held on December 5, 2007, reflect that there was a discussion on how the market would react to

 ratings that changed too quickly. The minutes state that McGraw “noted the market would reject

 ratings that were too volatile because ratings are supposed to be less volatile than market prices.”24

        107.    In conjunction with the Senate Subcommittee’s hearing on April 23, 2010, the

 Attorney General for the State of Connecticut, Richard Blumenthal (“Blumenthal”), submitted


 24
   A true and correct copy of the minutes of the December 5, 2007 meeting of McGraw-Hill’s Board
 of Directors, made public by the Senate Subcommittee, is attached hereto as Exhibit 21.


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 written testimony. Blumenthal’s testimony supports Plaintiff’s allegations, the confidential witness

 statements identified herein, and the conclusions and findings of fact of the Senate Subcommittee.

 Blumenthal testified, in pertinent part, that:25

           Although credit rating agencies repeatedly emphasized their independence and
           objectivity when rating structured finance securities, I found that Moody’s and S&P
           knowingly failed to fulfill their representations. In particular, their ratings on
           structured finance securities were tainted by their desire to earn lucrative fees.

           Moody’s and S&P knowingly catered to the demands of investment banks and other
           large issuers of structured finance securities to increase their own revenues. As a
           result, many risky structured finance securities undeservedly received Moody’s and
           S&P’s highest ratings.

           Essentially, these credit rating agencies gave the best ratings money could buy, thus
           serving their powerful investment banking clients, rather than objectively rating risky
           securities. They misled investors and others -- including individuals, banks, mutual
           funds, insurance companies, hedge funds, pension funds and government regulators -
           - into believing that their credit ratings were independent and objective. Many
           investors may have avoided particular investments if they knew that these
           instruments contained far more risk than the agencies’ ratings indicated, with many
           ultimately proving nearly worthless.

                                             *        *      *

           As guardians of America’s financial markets, Moody’s and S&P have an obligation
           to fulfill their promises of independence and objectivity. Similarly, they must end
           their misplaced focus on meeting the demands of their big financial firm clients at the
           cost of objective analysis and maximizing revenue to the detriment of ratings quality.
           Competition between the rating agencies cannot be a race to the bottom -- victory
           going to the company that most quickly and deftly weakens its methodologies to
           satisfy a powerful customer.

           The rating agencies have been enablers of the wrongdoing that brought our nation to
           the brink of economic catastrophe.

           This insidious dynamic was thrust into public view by the lawsuit filed last week by
           the Securities and Exchange Commission (“SEC”) against Goldman Sachs &
           Company. According to the SEC’s complaint, the ABACUS CDO -- a security that
           unknown to investors was designed to fail -- was given the highest rating by both
           Moody’s and S&P, and yet was nearly worthless within months of its issuance. As
           described in an email contained in the SEC’s complaint, “rating agencies . . . have all


 25
      A true and correct copy of Blumenthal’s written testimony is attached hereto as Exhibit 22.


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        the incentives to keep the game going, while ‘real money’ investors have neither the
        analytical tools nor the institutional framework” to prevent such calamities.

                                          *      *       *

        Moody’s and S&P are aware of investors and other market participants’ reliance on
        their ratings of structured finance securities and encourage this reliance by making
        repeated public representations assuring the independence and objectivity of their
        analysis. Indeed, Moody’s and S&P take every opportunity to proclaim that their
        ratings are objective, independent, and not influenced by either their own or their
        clients’ financial interests. These statements of independence and objectivity are
        simply untrue, and Moody’s and S&P know it.

        Specifically, as far back as 2001, Moody’s and S&P knowingly catered to the
        demands of investment banks and other large issuers of structured finance securities
        in order to increase their own revenues. As a result, many risky structured finance
        securities undeservedly received Moody’s and S&P’s highest ratings.

        Moreover, the users of Moody’s and S&P’s structured finance ratings received a
        product or service significantly different from what Moody’s and S&P publicly
        represented that they were providing to the marketplace. Instead of being
        independent and objective, Moody’s and S&P placed their own financial interests,
        and those of their largest clients, ahead of those they pledged to protect -- the
        investing public.

                                          *      *       *

        As my investigation and others show, Moody’s and S&P decided that the best way to
        please issuers of structured finance securities was to weaken criteria for evaluating
        these investments so that a high credit rating was more readily given. Contrary to
        their public promises, both Moody’s and S&P willfully relaxed standards in order to
        further their own and their clients’ financial interests.

                                          *      *       *

        Between at least 2006 and 2007, both Moody’s and S&P were repeatedly pitched by
        issuers attempting to influence the rating assigned to a specific security. Upon
        learning of the rating the competition was likely to assign to a transaction, Moody’s
        and S&P routinely relaxed their analysis and agreed to provide the higher rating.
        Moody’s and S&P’s greed clouded their judgment, as both companies chose to
        increase their revenue rather than lose out on business to a competitor.

                                          *      *       *

        Changes to Ratings Methodologies Based on a Quest for Revenue

        The pressure to increase revenue and win business also ultimately influenced the
        methodologies that Moody’s and S&P developed for rating structured finance
        securities. Going back to at least 2001 for S&P and 2004 for Moody’s, both
        companies hid from the general public that their respective ratings methodologies
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        were directly influenced by the wishes of their clients. Moody’s and S&P adopted
        this approach specifically to please their clients (i.e., the issuers that paid their fees)
        and to enhance their revenue. Whether Moody’s and S&P’s ratings methodologies
        accounted for all the credit risk that Moody’s and S&P knew existed was of
        secondary importance to their own bottom line. Moreover, the independence and
        objectivity that both companies promised to the marketplace was largely forgotten.

        S&P in particular knew that its ratings methodologies were based on limited and out-
        of-date data about the actual performance of the new sub-prime mortgage products
        flooding the market. Rather than obtain that data, which was readily available to
        S&P, and implement the necessary changes to update its rating methodologies, S&P
        simply continued using the models that were already generating the high ratings that
        its clients desired. In the words of one S&P executive, the primary factor in S&P’s
        decision not to update its model was that “. . . [S&P] enjoyed the largest ratings
        market share among the three major ratings agencies (often 92% or better), and
        improving the model would not add to S&P’s revenues.”

        S&P’s flagrant disregard for independent and objective credit analysis also impacted
        how it monitored the structured finance ratings that it already had assigned. S&P
        publicly represented that it conducted extensive surveillance on the structured
        finance securities that it rated so as to make sure that its ratings continued to
        correctly reflect its current assessment of credit risk. In actuality, however, prior to at
        least 2008, S&P deliberately subverted its surveillance team, which was woefully
        understaffed, saddled with outmoded monitoring resources and thus rendered
        incapable of keeping up with S&P’s voluminous deal flow.

        Specifically, S&P failed to employ its rating models or knowledge and updates its
        analysts garnered about how poorly sub-prime loans were performing to review
        ratings on earlier vintage RMBS or other structured finance securities. S&P failed to
        do so because it knew that if it actually carried through on its public representations
        of a thorough surveillance process, it would have to acknowledge that many of the
        structured finance securities that it had previously rated AAA were undeserving of
        such a high rating. This would have resulted in multiple downgrades and, ultimately,
        S&P making less money.

                                            *        *       *

        As the above examples demonstrate, rather than being the independent and objective
        evaluators of credit risk they claimed to be, Moody’s and S&P were hopelessly
        conflicted and allowed this conflict to compromise the integrity of their ratings. As a
        result, many investors purchased structured finance securities riddled with concealed
        risk that ultimately proved to be nearly worthless.

        Moody’s and S&P’s willful dereliction of their standards was particularly harmful
        because their ratings pervaded the entire financial system, including investors,
        issuers, government regulators, and private financial contracts (i.e., credit default
        swaps). As the financial collapse has demonstrated, widespread issuance and
        investment in the toxic assets enabled by Moody’s and S&P’s biased and tainted
        ratings process has touched nearly every facet of our economy and has put our entire
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         financial system at risk.

         The harm caused by this catastrophic failure was not just born by the wealthy. In
         addition to financial institutions and hedge funds, structured finance securities are
         found in the portfolios and pension funds of schoolteachers, policemen, and factory
         workers; hardworking average Americans who count on these investments for their
         future.

         In closing, I commend the Senate Subcommittee’s work on this important issue. I
         want to emphasize that significant reform of the credit rating agencies’ business
         practices is vital. In thinking of Moody’s and S&P’s misaligned priorities, I am
         reminded of a quote from the Chinese Zen Master Hsi Tang - - “Although gold dust
         is precious, when it gets in your eyes it obstructs your vision.” That is clearly what
         happened to the rating agencies.

         E.      To Preserve and Maintain Market Share, the Company Used
                 Outdated, Ineffective, and Inaccurate Ratings Models

         108.    At all relevant times during the Class Period, Defendants knowingly used credit rating

 models for RMBS and CDOs that were inadequate and unable to predict, in any relevant or

 significant way, how high-risk residential mortgages, such as subprime, interest only, and option

 adjustable rate mortgages would perform. As set forth in more detail below, at least 80% of every

 class of RMBS rated AAA by S&P during 2006 and 2007 has been downgraded to junk status. For

 2005 vintages, at least 53% (and up to 81%) of almost every class of RMBS rated AAA by S&P has

 been downgraded to junk. See Exhibit 8. Defendants were intensely motivated to preserve market

 share and earn lucrative Structured Finance fees. On top of lowering criteria, they achieved their

 fraud by utilizing outdated, ineffective, and inaccurate ratings models. The immense failure of the

 Company’s ratings to even remotely stand the test of time is a sad testament to the deliberate and

 documented infirmities Defendants ensured existed in S&P’s models.

         109.    These facts were documented in the SEC’s Credit Agencies Report, which included

 startling revelations that illuminate the falsity of Defendants’ Class Period statements, including that:

         •       An S&P analyst expressed concern that her firm’s model did not capture “half” of the
                 deal’s risk, but that “it could be structured by cows and we would rate it.”

         •       “[N]ot all our criteria is published. [F]or example, we have no published criteria on

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                hybrid deals, which doesn’t mean that we have no criteria.”

        •       “Rating agencies made ‘out of model adjustments’ and did not document the
                rationale for the adjustment. In certain instances, the loss level that was returned by
                application of the rating agency’s quantitative model was not used, and another loss
                level was used instead. These decisions to deviate from the model were approved by
                ratings committees but in many cases the rating agency did not have documentation
                explaining the rationale for the adjustments, making it difficult or impossible to
                identify the factors that led to the decision to deviate from the model. Two rating
                agencies frequently used “out of model” adjustments in issuing ratings . . . it appears
                that [one rating agency] did not publicly disclose the practice of overriding model
                outputs regarding loss expectations . . . .”

        •       “None of the rating agencies examined had specific written procedures for rating
                RMBS and CDOs” and “[r]atings agencies do not appear to have specific policies
                and procedures to identify or address errors in their models or methodologies.”

 See Exhibit 6 at 14-19.

        110.    Looking back to 1995, the Company had a model in place to rate RMBS. This

 spreadsheet model sorted out the collateral in the pools and assigned enhancement requirements.

 One former Company employee that worked as a Managing Director stated that she/he

 recommended to Gillis, the Managing Director of Research and Criteria, that a lot of people would

 like to buy the modeling system. As a result, this confidential witness set out to “re-write” the

 modeling system and define a larger database that would assign more information to loan

 performance history. Her/his promise to clients was to keep the model updated and continue to

 refine it as the Company got larger databases to work with.

        111.    This former Managing Director stated that the model generated interest with Freddie

 Mac, which assumed the model would provide its clients with a solution for loans not eligible to be

 purchased by Freddie Mac. Following this, the former Managing Director went to McGraw-Hill’s

 corporate headquarters and suggested that selling the model could be a profit center for the

 Company. This confidential witness initially estimated she/he could generate $18-20 million

 annually selling the model, but McGraw “didn’t like that” because McGraw “liked really big

 numbers.” The former Managing Director recalled that the “magic number” was $50 million, and

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 that Tillman pledged to McGraw that that Company would generate $50 million in annual revenue

 from selling the model externally. The confidential witness recalled that this was a typical process at

 the Company in that “it wasn’t what you thought you could do, but more it is what they wanted you

 to do.”

           112.   One result of the Company’s top-down budgeting process, described in detail below,

 was that the Company failed to implement improvements to its RMBS ratings model – LEVELS –

 that would have assured a more powerful and accurate ratings model and been capable of identifying

 the collapse of the subprime market. The former Managing Director recalled that the Company

 “used to talk about how it maintained the highest standards of analytical excellence.” During this

 confidential witness’ tenure, however, she/he became increasingly frustrated with the models being

 employed to rate RMBS transactions. She/he stated that the models were not sufficiently “up to

 date” and only received “band aids,” not upgrades. This former high-ranking employee stated that

 the basic premise leading to the Company’s failure to invest in analytical models was that “we

 already have market share, why invest in analytics?” This premise was continually communicated to

 this confidential witness in the top-down budgeting process. But, by not funding requests to

 improve analytics by upgrading models (as opposed to slapping on band aids), according to the

 former Managing Director, S&P “was not fulfilling its ethical guidelines to continue to improve

 analytics.” Despite this resistance, the former Managing Director continued to push for better,

 improved versions of the LEVELS model.

           113.   She/he explained that the first version of LEVELS included a database of

 approximately 500,000 “prime quality jumbo loans” and that “we had to beg for the data.” The data

 produced an algorithm that “was much better than what we had been using.” The next version,

 which was completed approximately 18 months after the first version, included a database of

 approximately 1,000,000 loans. This former employee produced two subsequent versions of


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 LEVELS, which she/he referred to as Version 5.0 and Version 6.0. She/he received the data for

 Version 5.0 in 2001, which was completed by early 2002. Version 5.0 included a “full blown data

 dump” from a data swap with an entity named Loan Performance.

        114.    In late 2004, this former Managing Director had “worked out a deal” for S&P to

 acquire additional data from Loan Performance (data now required by the Company’s settlement

 with the New York Attorney General). By late 2004 or early 2005, she/he had created LEVELS 6.0,

 which included a database of 10,000,000 loans. This confidential witness created the new models

 because she/he “knew that the models we were using were getting stale – we were just putting band

 aids on them and trying to adjust to new information.” Because this former employee understood the

 key significance of acquiring additional loan data, in December 2005, she/he made a detailed

 presentation to Corbet regarding acquiring Loan Performance. The presentation was made in

 Corbet’s conference room and was made to Corbet and her Executive Committee, which at the time

 included Rose, Tillman, Rita Bolger (“Bolger”) and Milano. During the presentation, the former

 Managing Director provided a detailed history of all the LEVELS versions she/he had created and

 described in detail how the additional loan data was necessary to improve the ratings process. At the

 conclusion of the presentation, Corbet told the former Managing Director the presentation was the

 best acquisition presentation Corbet had ever seen. The Company, however, did not acquire Loan

 Performance, did not acquire that loan level data from any other company, and never used the vastly

 improved, existing LEVELS models created by the former Managing Director. These willful

 refusals to improve LEVELS are strong evidence of the falsity of Defendants’ Class Period

 statements regarding the sophistication, application, and sufficiency of the Company’s rating

 models.

        115.    The former Managing Director stated that the models were bandaged so much and

 that there was such better data available that it was a “crying shame” that the Company was still


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 putting on band aids.

        116.    The former Managing Director stated that what small improvements were created for

 the models were done by Company analysts “in their spare time” because “there was no staff

 dedicated to model development or improvements.” She/he recalled in this regard that McGraw

 liked to say that the Company’s Business Unit Managers had all the resources they needed, and that

 the Business Unit Managers were just not using them properly. This confidential witness stated that

 McGraw’s reaction stifled requests to hire additional, needed analysts. Indeed, it is now a

 documented fact that the Company was inadequately staffed and did not improve its models because

 doing so would have threatened to increase the quality of ratings (thereby lowering the ratings) and

 potentially cause the Company to miss out on lucrative Structured Finance deals. See Exhibit 7

 (Senate Subcommittee Finding of Fact Nos. 1, 5)

        117.    The Company, however, never implemented Version 5.0 or Version 6.0. To the best

 of the former Managing Director’s knowledge, neither Version 5.0 nor Version 6.0 had been

 implemented through mid-2008. Based on her/his experience in the industry, however, this former

 high-ranking Managing Director stated that had the Company implemented either Version 5.0 or

 Version 6.0 of LEVELS, the Company would have had a “better idea of how the new products [it

 was rating] were going to perform.” The confidential witness stated that the new versions would

 have provided S&P with a sample of new loan products such as “No Income, No Asset” loans, fixed-

 floating loans, 2/28 or 3/27s. As a result, “we would have known what the enhancement

 requirements really should have been.” “The enhancement requirements were lower than they

 should have been” because the Company’s models were outdated and lacked sufficient data.




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          118.    For example, as part of an email exchange to analytical managers of S&P’s mortgage

 group concerning the LEVELS model, on March 23, 2005, Parisi admitted that an updated version of

 LEVELS could have been released:26

          While I agree with number 1, I’m puzzled. When we first reviewed 6.0 results **a
          year ago** we saw the sub-prime and Alt-A numbers going up and that was a major
          point of contention which led to all the model tweaking we’ve done since. Version
          6.0 could have been released months ago and resources assigned elsewhere if we
          didn’t have to massage the sub-prime and Alt-A numbers to preserve market share.

          119.    Commenting on the internal March 23, 2005 email, the following exchange occurred

 during the April 23, 2010 Senate Subcommittee Hearing:

          Raiter: No, sir. They should not have been massaged. I think I stated earlier that as
          the models were developed by our consultant and they were tested in house to verify
          that they were accurate and that their predictiveness was an improvement over the
          model that was currently running, the models were immediately put into force. We
          ran out of financing and funding and our budgets in 2003 to put this version 6.0 in
          place, but the preliminary analysis, as Dr. Parisi suggested, was that we were not
          adequately rating the transactions.

          That model was delivered I believe in September of 2006. They did an accuracy
          evaluation. It was determined to be accurate, better than what they were running and
          the consultant was paid. But they also performed what was called – it was an impact
          analysis on the ratings. We had never done that before, so I do not know where the
          order came to start doing impact analysis on the effective new models on market
          share. But it’s apparent that that’s what happened.

          Levin: What was your reaction when you read that e-mail? What was your reaction
          when you read that e-mail?

          Raiter: I was amazed. I mean, Frank Parisi was one of the Ph.D.s that worked on
          these models. He’s very knowledgeable. He’s one of the best analysts they have and
          very outspoken.

          Levin: Were you bothered by it?

          Raiter: Certainly.

          120.    The former Managing Director also stated that as the LEVELS model got older,

 analysts and members of the Structured Finance department would see that it was not handling the

 26
      See Exhibit 18.


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 deals properly. The result was that the analysts would multiply certain things as enhancements in an

 attempt to account for the model’s deficiencies. The confidential witness stated that “it was a

 guess.” The Company failed to disclose the deficiencies in their models or that its supposedly top-

 notch ratings, integrity, and reputation were being mortgaged by and had decayed into mere

 guesses.27

        121.    Along the same lines, during the April 23, 2010 Senate Subcommittee hearing,

 Senator Levin raised the issue of whether S&P used a so-called “magic number” when it had

 insufficient data to predict how a new loan would perform. In response, Raiter testified:

        When we couldn’t get the data in order to do a full analysis on a major revision to the
        model, they would come up with a multiplier that could be applied to the model
        results that were being run, which were inadequate, in order to beef that number up.
        And it was always intended that those magic numbers would be replaced with full-
        blown analytics when the data came in.

        And it’s my understanding that there were some magic numbers installed in early
        2005 when they made adjustments to the existing model. And if they were
        massaging information on the 6.0 model when it came out, it would typically be in
        the form of these multipliers that they would use.

        122.    One telling example of how sensitive the Company was to potentially losing business

 because of criteria changes to its LEVELS model occurred in an email exchange between May 3-5,

 2006. Specifically, on May 3, 2006, Robert Morelli at UBS sent an email to S&P stating, “[H]eard

 you guys are revising your residential mbs rating methodology – getting very punitive on silent

 seconds. heard your ratings could be 5 notches back of moddys [sic] equivalent. gonna kill your


 27
   According to a former Managing Director, the committee of analysts assigned to review a rating in
 the Structured Finance Department is a “quality control process.” The analysts would check to see if
 collateral has been reviewed and analyzed, if the enhancement was appropriate, and if the documents
 met the applicable standards. The lead analyst would simply make sure that the deal appeared to
 have been done properly. According to the confidential witness, there was not a vote, and it is
 “completely bogus whenever [the Company] raises that argument.” In other words, the committee
 was not really a committee – it was an exercise in procedural formality. The former Managing
 Director stated that there is a committee, but not the same type of committee as with S&P’s rating of
 corporates.


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 resi[dential MBS] biz. may force us to do moodyfitch [sic] only cdos!” In response, S&P

 employees internally discussed the ramifications of some proposed, moderate tightening to the

 Company’s liberal modeling standards in a May 5, 2006 email with the subject “Confidential –

 Criteria Changes in LEVELS 5.7”, which stated, in pertinent part:28

          We put out some criteria changes a couple of weeks ago that we will begin to use for
          deals closing in July.

          Significant changes included an update to our Housing Volatility Index (a home price
          indicator) which will be increasing our loss severity calculations and a more
          conservative approach to first liens with piggyback (silent seconds). Together these
          two changes will be making a moderate change in raising our credit support
          requirements going forward.

          However to say that these changes will leave us 5 notches back of Moody’s sounds
          like a gross over statement, especially since we have been a notch or two more liberal
          than they have been (causing the split rating issues) for over the last year or two. The
          simulations that we did on the impact of our changes, more often then not we believe
          will bring our requirements close to theirs or in certain situations slightly higher.

          We certainly did [not] intend to do anything to bump us off a significant amount of
          deals.

          I’d like to respond aggressively to this, I’d be happy to contact Robert Morelli at
          UBS to discuss further. Is he on the CDO side of the business?

          123.    Similarly, a former Assistant Project Manager for the Company’s LEVELS model

 from Fall 2005 through June 2008 stated that while LEVELS was “useful at one point” in time, the

 model “should have been updated” more. She/he stated that the Company was “telling clients

 certain components were going to be updated on a quarterly basis,” but, in fact, the components were

 likely to be updated “maybe” on an annual basis. The failure to update LEVELS in a manner

 consistent with what the Company was telling clients (and the market), according to this confidential

 witness, began even before she/he started working for S&P in Fall 2005. Indeed, as this former




 28
      See Exhibit 16.


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 employee continued working with LEVELS over time, the timeframe for updating the model became

 “progressively slower.” In other words, it got more and more out of date.

        124.    For example, the former Assistant Project Manager for the Company’s LEVELS

 model stated that S&P was always behind on updating the Housing Price Volatility Index (“HPI”).

 LEVELS employed a housing price index from the Office of Federal Housing Enterprise Oversight

 (“OFHEO”), as opposed to using the S&P Case Schiller Housing Price Index.29 In addition to the

 fact that the Company was slow on implementing the HPI into LEVELS is that the OFHEO HPI was

 much slower than the S&P Case Schiller Index to pick up on the softening of home prices. Thus,

 S&P was not only behind on implementing the HPI at a time of falling house prices, but it knew that

 its own internal S&P Case Schiller Home Price Index showed a more dramatic slowing of the

 housing market than the HPI actually used in LEVELS.

        125.    Explaining why updates were not made to LEVELS, the former Assistant Project

 Manager for the Company’s LEVELS model recalled that S&P analysts were “always too busy.”

 The LEVELS product management team, including LEVELS Product Manager Galli and Assistant

 Product Manager Susanne Carter (“Carter”) “had no input into criteria.” The former employee

 recalled that the Company’s clients were “always calling [her/him] to ask ‘why aren’t you updating

 LEVELS?’” The former employee stated that the decision not to update LEVELS was made by

 RMBS Managing Director Susan Barnes (“Barnes”), Managing Director Warrack, Senior Director

 Scott Mason (“Mason”), and RMBS Analyst Brian Vonderhorst (“Vonderhorst”).




 29
   For example, in a November 5, 2007 press release regarding an update to LEVELS, the Company
 announced: “Standard & Poor’s Housing Volatility Index (HVI) adjustments will reflect newly
 released Office of Federal Housing Enterprise Oversight (OFHEO) house price data that may,
 depending on geographic dispersion, result in increased loss severity and loss coverage levels.”


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        126.    During the House Oversight Committee hearing on October 22, 2008, Raiter testified,

 although he was not an expert in CDOs, that in the CDO arena, the Company’s diversity index did

 not make sense:

        Well, again, I’m not an expert on the CDO model or the methods they used. But
        what I have read about is it’s tremendously driven by this diversity index that is
        supposed to tell you whether the bonds that are put in one of those transactions are
        correlated, so if one sector of the market starts to go down, whether that might have
        an impact on the performance of other bonds. As they started, in my opinion, putting
        more residential mortgage and consumer bonds in these transactions, they were
        highly correlated in our intuition. We weren’t working on it, but it was highly
        correlated. It really amazed us that they could put so many mortgages in the pool
        and still believe that it had diversification risk.

        127.    Later during the hearing, Raiter testified that the Company’s failure to update its

 models prevented it from identifying problems in the subprime market as they occurred:

        I believe that Standard & Poor’s at this time, there was a raging debate between the
        business managers and the analysts. The analysts were in the trenches. We saw the
        transactions coming in. We could see the shifts that were taking place in the
        collateral. And we were asking for more staff and more investment in being able to
        build the databases and the models that would allow us to track what was going on.
        The corporation, on the other hand, was interested in trying to maximize the money
        that was being sent up to McGraw-Hill, and the requests were routinely denied. So,
        by 2005, when I retired, we did have two very excellent models that were developed
        but not implemented. And it’s my opinion that had we built the databases and been
        allowed to run those models and continually populated that base and do the analysis
        on a monthly quarterly basis, we would have identified the problems as they
        occurred.

        128.    During the April 23, 2010 Senate Subcommittee hearing, Raiter testified that “as the

 market exploded and the new products arrived, we really should have been looking at coming out

 with new models every six months. You know, a year at the worst.” In response to a question

 whether management was concerned about what effect not updating the Company’s models would

 have on the “massive influx of new business,” Raiter testified:

        No. We didn’t get any indication that it really bothered them, because they were
        turning us down for staff, they were turning us down for the resources we needed.
        And what they were looking at was, you must not have been working very hard,
        because your volume doubled and nobody’s quitting. So I guess you had slack down
        there.

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        And they were just enjoying the revenue. And by 2005 when I left, we were getting
        calls from corporate – monthly – how much money are you going to make this
        month? I mean, structured was driving the whole ratings business and our MBS was
        the fastest growing unit.

        129.    During the April 23, 2010 Senate Subcommittee Hearing, the following exchange

 occurred between Senator Kaufman and Raiter regarding the Company’s models.

        Sen. Kaufman: Let me just ask one question I have. You king of imply – do you
        think the decision not to move with the more advanced models was a financial
        decision, or do you think it was a decision made with the fact that it was going to
        make things more difficult to give higher ratings, and therefore, be not as
        competitive?

        Raiter: I think the initial decisions not to fund it were because of resource constraints
        and the desire to maintain higher profits. I think the decisions that were made when
        it was finally developed and available for implementation would indicate whether
        they were stating to take a more serious look at what the impact on market and
        profitability was than just the analytics. I was gone by then.

        130.    Summing up the Company’s willingness to pursue lucrative ratings and market share

 while refusing to update the models used to rate deals, Raiter testified during the October 22, 2008

 House Oversight Committee hearing that revenues were what drove the Company – not the integrity

 of its ratings or models – and that if the Company had timely updated its models, it would have seen

 the subprime collapse coming from the very start of the Class Period:

        Well, profits were what drove it starting in about 2001 at Standard & Poor’s. It was
        the growth in the market and the growth--profits were running the show. In a
        nutshell, that was the simple answer. And the business managers that were in charge
        just wanted to get as much of the [revenue] as they saw like this, growing out in the
        street, into their coffers.

        And the breakdown, in my opinion, was that while we can talk about or you all can
        consider different ways of fixing the rating agencies’ current situation, by and large,
        the analysts, as we have seen in the e-mails, they were honest, hardworking people.
        And they were sending messages to the business managers through the [Managing
        Directors], et cetera, and they weren’t getting any response.

        So there was a big breakdown, and that reputation that was lost shouldn’t be totally
        blamed on the analysts because most of them were trying to do the right thing, but
        the money became so great that the management lost focus.

        In residential mortgages alone, just that piece of the business, from 1995 when I
        joined the firm to 2005, grew from $16 million a year for S&P to $150-plus million,
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         a tenfold increase. And the market was just being driven--it was being driven by low
         interest rates, by these new products that were coming out so fast and furious that it
         took a lot of money to track them and analyze them, and the money wasn’t available.
         So our analysts spent their time just trying to get the ratings out the door and to alert
         management what was going on, and none of that money was plowed back and
         reinvested.

         And I firmly believe that had we continued to track at the loan level those new
         products, we would have seen things in 2004-2005 that would have forewarned us.

         And when you talk about the way these deals work, you can’t lose the fact that triple-
         A bond has support; just like you should have equity in your house, the support
         underneath that was established by the rating. With more information about those
         new products, that support requirement could have gone up significantly and made
         some of those products uneconomic to originate. But because they weren’t
         tracking the data, they weren’t allowing the analysts to collect it and analyze it
         continuously, those alerts waited until 2007 when everything collapsed.

         There were good people in those firms at Moody’s and S&P and Fitch that saw
         what was coming, and they tried to make management aware of it. And money was
         the overriding concern at the top of the firm.

         And the point Mr. Sarbanes made is right on the money. Some of these people are
         the same ones that brought Enron and WorldCom to us, and now they’re going to
         give us another list of things. And you can go back and check; a lot of things on that
         list they promised to do after Enron and WorldCom exploded, and they still haven’t
         done it--so the same people still in charge of the hen house.

         131.    To be clear, Plaintiff’s claims are not based on the Company’s business judgment

 regarding which models to use, when to update them, or how to apply them. The Company’s poor

 business decisions are of no consequence to this case. Instead, Plaintiff’s claims are based on

 Defendants’ false and misleading statements, and their failure to disclose the truth. Defendants

 convinced the market that the Company’s ratings were reliably created by sufficient and uniformly

 applied ratings models and criteria. While the Company was free to make a business decision to rate

 securities using insufficient and intermittently applied ratings models and criteria, or, as Parisi wrote,

 to engage in “[s]crewing with criteria to ‘get the deal’” and put “the entire S&P franchise at risk,”

 Defendants were not free to do so without disclosing that decision to the market.




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        F.      To Preserve and Maintain Market Share, the Company “Sees No
                Evil” as it Slaps AAA Ratings on Deteriorating Subprime Mortgages
                and Risky Deals Not Likely to Perform

        132.    Although they have only recently grown to comprise a significant portion of the

 mortgage market, nontraditional mortgage loans have been available for many years. In the past,

 nontraditional mortgage loans were offered only to higher-income borrowers, those with promising

 long-term earnings potential, such as young lawyers and doctors just finishing law and medical

 school, and to borrowers with uneven income streams, such as stock brokers or salespeople who

 receive large commission checks one or more times a year. As set forth above, in the past several

 years, nontraditional loans have increasingly been used to help home buyers, especially those

 considered subprime borrowers, obtain credit.

        133.    In an effort to qualify new borrowers for homes they would otherwise be unable to

 afford and to allow existing homeowners to refinance, even as interest rates were rising, lenders

 began lending to ever-riskier borrowers on ever more favorable terms. These findings are not simply

 anecdotal; they are supported by several federal studies and examinations. For example:

        •       In mid-2005, all five federal banking regulators (the Office of the Comptroller of the
                Currency (“OCC”), Federal Reserve Board (“FRB”), Federal Deposit Insurance
                Corporation (“FDIC”), Office of Thrift Supervision (“OTS”), and National Credit
                Union Administration (“NCUA”)) reviewed data from six of the most sophisticated
                residential mortgage lenders in the country, looking for trends and current practices.
                The six lenders chosen represented half of the projected 2005 nontraditional
                mortgage product originations, as well as half of all mortgage originations. The
                agencies’ review found indications of loosening in underwriting standards, instances
                of borrowers not being qualified based on fully amortizing payments, an increase in
                piggyback loans, and an increase in the use of credit scores in lieu of income and
                asset verification. The layering of these activities on top of subprime nontraditional
                mortgages added additional layers of credit risk. The survey also found
                concentrations of nontraditional products in areas experiencing the most rapid home
                price appreciation.

        •       In January 2006, the FRB issued a report in which it found that a sizeable number of
                borrowers with ARMs did not fully understand the terms of their loans, particularly
                the percent by which their interest rates could change, whether there was a cap on
                interest rate increases, and the index to which their rates are tied. These findings
                were particularly true for lower-income borrowers and those with less education.

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        •       In an annual survey of credit underwriting practices at nationally chartered banks,
                released in October 2006, the OCC found that 26% of lenders had eased their lending
                standards in the prior year, most often by increasing the use of nontraditional
                mortgage products. The 2006 survey was the first in the survey’s 11-year history in
                which a net easing in credit underwriting was found.

        134.    Thus, by early to mid-2006 it had been clearly established that mortgage brokers and

 lenders were lending to borrowers who, in the past, would have never qualified for loans. On top of

 lending to buyers who only a few years prior would have never qualified for loans, fraud was

 rampant as a result of stated income and non-traditional lending practices. In 2005, a white paper

 issued by the Federal Financial Institutions Examination Council (“FFIEC”), Washington, D.C.,

 reported that as many as 10 percent of all mortgage loan applications annually in the U.S. residential

 real estate market involved a “material misrepresentation.”

        135.    In October 2005, USA Today reported, “As the U.S. housing market hits record

 highs, mortgage fraud appears to be rising from California to Florida.” The story quotes the author of

 a report on mortgage fraud, who noted that “fraud is costing the industry tens of millions of dollars.”

        136.    As an additional example, at the May 2005 Mortgage Bankers Association’s

 Secondary Marketing Conference, there was a panel discussion regarding mortgage fraud. On the

 mortgage fraud panel was George Kimmel (“Kimmel”), associate director of S&P’s Structured

 Finance Group. Kimmel’s comments at the conference included that “[S&P’s] Structured Finance

 Group estimated the annual cost of mortgage fraud in 2003 at 3 basis points, or $1.2 billion . . . .”

        137.    Various studies were completed during the 2005 to 2007 time frame that indicated a

 sharp rise in mortgage loan fraud. A 2007 study by Basis Analytics of 16,000 defaulted residential

 mortgage loans found that over 70% contained significant misrepresentations in their respective

 mortgage loan files. A 2006 study by the Mortgage Asset Research Institute showed that almost

 60% of the stated income loans had misrepresented stated income by at least 50%. Also, mortgage

 fraud complaints more than doubled in the U.S. from 2003 to 2006 according to the Financial


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 Crimes Enforcement Network, a division of the U.S. Treasury Department. Suspicious activity

 reports pertaining to mortgage fraud increased 14-fold from 1997 to 2005.

           138.    On April 6, 2005, S&P issued comments at an industry event held at Amelia Island,

 Florida, concerning fraud and risks related to newer mortgage products. In its commentary, S&P

 stated:

           [T]here is growing concern around the increased usage of these mortgages in new
           RMBS securitization, which may pose significant credit risk. According to [S&P’s]
           credit analyst Ernestine Warner, a director in RMBS Surveillance, some of the
           inherent risks that may arise include payment shock due to interest rate increases,
           coupled with the addition of principal repayment, undercollaterlization with regard to
           negative amortization, and home price depreciation.

           “Despite these risks, there isn’t any performance information available on any of
           these products just yet because they are still very new to the subprime market. Due
           to the time lag associated with delinquencies and losses in RMBS pools, and the
           nature of these risks, it will be several years before the product performance is tested.
           It is anticipated that all risks associated with these loans have been adequately
           covered. However, monthly performance data will be closely scrutinized as the
           products mature,” Ms. Warner noted.

           139.    The statement above was false, however, because had the Company kept its LEVELS

 model current, instead of merely applying “band-aids” it would have had significant additional loan

 performance information. Indeed, the former Managing Director stated that Versions 5.0 and 6.0 of

 LEVELS, which were created but never implemented, would have included information on millions

 of additional loans, and would have required substantial additional enhancement to the deals the

 Company rated.

           140.    Shortly after S&P’s April 6, 2005 comments concerning mortgage fraud, a mortgage

 broker emailed Barnes, S&P’s Managing Director for RMBS, imploring her to make sure that S&P




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 “put at stop to this madness!!!” Needless to say, the individual’s warning fell upon deaf ears. The

 email stated:30

        Hello Susan,

        I saw you today on CNBC and the reason for my email is that I am extremely afraid
        of the seeds of destruction the financial markets have planted. I have contacted the
        OTS, FDIC and others and my concerns are not addressed. I have been a mortgage
        broker for the past 13 years and I have never seen such a lack of attention to loan
        risk. I am confident our present housing bubble is not from supply and demand of
        housing, but from money supply. In my professional opinion the biggest perpetrator
        is Washington Mutual.

        1) No income documentation loans.

        2) Option ARMS (negative amortization). on over-leveraged collateral.

        2b) Interest income on negative amortization is not taxed, but booked as revenue.
        Increase in loan balance shows as an increase on balance sheet and loan losses are
        not increased. Looks great for financials, but terrible for bank depositors.

        2c) Option ARMS are funded and held from depositors. (huge risk to FDIC)

        3) Option ARMS make up 90% of Bay Area loans in CA.

        4) WAMUs recent bid for Providian is the purchase of another highly
        leveraged/securitized bank.

        5) 100% financing loans.

        I have seen instances where WAMU approved buyers for purchase loans; where the
        fully indexed interest only payments represented 100% of borrower’s gross monthly
        income. We need to put a stop to this madness!!!

        141.       Despite this specific warning, S&P continued to churn out AAA ratings to mortgage-

 backed deals it knew were rife with fraud and impossible loan scenarios. The Company slapped

 AAA ratings on deals made up of the most toxic types of mortgages, including Alt-A Fixed, Alt-A

 ARMS, Option ARMs, and subprime. According to internal S&P documents, subprime and Alt-A




 30
    A true and correct copy of the April 6, 2005 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 23.


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 issuances alone made up 76% of all mortgages generated in 2006.31 Now, more than 80% of all

 these types of RMBS deals rated AAA by S&P in 2006 and 2007 – with as much as 98% in some

 asset classes – have been downgraded to junk status. See Exhibit 8. This shocking fact serves to

 underscore the fact that the Company, in order to maintain market share and unsustainable financial

 results, was willing to bestow AAA stamps of approval on non-performing loans.

          142.    As stated by Senator Levin during the Senate Subcommittee hearing:

          In addition to inaccurate models and competitive pressures, the credit rating agencies
          failed to adjust their ratings to take into account credit risks from the fraud and lax
          underwriting standards that increasingly characterized the mortgages securitized and
          sold on Wall Street. In August of 2006, an S&P employee wrote, quote, “There has
          been rampant appraisal and underwriting fraud in the industry for quite some time as
          pressures mounted to feed the origination machine,” close quote.32

          In September of 2006, another S&P employee wrote, quote, “I think it’s telling – I
          think it’s telling us that underwriting fraud, appraisal fraud and the general appetite
          for new product among originators is resulting in loans being made that shouldn’t be
          made,” close quote. A colleague responded that the head of the S&P surveillance
          group, quote, “told me that broken down to loan level, which she is seeing, is losses
          as bad as high 40s (percent), low 50%. I’d love to be able to publish a commentary
          with this data, but may be too much of a powder keg,” close quote.33

          Well, not taking into account mortgage fraud and lax underwriting standards did,
          indeed, turn into a powder keg, one that helped blow up the RMBS and CDO
          markets and triggered the 2008 financial crisis.

          143.    According to a former Managing Director, CDOs exploded because “suddenly people

 could sell garbage they otherwise couldn’t.” She/he stated that it did not matter what was in a deal,

 and that CDOs would buy up all of the lowest rated tranches of RMBS. CDOs would buy up non-



 31
      See Exhibit 10.
 32
   A true and correct copy of the August 7, 2006 email referred to by Senator Levin and made public
 by the Senate Subcommittee, is attached hereto as Exhibit 24.
 33
   An excerpt of the September 29, 2006 email referred to by Senator Levin is referenced in the
 materials and exhibits made public by the Senate Subcommittee, and is attached hereto as Exhibit
 25.


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 investment grade tranches and the “market exploded.” She/he stated that large arrangers used to

 have to hold the lower level tranches on their books, but that with CDOs, they were able to sell

 everything. This confidential witness stated that CDOs rely on ratings of other rating agencies for

 the underlying assets, i.e., notching. For example, at S&P, they were requested to “notch” and rate

 transactions that had been rated by Moody’s or Fitch, even though S&P did not have access to and

 had not seen the data underlying the transactions.

        144.    The former Managing Director described the CDOs as “absolute alchemy.”

 According to published reports, there are two caveats for CDOs: (1) it’s nearly impossible to find out

 exactly what is in a CDO; and (2) CDOs are not regulated.

        145.    In response to a question regarding CDOs being a “house of cards,” Raiter testified:

        I don’t believe they didn’t have the information. I believe it was available on both
        the residential side and on the CDO side. I believe there was a breakdown in the
        analytics that they relied on. And that the house of cards, intuitively, to a lot of us
        analysts that were outside the CDO area but were looking at it through the glass,
        intuitively, it didn’t make a whole lot of sense.

        And as Mr. Egan has suggested, we are all relatively well educated and intelligent
        people; and if you couldn’t explain it to us, we were real curious how this product
        was enjoying such a tremendous success. And, unfortunately, anecdotally, we were
        told that it was enjoying a lot of success because they were selling these bonds in
        Europe and Asia and not in the United States, particularly the lower-rated pieces.

        146.    S&P was rating such risky deals that by at least September 2006, Company

 employees were internally expressing their fears. In an email exchange on September 2, 2006 under

 the subject “Nightmare Mortgages,” Robert Mackey, a S&P Financial Analyst in Servicer

 Evaluations, wrote to Gutierrez, S&P’s Director of Servicer Evaluations for Structured Finance, and

 another person that:34




 34
    A true and correct copy of the September 2, 2006 email, made public by the Senate Committee, is
 attached hereto as Exhibit 26.


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           This is frightening. It wreaks of greed, unregulated brokers, and “not so prudent”
           lenders. However, some borrowers are at fault as well. When I first heard of this
           product, just two years ago, I though it might work for a small niche of the housing
           market. That’s where it should have remained:

           Option ARMs were created in 1981 and for years were marketed to well-heeled
           home buyers who wanted the option of making low payments most months and then
           paying off a big chunk all at once. For them, option ARMs offered flexibility.

           Hope our friends with large portfolios of these mortgages are preparing for the
           inevitable.

           147.   Similarly, an internal S&P email from Gutierrez on October 20, 2006 concerning the

 state of the mortgage market read “Pretty grim news as we suspected – note also the ‘mailing in the

 keys and walking away’ epidemic has begun – I think things are going to get mighty ugly next

 year!”35

           148.   At the Company’s highest levels, it was surely no secret within S&P that there were

 immense problems with the Company’s ratings of RMBS and CDOs tied to the subprime market.

 For example, in a March 18, 2007 email, Gutierrez wrote, in pertinent part:36

           To give you a confidential tidbit among friends the subprime brou haha [sic] is
           reaching serious levels – tomorrow morning key members of the RMBS rating
           division are scheduled to make a presentation to Terry McGraw CEO of McGraw-
           Hill Companies and his executive committee on the entire subprime situation and
           how we rated the deals and are preparing to deal with the fallout (downgrades)
           Yours truly is not among the anointed for that dubious 15 minutes of fame.

           149.   Indeed, Company executives and employees were well aware that S&P had been

 issuing inflated ratings to deals made up of toxic collateral. In an April 26, 2007 email, Kim




 35
   A true and correct copy of the October 20, 2006 email, which was made public by the Senate
 Subcommittee, is attached hereto as Exhibit 27.
 36
      See Exhibit 4.


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 Diamond (“Diamond”), the Managing Director in S&P’s Global Real Estate Finance Group, wrote,

 in pertinent part:37

          Gale, the newest sickening trend. Issuers trying to pass their loss of profitability
          resulting from the latest blow out in spreads by demanding severe rating fee pricing
          reductions…. we lost the pwr deal because we refused to reduce our fee from 1.4
          million to 1.1 million for a 4 billion dollar pool… unbelievable… the bankers make
          shitty loans with such skinny margins tha[t] they can’t make any money and expect
          us to eat it. Given our current staffing (i.e. Not enough analysts to rate the current
          pipeline of deals), the opportunity cost of doing the deal at that ridiculously low fee
          and risking eroding our pricing structure going forward was deemed too high…lets
          just hope the deal prices like crap without us.

          150.   The Senate Subcommittee hearing revealed several instances where the ratings

 agencies rated deals they knew would not perform – at the ultimate expense of their reputation,

 credibility, and integrity – to pursue market share and lucrative fees. In one example, in January

 2007, S&P was asked to rate an RMBS with subprime loans issued by Fremont Investment and Loan

 (“Fremont”), a subprime lender known at the time for originating very poor quality loans.

 Specifically, on January 24, 2007, Sai Uppuluri (“Uppuluri”), an Associate Director for S&P’s

 Structured Finance Ratings, sent an email to his supervisor that stated: “I have a Goldman deal with

 subprime Fremont collateral. Since Fremont collateral has been performing not so good, is there

 anything special I should be aware of?”38 In other words, Uppuluri was asking whether special

 considerations should be made because the Company knew that Fremont was making poor quality

 loans.

          151.   In response, one supervisor, Jeff Watson, wrote, “No, we don’t treat their collateral

 any differently . . .” Another supervisor, David Glehan, wrote that as long as the FICO scores were



 37
    A true and correct copy of the April 26, 2007 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 28.
 38
    A true and correct copy of the January 24, 2007 email, made public by the Senate Subcommittee,
 is attached hereto as Exhibit 29.


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 current, the analyst was “good to go.”39 A few days later, on February 1, 2007, an article was

 circulated via email to dozens of people within S&P, including Barnes, under the subject “Defaults

 cause Fremont to end ties to 8,000 brokers.”40 The email quoted the article as stating, in pertinent

 part:

         Subprime mortgage lender Fremont Investment and Loan on Monday said it severed
         ties last quarter with some 8,000 brokers whose loans were responsible for some of
         the highest delinquency rates in the industry.

                                            *        *      *

         The brokers “released” were “highly correlated” to the sudden rise in defaults on
         Fremont loans. . . .Fremont was the fifth-biggest originator of subprime loans last
         year, with about $33 billion of loans issued.

         152.   On February 27, 2007, Fremont – whose collateral S&P did not treat any differently

 than any other lender – received a proposed cease and desist order from the FDIC that, among other

 things, called for Fremont to make a variety of changes designed to restrict the level of lending in its

 subprime residential mortgage business. On March 2, 2007, Fremont issued a press release

 announcing it intended “to exit its sub-prime residential real estate lending operations.”

         153.   Despite all this information and the fact that Fremont collateral was known to be non-

 performing, with among the worst delinquency rates in the country, in the spring of 2007 S&P put

 AAA ratings on five tranches of RMBS securities backed by Fremont mortgages. Today, all five

 AAA tranches have been downgraded to junk status. In other words, it made no difference to S&P

 that Fremont’s collateral was known within S&P to be non-performing. Indeed, during the April 23,




 39
    A true and correct copy of the January 24, 2007 email, made public by the Senate Subcommittee,
 is attached hereto as Exhibit 30.
 40
    A true and correct copy of the February 1, 2007 email, made public by the Senate Subcommittee,
 is attached hereto as Exhibit 31.


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 2010 Senate Subcommittee hearing, Senator Levin questioned Barnes on the AAA ratings S&P gave

 to Fremont collateral:

        Sen. Levin: If Fremont does [not] get a higher credit risk, I’m trying to figure out
        who does. I don’t understand how you can just simply say it doesn’t make any
        difference, and defend something which says – you folks are supposed to be giving,
        assessing credit risks here. It doesn’t make any difference that their collateral isn’t
        performing?

        Barnes: No, it –

        Sen. Levin: That’s what the email says. It – we don’t treat their collateral any
        differently.

                                            *        *     *

        Sen. Levin: He was told to ignore it. . . I mean this is what the thing which it seems
        to be is going to shake up the folks that are listening to this testimony as to how
        much these credit ratings can be relied on. Here you had a chart . . . Now this is a
        Moody’s deal. Here’s, so I’m going to ask Moody’s as well. Here’s the chart of the
        top 10 issuers of high delinquencies. It comes back, “Holy cow, is this data correct?
        I just graphed it and Fremont is such an outlier.” In other words, they’re terrible.

        Barnes: Mm hmm.

        Sen. Levin: Is it relevant?

        Barnes: It’s definitely relevant.

        Sen. Levin: So why doesn’t the supervisor say, “You’re damned right, it’s relevant.”

        Barnes: Well I guess I’m trying to make a differentiating point.

        Sen. Levin. You’re trying not to answer the question. . . .

        154.    This specific example serves as but one instance of how S&P sacrificed everything in

 the name of rating more deals – including those it knew would be non-performing – and preserving

 market share, despite falsely touting its integrity and credibility to the market.

        155.    Likewise, in April 2007, the Company was busy rating a $1.5 billion synthetic CDO

 deal called Vertical ABS CDO 2007-1 – a deal Company analysts knew was unlikely to perform

 because it was set up to take risks off the books of Bank of America. The exotic CDO was tied

 heavily to the subprime market and to other ABS CDOs. It was set up to primarily reference (i.e.,

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 bet on the performance of) other subprime RMBS (about 55%) with “midprime” securities and ABS

 CDOs making up the remainder at the time of closing.41 The deal was expected to be 95% synthetic

 at closing.   In an April 5, 2007 S&P email, analysts described how there was a “lack of

 responsiveness/cooperation from UBS” on the Vertical deal. In response, S&P analyst James

 Halprin wrote:42

        Vertical is politically closely tied to B of A – and is mostly a marketing shop –
        helping to take risk off books of B o A. Don’t see why we have to tolerate lack of
        cooperation. Deals likely not to perform. JH

        156.    Despite knowing the “deals [were] likely not to perform,” S&P gave AAA ratings to

 the top four tranches of the Vertical deal in April 2007. But just six months later, S&P (along with

 Moody’s) was already downgrading Vertical, which later collapsed. In an internal S&P email

 exchange dated October 25-26, 2007 under the subject “PRIVILEGED AND CONFIDENTIAL:

 FW: (BMP) Moody’s Downgrades Vertical ABS CDO 2007-1 Notes; Further”, Company employees

 wrote, in pertinent part, “Oh, well. The cat is out of the bag.”43

        157.    The Vertical deal, portions of which S&P rated AAA, was one of the worst-

 performing deals imaginable. As stated by Senator Levin during the Subcommittee Hearing:

        One of the purchasers [of Vertical], a hedge fund called Pursuit Partners, sued over
        the CDO’s quick demise. Standard & Poor’s and Moody’s were dropped from the
        lawsuit since current law does not authorize private lawsuits against them, even for
        reckless or unreasonable ratings, but the court ordered UBS to set aside $35 million
        for a possible award to the investor. The legal pleadings included internal emails at



 41
    The composition of the Vertical CDO was described in a Moody’s Pre-Closing Committee
 Memorandum, made public by the Senate Subcommittee, a true and correct copy of which is
 attached hereto as Exhibit 32.
 42
    A true and correct copy of the April 5, 2007 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 33.
 43
   A true and correct copy of the October 25-26, 2007 email exchange, made public by the Senate
 Subcommittee, is attached hereto as Exhibit 34.


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        UBS referring to supposedly investment-grade Vertical securities as “crap” at the
        same time that the bank was selling them.

        158.    Another example of how S&P rated a deal that it knew was unlikely to perform

 occurred in July 2007, when the Company rated the Delphinus deal – which was rated and

 downgraded within six months by S&P. As set forth in internal S&P emails on August 20, 2007, the

 assets actually rated by S&P were dummies not included in the final version of the deal. The email

 exchange stated, in relevant part:44

        Regarding Delphinus, it appears that the closing date portfolio they gave us for
        analysis and the effective date portfolio (closing date = effective date) were not the
        same. It appears that the 25ish assets that they included in our closing date
        portfolio that were dummies were replaced less than 24 hours [later] with assets
        that would have been notched and made the portfolio worse. The issue is that given
        they would have provided us with this portfolio at closing date, the SDR’s would
        have gone up and they would not have been able to close as they would not have
        been passing. They are, however, passing effective date with the effective date
        portfolio. Do you want to address this with them, or let it go?

        159.    Another internal S&P email exchange reveals how the Company rated a CDO named

 Kodiak CDO I, even though it never met the requirements to be rated. On August 7, 2007, Andrew

 Loken, a S&P Structured Finance Credit Analyst, wrote to Shannon Mooney, a S&P Senior

 Research Assistant in the Global CDO Group:45

        Back in May, the deal had 2 assets default, which caused it to fail. We tried some
        things, and it never passed anything I ran. Next thing I know, I’m told that because it
        had gone effective already, it was surveillance’s responsibility, and I never heard
        about it again. Anyway, because of that, I never created a new monitor.

        160.    The above internal emails belie Defendants’ public statements during the Class

 Period. The Company’s internal dialogue demonstrates that, among other things, it was engaging in



 44
   A true and correct copy of the August 20, 2007 email exchange, made public by the Senate
 Subcommittee, is attached hereto as Exhibit 35.
 45
   A true and correct copy of the August 7, 2007 email exchange, made public by the Senate
 Subcommittee, is attached hereto as Exhibit 36.


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 the undisclosed practice of rating deals it knew were destined for failure. These telling internal

 Company documents embody greed incarnate, and are powerful evidence of the depths of

 Defendants’ scheme to pursue market share and lucrative fees at any cost.

         G.      The Chronic Shortage of Resources and the Impact of Top-Down
                 Budgeting Left the Company Short of Staff and Unable to Conduct
                 Timely and Meaningful Surveillance

         161.    Despite record profits from 2004 through 2007, it has been documented that S&P

 failed to assign sufficient resources to adequately rate new products and test the accuracy of existing

 ratings. For example, in an article entitled “Behind the Ratings,” The Wall Street Journal reported

 on August 2, 2008 that, “The unredacted version of the SEC’s report also shows that S&P . . . didn’t

 add staff dealing with CDOs as fast as that business was growing. At S&P, revenue from rating the

 mortgage-laden bond portfolios grew more than 800% from 2002 to 2006, but relating staffing

 [only] doubled.” See Exhibit 11. The Credit Agencies Report concluded that at least two of the

 rating agencies struggled to adapt to the increase in the volume and complexity of the deals they

 rated, and that “[t]here are indications that ratings were issued notwithstanding that one or more

 issues raised during the analysis of the deal remained unresolved.” For example, documents in a

 deal file regarding an issue with a collateral manager state “We didn’t ha [sic] time to discuss this in

 detail at the committee, so they dropped the issue for this deal due to timing. We will need to revisit

 in the future.” Another document described an outstanding issue as “poorly addressed – needs to be

 checked in the next deal” and addresses the question of weighted average recovery rate by writing

 “(WARR – don’t ask       ).”

         162.    In fact, one confidential witness described how the Company’s top-down budgeting

 process left the RMBS unit chronically short of needed resources. As a business unit manager at

 S&P, the former Managing Director had budget responsibilities for the RMBS ratings group. She/he

 submitted her/his budget to McGraw-Hill corporate through S&P’s Vice President, Finance and


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 Administration, Milano. This budget information included staffing requirements, deal volumes and

 monies required for improving analytics. In reality, however, this confidential witness stated that

 budgets were “not driven by what you needed, but by demand from corporate that they needed a

 certain amount of money.” Corporate would take initial budgets and cut staff and “jack up”

 revenues. As a result, S&P’s RMBS ratings group was consistently understaffed, yet tasked with an

 ever-increasing volume of deals that increased in complexity, as well as increasing revenue

 responsibilities – setting the stage for the ultimate collapse of the “house of cards.”

        163.    During the budgeting process, Director of Finance Colbert collected budget

 information. The former Managing Director recalled that Milano had the conversations with Bahash

 about the budgets, and clearly recalled that the budget information went “right up to the top.” This

 confidential witness stated that “things started to get hot and heavy in 2002” because the Structured

 Finance department was “making buckets of money” for the Company. The confidential witness

 stated that Structured Finance had grown rapidly and accounted for a “very healthy share” of

 McGraw-Hill’s stated earnings, and that the Ratings Group accounted for approximately 60% of

 Structured Finance’s profits. As a result, Milano would call this confidential witness several times a

 month to check on the progress of the RMBS Group towards making its budgeted numbers. Put

 simply, RMBS was critical to the Company’s earnings and overall financial performance.

        164.    The former Managing Director stated that she/he maintained “deal logs” of historic

 numbers that helped forecast RMBS deals going forward. She/he also maintained a “Pipeline Chart”

 that tracked the “number of tapes coming.” This confidential witness tracked all the RMBS deals

 that came into S&P to potentially be rated and the deals S&P eventually got awarded. By tracking

 this information, the Managing Director was able to assume a certain percentage of deals would be

 awarded of all the deals, or tapes, in the pipeline. “We had a pretty good idea” of how many RMBS

 deals the Company would be awarded to rate, the confidential witness recalled. The former


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 Managing Director stated that when “things fell out” and the RMBS market collapsed, the Company

 would know quickly because “the tapes would stop coming in.”

        165.    This confidential witness stated that the budgets “were driven by corporate” – i.e.,

 McGraw-Hill. She/he recalled that every year she/he put together a budget, the response every year

 was to reduce expenditure estimates – to “low ball.” There was a pattern where “every year they

 ignored what we sent them and told us what we were going to do.” “There was always push-back

 coming from Terry McGraw.” “There was a running joke within S&P that Terry [McGraw] told Pat

 Milano he wanted to make this much money this year,” meaning that McGraw would set the amount

 of money the Company was supposed to make for the coming year. The confidential witness often

 wondered with other business unit managers why they should even bother preparing budgets when

 McGraw would ignore them and tell them what he wanted.

        166.    Similarly, a former Director of Structured Finance Sales stated the problem with

 McGraw-Hill was how it allocated revenue budgets internally. She/he stated the Company would

 promise investors revenue growth, and based on that promise, calculate how much it needed to

 make. McGraw-Hill would then divide the revenue number up amongst its subsidiaries – senior

 management would, for example, tell S&P what numbers to take. She/he stated that the internal

 Company discussion was that McGraw was pushing revenues so hard that the Structured Finance

 group had to issue ratings just to keep up. The group had to use its existing ratings models, despite

 internal questions that anyone might have regarding their quality.

        167.    The results of the top-down budgeting, the consistent under-staffing, and tremendous

 growth within the Structured Finance Department was that by 2000, senior managers were “working

 an inordinate amount of hours” and “getting completely burned out.” “The hours became so

 onerous.” By 2005, S&P RMBS analysts were “doing eight to ten deals at a time,” which the former

 Managing Director described as “just too many.” This confidential witness recalled that every year,


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 she/he begged for more analysts, but was never given permission to hire additional analysts. As a

 result, the confidential witness stated that “our product quality suffered” and that “mistakes were

 made” as the RMBS ratings group was working people to death. This occurred, in part, because as

 time went on, the deals got more and more complicated, and the documents requiring review also got

 more complicated.       The former Managing Director stated that the “documents were more

 complicated as the products evolved.” The Credit Agencies Report corroborates the statements of

 this confidential witness that there was a substantial increase in the number and in the complexity of

 RMBS and CDO deals and that the rating agencies “struggled” to keep up.

          168.    Likewise, in an email dated April 26, 2007, Diamond sent the following to Scott,

 among others, “Given our current staffing (i.e. Not enough analysts to rate the current pipeline of

 deals), the opportunity cost of doing the deal at that ridiculously low fee and risking eroding our

 pricing structure going forward was deemed too high…lets just hope the deal prices like crap

 without us.”46

          169.    With record profits pouring in, as set forth above, it is a documented fact that the

 Company failed to assign the resources or staff necessary to rate new deals coming in or to perform

 surveillance on existing deals it had already rated. See Exhibit 7 (Senate Subcommittee Findings of

 Fact Nos. 3, 5). One way in which the Company’s surveillance department experienced a shortage

 of resources was that S&P’s ratings department would poach surveillance-dedicated employees. As

 Barnes testified, S&P’s ratings department was short of staff and would borrow employees from the

 surveillance department at the time the Company’s surveillance department was also short of staff.

 This occurred despite the fact during 2006, delinquency rates for loans supporting subprime

 securities were hitting record levels.



 46
      See Exhibit 28.


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        170.    The former Director of RMBS Surveillance recalled that each year, each S&P

 employee was asked to sign a Code of Conduct. The Code of Conduct, which is publicly available,

 stated, amongst other things, that the Company placed a higher emphasis on surveillance than it did

 on issuing new ratings. The former Director of RMBS Surveillance stated while “that might be true

 on paper,” it “certainly [was] not true in the real world.” She/he stated the “focus of the Structured

 Finance Group was getting revenues in the door and increasing our market share.” It was “obvious”

 within the Company that this was the goal. She/he recalled that new issuance analysts were “loaded

 up” with deals and it would be “so hectic” that the Company pulled surveillance employees to rate

 new issuance. She/he personally recalled being pulled out of surveillance to rate new issuance on a

 number of occasions during 2006 – at least two to three times a month during 2006.

        171.    The SEC’s Credit Agencies Report (see Exhibit 6) documented the extensive failures

 of S&P to conduct surveillance, revealing, among other things, that:

        •       “[C]ertain significant aspects of the ratings process and methodologies used to rate
                RMBS and CDOs were not always disclosed, or were not fully disclosed.” One
                criteria officer in the Structured Finance Surveillance Group remarked, “our
                published criteria as it currently stands is a bit too unwieldy and all over the map in
                terms of being current or comprehensive. It might be too much of a stretch to say
                that we’re complying with it because our SF [structured finance] rating approach is
                inherently flexible and subjective, while much of our written criteria is detailed and
                prescriptive. Doing a complete inventory of our criteria and documenting all of the
                areas where it is out of date or inaccurate would appear to be a huge job – that would
                require far more man-hours than writing the principles-based articles.”

        •       Despite charging issuers upfront or annually for ratings surveillance fees, at least one
                agency lacked sufficient personnel and an internal email reflected a concern that
                surveillance criteria used during part of the review process were inadequate. Also,
                there was “poor documentation of the surveillance conducted” and “[t]wo rating
                agencies [did] not have internal written procedures documenting the steps that their
                surveillance staff should undertake to monitor RMBS and CDOs.”

        172.    The failures identified in the Credit Agencies Report were echoed in Raiter’s

 testimony given during the October 22, 2008 House Oversight Committee’s hearing on the Credit

 Rating Agencies and the Financial Crisis, where he stated, in pertinent part:


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        Another big area that Mr. Egan has discussed is there are two sides to the rating.
        You have an initial rating when the bonds are sold, and then you have the
        surveillance. And at some point in the mid-1990s, the management in Standard &
        Poor’s decided to make surveillance a profit center instead of an adjunct critical key
        part of keeping investors informed as to how their investments were performing after
        they bought the bonds. And as a result, they didn’t have the staff or the information.
        They didn’t even run the ratings model in the surveillance area which would have
        allowed them to have basically re-rated every deal S&P had rated to that time and
        see exactly what was going on and whether the support was there for those triple-A
        bonds.

        The reason they gave for not doing it was because they were concerned that the
        ratings would get volatile and people would start to feel- like all triple-As aren’t the
        same. And it was a much more pragmatic business decision than really focusing on
        how to protect the franchise and the reputation by doing the right thing for the
        investors.

                                           *        *      *

        There is a big difference in this market between the rating at issue and the
        surveillance. A breakdown occurred both in the proper sizing of the rating at issue.
        But surveillance has been atrocious.

        173.      With regard to surveillance, the former Managing Director recalled that prior to

 her/his leaving the Company, S&P started charging a “one time” fee for surveillance. Previously,

 the fee had been charged to the investment bank annually to conduct surveillance. Once the

 Company went to the “one time” fee arrangement, it started to use the present value of all of the

 surveillance fees it would have collected for the life of the security, and have the investment bank

 pay that one time up front for S&P to conduct surveillance over the life of the security. According to

 the former Managing Director, this made it “so there was even less incentive to devote resources to

 surveillance.”

        174.      Internal Company documents paint a clear picture of just how atrocious S&P’s

 surveillance was. In an October 6, 2005 email from Roy Chun (“Chun”), S&P’s Managing Director

 for Surveillance who reported to D’Erchia, Chun wrote, in pertinent part, the following in answer to




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 the question of “How do we handle existing deals especially if there are material changes that can

 cause existing ratings to change?”:47

        I think the history has been to only re-review a deal under new assumptions/criteria
        when the deal is flagged for some performance reason. I do not know of a situation
        where there were wholesale changes to existing ratings when the primary group
        changed assumptions or even instituted new criteria. The two major reasons why we
        have taken the approach is: (i) lack of sufficient personnel resources and (ii) not
        having the same models/information available for surveillance to relook at an
        existing deal with the new assumptions (i.e. no cash flow models for a number of
        assets). The third reason is concerns of how disruptive wholesale rating changes,
        based on a criteria changes [sic], can be to the market.

        175.    In an email dated April 28, 2006, Warner, S&P’s Director of RMBS Surveillance,

 described how “RMBS has an all time high of 5900 transactions. Each time I consider what my

 group is faced with, I become more and more anxious.”48 On June 1, 2006, Warner continued to

 express her great concern regarding lack of adequate staffing, writing an email in response to an

 email from Chun, which stated, in pertinent part:49

        Roy, thanks for taking the time to write the e-mail. It really feels like I am repeating
        myself when it comes to completing a very simple project and addressing some of
        the other surveillance needs. We have talked about this project several times and the
        proposal has been put in writing. The inability to make a decision about how the
        project is going to be resourced is causing undue stress.

                                           *        *      *

        In addition to the project above that involves 863 deals, I have a back log of deals
        that are out of date with regard to ratings. When Steve and Kristie join the group as
        research assistants, they will take on the responsibilities of Jessica Rivera and some
        from Ash Rao so that Jessica can review the deals full time and Ash can review them
        maybe 50% of the time. This will help cover the void Lal left when he became the


 47
   A true and correct copy of the October 6, 2005 email exchange, made public by the Senate
 Subcommittee, is attached hereto as Exhibit 37.
 48
    A true and correct copy of the April 28, 2006 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 38.
 49
    A true and correct copy of the June 1, 2006 email, made public by the Senate Subcommittee, is
 attached hereto as Exhibit 39.


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         business analysts [sic] for the initiative, but again, does not move us any closer to
         FTS in the short term. We recognize that I am still understaffed with these two
         additional bodies. Lal being offline clearly exacerbates this problem and we may be
         falling further behind at the rate the deals are closing. If we [do] not agree on the
         actual number, certainly we can agree that I need more recourse if I am ever going
         to be near compliance.

                                           *        *      *

         Two of the four summer associates Gail referred to started with my group on
         Tuesday. According to the rules for summer associates, they must do the
         surveillance reviews and a project. They will review around 100 transactions
         (hopefully) and test our exception reports.

         The two other summer associates went to CMBS surveillance.

         176.    As the above email indicates, despite an all-time high in transactions and a backlog of

 deals, the Company was relying on college interns and temporary employees to bridge the

 surveillance resource shortfall – and was still understaffed and ill-equipped. This reliance on

 temporary employees continued in December 2006 as the subprime market imploded, when the

 following email was sent from Warner to Chun under the subject “Please continue temps”, which

 stated, in relevant part:50

         [Warner]: Good afternoon. In light of the current state of residential mortgage
         performance, especially sub-prime, I think it would be very beneficial for the RMBS
         surveillance team to have the work being done by the temps to continue. It is still
         very important that performance data is loaded on a timely basis as this has an impact
         on our exception reports. Currently, there are nearly 1,000 deals with data loads
         aged beyond one month. It is also important that the temps continue to resolve the
         429 transactions that seem not to be supported by Intex. It is possible that models
         should be build [sic] for these transactions. Since the number is so significant,
         eliminating this backlog would be significantly impact full [sic] to the review
         process. In addition, the 203 deals that have failed to match classes would represent
         a quick win that the temps should be able to accomplish.

         177.    The pronounced lack of staffing and resources remained an internal Company

 concern into 2007. On January 5, 2007, Patrick Coyne (“Coyne”), a Managing Director in S&P’s


 50
   A true and correct copy of the December 20, 2006 email exchange, which was made public by the
 Senate Subcommittee, is attached hereto as Exhibit 40.


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 Surveillance department, wrote an email to Julio Serrano (which was forwarded to Warner)

 discussing the lack of adequate staffing resources. The email stated, in pertinent part:51

        Now that we are into 2007, I want to take a moment to reiterate my concerns
        regarding the significant deficit in terms of the # of analysts currently assigned to
        work on US ABS and RMBS data needs. Additionally, the caliber of the few
        resources currently assigned to work on these deals, which by the way number
        more than 8,000, is not at all sufficient. Furthermore, it’s not clear to me what the
        rationale for the current distribution of Data COE resources is on a global level (e.g.
        why are there 10+ resources working on a couple of hundred UK ABS deals and only
        1 to 2 FTE’s assigned to the 2,000 US ABS deals?).

        I apologize for being blunt, however, the value proposition offered by Surveillance is
        significantly dependent on having timely access to quality data. This is even more
        true in the future. While I’ve mentioned these concerns to you in passing during last
        year, I thought it would be helpful to summarize them in a single e-mail. I'm hoping
        to gain better insight into what the next steps are to address these concerns.

        By the way, Gail Houston has done an excellent job and I am very happy with her
        enthusiasm and drive, however, given her significant task of managing data needs for
        ABS and RMBS, I am concerned that she will burnout or move on unless these
        issues are addressed in the near future, not to mention the impact on the business.

        178.    In February 2007, officials within S&P’s surveillance department continued to clamor

 for more resources so that they could conduct surveillance and keep up with the “burgeoning poor

 performance of sub-prime deals.” After receiving word that a meeting of the Company’s Finance

 Team resulted in “no approval . . . for upgrade or replacement for Associate Headcount” – i.e., no

 new staff would be forthcoming, a February 3, 2007 internal email exchange occurred between

 Warner, the Company’s head of RMBS surveillance, and D’Erchia. That email exchange included,

 in pertinent part, the following under the subject “RE: Headcount for RMBS Surveillance?/”:52




 51
   A true and correct copy of the January 5, 2007 email, which was made public by the Senate
 Subcommittee, is attached hereto as Exhibit 41.
 52
   A true and correct copy of the February 3, 2007 email exchange, which was made public by the
 Senate Subcommittee, is attached hereto as Exhibit 42.


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        [Warner, 11:45 AM] Peter, what can we do now? My group is under serious
        pressure to respond to the burgeoning poor performance of sub-prime deals. After
        losing Taoheed, we are really falling behind.

        We need to talk about getting more resources in general. I am seeing evidence now
        that I really need to add to staff to keep up with what is going on with sub prime
        and mortgage performance in general, NOW. We talked about adding three people
        several months ago. We need to reopen that discussion.

                                          *        *      *

        [D’Erchia, 11:50 AM] Write a one paragraph need for the title upgrade and send it
        to Nancy Farrelly. I think it will be approved. Thanks. Peter.

        [D’Erchia, 11:55 AM] Also you should be getting 4 or 5 new Associates from the
        2007 Associate class for 12 and continuing ti [sic] get them going forward. That
        might help.

        [Warner, 12:02 PM]: That [sic] right. They will be a great help but they will not
        start until August, right? Let’s talk about anything that we might be able to do in the
        interim. I talked to Tommy yesterday and he thinks that the ratings are not going
        to hold through 2007. He asked me to begin discussing taking rating actions
        earlier on the poor performing deals. I have been thinking about this for much of
        the night. We do not have the resources to support what we are doing now. A new
        process, without the right support, would be overwhelming.53

        179.    Later that month, on February 13, 2007, Warner wrote, in pertinent part, to D’Erchia

 that “We really need help. Sub prime is going down hill. The 20% not covered by our system is

 also of great concern.”54

        180.    In April 2007, as it had been for years, the Company’s RMBS surveillance unit

 remained short-staffed, as documented, in relevant part, in the following email sent on April 24,




 53
   The “Tommy” referred to in the email exchange is Gillis, S&P’s Managing Director of Research
 and Criteria.
 54
   A true and correct copy of the February 13, 2007 email exchange, made public by the Senate
 Subcommittee, is attached hereto as Exhibit 43.


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 2007 from Abe Losice, a Managing Director in S&P’s Structured Finance Department, to Barnes

 under the subject, “Staffing for RMBS Surveillance”:55

        Here is a review regarding staffing for RMBS Surveillance.

        We have worked together with Ernestine Warner (EW) to produce a staffing model
        for RMBS Surveillance (R-Surv). It is intended to measure the staffing needed for
        detailed surveillance of the 2006 vintage and also everything issued prior to that.
        This model shows that the R-Surv staff is short by 7 FTE- about 3 Directors, 2 AD's,
        and 2 Associates. The model suggests that the current staff may have been right
        sized if we excluded coverage of the 2006 vintage, but was under titled lacking
        sufficient seniority, skill, and experience.

        We worked together With EW to craft a rationale for 4 adds to staff- 2 Associates
        and 2 AD's. The adds will be conduct [sic] monthly review of the 2006 vintage and
        to maintain surveillance on the all other [sic] transactions, with the possibility of
        increasing review frequency. It will also be to provide thought leadership, add
        communication skills and strong technical skills. We need people who have industry
        experience who can change our functionality.

        181.    While Defendants were free to short-staff the Company’s surveillance and ratings

 department all they wanted, that was not the picture they painted for the investing public. Quite the

 opposite, whenever Defendants described the Company, they touted a commitment to analytics,

 ratings quality, and surveillance. What they did not reveal, however, is that those goals could not be

 achieved because of the now documented failure to commit resources and staff – which were nothing

 more than a consequence of Defendants’ scheme to pursue market share at all costs.

        H.      To Preserve and Maintain Market Share, the Company Shirks on
                Surveillance and Uses “Grandfathering” to Maintain Artificially High
                Ratings

        182.    Put simply, because of the increasing use of non-traditional loan products, the

 information underlying the mortgages that made up subprime and Alt-A RMBS and CDO

 transactions was increasingly unreliable. Because there was little to no proof of a borrower’s



 55
   A true and correct copy of the April 24, 2007 email, which was made public by the Senate
 Subcommittee, is attached hereto as Exhibit 44.


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 income, assets, or ability to pay back the mortgage, the market was “running on faith.” The

 importance of this fact, which was known at all relevant times at the highest levels of the Company,

 cannot be overstated, because the Company’s models for rating RMBS and CDO loans were only as

 reliable as the information underlying them. For that reason, it was of paramount importance for the

 Company’s S&P brand to remain fully informed as to the performance of mortgages making up the

 loan pools after the initial rating through detailed surveillance as it represented to the market it

 would. For example, on April 17, 2007, as loan delinquencies and defaults were skyrocketing,

 Barnes, S&P’s Managing Director of Rating Services, testified before the Senate Banking, Housing

 and Urban Affairs Committee’s Securities, Insurance and Investment Subcommittee that:

        “S&P actively monitors trends in the housing market, the mortgage finance market,
        consumer credit and the economy to ensure that our models, methodologies, criteria
        and analysis. . . are fully informed,” said Ms. Barnes. She also explained Standard &
        Poor’s rigorous process for rating RMBS transactions which includes: an analysis of
        every loan, a simulation of the cash flow generated by each deal, a review of
        originator and servicer operational procedures, review of the transactional documents
        for legal and structural provisions, and a surveillance process that allows S&P to
        monitor the ongoing performance of subprime mortgages included in subprime
        RMBS.

        183.    The truth, however, as detailed below, was that the Company did not analyze “every

 loan” and did not timely monitor “the ongoing performance of subprime mortgages included in

 subprime RMBS;” facts that Defendants failed to disclose to the market.

        184.    On top of not improving LEVELS to include critical amounts of additional data that

 could be used to accurately rate RMBS transactions, the former Managing Director recalled that the

 LEVELS model was never employed to provide surveillance of RMBS transactions the Company

 rated. In discussing why the model was not used for surveillance, this confidential witness stated

 that the “inside answer” was that “if we re-rated the transactions every month, the ratings volatility

 would go way up.” This was considered a problem within S&P because with an increase in ratings

 volatility (and accuracy), the structured finance products would no longer “look like corporate


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 [ratings].” This confidential witness recalled that the “mantra was AAA was AAA” – meaning that a

 AAA-rated RMBS should be equivalent to a AAA corporate rating – but that “those of us on the

 Structured Finance side knew it was just ludicrous.” She/he described the “risks” of ratings

 volatility as twofold: (1) “investors would be pissed” at learning they were exposed to a lot more risk

 and the Company would likely lose market share; and (2) it would have been impossible to do a deal

 – “it would have shrunk the lending arena.” Put another way, the result would have been that The

 Street would have required more coverage and enhancement on their bonds. With this additional

 information that would have required an accurate level of enhancement, the banks and lenders would

 have stopped underwriting the loans. In other words, the already-developed, never implemented

 models would have effectively halted the subprime lending craze fueled by inaccurate ratings that

 has resulted in the country’s current economic crisis.

        185.    In that regard, the former Managing Director stated that the Company’s recently

 announced and promised reforms are the same things she/he was begging the Company to do in

 2002 or 2003, and that the Company has been acting like “it just dawned on them.”

        186.    The former Managing Director held conversations on almost a monthly basis with

 Gillis and Managing Director of Surveillance D’Erchia, discussing why LEVELS was not being

 used for surveillance. This confidential witness recalled having these conversations with D’Erchia

 as far back as 1998. The former Managing Director would tell D’Erchia that the Company needed

 loan level detail for the models, but D’Erchia was always adamantly opposed to it. In 2005, the

 Surveillance Department was taken out of the ratings group in an effort to turn it into a profit center.

        187.    Discussing the surveillance process, the former Managing Director stated that it

 involved pulling remittance reports showing 30/60/90-day delinquencies and foreclosures. The

 surveillance department basically compared the foreclosure and delinquency numbers against the

 bond enhancement. If the enhancement on the bond was the higher number, the rating was


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 considered to be fine. This process of surveillance was, according the former Managing Director,

 “not anywhere near as accurate as actually re-rating the bond” through LEVELS-based surveillance.

        188.    In that regard, this former Managing Director made a presentation to former S&P

 President Corbet as to the reasons why S&P should acquire Loan Performance, and thus obtain loan

 level data. The presentation instructed Corbet that the improved loan level data would improve S&P

 ratings across the board. This confidential witness suggested Gillis was in charge of ratings criteria

 and was certainly aware of the problems associated with having inadequate loan level detail. Gillis

 was copied on any number of emails about the fact that there was guessing in the ratings and

 changing the criteria (i.e., lowered its standards) to maintain market share.

        189.    In 2004, the former Managing Director assigned Client Value Manager Michael

 Stock (“Stock”) to do an analysis of the Alt-A market because the Managing Director was convinced

 “the market was not what it was supposed to be.” Stock’s review of the Alt-A market revealed that

 the loans were not Alt-A – they were B or lower quality.

        190.    According to the former Director of RMBS Surveillance, the RMBS surveillance

 group consisted of approximately 30 analysts “at the height,” which was not until 2008. She/he

 stated the goal of the surveillance group was to review once a year all the securities S&P rated.

 Until approximately mid-2007, the surveillance group conducted a review of securities based on the

 issuers. For example, the goal of the surveillance group was to review all RMBS issued by Lehman

 Brothers every 12 months. The surveillance group was supposed to review each RMBS on its own

 and then bring the results of the review to a committee for possible ratings action.

        191.    The former Director of RMBS Surveillance stated that the Company “ was not able”

 to provide surveillance for 100% of deals in the 12-month time frame. She/he stated that if a

 security was not issued by a major issuer, it might not be reviewed for 18 months. The former

 Director of RMBS Surveillance recalled that there was no uniform criteria established for creating


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 “exception reports,” which were supposed to bring poorly performing deals to the attention of

 analysts. Because there was no set criteria, each surveillance analyst could create their own given

 criteria for generating exception reports.

         192.   The former Director of RMBS Surveillance recalled that each of the collateral group

 heads in the surveillance department met once a week to discuss what they were seeing in the

 surveillance of their given collateral group. During the meetings, the group heads would share their

 problems with Warner. This former employee recalled there were constant grumblings during these

 meetings regarding the inadequate amount of people assigned to conduct surveillance. This former

 employee recalled being labeled a troublemaker by Scott because she/he once complained about the

 surveillance department’s lack of adequate resources.

         193.   Among other things, the former Director of RMBS Surveillance stated that the

 Company “never took a rating action” unless there were actual losses. In other words, unless a class

 of a bond suffered an actual cash flow loss, the S&P policy was to not downgrade RMBS. The result

 of the “first dollar loss” policy was particularly troubling because the surveillance department “could

 see the performance of the underlying collateral was real bad” and would be seeing “large amounts

 of delinquencies,” but was unable to take the appropriate ratings action. This former Director of

 RMBS Surveillance stated that the problem with waiting for the first dollar loss – when such losses

 were inevitable – was that “when the losses came – they came in real fast.” Thus, the Company was

 playing “catch up” by the time it actually downgraded deals. Indeed, the Company was so late in

 downgrading that some RMBS were trading at “pennies on the dollar” before S&P downgraded

 them.

         194.   The former Director of RMBS Surveillance stated that in the Spring of 2007, the

 Company “gave us the ok to downgrade.” This was a major shift in policy to change from first

 dollar loss to anticipated “end-of-class value for the rating.” The decision to make the downgrades


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 so severe was made by a committee spearheaded by Gillis and Parisi. As a result of this policy shift

 towards the end of the Class Period, the Company changed the way it conducted surveillance.

 Instead of determining which issues to monitor based on the issuer, the Company began to conduct

 surveillance based on the vintage and collateral type. For example, all classes of transactions

 consisting of 2006 subprime collateral took priority.

        195.    One confidential witness worked for the Company’s S&P brand as a Research

 Associate who was responsible for “accounting for RMBS and CDOs.” This former employee

 received a print-out of “every CDO S&P rated.”

        196.    This former Research Assistant stated that it was her/his responsibility to input the

 data from the print-outs into S&P’s database and to “balance out the discrepancies” from the CDO

 income statements.

        197.    This former employee also stated that “S&P was definitely biased” in rating CDOs

 and RMBS, stating that the way S&P rated such securities was very beneficial to the people selling

 the securities – the issuers. This former employee stated that there was no clear way to see the risk

 behind the transactions because the products were “all bundled together.” The former employee

 stated that the CDOs, for example, were “so volatile with so many parts that it didn’t even make

 sense to rate them in the first place.” This confidential witness stated that S&P knowingly used its

 reputation in the marketplace to convince investors to believe in the Company’s ratings on RMBS

 and CDOs.

        198.    Despite these troubling facts, the Company did not alert its investors during the Class

 Period that it was unable and/or unwilling to provide adequate surveillance to the structured finance

 transactions it rated – transactions where fraud had become rampant.

        199.    According to a former Structured Finance Associate, when she/he first began working

 for S&P in August 2007, the RMBS surveillance group “didn’t have enough employees for the work


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 that had to be done.” In that regard, one former Company employee who worked as a consultant

 from October 2006 through January 2007 stated that she/he was retained to work in S&P’s

 Structured Finance department on the 42nd floor of the S&P headquarters as “part of a team of

 consultants retained to build ratings for RMBS deals.” This former consultant was one of eight

 consultants retained in October 2006.

        200.    The former consultant stated that S&P needed the eight consultants because there was

 a backlog of RMBS deals that needed to be updated. Information regarding the deals was supposed

 to be provided to S&P by one of S&P’s vendors named Intex. Intex was tasked with tracking the

 Company’s deals and providing information and data to S&P so that S&P could update its ratings.

 The former employee stated that Intex tracked information regarding securitized structured finance

 deals, including how different tranches of the deals are being paid down and the balances

 outstanding.

        201.    The former consultant stated that the Company used a “CORE Ratings System”

 database that “was supposed to be linked” to Intex. But, the former employee stated that the

 information from Intex was not always transferred. In that regard, the former consultant’s

 responsibilities including reviewing the CORE Ratings System to determine which RMBS deals had

 not been updated properly. She/he stated that “[i]f a deal had not been updated for at least a year,”

 she/he would attempt to gather the monthly statements, or “deal sheets,” from Intex, which provided

 specific details of a given mortgage backed security, including the balance outstanding and the

 amount being paid down for each different tranche.

        202.    Once the former consultant gathered the deal sheets from Intex, she/he packaged the

 deal sheets for the previous year – or longer – for use by the S&P ratings analysts. The ratings

 analysts were supposed to go over the deal sheet packages on a regular basis, but there was always a

 lag of analysts’ review of the packages that the former consultant put together. For example, the


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 former consultant estimates that during her/his tenure with the Company, she/he put together at least

 50 or 60 deal sheet packages. The former consultant believed that the other eight consultants in the

 same role did a similar amount of work, meaning that during a period of just a few months, the

 Company’s S&P brand was more than one year delinquent on updating its ratings of at least

 hundreds of structured finance deals – at a time when the structured finance market was literally

 imploding. This was not disclosed to the market. In fact, the Company represented to the market

 that it consistently monitored and utilized a fully-integrated surveillance process for the RMBS and

 CDO deals S&P rated.

        203.    Moreover, the former consultant stated that her/his work meant that S&P maintained

 ratings on RMBS deals without up to date information. In other words, the ratings on the RMBS

 deals were maintained despite the fact that S&P did not have any information regarding the deal

 from Intex for a period of at least twelve months.

        204.    The former consultant stated that large numbers of mortgages providing the

 foundation for a RMBS deal could be in default or foreclosure during the prior year, and S&P

 would retain its rating because it did not have accurate or updated information. The Company’s

 S&P brand simply did not know what was happening to the securities it rated – despite telling the

 market that it was active in surveillance and that staying active was critical to its success.

        205.    The accounts of the former consultant detailed above make it clear that the Company

 lacked a reasonable basis for maintaining ratings on at least hundreds of transactions throughout the

 Class Period. By failing or refusing to commit the resources necessary to maintain up-to-date

 information on such transactions – many of which were backed by risky subprime and Alt-A loans –

 the Company was playing fast and loose with its reputation and Defendants were making false and

 misleading statements to the market. While Plaintiff does not base its claims on the Company’s

 business decision not to monitor the deals it rated, Defendants’ failure to disclose the Company’s


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 decisions renders their statements false and misleading.

         206.   In addition, it was not until October 2007 that S&P published a report admitting that

 fraud was a factor in faulty RMBS performance, despite the fact that it was well known to

 Defendants – since 2005 – that fraud was prevalent in the risky subprime and Alt-A transactions it

 rated. In its report, S&P attempted to state that it was not responsible for detecting mortgage fraud

 in the RMBS transactions it rated. Yet, at the same time, the Company touted S&P’s models as

 capable of accurately rating RMBS transactions.

         207.   The Company’s modeling data was limited by recent favorable trends from 2003 to

 2005 (e.g., low interest rates, strong house price appreciation and a good economic environment).

 The Company, however, was aware of the risks associated with the new mortgage loan products, but

 failed to make substantive inquiries or rating reviews focused on fraud and poor underwriting. It

 took until January 23, 2008 for the Company’s S&P brand to issue a report discussing mortgage

 fraud and resulting changes to its models to capture additional fields of information that would relate

 to fraud.

         208.   As the subprime RMBS and CDO markets further deteriorated during 2006 and 2007,

 the Company’s S&P brand continuously misled the market that its modeling and surveillance were

 adequate to monitor the performance of structured finance transactions, and touted the Company’s

 ability to quickly move in a “fast-changing” environment through surveillance.

         209.   But, the Company had conflicting incentives when it came to rating and surveillance

 of securitization transactions. The Company’s S&P brand was paid by issuers and the revenue from

 issuers far surpassed revenue from investor subscriptions. Structured finance contributed over 40%

 of revenues to S&P – or 4 times that of traditional debt ratings for corporations. At the same time,

 there was very little revenue associated with surveillance, which was not ever being completed on a

 timely basis, as set forth above. Moreover, it was to the benefit of the Company to allow RMBS and


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 CDO issuance to continue as long as possible and forestall the collapse in revenues associated

 therewith. In other words, the Company knew that if it downgraded its previously issued ratings, it

 would lose business and its earnings would evaporate. Indeed, as the former Managing Director

 stated, conducting accurate, timely surveillance with the LEVELS model would have substantially

 increased ratings volatility, which would have upset issuers and disrupted the structured finance cash

 cow. Rather than increase accuracy, the Company compromised its standards to avoid losing deals,

 mortgaged its reputation, and put its head in the sand when it came to surveillance, all the while

 failing to disclose its decisions and conduct to the market.

        210.     Because the Company was seriously delinquent in its surveillance, ratings were being

 maintained on billions of dollars worth of subprime and Alt-A RMBS and CDOs without any review

 whatsoever, despite the Company’s representations to the contrary. This allowed securitization

 transactions to deteriorate horribly without the Company being aware of the level of defaulted loans

 and subsequent losses, while its ratings remained stagnant.

        211.     Another important factor that the Company failed to disclose to Company investors

 was that while its S&P brand had the ability to access data regarding the mortgage loans securing

 RMBS and the performance of the securities related to CDOs, it chose to perform surveillance (what

 little surveillance it did do) on a “pool level” basis. Put simply, instead of looking at the

 performance of individual mortgages underlying structured finance transactions, the Company

 looked at entire pools as a whole, which further prevented the Company from conducting meaningful

 surveillance.

        212.     Despite the former Managing Director’s repeated call for extensive loan level data

 through her/his tenure as a necessary requirement for the maintenance of LEVELS and adequate

 surveillance, it was not until October of 2007 that the Company first attempted to get loan level data

 from loan servicers, as set forth in the Company’s request for comment, below:


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         Standard & Poor’s Ratings Services is requesting comments from U.S. residential
         mortgage securitization market participants, including investors, issuers, and
         servicers, on its proposal for responsible parties to provide us monthly loan-level
         origination variables, data, and performance information. Analogous to our
         existing new rating requirements, this proposal reflects our effort to conduct
         surveillance and other analytical activity based on detailed collateral data and
         information beyond the pool level. We expect this data to further our ongoing
         efforts to enhance our analytics and processes, and help us provide additional
         insightful research to the mortgage and securitization markets.

         Standard & Poor’s will request an updated loan-level file complete with updated
         origination variables, including loan performance information on all outstanding
         loans (loans not paid in full or liquidated), for all U.S. residential mortgage-backed
         securities (RMBS) transactions closing on or after Jan. 1, 2008. Responsible
         parties should deliver loan-level data in a bulk file for all Standard & Poor’s rated
         transactions on the first business day following the distribution day. At this time, we
         are requesting feedback on the servicer’s ability to deliver monthly the proposed
         fields in the referenced format below starting Jan. 1, 2008 (see Ratings Impact). We
         will also request loan performance information on all outstanding loans for U.S.
         RMBS transactions rated before Jan. 1, 2008 (existing transactions). We
         recognize the large volume of existing transactions and are interested in market
         feedback regarding the servicer’s or trustee’s ability to meet this request.

         Beginning in 2008, the governing documents of Standard & Poor’s rated U.S. RMBS
         transactions should incorporate a covenant of the responsible parties to submit
         monthly loan-level performance information. If there is a master servicer on a
         transaction, we would expect the master servicer to be the responsible party, or
         absent a master servicer, the primary servicer. We expect the master servicers and/or
         primary servicers will be responsible for coordinating the submission of a single file
         of loan-level data representing all outstanding loans from the combined sub-servicers
         on the transaction where applicable. If the transaction contains multiple primary
         servicers and no master servicer, we would like feedback on the ability of one of the
         primary servicers to be designated the responsible party to send a single submission
         or, alternatively, on the trustee’s ability to aggregate the separate files and submit one
         file to us. We will not accept multiple loan-level data files from multiple servicers.
         The governing documents should incorporate the provision that this responsibility be
         transferable to all successor servicers. Availability of loan-level information will be
         a positive consideration in determining a transaction’s rating. The unavailability
         of loan-level data may adversely affect our rating determination.

         213.     After requesting comments in October 2007, the Company did not require loan level

  data until May 1, 2008, after the close of the Class Period, as set forth in the Company’s April 9,

  2008 release:

         Beginning with transactions that close on or after May 1, 2008, Standard & Poor’s
         Ratings Services requests that issuers of U.S. residential mortgage backed
         securities (RMBS) send us monthly performance data customarily sent to trustees
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         and other third parties and include a representations [sic] and warranty that all
         loan variables and performance data fields sent to us at the time we assign our
         rating and monthly for the transaction’s life are true and correct.

         Loan-Level Performance Data Will Enhance Surveillance And Strengthen Our
         Ratings Process

         By receiving ongoing collateral attributes and performance data, we plan to
         develop a loan-level approach to surveilling outstanding U.S. RMBS ratings and
         move forward with efforts to conduct more granular analysis of the factors
         influencing borrower behavior in the residential mortgage market. The additional
         data may also help identify patterns and trends in the market, enhance our
         surveillance of outstanding transactions, and help us provide additional insightful
         research to the mortgage and securitization markets. The provision of regular loan-
         level performance data transmitted to Standard & Poor’s for rated U.S. RMBS
         transactions expands on its existing practice in Europe and Australia.

         On Feb. 7, 2008, Standard & Poor’s announced a series of broad measures intended
         to enhance its governance, analytics, information dissemination, and investor
         education to strengthen its ratings process (see Related Research). In this article,
         Standard & Poor’s stated that it will take actions to improve its surveillance
         process through strengthened surveillance functions, improve timeliness and
         effectiveness of its surveillance process through the addition of improved
         surveillance tools, and work with market participants to improve disclosure of
         collateral underlying structured securities. The collection and dissemination of
         loan-level data is also consistent with extensive market feedback, which indicates a
         desire for more transparency on outstanding transactions and more insight into
         developing markets. We’re also actively engaged with market participants to
         potentially develop an industry standard reporting package of loan-level data and
         have offered the Standard & Poor’s glossary of terms for residential mortgage data
         transmittal as the starting point for industry efforts to develop standard definitions
         and terms (see Related Research). Market feedback confirms this effort to be an
         important step in improving data quality in the U.S. RMBS sector.

         214.    Because of the Company’s failure to conduct surveillance on a timely basis, its

  inability to account for fraud in its models, and its Class Period failure to seek loan-level data when

  conducting its limited surveillance (none of which was disclosed to the market), its ratings changes

  for structured finance transactions during the Class Period ended up being delayed and extreme.

  Indeed, some of the RMBS and CDO securities rated by the Company dropped by 2 to 3 ratings

  levels, which demonstrates that the Company’s models had no predictive capability. From a

  statistical perspective, a decline by 3 ratings levels would be outside a 95% confidence interval,


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  making the predictive capability of the Company’s models useless. Again, however, this case is not

  based upon S&P’s failure to monitor its rated RMBS and CDOs, nor is it based upon the Company’s

  failed ratings models. Instead, it is based upon Defendants’ misrepresentations regarding how the

  Company conducted business during the Class Period, as well as misrepresentations regarding the

  Company’s true financial condition and prospects.

         215.    As stated by D’Erchia at the April 23, 2010 Senate Subcommittee hearing, whenever

  S&P made a criteria change to its RMBS model, and that change was more conservative than the

  previous model, S&P did not retest the old deals to see if their structures still passed, for ratings

  purposes.

         216.    During the April 23, 2010 Subcommittee Hearing, Raiter testified that concerns over

  maintaining market share impacted S&P’s surveillance, as detailed in the following exchange:

         Sen. Levin: Mr. Raiter, were there discussions within S&P about using rating
         models to conduct surveillance?

         Raiter: Yes, there were.

         Sen. Levin: And were those discussions heated at times?

         Raiter: I’m sorry, sir?

         Sen. Levin: Were they heated discussions? Were there disagreements over that?

         Raiter: Yes, there were disagreements. Yes, sir.

         Sen. Levin: And what was the argument about?

         Raiter: Well, there was a certain number of analysts, on our side, that thought that it
         would make a lot of sense to protect the investors – to go back and look at exactly
         how these deals were performing with new criteria, and with the marks that were
         available in the model, to mark the properties when the prices went down or up. And
         there was the other side of the argument, that it would increase ratings’ volatility,
         which might make us look bad in the eyes of the investor and could cost us market
         share.

         Sen. Levin: So the market share was a factor there as well as to whether or not you
         would use the new available information to re-rate the existing securities?

         Raiter: Yes, sir.

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         217.     Another tactic the Company used occurred when the Company’s models for rating

  deals did change – even though those changes themselves were only band aids. Under those

  circumstances, the Company did not use the new models to reevaluate existing RMBS deals because

  the result would have been downgrades for many of those securities. This practice was known as

  “grandfathering.” Put simply, ratings on RMBS deals were grandfathered even though they would

  have ended up with different (lower) ratings being assigned if they had been rated with the updated

  model. During the April 23, 2010 Subcommittee Hearing, Barnes testified that the Company “did

  not” use revised models to reevaluate existing RMBS, even though such securities were all under

  surveillance.

         218.     The use of grandfathering was documented in a host of internal Company

  communications. For example, on June 24-25, 2004, internal emails discussed allowing the Federal

  Home Loan Bank of Indianapolis to use LEVELS 5.5 instead of the more updated LEVELS 5.6. In

  that regard, on June 24, 2004, Terry Osterweil sent an email to Raiter, Parisi, Barnes, and others,

  which stated, in pertinent part:56

         Tony DiGiovanni from FHLB Indianapolis asked if they (and possibly the other
         FLHBs) can use LEVELS 5.5 to analyze the loans under a Master Commitment that
         was established when 5.5 was in effect. With the model changes from 5.5 to 5.6,
         some of their commitments which were structured to achieve a “0” loss coverage at
         “AA” when using 5.5 are now showing a loss coverage > 0 under 5.6

         I think their request seems reasonable since we do not require additional
         enhancement for an already rated transaction if a new model goes into effect and that
         new model would show an increase in enhancement required. The same
         methodology holds true if we rated a deal using a specific version of our model and
         subsequently implemented another version after which we received a prefunding
         pool for the rated deal. In this case, we would use the prior version since that was
         what was used when rating the transaction.




  56
    A true and correct copy of the June 24-25, 2004 email exchange, made public by the Senate
  Subcommittee, is attached hereto as Exhibit 45.


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         219.    Pointing out the problems with catering to client demands to use less accurate,

  outdated models, in response, Raiter wrote, “What happens when we migrate to 6.0? Will they want

  three versions in play, to facilitate pools structured across three different time frames?” Ultimately,

  Patrick Mahoney wrote to Raiter, Parisi, Osterweil, Barnes and others that the old models could be

  brought back to life:

         Yes, we can [do] this if required. IT can resurrect 5.5 and send the banks a “key” to
         unlock them. The Help Desk can handle the calls, if any. All of the FHLB banks
         have the documentation associated with 5.5.

         220.    Thus, despite knowing it had an updated, more accurate model, the Company decided

  to let its customers use outdated, prior versions so that those same issuers would not have to adjust

  the structure of their deals to avoid showing loss coverage.

         221.    Similar grandfathering tactics were afoot with the Company’s rating of CDOs. For

  example, on June 21, 2005, Cliff Griep (“Griep”), S&P’s Chief Credit and Quality Officer, sent an

  email to Jordan, S&P’s Managing Director of Global ABS/RMBS, Gillis, and D’Erchia, about the

  “implications of proposed new criteria.” The email stated, in pertinent part:57

         Pat, Peter, have we had a chance to review the implications of the proposed new
         criteria on outstanding transactions. What is the status of this exercise and has it
         raised any policy issues?

         Also, is it possible to see what the ratings impact would be on portfolios rated under
         the new criteria, and recently rated transactions under existing criteria, were we to
         see corporate default rates reach the same levels experienced in the last downturn?

         222.    Jordan responded:

         Assuming you’re referring to our proposed (we have not definitely decided to release
         it) updated version of [CDO] Evaluator (3.0), we have tested a number of deals but
         have more to test – both in NY and London. We also have some select clients
         currently reviewing the Beta version and providing us with feedback.



  57
     A true and correct copy of the June 21, 2005 email, made public by the Senate Subcommittee, is
  attached hereto as Exhibit 46.


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         This has proven to be a complex update and review, and many issues have arisen and
         continue to arise. The overarching issue at this point is what to do with currently
         rated transactions if we do release a new version of Evaluator. Some of [us]
         believe for both logistical and market reasons that the existing deals should mainly
         be “grand fathered”. Others believe that we should run all deals using the new
         Evaluator. The problem with running all deals using E3 is twofold: we don’t have
         the model or resource capacity to do so, nor do we all believe that even if we did
         have the capability, it would be the responsible thing to do to the market.

         223.    Finishing up the email chain, Griep described how the Company lacked a “consistent

  set of considerations/guidelines” for when to apply new models to existing deals, writing:

         Thanks Pat. Yes, I was referring to Evaluator 3.0 which I knew from the APB
         discussions was being tested, and I wanted to check in on the status. I had been in
         contact with Kai, who passed me the technical document to be released with 3.0, and
         I understand the supporting criteria article is being drafted.

         The issue raised by the applicability of the revised criteria to outstanding issues is, I
         agree, a difficult one, but also extends to other areas in structured [finance], and
         potentially C&G, where we depend upon models. It's complicated all the more by
         potential selective disclosure issues raised by client beta testing of models that
         potentially embed forthcoming criteria, or the actual release of models that embed
         new criteria which provides selective insight into future rating changes. It might be
         helpful to raise this issue with APB when you are nearing or have reached a
         recommendation to see if we can forge a consistent set of considerations/guidelines,
         or policy, for the firm in making these judgments. I agree it's the overarching issue.

         Tom had mentioned at APB his interest, one that I share, in reviewing whether the
         new criteria would reduce ratings volatility for newly rated transactions relative to
         the 1997-1999 vintage of corporate bond transactions, an least when subjected to the
         same default levels that prevailed in the last downturn. I understand this may be
         tough to test in light of the other protections built into new transactions, some driven
         by our previous criteria changes and others by investor demand, but I understand
         some of the testing was yielding positive results in this regard. I can catch up with
         Tom on this.

         224.    Yet another example of how the Company’s surveillance lacked manpower and

  analytical tools for surveillance, and did not have established procedures on how to address existing

  deals when there have been material changes that could cause existing ratings to change, was

  documented in an internal S&P email on October 6, 2005 from Chun, S&P’s Managing Director of




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  Surveillance, to Gillis, Barnes, Buendia, D’Erchia, Jordan, Rose, Scott, and many others, which

  stated, in pertinent part:58

            In various asset classes, the way surveillance is done is different from how a new
            deal is done because of the lack of models/methods (analytical and cash flow
            models) that can be used for both surveillance and new deal. Thus, changes in new
            deal assumptions are not necessarily pertinent to how surveillance is done. In my
            opinion, this creates a sense of disconnect and analysts (new deal and surveillance)
            do not feel a need to make sure there is a good process and procedure in place to
            identify basic global assumption changes

            •   How do we handle existing deals especially if there are material changes that can
                cause existing ratings to change?

            I think the history has been to only re-review a deal under new assumptions/criteria
            when the deal is flagged for some performance reason. I do not know of a situation
            where there were wholesale changes to existing ratings when the primary group
            changed assumptions or even instituted new criteria. The two major reasons why we
            have taken the approach is (i) lack of sufficient personnel resources and (ii) not
            having the same models/information available for surveillance to relook at an
            existing deal with the new assumptions (i.e. no cash flow models for a number of
            assets). The third reason is concerns of how disruptive wholesale rating changes,
            based on a criteria changes, can be to the market.

            225.   The serious problems associated with the Company’s selective use of updated models

  to rate some deals and not others was memorialized in an email exchange on November 23, 2005

  between Elwyn Wong to Andrea Brown under the subject, “Disclaimer – Help”, which stated, in

  pertinent part:59

            [Brian Neer, Morgan Stanley] Elwyn,

            We are in a bit of a pickle here. My legal staff is not letting me send anything out to
            any investor on anything with an S&P rating right now. We are waiting for you to
            tell us you [sic] approve the disclaimer or are grandfathering our existing and
            pipeline deals. My business is on “pause” right now.

                                              *         *     *



  58
       See Exhibit 37.
  59
       See Exhibit 1.


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         [Wong] Lord help our fucking scam … this has to be the stupidest place I have
         worked at. Marc Steinberg is sending us a CDO of ABS portfolio to check as we
         speak

                                           *         *     *

         [Brown] Yes. What happens when they hear that cash deals won’t be using [CDO
         Evaluator] e3.

         [Wong] Only gets better

         226.       On January 31, 2006, Timothy Gallagher from Goldman Sachs sent an email to

  Diamond, concerning the issue of whether methodology changes would be applied to existing deals

  that would be downgraded. The email stated:60

         Kim – lets speak asap on my voice mail. I think the investor spoke to someone else.
         Below is the direct feedback:

         “Rabo Tango are withdrawing any interest from LNR because they had a call with
         S&P who confirmed that this was being rated off the old methodology. Rabo’s
         conclusion was that they felt this deal was a prime candidate for a downgrade when
         the new methodology kicked in.”

         I apologize if my voice mail seemed curt but this is a huge issue for us and the
         investor came to this conclusion immediately after the call with the S&P person.

         227.       Within the Company, discussions continued into 2007 as to whether the Company

  would consistently apply new ratings criteria to existing deals. On July 15, 2007, Griep sent an

  email to Buendia, Gillis, Barnes, Warner, and others under the subject “Special APB meeting.” The

  email stated:61

         The issues that came up when I briefed the group were 1. Alignment of surveillance
         methodology and new criteria. 2. What is changing regarding criteria 3. How do
         we handle the grandfathering issue in the context of consistent application of criteria
         4. Alignment of surveillance methodology and ratings actions with ratings



  60
    A true and correct copy of the January 31, 2006 email exchange, which was made public by the
  Senate Subcommittee, is attached hereto as Exhibit 47.
  61
     A true and correct copy of the July 15, 2007 email, made public by the Senate Subcommittee, is
  attached hereto as Exhibit 48.


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         definitions. 5. Implications for rated subprime book overall. 6. Communication
         within S&P.

         228.    Internal documents from S&P make it clear that grandfathering of ratings was a

  significant issue where the Company’s primary concern was not with accuracy of ratings, but with

  not upsetting the proverbial apple cart. Rather than simply applying the best, most credible, and

  most accurate ratings methodology, it has been documented that the Company tried to cater to

  arranger and investment bank interests so that the flow of lucrative ratings fees would not be

  disrupted and market share would be preserved. The result was that the Company put off and

  delayed taking a stance on applying new ratings methodology to old ratings – it was unresolved and

  unclear at all relevant times during the Class Period, further watering down the Company’s once-

  sacred ratings criteria. Moreover, S&P’s surveillance department did not have the models or

  manpower to apply new criteria to old deals.

         229.    Summarizing the Company’s grandfathering tactic, Senator Levin stated at the Senate

  Subcommittee hearing that:

         In the summer of 2002, S&P had revamped its CDO model but put the model on hold
         for more than a year as it struggled to rationalize why it would not use the new model
         to retest existing CDO securities. It’s clear from over a year of internal emails that
         S&P delayed and delayed the decision, anticipating that the revised model would
         require existing CDO securities to be downgraded, disrupt the CDO market, and
         reduce public confidence in its CDO ratings. It would also have disrupted S&P
         profits from CDO ratings.

         In July 2007, S&P made a major change to its RMBS rating model but decided not to
         retest existing RMBS securities. The revised RMBS model projected much higher
         default rates for high risk mortgages, and required greater protection against loss
         including 40% more credit protection for triple B graded subprime securities. That
         meant a 40% larger cushion to protect against losses, re-evaluating existing RMBS
         securities with the revised model would likely have led to downgrades, angry issuers
         and even angrier investors, so S&P didn’t do it. Moody’s didn’t either.

         After strengthening its RMBS model to issue new ratings, it chose not to apply it to
         existing securities. Recently, S&P has adopted a policy requiring retesting of rated
         securities within one year of a model change.



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         I.      The Tidal Wave Crashes and the Company Downgrades Thousands
                 of RMBS and CDO Securitizations

         230.    Delinquencies related to subprime and Alt-A mortgage loans began to spike in

  August of 2006 and reached historical highs by the end of November 2006. Subprime loans 60 days

  or more delinquent represented more than 30% of the pool balance for 2006 securitizations.62 Loans

  underlying RMBS and CDO transactions were defaulting immediately after origination and staying

  delinquent. This same pattern emerged for Alt-A mortgage loans, but with smaller percentages than

  subprime mortgage loans.

         231.    Although the subprime RMBS and CDO market was under intense pressure and

  collapsing, the Company’s S&P brand did not begin significantly downgrading structured finance

  transactions until July 2007 – in part because of the Company’s inability and failure to conduct

  surveillance. Confirming the accounts of the former Director of RMBS Surveillance, D’Erchia

  testified at the April 23, 2010 Senate Subcommittee hearing that, “When we started to see the

  increased delinquencies, we switched to doing vintage reviews on the ’06 and ’07 transactions.”

         232.    Indeed, in late 2006, D’Erchia, S&P’s head of surveillance, advised the Company’s

  head of Structured Finance, Rose, that the subprime market was rapidly deteriorating and that the

  Company should start significantly downgrading its subprime based ratings. Rose, however,

  refused. Into 2007, D’Erchia continued to bring up the Company’s need to significantly downgrade

  its subprime based ratings. As revealed in the Senate Subcommittee hearing, the disagreement went

  so far that Rose gave D’Erchia a bad performance evaluation.

         233.    On a July 12, 2007 conference call with S&P, Steven Eisman (“Eisman”), a managing

  director for a hedge fund, had a question. Referring to S&P’s massive downgrade of billions of



  62
    Any loan over 60 days delinquent has a high probability of moving to 90 days delinquent and into
  foreclosure.


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  dollars of RMBS, he said, “I’d like to understand why you’re making this move today and why you

  didn’t do this many, many months ago.” An S&P analyst responded, “It’s a good question” Eisman

  countered with, “You need to have a better answer.” The Company could have revealed the truth –

  that it was engaged in a race to the bottom market share war, that it’s models “didn’t capture half the

  risk,” that its surveillance was atrocious – but it did none of those things. Instead, it attempted to

  brush Eisman’s pointed question aside, leaving investors and the market in limbo. The exchange did

  not go unnoticed within the Company. On that same day, Company employees commented on an

  internal email with the subject “Tomorrow’s FT Column – Saskia Sholtes,” wherein they referred to

  Eisman as “the very first questioner, the jerk who wouldn’t let go. . .” Calling the Company’s

  response arrogant, Ian Bell wrote the following to Rose and Gillis on July 13, 2007:63

         Joanne/Tommy

         More for the post-mortem than now but one aspect of our handling of the subprime
         that really concerns me is what I see as our arrogance in our messaging. Maybe it is
         because I am away from the center of the action and so have more of an “outsider’s”
         point of view. The comment from Chris below [calling Eisman a jerk] for me is a
         sign of that attitude.

         I listened to the telecom TWICE. That guy was not a “jerk”. He asked an entirely
         legitimate question that we should have anticipated. He then got upset when we
         totally fluffed our answer. We did sound like the Nixon White House. Instead of
         dismissing people like him or assuming some dark motive on their part, we should
         ask ourselves how we could have so mishandled the answer to such an obvious
         question.

         I have thought for awhile now that if this company suffers from an Arthur Andersen
         event, we will not be brought down by a lack of ethics as I have never seen an
         organisation [sic] more ethical, nor will it be by greed as this plays so little role in
         our motivations; it will be arrogance.

         234.    As set forth below, over the span of several months, the Company’s S&P brand

  downgraded billions of dollars worth of RMBS and CDO transactions:


  63
     A true and correct copy of the July 13, 2007 email, made public by the Senate Subcommittee, is
  attached hereto as Exhibit 49.


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        •      July 10, 2007 – S&P downgrades 498 U.S. RMBS worth more than $5 billion
               backed by U.S. First Lien Subprime Mortgages and securities rated from the fourth
               quarter of 2005 through the fourth quarter of 2006 and places 74 securities on credit
               watch.

        •      July 16, 2007 – S&P puts additional CDO transactions put on credit watch.

        •      July 19, 2007 – S&P downgrades 418 U.S. RMBS worth more than $3.8 billion
               backed by U.S. Second Lien Mortgages and securities rated from the beginning of
               2005 through the fourth quarter of 2006 and places 74 securities on credit watch.

        •       August 7, 2007 – S&P downgrades 207 classes of RMBS backed by first-lien Alt-A
               mortgage loans securities rated from the beginning of 2005 through the fourth quarter
               of 2006. In addition, CDO transactions are now starting to be reviewed by S&P.

        •      August 17, 2007 – S&P downgrades 158 Alt-A RMBS classes worth more than
               $660 million and cites “revised surveillance assumptions.”

        •      August 28, 2007 – S&P places 34 tranches of CDOs on credit watch negative, but
               does not officially downgrade them.

        •      October 17, 2007 – S&P downgrades 1713 classes of U.S. RMBS worth more than
               $23 billion backed by first-lien subprime mortgage loans, first-lien Alt-A mortgage
               loans, and closed-end second-lien mortgage loans issued from January 1, 2007
               through June 30, 2007. In addition, S&P places 646 other classes, representing
               $3.3 billion, on credit watch negative.

        •      October 19, 2007 – S&P downgrades 1,413 classes of 1st lien subprime RMBS for
               securities issued during 2005 and 2006.

        •      November 16, 2007 – S&P downgrades 536 1st Lien Subprime, 1st lien Alt-A,
               closed-end 2nd lien 2007 vintage RMBS classes.

        •      December 19, 2007 – S&P places an additional 74 tranches of CDOs on credit
               watch negative.

        •      December 19, 2007 – S&P downgrades 1,292 classes of Alt-A loans relating to
               securities issued in 2005 to 2006.

        •      January 30, 2008 – S&P takes action on 6,389 U.S. subprime RMBS ratings. S&P
               also takes negative action on 1,953 CDO ratings estimated to be worth more than
               $200 billion.

        •      February 26, 2008 – S&P lowers ratings on 374 classes insured by FGIC and
               XLCA.

        235.   In the midst of the Company’s extraordinary volume of ratings downgrades, the



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  Company’s S&P brand fired its President on August 30, 2007. In a press release issued that day, the

  Company stated, in part:

         The McGraw-Hill Companies (NYSE: MHP) today announced the appointment of
         Deven Sharma as president of Standard & Poor’s, the Corporation’s financial
         services division, effective immediately. Mr. Sharma has served as executive vice
         president of Investment Services and Global Sales for Standard & Poor’s since
         November 1, 2006. He succeeds Kathleen Corbet, who is stepping down from her
         position to pursue other opportunities. Mr. Sharma will report to Harold McGraw
         III, chairman, president and chief executive officer of The McGraw-Hill Companies.

         236.    Also during the Company’s intense ratings downgrades outlined above, on November

  9, 2007, the Wall Street Journal reported on the astonishing wave of debt downgrades:

           Get Set for Wave of Debt Downgrades --- With Investors Frazzled, Real-Estate
                       Softening, Three Rating Firms Have Their Markers Out

         The credit-rating downgrade deluge that’s been rocking financial markets isn’t over.

         In the next few weeks, debt-rating services like Moody’s Investors Service, Standard
         & Poor’s and Fitch Ratings look poised to downgrade hundreds of mortgage-
         related investments worth tens of billions of dollars, creating the potential for more
         market unrest.

         The three major rating firms -- owned respectively by Moody’s Corp., McGraw-Hill
         Cos. and Fimalac SA of Paris -- have been maligned by critics for originally
         underestimating the danger of bonds backed by subprime mortgages and other
         investments tied to mortgages.

         Now they’re moving in the other direction, aggressively reassessing where they stand
         on a wide assortment of debt. Behind the about-face: a worsening real-estate
         backdrop and frazzled investors.

         Credit-rating firms have lowered their credit ratings on more than $70 billion in
         mortgage-related bonds in the past few months, setting off waves of distress in the
         stock and bond markets. They’ve also expressed concerns about the outlook for a
         range of related industries from banking to bond insurance. Banks and Wall Street
         firms including Citigroup Inc. and Merrill Lynch & Co. took large charges when they
         were forced to reassess the value of even their highest-rated mortgage debt.

         The latest turmoil to hit markets has been a reminder that the raters -- despite all of
         the criticism about their approach -- still have great sway. Many pensions and other
         institutional investors are bound to hold only investment-grade debt. A downgrade
         into junk territory can have an impact on demand for securities.

         Moreover, because many mortgage instruments are so hard to value, some banks and


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         hedge funds rely on credit ratings even when they know the ratings could be flawed.

         “We are going to be seeing ratings actions coming for awhile” on mortgage-related
         debt, says Yuri Yoshizawa, a group managing director overseeing U.S. derivatives at
         Moody’s.

         Collateralized debt obligations, or CDOs, look primed for more distress. These are
         investments often backed by portfolios of mortgage-backed securities. They’re sold
         in pieces, or tranches, with varying levels of risk and return. The CDO tranches --
         widely held by banks and investors -- haven’t been downgraded as quickly as the
         underlying mortgage securities they hold.

         As of Nov. 1, S&P had lowered ratings on 381 tranches of residential mortgage-
         related CDOs. It still had a “Credit Watch negative” on 709 CDO tranches, meaning
         the bonds face a good chance of a downgrade.

                                           *         *    *

         While the rating downgrades of mortgage-backed securities were expected by many
         analysts, the speed and magnitude of the corresponding CDO downgrades caught
         many banks, brokerage firms and investors off guard. This past spring, even as
         mortgage delinquencies kept rising, some rating executives told investors that they
         didn’t foresee CDO downgrades until 2008.

         That’s all changed as the rating companies have slashed their assessments of
         thousands of subprime mortgage-backed securities. That’s had an especially severe
         impact on a class of CDOs backed by low-investment-grade securities. According to
         J.P. Morgan research, several CDOs had over 80% of their underlying collateral
         affected by the downgrades or reviews. The Aaa tranches on some of these CDOs
         were subsequently cut by multiple notches -- some to junk -- days after the mortgage-
         backed securities downgrades.

         “There will be a lot of chain reactions,” says David Yan, director and head of CDO
         research at Credit Suisse Group.

         237.   Amidst the downgrades, problems with the Company’s LEVELS model were

  drawing scrutiny from the market. For example, in an email exchange between Kurt Havnaer of

  Jensen Investment and Donald Rubin (“Rubin”), the Senior Vice-President of Investor Relations for

  McGraw-Hill, the following question was posed to the Company:64




  64
    A true and correct copy of the November 23, 2007 email exchange, made public by the Senate
  Subcommittee, is attached hereto as Exhibit 50.


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         I have a question on the recent downgrades of RMBS backed by pools of sub-prime
         mortgages originated in 2005 and 2006. My question is based on reading Vickie
         Tillman’s Congressional testimony. I believe she indicated that the performance of
         sub-prime mortgages issued in 2005 and 2006 was very different than the
         performance of sub-prime mortgages issued prior to 2005. In her testimony, she
         implies that the characteristics of the mortgage loans originated in 2005 and 2006
         were different from those originated prior to 2005. For example, on page 23 of my
         copy of her testimony she indicates that, “many of the 2006 transactions may be
         showing weakness because of origination issues, such as aggressive residential
         mortgage loan underwriting, first-time home-buyer programs, piggyback second-lien
         mortgages, speculative borrowing for investor properties, and the concentration of
         affordability loans.” While I’m certainly not a mortgage expert, I wonder if the
         performance difference was due to the possibility that the characteristics of the sub-
         prime mortgage loans issued in 2005 and 2006 were different from the sub-prime
         mortgage loans issued prior to 2005. My understanding is that your LEVELS model
         analyzes historical mortgage loan defaults and is used, along with other models, to
         assign ratings to RMBS. It seems possible to me that some of the RMBS issued in
         2005 and 2006 that have already been downgraded were originally rated too high
         because the LEVELS model did not account for differences in the characteristics of
         the sub-prime mortgage loans originated in 2005 and 2006 relative to those
         originated prior to 2005. My guess is that other investors have brought this point up,
         and I'm wondering how management is responding to this line of reasoning. Thanks
         for your time. I appreciate it.

         238.      In response, Rubin forwarded the email to Tillman, Milano, and Adam Schuman, and

  Tillman then passed the email to Gillis and Barnes, asking them to “get answers to these questions

  by Monday.” Barnes responded internally on November 26, 2007, with the following email to

  Tillman and Gillis:

         Vickie,

         Here’s our proposed response to Kurt’s question. If you have any questions or need
         further clarification feel free to give us a call. Regards, Susan.

         Standard & Poor's LEVELS model evaluates loan characteristics and assigns a
         default probability on a loan level basis. These loan characteristics that you
         mention including piggy back, speculative borrowing, and affordability loans have
         been included in various forms of mortgage loans and securitizations for some
         time. And therefore are included in our analysis, specifically the LEVELS model.
         What is transpiring is how the performance of these characteristics is differing from
         historical norms. The cause or causes at this time are still uncertain.
         Macroeconomic factors as well as the combination of these higher risk characteristics
         coupled with fraud seem to be the most likely reasons for the anomalous behavior.

         While the ultimate performance of these loans still remains to be seen, Standard &
         Poor's adjusted it's default expectations for the anomalous behavior and has increased
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          its default expectations accordingly for all loans analyzed since July 2007.

          239.    After receiving the proposed response, on November 26, 2007, Tillman responded

  that it “looks fine”. Thus, in response to a direct inquiry that rightfully called into question the

  internally known inadequacies in the Company’s LEVELS model, Tillman, Barnes, and McGraw-

  Hill’s Senior Vice-President of Investor Relations prepared a false and misleading response that

  actually touted the Company’s model. The content of the Company’s response flies in the face of,

  among other things, Congressional findings of fact, and omits material information that the

  Company deliberately did not update its LEVELS model so that it would not “kill the golden goose”

  that permitted it to assign lucrative ratings to compilations of toxic mortgages.

          240.    Moreover, according to a confidential witness that worked as a Secretary in the

  Company’s RMBS group, in early 2008 Company employees were shredding documents at an

  alarming rate. She/he stated that they “were shredding things like every five seconds” and that an

  outside vendor was brought in specifically to shred structured finance documents. On top of that,

  this former Secretary was responsible for working on downgrades of complex structured finance

  transactions during 2007. There “were so many downgrades” that administrative assistants taught

  “secretaries how to do the downgrades.” While this former Secretary was forced to work late to

  downgrade deals, she/he was not allowed to bill overtime to downgrades, and was specifically

  instructed to bill that overtime to “assisting with files.”

          241.    As of April 21, 2008, S&P had reviewed 31,926 U.S. RMBS & CDO structured

  finance transactions spanning from the first quarter of 2005 through the third quarter of 2007. Of the

  31,926 securities reviewed, 38.5% were downgraded. Of the 31,926 securities reviewed, 11,226 or

  35% of the securities were related to subprime RMBS. Of the 11,226 subprime securities reviewed,

  52% were downgraded. The charts below demonstrate the tremendous volume of downgrades by

  the Company’s S&P brand:


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  Original-to-Current Rating Transitions
  SECTOR = U.S. RMBS & CDO of ABS and SIV-Lite                        For Vintages: Q1 2005 - Q3 2007                              Date Updated = April 21, 2008
  Origina AAA AA+ AA AA- A+                A    A- BBB+ BBB BBB- BB+ BB BB- B+                    B     B- CCC+ CCC CCC- CC C            D # of Ratings    # of Down     Down %
  AAA      3397 30       56 17 27         25 27 21           42    35 20 67           13    9    44     19  38 45 78         53     0   16     4079            682       16.72%
  AA+        0 1930 49 16 21              35     7    10     43     3    9     59     0     1    62      2  2    30    1     4      0    1     2285            355       15.54%
  AA         3     9 3132 58 47           84 46 30           89    26 28 122 10 12 120 14                   27 193 54 108 0             19     4231           1087       25.69%
  AA-        0     1      8 1108 32       32 16 18           37    14 10 54           6     4    136 4      6   232 16       34     0   19     1787            670       37.49%
  A+         0     0      0     0 1039 26 28 29              42    17 17 65           7     6    60      8  3   430 12       31     0   16     1836            797       43.41%
  A          0     0      2     1    4 2116 59 48            91    40 41 119 18 29 79                   17  12 477 48 212 0             48     3461           1338       38.66%
  A-         0     0      0     0    1     0 1030 63         72    28 16 86           22 13 81          21  5   490 19 162 0            52     2161           1130       52.29%
  BBB+       0     0      0     0    0     0     0    841 46       43 35 94           24 18 89          18  3   491    7 172 0          71     1952           1111       56.92%
  BBB        0     0      0     0    0     1     2     1 1799 81 90 146 29 31 159 25                        12 491 57 403 0             90     3417           1614       47.23%
  BBB-       0     0      0     0    0     0     2     0      1 941 56 117 35 21 153 34                     4   569    7 405 0          115    2460           1516       61.63%
  BB+        0     0      0     0    0     0     0     0      0     0   256 26        14 11 56          13  0   241    5 275 0          136    1033            777       75.22%
  BB         0     0      0     0    0     0     0     0      0     1    1 1027 40 15 236 20                1   237    5 167 0          88     1838            809       44.02%
  BB-        0     0      0     0    0     0     0     0      0     0    0      0     96    7    14      3  0    15    0     6      0    8      149            53        35.57%
  B+         0     0      0     0    0     0     0     0      0     0    0      0     1     47    0      0  0     5    0     0      0    2       55             7        12.73%
  B          0     0      0     0    0     0     0     0      0     0    0      0     0     1    787 60     0   266    1     10     0    9     1134            346       30.51%
  B-         0     0      0     0    0     0     0     0      0     0    0      0     0     0     0     40  1     6    0     1      0    0       48             8        16.67%
  1. AAA ratings from the same transaction are treated as a single rating in the calculation of this table.         Investment Grade    447   27669          10300       37.23%
  2. Multiple rating actions are aggregated to calculate a security's cumulative rating performance                 Speculative Grade   243    4257           2000       46.98%
  3. Last rating before withdrawal due to redemption is used in the transition rate calculation.                      ALL               690   31926          12300       38.53%


  Original-to-Current Rating Transitions
  SECTOR = U.S. RMBS                                                  For Vintages: Q1 2005 - Q3 2007                              Date Updated = April 21, 2008
  Origina AAA AA+ AA AA- A+                A     A- BBB+ BBB BBB- BB+ BB BB- B+                   B     B- CCC+ CCC CCC- CC         C    D # of Ratings    # of Down     Down %
  AAA      3110 10       30     8   10    18 14        6     24    19    4     59     0     0    22     0   0     7    0     0      0    0     3341            231        6.91%
  AA+        0 1906 44 15 18              35     7     9     42     3    9     58     0     1    62      1  0    30    0     1      0    0     2241            335       14.95%
  AA         2     8 2892 52 27           73 37 11           76    10    6 109 3            5    111 0      0   167    0     3      0    5     3597            695       19.32%
  AA-        0     1      2 1072 29       29 15 15           34    11    9     46     3     2    135 1      0   225    0     4      0   13     1646            571       34.69%
  A+         0     0      0     0 1015 25 26 28              41    15 17 65           7     6    60     8   0   427    0     25     0   16     1781            766       43.01%
  A          0     0      2     1    4 1972 50 41            74    24 25 108 11 14 70                   8   0   462    0     57     0   34     2957            978       33.07%
  A-         0     0      0     0    1     0    989 58       68    21 12 82           22 10 79          19  0   485    0 135 0          50     2031           1041       51.26%
  BBB+       0     0      0     0    0     0     0    818 46       42 35 93           23 18 89          18  0   488    0 148 0          67     1885           1067       56.60%
  BBB        0     0      0     0    0     1     2     1 1650 69 70 129 15 20 155 17                        0   467    0 185 0          75     2856           1202       42.09%
  BBB-       0     0      0     0    0     0     2     0      1 890 55 116 35 19 153 33                     0   568    0 319 0          103    2294           1401       61.07%
  BB+        0     0      0     0    0     0     0     0      0     0   227 25        10    9    56     12  0   240    0 188 0          131     898            671       74.72%
  BB         0     0      0     0    0     0     0     0      0     1    1 952 39 13 232 17                 0   236    0 133 0          85     1709            755       44.18%
  BB-        0     0      0     0    0     0     0     0      0     0    0      0     77    7    14      2  0    15    0     3      0    8      126            49        38.89%
  B+         0     0      0     0    0     0     0     0      0     0    0      0     1     34    0      0  0     5    0     0      0    2       42             7        16.67%
  B          0     0      0     0    0     0     0     0      0     0    0      0     0     0    769 60     0   266    0     8      0    9     1112            343       30.85%
  B-         0     0      0     0    0     0     0     0      0     0    0      0     0     0     0     32  0     6    0     1      0    0       39             7        17.95%
  1. AAA ratings from the same transaction are treated as a single rating in the calculation of this table.         Investment Grade    363   24629           8287       33.65%
  2. Multiple rating actions are aggregated to calculate a security's cumulative rating performance                 Speculative Grade   235    3926           1832       46.66%
  3. Last rating before withdrawal due to redemption is used in the transition rate calculation.                      ALL               598   28555          10119       35.44%


  Original-to-Current Rating Transitions
  SECTOR = U.S. RMBS Subprime                                        For Vintages: Q1 2005 - Q3 2007                             Date Updated = April 21, 2008
  Origina AAA AA+ AA AA- A+                A     A- BBB+ BBB BBB- BB+ BB BB- B+                   B     B- CCC+ CCC CCC- CC         C   D # of Ratings # of Down       Down %
  AAA      927     5     27     1    0    13     0     0    15      2    0     35     0     0     2     0    0   0     0     0      0    0    1027          100         9.74%
  AA+        0    973 28        9   14    30     1     2    40      0    4     53     0     1    48     0    0   15    0     1      0   0     1219          246        20.18%
  AA         0     0 940 28          3    32     2     3    61      1    1     94     3     3    93     0    0  127    0     2      0   0     1393          453        32.52%
  AA-        0     0      0   459    5    19     1     5    24      2    3     35     1     1 126       0    0  190    0     3      0   0      874          415        47.48%
  A+         0     0      0     0 430 6          6     9    26      4    1     46     3     2    45     3    0  391    0     20     0   0      992          562        56.65%
  A          0     0      0     0    0   425     7     7    31      3    6     47     3     4    48     3    0  399    0     53     0   0     1036          611        58.98%
  A-         0     0      0     0    0     0    348 10 31           6    2     38     8     3    49     2    0  372    0     78     0   0      947          599        63.25%
  BBB+       0     0      0     0    0     0     0 328 15           5    12    59     4     5    55     8    0  418    0   135      0   0     1044          716        68.58%
  BBB        0     0      0     0    0     0     0     0    277     9    14    38     7     8    65     5    0  372    0   164      0   1      960          683        71.15%
  BBB-       0     0      0     0    0     0     0     0     0 205 12          39     6     5    79     9    0  371    0   206      0   6      938          733        78.14%
  BB+        0     0      0     0    0     0     0     0     0      0    82    16     3     5    40     4    0  196    0   150      0   19     515          433        84.08%
  BB         0     0      0     0    0     0     0     0     0      0    0     43     0     0    11     1    0  101    0     68     0   26     250          207        82.80%
  BB-        0     0      0     0    0     0     0     0     0      0    0      0     7     1     4     0    0   7     0     0      0    4      23          16         69.57%
  B+         0     0      0     0    0     0     0     0     0      0    0      0     0     2     0     0    0   4     0     0      0    1       7           5          71.43%
  B          0     0      0     0    0     0     0     0     0      0    0      0     0     0     0     0    0   0     0     1      0    0       1           1         100.00%
  B-         0     0      0     0    0     0     0     0     0      0    0      0     0     0     0     0    0   0     0     0      0    0       0           0
  1. AAA ratings from the same transaction are treated as a single rating in the calculation of this table.         Investment Grade     7    10430        5118        49.07%
  2. Multiple rating actions are aggregated to calculate a security's cumulative rating performance                 Speculative Grade   50     796          662        83.17%
  3. Last rating before withdrawal due to redemption is used in the transition rate calculation.                     ALL                57    11226        5780        51.49%


  How-To-Read
  These tables document the transitions of the original rating-to-the current rating for U.S. CDO of ABS as well as U.S. RMBS transactions. They show the original issuance rating
  and the current rating for each security, as well as the percentage of ratings that were lowered. For example, the U.S. RMBS table indicates that about 93% of all original 'AAA'
  ratings have stayed at the same rating level, and only about 7% experienced any downgrade transitions. The original and the current ratings are shown in the first column and the
  first row below the title, respectively.



              242.         The number of downgrades represented a historical event for the Company that had


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  never been seen before – but the majority of the downgrades did not take place until December 2007

  through January 2008, towards the end of the Class Period when Defendants were still misleading

  investors by touting growth prospects for 2008.

         243.    The devastating impact of the downgrades destroyed much of the Company’s

  reputation. Describing the events of 2007, Senator Levin stated:

         Finally in July of 2007, within days of each other, Moody’s and Standard & Poor’s
         announced mass downgrades of hundreds of subprime mortgage backed securities.
         The mass downgrades shocked financial markets and the subprime secondary market
         dried up overnight. Banks, security firms, pension funds, and others were left
         holding billions of dollars of suddenly unmarketable securities. The value of those
         securities began dropping like a stone and the financial crisis was on.

         Two months later in October, Moody’s began downgrading over $10 billion of
         CDOs. On January 30, 2008, Standard & Poor’s downgraded over 8,000 securities
         including 6,300 RMBS and 1,900 CDO securities, an unprecedented onslaught of
         downgrades. The CDO market like the RMBS market evaporated. Financial firms
         around the world were suddenly struck with even more unmarketable securities and
         by September 2008, major global financial institutions like Lehman Brothers, AIG,
         Citibank, Goldman Sachs and Morgan Stanley were either bailed out, bankrupt or
         struggling.

         Looking back, if any single event can be identified as the immediate trigger of the
         2008 financial crisis, my vote would be for the mass downgrades starting in July
         2007, when the credit rating agencies realized their AAA ratings wouldn’t hold and
         finally stopped labeling toxic mortgages as safe investments. Those mass
         downgrades hit the markets like a hammer, making it clear the investment grade
         ratings had been a colossal mistake.

         This chart . . . shows just how big a mistake it was. It shows that 91% of the AAA
         subprime RMBS securities issued in 2007, and 93% of those issued in 2006, have
         now been downgraded to junk status. The numbers for option ARM mortgages are
         even worse. . . .

         J.      After the Hammer Fell, S&P Settles with the SEC

         244.    Significantly, rating agencies like S&P, whose misrepresentations set forth below

  were revealed instantaneously by the Credit Agencies Report agreed to an informal settlement with

  the SEC. See Exhibit 6. S&P agreed to engage in remedial actions to correct the wrongs identified

  in the Credit Agencies Report. These remedial actions for S&P – which are essentially admissions


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  of the falsity of Defendants’ Class Period statements, as well as their scienter – include:

         •       Evaluating, both at the present time and on a periodic basis, whether it has sufficient
                 staff and resources to manage its volume of business and meet its obligations under
                 the Exchange Act;

         •       Conducting a review of its current disclosures relating to processes and
                 methodologies for rating RMBS and CDOs to assess whether it is fully disclosing its
                 ratings methodologies in compliance with the Exchange Act;

         •       Reviewing whether its policies governing the timing of disclosure of a significant
                 change to a process or methodology are reasonably designed to comply with these
                 requirements;

         •       Conducting a review to determine whether its written policies and procedures used
                 to determine credit ratings for RMBS and CDOs are fully documented;

         •       Conducting a review of its current policies and practices for documenting the credit
                 ratings process and the identities of RMBS and CDO ratings analysts and committee
                 members to review whether they are reasonably designed to ensure compliance with
                 Rule 17g-2 and to address weaknesses in the policies or in adherence to existing
                 policies that result in gaps in documentation of significant steps and participants in
                 the credit ratings process;

         •       Conducting a review to determine if adequate resources are devoted to surveillance
                 of outstanding RMBS and CDO ratings. This review will include, for example,
                 whether the rating agency maintains adequate staffing and has adequate expertise
                 dedicated to performing ongoing surveillance. The Company will also ensure that it
                 has comprehensive written surveillance procedures and all appropriate surveillance
                 records shall be maintained; and

         •       Reviewing its practices, policies and procedures for mitigating and managing the
                 “issuer pays” conflict of interest.

         245.    The remedial actions listed in the Credit Agencies Report are directly relevant to the

  claims specifically alleged herein, and are, in fact, evidence in support of those claims.

         K.      Congressional Hearings on Credit Rating Agencies

         246.    On October 22, 2008, the House Oversight Committee held a hearing on Credit

  Rating Agencies and the Financial Crisis. Like the SEC’s Credit Agencies Report, although the

  hearing occurred after the close of the Class Period, it focused on Class Period data, documents, and

  information from the three major credit rating agencies, including S&P.


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          247.    During this hearing, among other things, the House Oversight Committee heard

  testimony from former employees, including former S&P Managing Director of RMBS Raiter,

  extensively questioned the heads of S&P, Moody’s, and Fitch, and publicly revealed, for the first

  time, actual copies of internal company documents demonstrating the Company was aware that the

  structured finance markets from which it was handsomely profiting were nothing more than a “house

  of cards.” Specifically, the House Oversight Committee unveiled a small number of internal emails

  and instant messages that showed how senior executives at S&P warned that it was engaged in a

  “race to the bottom” that deliberately compromised rating standards for a share of the profits from

  the boom-time RMBS and CDO credit markets. These internal emails and instant messages were

  also referenced and quoted (without attribution) in the SEC’s Credit Agencies Report.

          248.    During the House Oversight Committee hearing, the Committee also heavily

  criticized and called into question the credibility and veracity of the heads the three major credit

  rating agencies, S&P, Moody’s Investor Service, and Fitch Ratings. For example, Committee

  member Jackie Speier called the rating agencies’ conduct “a bone-chilling definition of corruption.”

  Committee Chairman Waxman said that “[t]he story of the credit rating agencies is a story of

  colossal failure,” and that they “broke a bond of trust . . . and the result is that our entire financial

  system is now at risk.”

          249.    Other House Oversight Committee members were equally damning in their comments

  to the heads of the three major credit reporting agencies. House Oversight Committee member

  Souder stated that “It is clear that greed led to not only ‘see no evil, hear no evil’ but ‘report no evil.’

  It is clear that there was fraud here. But there is also to me incredible gross incompetence.” House

  Oversight Committee member Souder continued, “The problem is if they’re incompetent and greedy

  and corrupt and behaving illegal[ly], then the conflict of interest pushes them over the top and it

  destroys their industry, which is what happened here.” Similarly, House Oversight Committee


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  member Shays stated “I happen to think the ratings agencies are useless now. I think they have no

  brand. I wouldn’t trust them if I had money to invest.”

         250.    The House Oversight Committee hearing and related testimony revealed substantial

  additional information that further corroborates the Complaint’s allegations as to why Defendants’

  Class Period statements (set forth below) were materially false and misleading. On a more basic

  level, had Defendants told Class members that the primary driver of McGraw-Hill’s financial

  performance during the Class Period was a “house of cards,” then the Company’s stock price would

  not have been artificially inflated during the Class Period and would not have declined when the

  Company’s true financial condition was revealed.

         251.    Moreover, as detailed herein, on April 23, 2010, the Senate Subcommittee concluded

  its eighteen month investigation into the ratings agencies – which included more than 100 interviews

  and depositions and the review of more than 1,000,000 pages of documents – with a hearing focused

  solely on the conduct of S&P and Moody’s.          In conjunction with the hearing, the Senate

  Subcommittee released many internal S&P documents and emails that established a common theme

  – the Company’s inner dialogue was nothing like Defendants’ public statements to the market about

  the Company’s ratings, surveillance, or financial performance. These Class Period documents along

  with the Senate Subcommittee’s formal findings of fact, support Plaintiff’s allegations and are

  powerful evidence of Defendants’ scienter.

  VIII. DEFENDANTS’ FALSE AND MISLEADING STATEMENTS DURING
        THE CLASS PERIOD

         252.    The Class Period begins on October 21, 2004. On that date, McGraw-Hill issued a

  press release entitled, “The McGraw-Hill Companies Reports 11.9% Increase in EPS from

  Continuing Operations for Third Quarter of 2004 Increases Guidance to Double-Digit EPS Growth

  in 2004,” which stated, in relevant part:

         The McGraw-Hill Companies (NYSE: MHP) today reported third quarter 2004

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         diluted earnings per share from continuing operations of $1.69, an 11.9% increase
         over $1.51 for the same period last year.

         Income from continuing operations in the third quarter grew by 12.2% to $324.5
         million. Revenue for the third quarter increased 5.8% to $1.7 billion.

         “Record results in Financial Services, improvement in higher education, a pickup in
         advertising and careful cost controls all contributed to our third quarter
         performance,” said Harold McGraw III, chairman, president and chief executive
         officer of The McGraw-Hill Companies. “As a result, we increased our operating
         margin to 32.4% in the third quarter.

                                           *         *    *

         “Revenue for the first nine months grew to $3.8 billion, an increase of 6.4% over the
         comparable period last year.

                                           *         *    *

         Financial Services: “Revenue for this segment in the third quarter increased
         14.1% to $502.8 million and operating profit grew by 17.7% to $202.0 million
         compared to the same period last year. Favorable foreign exchange rates
         contributed $6.1 million to revenue and had a negative impact of $1.4 million on
         operating profit in the third quarter.

         “The results underscore the strength and resilience of our portfolio. Even in the
         face of some softness in the U.S. corporate and public finance markets, Standard
         & Poor’s again produced a record quarter. International ratings grew faster than
         domestic operations, accounting for approximately 35% of ratings revenue, and
         equity services continued to improve.

         “Structured finance set the pace globally with growth in virtually all asset classes.
         The structured finance market also followed its usual pattern with a rush of activity
         in the final month of the quarter.

         “The residential mortgage-backed securities market continued to defy all
         expectations of a slowdown by the third quarter. Instead, residential mortgage-
         backed securities issuance grew in the U.S. and Europe as investors showed an
         undiminished appetite for mortgage debt. There also was strong demand for
         commercial mortgage-backed securities and collateralized debt obligations.

                                           *         *    *

         The outlook: “With a solid performance in our seasonally most important quarter of
         the year now in the record book, we are again raising our earnings guidance for 2004.

         253.    Also on October 21, 2004, McGraw-Hill hosted a conference call to discuss its third

  quarter 2004 financial results. The Individual Defendants participated in the call on behalf of the

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  Company. During the call, numerous false and misleading statements were made that were designed

  to artificially inflate the Company’s stock price. For example:

         Okay, with that, let me turn now to our financial services segment. In the third
         quarter here, revenue increased 14.1%, operating profits grew by 17.7% and the
         operating margin expanded to 40.2%. Our results at Standard & Poor’s illustrate,
         again, how we can overcome mixed market conditions with a strong and diverse
         portfolio that has been created over the last several years. Standard and Poor’s has
         a record -- has had a record quarter, even though there was softness, once again,
         in the U.S. corporate and the public finance sector.

                                          *         *     *

         A third area is recurring fees. Revenue for surveillance activity in customers with
         annual fee arrangements also contribute to our growth. And finally, new
         opportunities in the equity markets have demonstrated terrific results. S&P’s equity
         information product are contributing very nicely to our improved performance. But
         structured finance was a global driver and, once again, we witnessed a surge of
         activity in the third month of the quarter as issuers took the opportunity to adjust
         balance sheets at the end of the period. Dollar volume, new issue dollar volume, for
         mortgage-backed securities climbed 50.9% in the U.S. market. The strength of the
         residential mortgage-backed securities market continues to be one of this year’s
         major surprises. Some of our forecasting capabilities here are, obviously, somewhat
         challenged. We had anticipated a 25% decline in the residential mortgage-backed
         market coming into this year. But it now looks as if issuance could top last year’s
         strong performance by probably over 25%. We have already seen more residential
         mortgage-backed security issuance in the U.S. market this year in 9 months then
         all of last year and that was a record year! For 9 months of 2004, 627 billion has
         been issued versus 597 billion for all of 2003. The increase in the third quarter
         alone was 53.5%. We have seen a shift in the mix of residential mortgage-backed
         security issuance this year. Sub-prime issues, which are less sensitive to interest
         rate, and home equity loans and home equity lines of credit, which are driven by
         home price appreciation, have emerged as the market leaders in 2004.
         Commercial mortgage-backed securities and collateralized debt obligations also
         contributed to third quarter improvement and are expected to do so again in the
         fourth quarter. US asset-backed market started to pick up in the second quarter and
         the momentum continued in the third quarter with issuance growing by 19.2%.
         Issuance for the fourth quarter looks, also, very healthy.

                                          *         *     *

         In closing with financial services segment, let me briefly comment on the ongoing
         regulatory process. Last month S&P published its own code of practices and
         procedures. It is an aggregation of our existing policies and procedures. And by the
         way, you can find that on the website at S&P.com. Importantly, it is consistent with
         the International Organization of Security’s Commissioners, IOSCO, and their
         principals and, again, underscores our own dedication towards transparent and

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          independent decision-making process . . . .65

          254.    On October 29, 2004, McGraw-Hill filed its interim quarterly financial report on

  Form 10-Q for the quarter ending September 30, 2004. The financial results reported in the 10-Q

  were substantially similar to those reported in the Company’s October 21, 2004 press release. The

  Form 10-Q was signed by Bahash, and contained required Sarbanes-Oxley certifications signed by

  McGraw and Bahash stating that the Form 10-Q did not include any material misrepresentations. In

  discussing what drove McGraw-Hill’s improved financial performance, the October 29, 2004 10-Q

  stated, in relevant part:

          In the third quarter of 2004, the Company achieved growth in revenue and income
          from continuing operations. Revenue growth of 5.8% outpaced a 2.9% increase in
          expenses resulting in a 12.2% increase in income from continuing operations.
          Favorable foreign exchange rates contributed $10.4 million to revenue and had a
          slightly negative impact on income from continuing operations.

          The revenue increase is primarily attributable to growth in the Financial Services
          segment. . . . Service revenue increased to $662.0 million, an increase of 12.8%, as
          compared to the prior year’s third quarter, due primarily to the growth in Financial
          Services. Strong growth in structured finance reflects continued favorable market
          conditions, including a low interest rate environment.

                                           *         *    *

          Financial Services

          Financial Services’ revenue increased 14.1% to $502.8 million. Operating profit
          increased 17.7% to $202.0 million in the third quarter of 2004, benefiting from
          reduced investment spending. Foreign exchange had a favorable impact contributing
          $6.1 million to revenue or 1.4 percentage points of growth and had a negative impact
          on operating profit of $1.4 million.

                                           *         *    *

          The Financial Services segment’s increase in revenue and operating profit is due
          to the performance of structured finance ratings which represented approximately
          55.8% of the growth in revenue. In structured finance, the continuing favorable


  65
    The Company’s publicly released Code of Conduct also contained numerous false and misleading
  statements, which are addressed in Section X, below.


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        interest rate environment led to strong growth in the issuance of U.S. residential
        mortgage-backed securities (RMBS). Commercial mortgage-backed issuance
        (CMBS) increased both in the U.S. and in Europe. Collateralized debt obligations
        (CDOs) experienced strong growth due to improving credit quality and favorable
        interest rate spreads . . . . Revenues from recurring fees for surveillance activities
        and from customers on annual fee arrangements also contributed to the year-to-
        year increase . . . .

        Total U.S. structured finance new issue dollar volume increased 45.8%, driven
        primarily by RMBS issuance, which grew 53.5% according to Harrison Scott
        Publications. RMBS issuance was strong in the quarter, despite a decline in
        refinancing activity. Significant growth was experienced both in sub-prime
        mortgages and home equity loan issuance as a result of continued low interest
        rates. Issuance for U.S. CDOs increased 85.2% over the prior year due to the
        favorable interest rate environment and spreads, as well as improving credit
        quality. According to Securities Data, U.S. new issue dollar volume for corporate
        issuers for the third quarter of 2004 decreased 12.6%, with investment grade issuance
        down 11.1% and high yield issuance down 20.3%. Comparisons to prior year were
        challenged due to the significant growth in both high yield and investment grade
        issuance in the third quarter of 2003 . . . . International market growth was also
        strong as the favorable trends of securitization, disintermediation and privatization
        continue. In Europe, issuance levels rose in both the corporate and structured finance
        sectors. European issuance by corporate entities was driven by growth in investment
        grade issuance, primarily financial services firms, while structured finance
        experienced solid growth across most asset classes.

                                          *         *     *

        The market for credit ratings as well as research, investment advisory and broker-
        dealer services is very competitive. The Financial Services segment competes
        domestically and internationally on the basis of a number of factors, including
        quality of ratings, research and investment advice, client service, reputation, price,
        geographic scope, range of products and technological innovation.

                                          *         *     *

        The Company maintains disclosure controls and procedures that are designed to
        ensure that information required to be disclosed in the Company’s reports filed with
        the Securities and Exchange Commission is recorded, processed, summarized and
        reported within the time periods specified in the SEC’s rules and forms, and that such
        information is accumulated and communicated to the Company’s management,
        including its CEO and CFO, as appropriate, to allow timely decisions regarding
        required disclosure.

                                          *         *     *

        As of September 30, 2004, an evaluation was performed under the supervision and
        with the participation of the Company’s management, including the CEO and CFO,
        of the effectiveness of the design and operation of the Company’s disclosure controls
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             and procedures. Based on that evaluation, the Company’s management, including the
             CEO and CFO, concluded that the Company’s disclosure controls and procedures
             were effective as of September 30, 2004. Except as noted above, there have been no
             other changes in the Company’s internal controls over financial reporting during the
             most recent quarter that have materially affected, or are reasonably likely to
             materially affect, the Company’s internal controls over financial reporting.

             255.          In response to the October 21, 2004 press release and conference call, and the

  October 29, 2004 Form 10-Q, the Company’s stock price posted a steady increase from a closing

  price of $37.99 on October 20, 2004 to closing prices of $38.95 on October 21, 2006 and $40.66 on

  October 29, 2004, as demonstrated in the chart below:

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   2000000
                                                                                                                                                               40.5



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   1500000
                                                                                                                                                               39.5
                                                                                                                                                                      Volume
                                                                                                                                                                      Price
                                                                                                                                                               39
   1000000

                                                                                                                                                               38.5



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    500000


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             256.          The statements referenced in ¶¶252-54 were each materially false and misleading

  when made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

             •             The Company’s revenue stream for Structured Finance transactions, especially
                           subprime and Alt-A RMBS and CDOs was materially threatened by outdated
                           models, inadequate surveillance, and the Company’s unchecked “race to the bottom”
                           market share war.

             •             The Company was over-worked, under-staffed, and under-funded with respect to
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              surveillance of previously-rated RMBS and CDOs. As a result, S&P was perpetually
              late in conducting its surveillance of RMBS and CDO transactions. Because of the
              abject failure to conduct timely surveillance, Defendants’ assessments of the
              performance of the Company’s Structured Finance division, including its financial
              outlook, lacked a reasonable basis.

        •     The LEVELS ratings model was outdated, despite the fact that vastly enhanced
              versions were readily available. But Defendants chose not to use them, fearing that
              resulting downgrades and ratings volatility (i.e., accuracy) would negatively impact
              the Company’s market share and reputation. As a result, Defendants’ statements
              regarding the Company’s financial performance and future business prospects were
              materially false and misleading.

        •     The Company refused to use its LEVELS model to conduct surveillance of the
              RMBS transactions it rated. The “inside” reason for this was that Defendants knew
              if they re-rated transactions, and thus increased the accuracy of their ratings,
              volatility would go up and threaten a lucrative revenue stream and the Company’s
              quest to maintain and increase market share at all costs. In addition, it would have
              alerted the market that a AAA rating of a RMBS or CDO transaction was nowhere
              near as stable as a AAA corporate rating. The already-developed, never
              implemented models would have halted the subprime lending craze fueled by stale
              ratings, and would have materially threatened the Company’s financial performance
              and future business prospects.

        •     The Company’s rating models were ill-equipped to rate CDOs and RMBS, especially
              with respect to sub-prime mortgages. As a result, Defendants’ assessments of the
              Company’s Structured Finance division, and its financial outlook, lacked a
              reasonable basis.

        •     Internally, the Company’s employees and the Individual Defendants knew that
              McGraw-Hill’s public statements regarding the sufficiency of its ratings models and
              surveillance were false and misleading, calling the ratings business a “house of
              cards,” stating that the Company rated “every deal” and that deals “could be
              structured by cows” and S&P would rate them. In addition, the Company engaged in
              a “race to the bottom” and deliberately lowered its ratings criteria because of the
              “threat of losing deals.” As a result, Defendants’ Class Period statements were false
              and misleading.

        •     The Company departed from its own internal protocols and ratings standards in order
              to get deals done, but failed to disclose such departures to the market. As a result,
              Defendants’ statements regarding the Company’s financial performance and future
              business prospects lacked a reasonable basis.

        •     Defendants’ ongoing departure from its own surveillance protocols (i.e., substantial
              delays and stale criteria) had the cause and effect of forestalling massive revenue
              decreases for the Company. If the Company had conducted timely and appropriate
              surveillance of RMBS and CDOs, its ratings revenue would have substantially
              declined, it would have seen a decrease in transaction volume as customers would
              have fled, and the Company’s financial condition would have been materially and
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                 negatively impacted.

         •       Although the Company told the market that its Financial Services segment competed
                 on the basis of, among other things, the Company’s reputation, Defendants had, from
                 the start of the Class Period, placed a “For Sale” sign on the Company’s reputation
                 by compromising ratings criteria, failing to conduct timely surveillance, and
                 choosing to only put band aids on its models. As a result, Defendants’ Class Period
                 statements were materially false and misleading.

         •       The Company’s record results were illusory because they were coming at a
                 tremendous cost that remained hidden from the market – the Company’s credibility
                 and reputation. Defendants’ now documented “at all costs” pursuit of market share
                 and lucrative structured finance fees resulted in the undisclosed lowering of credit
                 analysis standards, the undisclosed practice of placing AAA ratings on deals the
                 Company knew would be non-performing, a continual paucity of staff and resources
                 for surveillance, and the undisclosed use of grandfathering to avoid downgrading
                 already-rated deals. Had these documented, undisclosed facts been revealed to the
                 market, investors would have seen the Company’s “record results” for what they
                 were: passing, unsustainable short-term results leveraged against the Company’s
                 entire reputation.

         257.    On January 25, 2005, McGraw-Hill issued a press release entitled “Strong Growth

  Reported by The McGraw-Hill Companies, Achieves Earnings Per Share of $3.92 for 2004 and

  $0.98 for Fourth Quarter,” which stated, in relevant part:

         The McGraw-Hill Companies (NYSE: MHP) today reported diluted earnings per
         share from continuing operations for 2004 of $3.92, a 9.5% increase over the same
         period in 2003.

                                           *       *      *

         Net income for 2004 increased 9.9% to $755.8 million compared to $687.7 million in
         2003, which includes a $57.2 million gain and a $57.3 million loss on the
         dispositions of ComStock and the juvenile retail publishing business, respectively.

         Revenue in 2004 increased 7.4% to $5.3 billion.

                                           *       *      *

         For the fourth quarter of 2004, diluted earnings per share from continuing operations
         were $0.98. Diluted earnings per share of $1.12 in 2003 include an after-tax gain of
         $0.30 from the sale of real estate.

         Net income for the fourth quarter of 2004 was $190.0 million.

         Revenue for the fourth quarter of 2004 increased 10.6% to $1.4 billion.

         “Standard & Poor’s completed the best year in its history with a record fourth
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         quarter performance,” said Harold McGraw III, chairman, president and chief
         executive officer of The McGraw-Hill Companies. . . We also benefited from
         rigorous cost controls. As a result, our operating margin for the fourth quarter of
         2004 expanded to 24.6%, up from 22.2% last year.”

                                           *         *    *

         Financial Services: “For 2004, revenue in the segment grew by 16.2% to $2.1
         billion and operating profit increased by 25.7% to $839.4 million compared to
         2003. The operating margin increased to 40.8% from 37.7%.

         “In the fourth quarter, revenue for the segment grew by 19.6% to $591.4 million
         while operating profit increased 39% to $249.3 million. Foreign exchange rates
         contributed $7.7 million to growth in revenue and had no material impact on
         operating profit in the fourth quarter.

                                           *         *    *

         “Structured finance was a key global driver in 2004 with virtually all asset classes
         showing improvement. U.S. residential mortgage-backed securities issuance again
         surged in the fourth quarter as this market set a new record for the second year in
         a row.

                                           *         *    *

         “In the U.S., new issue dollar volume increased 19.0%, driven by a 53.0% gain in
         the issuance of mortgage-backed securities over the comparable quarter in 2003.
         Corporate issuance declined 2.2%. Public finance was down 9.1%. Asset-backed
         issuance was off 15.9%.

                                           *         *    *

         The outlook: “For 2005, we expect another year of double-digit growth in earnings
         per share from continuing operations. That now includes 10-12 cents of dilution from
         acquisitions last year and changes in pension plan assumptions for 2005, but it
         excludes the 2004 non-cash benefit of 10 cents per share from accrued tax liabilities
         and a change in accounting for share- based compensation effective July 1, 2005.”

         258.    Also on January 25, 2005, McGraw-Hill hosted a conference call to discuss its fourth

  quarter 2004 financial results. The Individual Defendants participated in the call on behalf of the

  Company. During the call, numerous false and misleading statements were made that were designed

  to artificially inflate the Company’s stock price. For example, McGraw stated:

         Okay, let’s go over to the financial services segment. We had a record year and a
         record fourth quarter at Standard & Poor’s. We’re very pleased.


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                                          *         *     *

        Mortgage backed securities and its issuance was clearly the star performer,
        increasing 53 percent for the year and 45.9 percent for the quarter. That’s the
        core reason why total issuance in the U.S. bond market increased by 9.8 percent
        here and 19 percent in the fourth quarter.

        Now, there’s no doubt that a record level of activity in the U.S. residential mortgage-
        backed securities market made 2004 an even better year than we originally
        anticipated. However, if we had not seen growth in the residential markets executed,
        we still would have had double digit top and bottom-line performance. U.S.
        residential mortgage-backed securities increased 48.8 percent in 2004, 58.6 percent
        in the fourth quarter, both very, very strong records. We start the first quarter of
        2005 with a favorable pipeline for residential mortgage-backed securities, but we
        don’t expect 2005 will match last year’s remarkable activity. Instead we expect new
        issuance of U.S. residential mortgage-backed securities to decline probably about 20
        percent. And our track record on predicting this has not been good.

        But, you know, [you] just have to believe that as strong as that will be we will see it
        about 20 percent and given the equipment spending numbers, that are very healthy
        double-digit numbers, we expect to see a shift throughout the year from the
        residential to the commercial mortgage-backed security market. Nevertheless, we
        are still forecasting double-digits, top and bottom-line growth for our financial
        service segment for 2005. Some of the same trends that contributed to our
        performance in 2004 will keep us growing in 2005. New rating products and
        services. Bank loan ratings, for example. They’re not tied to new issuance, they’ll
        continue to grow faster than many of our traditional ones. In 2004, they represented
        approximately 21 percent of ratings revenue. 10 years ago, they represented only
        about 8 percent of ratings revenue.

        Our international ratings revenue will continue to grow and it will continue to
        grow more rapidly than our domestic revenue. Overseas revenue represented over
        35 percent of ratings in 2004 total and more than 38 percent of ratings fourth quarter
        revenue. We expect international ratings to continue to grow in 2005 and beyond
        and represent an increasing proportion of the total. Securitization will continue to
        [be] an important driver of international growth. The recent European
        securitization from last week forecasted record issuance for the market there in 2005.
        Survey respondents in Europe expect substantial growth, collateralized debt
        obligations, as well as commercial mortgage-backed securities. And, incidentally, 10
        years ago, when we were in the real buildup phase of our global network with some
        32 locations around the world, overseas business accounted for only about 21
        percent.

                                          *         *     *

        We are encouraged, very encouraged, by the growing acknowledgement that
        independent and objective opinions are essential to the functioning of open
        markets.

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         259.    On February 25, 2005, the Company filed its annual financial report on Form 10-K

  for the year ending December 31, 2004. The financial results reported in the 10-K were substantially

  similar to those reported in the Company’s January 25, 2005 press release. The Form 10-K was

  signed by McGraw and Bahash, and contained required Sarbanes-Oxley certifications signed by

  McGraw and Bahash stating that the Form 10-K did not include any material misrepresentations. In

  discussing what drove McGraw-Hill’s improved financial performance, the February 25, 2005 10-K

  included a letter to the Company’s shareholders that stated, in relevant part:

         Our consistent growth record has allowed us to deliver an annualized total return to
         shareholders of 10.0% over the last five years, exceeding the -2.3% annualized return
         of the S&P 500 and the 1.5% gain of our proxy peer group.

                                           *         *     *

         In Financial Services, we had a record performance in 2004 and are positioned for
         continued strong growth in revenue and earnings. The global need for capital to
         support public- and private-sector development is substantial and is fueling demand
         for Standard & Poor’s research, analysis and index products.

         Global debt issuance has soared in the last five years, reaching $4 trillion in 2004 –
         an amount equal to the total debt issued from 1990 to 1994. Fueled by growth in
         Europe and other international markets, which will account for nearly half of our
         total ratings revenue by 2009, we expect debt issuance to reach $30 trillion over the
         next five years. Growth is especially strong in the structured finance market,
         which is now nearly as large as the corporate bond market and benefits from the
         in-depth analysis Standard & Poor’s provides.

                                           *         *     *

         Revenue and income from continuing operations increased 7.4% and 10.0%,
         respectively, in 2004. Results from operations improved primarily on the strength
         of the Financial Services segment, which has benefited from the continued low
         interest rate environment.

                                           *         *     *

         In 2005, the Company expects its key drivers of growth to be . . . [a]chievement of
         double-digit top- and bottom-line growth for the Financial Services segment,
         despite a projected 20% decline in the issuance of residential mortgage-backed
         securities in the U.S. market.

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        The Company maintains disclosure controls and procedures that are designed to
        ensure that information required to be disclosed in the Company’s reports filed with
        the Securities and Exchange Commission (SEC) is recorded, processed, summarized
        and reported within the time periods specified in the SEC rules and forms, and that
        such information is accumulated and communicated to the Company’s management,
        including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
        appropriate, to allow timely decisions regarding required disclosure.

        As of December 31, 2004, an evaluation was performed under the supervision and
        with the participation of the Company’s management, including the CEO and CFO,
        of the effectiveness of the design and operation of the Company’s disclosure controls
        and procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange
        Act of 1934). Based on that evaluation, the Company’s management, including the
        CEO and CFO, concluded that the Company’s disclosure controls and procedures
        were effective as of December 31, 2004.

                                          *         *     *

        Revenue and operating profit growth in 2004 was driven by service revenue from
        the Financial Services segment.

                                          *         *     *

        Service revenue increased in 2004, primarily due to an increase in revenue in the
        Financial Services segment. Strong growth in structured finance and corporate
        finance ratings (corporate finance and financial services) reflects continued favorable
        market conditions, including a low interest rate environment. Service revenue
        comprises the revenue of the Financial Services segment and the remaining revenue
        of the Information and Media Services segment and represents information-related
        services and advertising.

                                          *         *     *

        The Financial Services segment was a key growth driver this year as revenue and
        operating profit grew 16.2% and 25.7%, respectively. Operating margins increased
        3 percentage points as a result of a strong mix which included:

        •      Growth in structured finance and corporate finance ratings, which reflects
        favorable market conditions, including a continued low interest rate environment.

        •       Strong U.S. residential mortgage-backed securities issuances, which rose to
        record levels in the U.S. as interest rates remained low.

        •       Strong growth internationally, particularly in structured finance, as
        international issuers have embraced securitization as a source of funding. Overseas
        activity now produces 31.3% of total Standard & Poor’s revenues, a 26.0% increase
        over prior year.



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        The increase in 2004 income from continuing operations is primarily attributable
        to revenue growth in the Financial Services segment.

                                          *         *       *

        In 2004, Financial Services produced double-digit revenue and operating profit
        growth due primarily to the performance of structured finance ratings and corporate
        finance (corporate finance and financial services) ratings, which represented
        approximately 43% and 27% of the growth in revenue, respectively. Operating
        margin increased to 41% from 38% in 2003.

                                          *         *       *

        In structured finance, the continuing favorable interest rate environment led to strong
        growth in the issuance of U.S. residential mortgage-backed securities (RMBS),
        collateralized debt obligations (CDOs) and commercial mortgage-backed securities
        (CMBS), both in the U.S. and Europe. The growth in corporate finance ratings is
        attributable to revenues from recurring fees for surveillance activities and from
        customers on annual fee arrangements.

                                          *         *       *

        The securitization market has grown significantly over the last decade in the United
        States. Total U.S. structured finance new issue dollar volume increased 36.1%,
        driven primarily by RMBS issuance, which grew 48.8% according to Harrison Scott
        Publications. RMBS issuance rose to record levels in the U.S. as interest rates
        remained low and the drivers of mortgage origination remained favorable. These
        included new and existing home sales, as well as appreciation in home prices.
        Issuance of U.S. CMBS and U.S. CDOs increased over the prior year due primarily
        to the favorable interest rate environment. An improving economy, strong consumer
        spending, increasing investor confidence and the quality of the underlying
        transaction collateral in CDOs also contributed to the increases.

                                          *         *       *

        International market growth was strong as the favorable trends of securitization,
        disintermediation and privatization continued. In Europe, issuance levels rose in
        2004 with strong growth in issuance in both the corporate and structured finance
        sectors. Issuance by corporate entities was driven by growth in both high-yield and
        investment-grade issuance, while structured finance experienced solid growth in
        mortgage-backed securities and asset-backed securities issuance.

                                          *         *       *

        The market for credit ratings as well as research, investment advisory and broker-
        dealer services is very competitive. The Financial Services segment competes
        domestically and internationally on the basis of a number of factors, including

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         quality of ratings, research and investment advice, client service, reputation, price,
         geographic scope, range of products and technological innovation.

         260.    In response to the January 25, 2005 press release and conference call, and the

  February 25, 2005 Form 10-K, the Company’s stock price held steady ground, and traded between

  approximately $43 and $44 per share. If not for Defendants’ false and misleading statements, the

  Company’s share price would have declined during this time period.

         261.    The statements referenced in ¶¶257-59 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶257-59 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

         •       Rather than completing “the best year in its history,” McGraw-Hill put a for sale sign
                 on its reputation and credibility as Defendants relentlessly pursued market share and
                 lucrative structured finance fees regardless of the long-term negative impact it would
                 have on the Company.

         •       Although labeled by Defendants as the Company’s “star performer,” the RMBS was,
                 in reality, a ticking time bomb for McGraw-Hill. Because the Company’s RMBS
                 models were outdated

         •       Defendants’ forecasted double digit growth depended heavily on a continued race to
                 the bottom in the Company’s Financial Services segment.

         •       Although Defendants professed to be “encouraged, very encouraged, by the growing
                 acknowledgement that independent and objective opinions are essential to the
                 functioning of open markets,” they never told the market that the Company’s
                 opinions were fatally flawed for numerous reasons, including the fact that the
                 Company’s ratings criteria were lowered or abandoned and ongoing surveillance was
                 a farce.

         •       Despite pointing to the “quality of the underlying transaction collateral in CDOs,”
                 Defendants knew the collateral was loaded with risky, toxic mortgages and related
                 assets that were rife with fraud, shoddy underwriting, and depended upon
                 unsustainable housing price appreciation to perform. Thus, Defendants lacked a
                 reasonable basis for touting the collateral underlying the transactions S&P rated.


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          262.    On March 29, 2005, McGraw participated in the Banc of America Securities Media,

  Telecommunications and Entertainment Conference on behalf of the Company. During the

  conference, McGraw discussed the Company’s surveillance of the deals it rated:

          Earlier I mentioned that the long term trends in our market are very favorable and
          that we expect to benefit from them for many years. That is certainly true at
          Standard & Poor’s where we continue to take advantage of some very powerful
          trends. The globalization of financial markets, the growing use of securitization, the
          rise of public markets and the disintermediation of the banks and the growth of
          privatization.

          I’ve already pointed out that we are continuing to expand our global network. Last
          year, 35% of our revenue in ratings came from overseas and that proportion will
          continue to increase for the rest of this decade, probably approaching 50% around
          2008, 2009 and then it will soon thereafter flip. We’ve also worked very hard to
          reduce our dependence on the interest rate cycle and issuance in the U.S. bond
          market. That meant creating new ratings products and services that are not tied to
          new issuance.

          Today, products like bank loan ratings, counter party ratings, etc., represent about
          21% of ratings revenue. They are growing faster than many of our traditional
          products and we expect that trend to continue in 2005. We have deliberately created
          a fee structure that produces an ongoing revenue stream that is less interest rate
          sensitive. We monitor an instrument until it matures or is called. That produces
          surveillance fees that have grown with the surge in global issuance.

          263.    On April 26, 2005, McGraw-Hill issued a press release entitled “The McGraw-Hill

  Companies Reports First Quarter Earnings Per Share of $0.41; Revenue Increases by 11.9%,” which

  stated in relevant part:

          The McGraw-Hill Companies (NYSE: MHP) today reported diluted earnings per
          share from continuing operations of $0.41 for the first quarter of 2005 versus $0.39
          for the same period last year.

                                            *         *     *

          Net income for the first quarter of 2005 was $78.7 million.

          Revenue for the first quarter grew by 11.9% to $1.0 billion.

          “Record first quarter results at Financial Services were key to our performance,
          enabling us to improve the operating margin to 14.4%,” said Harold McGraw III,
          chairman, president and chief executive officer of The McGraw-Hill Companies.
          “We are also making investments in this period in people and products to position us

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         for future growth.

                                            *         *     *

         Financial Services: “Revenue for this segment in the first quarter increased 19.9%
         to $547.3 million and operating profit grew by 28% to $222.5 million compared to
         the same period in 2004. Foreign exchange rates contributed $3.6 million to revenue
         and $1.5 million to operating profit in the first quarter of 2005.

                                            *         *     *

         “Structured finance was the global pacesetter again. In Europe, our largest
         overseas market, Residential Mortgage-Backed Securities, Commercial Mortgage-
         Backed Securities and Collateralized Debt Obligations were all strong.

         “In the U.S. Residential Mortgage-Backed Securities market, momentum from a
         record fourth quarter in 2004 carried into the first quarter of 2005. U.S. Residential
         Mortgage-Backed Securities grew by 67% to set a new record for first quarter dollar
         volume issuance. Favorable interest rates and credit spreads produced solid growth
         in Commercial Mortgage-Backed Securities and Collateralized Debt Obligations.

         “Corporates continued to grow mainly due to increased annual fee and surveillance
         revenue.

                                            *         *     *

         The outlook: “We are off to a good start, and while our first quarter is the smallest of
         the year, we are excited about the outlook for 2005. As we have stated in previous
         guidance, we expect high single-digit growth in earnings per share from continuing
         operations, including $0.16 to $0.19 of dilution from acquisitions last year, recently
         announced acquisitions in 2005 and changes in pension plan assumptions for 2005,
         but excluding the 2004 non- cash benefit of $0.10 per share from accrued tax
         liabilities. We continue to aspire to double-digit growth in 2005.”

         264.    Also on April 26, 2005, McGraw-Hill hosted a conference call to discuss its first

  quarter 2005 financial results. The Individual Defendants participated in the call on behalf of the

  Company. During the call, numerous false and misleading statements were made that were designed

  to artificially inflate the Company’s stock price. For example, McGraw stated:

         Structured finance was an important driver globally in the first quarter. In the
         U.S. market, we started the year with a good pipeline of residential mortgage backed
         securities even after the record performance of the fourth quarter. The momentum
         continued throughout the first quarter. As a result, residential mortgage-backed
         security issuance increased by 67% and set a new record for the first quarter.

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          We also saw record issuance in the first quarter of commercial mortgage-backed
          securities. Investor demand for them has been strong since they represent high-
          quality instruments that produce better returns than AAA rated corporate. This was a
          shift that we had been looking for and we are very pleased to see it and coupled with
          a strength on the residential side it has given us some very good strength. All of
          that adds up to a better outlook for the mortgage-backed securities in the U.S.
          market for the year.

          There was also a strong investor appetite for U.S. collateralized debt obligations,
          CDOs in the U.S. and in Europe. The asset-backed business flattened out in the first
          quarter and faces significant decline in credit issuance. Auto loans, students loans
          showed some strength and we expect credit card issuance to increase for the full
          year. As a result, we look forward to a pickup in the asset-backed market. The U.S.
          corporate market was soft, but surveillance fees and annual contracts helped us keep
          moving ahead. We currently don’t expect much, if any growth, in U.S. corporates
          this year, but we anticipate good growth in Europe.

          265.    As the call continued, McGraw commented on regulatory issues facing the Company,

  stating, in part:

          In short, I think there is greater understanding today on the role of rating agencies
          in the capital market, and the markets need for on a global basis for objective,
          independent opinions. And that’s good. We continue to believe that there will be
          no material adverse change in any way to Standard & Poor’s conduct of its business.

          266.    Later in the call, the following exchange occurred in response to a question

  concerning market share. The Individual Defendants did not disclose, however, that the Company

  was sacrificing ratings criteria and surveillance to maintain market share:

          Fred Searby - JP Morgan – Analyst: A couple questions. One, can you give us an
          update on Basel 2 and issuance, trends in April. What you saw. We obviously saw
          very strong on the asset-backed side and residential mortgage side in the first quarter.
          Did that continue for you into April? And if you could also give us some sense
          following up just on share. Are there any share shifts, is Fitch, mean Fitch seems
          to be having some success and there’s some apparently asset-backed transactions
          where there is one rating agency being used in Europe. If you could just give us
          an update on your thoughts there. Thank you.

          McGraw: Thanks. On the latter part, we are not losing any share. Europe, as you
          well know, is very, very strong on the structured side. And so there’s obviously a
          lot of appetite. I won’t speak for any the competitors but I do think that you are
          correct that Fitch has the capability there and has a presence in the structured side
          of that market, but we are not losing any share. In fact when all is said and done, I
          think we will probably complete this year in an even more advantageous
          position . . . .

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          267.    On April 27, 2005, McGraw-Hill held its annual meeting of Company shareholders.

  The Individual Defendants participated at the meeting, where they made additional false and

  misleading statements. For example, McGraw stated:

          In fact, we are pleased to have outperformed the S&P 500 and our proxy peer group
          the last ten-year period, seven, five, three and again in [2004]. We’re very proud of
          that record and we take it very seriously.

                                            *         *    *

          A key component of our strong performance for the year was double-digit top and
          bottom line growth at McGraw-Hill Financial Services. In fact, it was another
          record year for Standard & Poor’s.

          S&P’s performance reflects its continued global growth, the diversity of its products
          and services, its decreased dependence on new issuance in the U.S. bond market. Its
          reduced sensitivity to the interest rate cycle, and most importantly, the thought
          leadership that it brings to capital markets. Simply put, Standard & Poor’s plays an
          essential role in the global capital market.

          268.    On April 29, 2005, McGraw-Hill filed its interim quarterly financial report on Form

  10-Q for the quarter ending March 31, 2005. The financial results reported in the 10-Q were

  substantially similar to those reported in the Company’s April 26, 2005 press release. The Form 10-

  Q was signed by Bahash, and contained required Sarbanes-Oxley certifications signed by McGraw

  and Bahash stating that the Form 10-Q did not include any material misrepresentations. In

  discussing what drove McGraw-Hill’s improved financial performance, the April 29, 2005 10-Q

  stated, in relevant part:

          In the first quarter of 2005, the Company achieved growth in revenue and income
          from operations. Revenue growth of 11.9% outpaced a 9.0% increase in expenses.
          The increase in revenue and income from continuing operations is primarily
          attributable to growth in the Financial Services segment. Foreign exchange rates
          contributed $5.3 million to revenue and had a slightly positive impact on income
          from continuing operations.

                                            *         *    *

          Service revenue increased 15.8% in the first quarter of 2005, due to an increase in
          revenue in the Financial Services segment. Strong growth in structured finance
          reflects continued favorable market conditions, including a low interest rate
          environment. Growth in corporate finance ratings (corporate finance and financial
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        services) is attributable primarily to revenues from recurring fees for surveillance
        activities and customers on annual fee arrangements.

                                           *         *     *

        Financial Services revenue and operating profit increased over 2004 first quarter
        results. Foreign exchange rates contributed $3.6 million to revenue and had a
        positive impact on operating profit of $1.5 million.

                                           *         *     *

        The Financial Services segment’s increase in revenue and operating profit is due
        primarily to the performance of structured finance ratings and corporate finance
        (corporate finance and financial services) ratings, which represented approximately
        33.0% and 15.7% of the growth in revenue, respectively. In structured finance, the
        continuing favorable interest rate environment led to strong growth in the issuance of
        U.S. residential mortgage-backed securities (RMBS) and collateralized debt
        obligations (CDOs). The growth in corporate finance ratings is attributable
        primarily to revenues from recurring fees for surveillance activities and customers
        on annual fee arrangements.

        Total U.S. structured finance new issue dollar volume increased 62.4%, driven
        primarily by RMBS issuance, which grew 66.8% according to Harrison Scott
        Publications. While RMBS issuance was strong in the quarter, the Company expects
        RMBS issuance to decline in the latter half of the year as mortgage rates begin to
        rise. The Company anticipates that RMBS issuance will decline approximately 15%-
        20% in 2005. Comparisons later in 2005 will be more challenging as a result of the
        record year of growth in U.S. RMBS issuance in 2004. Issuance for U.S.
        commercial mortgage-backed securities (CMBS) and CDOs increased over the prior
        year due to favorable interest rates and credit spreads . . . . International growth was
        also strong as the favorable trends of securitization, disintermediation and
        privatization continue. In Europe, issuance levels rose 11.2% in the quarter with
        strong growth in issuance in structured finance, which experienced solid growth in
        mortgage-backed securities. Issuance for corporates in Europe was up approximately
        12.3%; industrial issuance declined while financial services issuance increased due to
        low rates and tighter interest rate spreads. Bank loan ratings experienced higher
        growth rates than more traditional ratings products.

                                           *         *     *

        The market for credit ratings as well as research, investment advisory and broker-
        dealer services is very competitive. The Financial Services segment competes
        domestically and internationally on the basis of a number of factors, including
        quality of ratings, research and investment advice, client service, reputation, price,
        geographic scope, range of products and technological innovation.

                                           *         *     *

        The Company maintains disclosure controls and procedures that are designed to
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             ensure that information required to be disclosed in the Company’s reports filed with
             the Securities and Exchange Commission (SEC) is recorded, processed, summarized
             and reported within the time periods specified in the SEC’s rules and forms, and that
             such information is accumulated and communicated to the Company’s management,
             including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
             appropriate, to allow timely decisions regarding required disclosure.

             As of March 31, 2005, an evaluation was performed under the supervision and with
             the participation of the Company’s management, including the CEO and CFO, of the
             effectiveness of the design and operation of the Company’s disclosure controls and
             procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange Act of
             1934). Based on that evaluation, the Company’s management, including the CEO
             and CFO, concluded that the Company’s disclosure controls and procedures were
             effective as of March 31, 2005.

             269.     In response to the April 26, 2005 press release and conference calls, and the April 29,

  2005 Form 10-Q, the Company’s stock price posted gains from a close of $39.27 on April 25, 2005

  to $41.34 on April 29, 2005, as demonstrated in the chart below:

   3500000                                                                                       42




                                                                                                 41.5
   3000000



                                                                                                 41
   2500000


                                                                                                 40.5

   2000000

                                                                                                        Volume
                                                                                                 40
                                                                                                        Price

   1500000

                                                                                                 39.5


   1000000
                                                                                                 39



    500000
                                                                                                 38.5




        0                                                                                        38
                 4/25/2005     4/26/2005    4/27/2005         4/28/2005   4/29/2005   5/2/2005


             270.     The statements referenced in ¶¶262-68 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶262-68 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of


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  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

         •       The Company’s “record first quarter” and “record year” were dependent upon
                 Defendants’ willingness to sacrifice ratings quality in exchange for increased revenue
                 and market share.

         •       Despite touting the Company’s structured finance segment as the “global pacesetter
                 again,” Defendants knew that it was driving growth because the Company was, put
                 simply, cutting corners. Rather than bolstering analytical models, staff, and
                 surveillance to keep pace with the dramatic rise in use of RMBS and CDO issuance,
                 Defendants avoided all of those things so that S&P could continue to churn out AAA
                 stamps of approval on pools of toxic assets.

         •       Despite claiming there was a “greater understanding” of “the role of rating agencies
                 in the capital market” and pointing to the market’s “need for on a global basis for
                 objective, independent opinions,” Defendants knew the Company’s S&P brand was
                 providing none of those things. In reality, Defendants’ hid the role S&P played –
                 which was one of catering to issuers and cutting corners to obtain lucrative fees on
                 deals it was incapable of understanding or rating.

         •       McGraw’s comments that the Company was “not losing any share” to its competitors
                 omitted that, in reality, the quid pro quo for maintaining market share required the
                 Company to succumb to competitive pressures. The truth was that “not losing any
                 share” was achieved by compromising ratings, using outdated models, ignoring toxic
                 mortgage assets, shirking on surveillance, and sacrificing the Company’s future in
                 the name of short term fees on RMBS and CDOs.

         271.    On June 21, 2005, McGraw and Rose participated in the Newspaper Association of

  America Mid-Year Media Review conference on behalf of the Company. During the conference,

  Rose discussed the Company’s future business prospects in the structured finance market:

         Thank you, Terry. Structured Finance has become the finance tool of choice for an
         ever-broadening array of global issuers. Whether in the form of securitization or
         complex derivatives Structured Finance’s ability to isolate complex credit risks is its
         key to its value to both investors and issuers. While the need to be efficient in the
         use of capital is the driving long-term force behind the structured finance market,
         three key trends have pushed the market over the recent past and continue in 2005.
         These trends are, first, globalization; second, a growing sophistication of the market
         which has led to new types of transactions, customization, and even greater financial
         efficiency; and third, the continuing lower interest rate environment. Since any
         structured finance transaction involves complex structures and the transfer of
         complex credit risks, the key to a successful transaction is an independent and
         objective analysis of both the structure and the credit risk. And it is in this
         function that Standard & Poor’s Structured Finance ratings have excelled.

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                                          *       *       *

        First, beginning in 2003, corporate credit stabilized and began to improve, but more
        importantly tight spreads in corporate bonds and lack of a diverse enough supply of
        corporate bonds caused both the rangers and investors for the first time to look to
        asset-backed, mortgage-backed, and even other CDOs as assets for these vehicles.
        This opened the market to investors who were interested in stability and extra yield
        provided by the underlying structured assets, as well as the customization enabled by
        synthetic structures. As investors have become more sophisticated in their
        understanding of financial engineering techniques the CDO market has continued
        to grow and we have seen a wave of innovation which includes synthetic
        structures, credit default swaps, and even CDOs squared. We expect to see
        continued development in growth in these new types of transactions. Moreover,
        since these transactions have very high levels of complexity a Standard & Poor’s
        rating is very desirable to both issuers and investors.

        Now, the third key trend that has been continuing is the low interest rate environment
        we have been experiencing. Nowhere has this effect been more felt than in the
        market for securities backed by residential mortgages. Now, here I’m talking about
        global issuance excluding the U.S. Government sponsored mortgage agencies. Low
        interest rates have led to massive wave of refinancings of existing mortgages and
        new home purchases in the U.S., United Kingdom, and Australia, and many other
        countries. This in turn has generated a high volume in the RMBS market since a
        very large percentage of residential mortgages are securitized in these countries. But
        while low interest rates have been the main story they are not the only story.
        Innovation has also contributed to the growth in this market and will continue to
        make a contribution as we go forward. Residential mortgage securities have been
        used as collateral in CDOs, thereby increasing demand for these securities. There
        has also been a proliferation of innovative mortgage products in these markets and
        that has made mortgages available to even a larger number of people.

        The next slide shows the growth in the volume of these new mortgage products;
        Hybrid ARMs, negative amortization loans, silent seconds, interest-only loans,
        insured products, and floating rate mortgages have increased the volume of new
        mortgages and the complexity of analyzing the structured finance transactions. This
        has led to a higher demand for S&P ratings on all types of RMBS transactions.
        Now, leadership in the structured finance market is built on two pillars, credibility
        and service. Credibility comes from the performance of your ratings over time and
        is built slowly but can be lost quickly. Service is delivering to the markets the most
        informative ratings and other credit risk evaluation services at the time and in the
        manner that the markets need them. We strive for excellence on both these
        measures. For example, we have a dedicated surveillance unit to oversee the
        continuing credibility of our ratings. All ratings are regularly reviewed and our
        surveillance group back tests our ratings to show their credibility over time. Each
        year we publish the results of these default and transition studies for the market to
        see.

        When we talk about service, we are talking about providing a quality experience
        for each market participant who interacts with us. That means having well-
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         trained, accessible, experienced staff that can handle the complex analysis these
         transactions require, and they can communicate the results. That means
         publishing our criteria so that the market can see and understand how we look at
         those transactions. That means having the information that the participant is
         looking for when they need it and in the form they want it. We believe that we are
         second to none in the scope and quality of our staff and the information we provide
         to the structured finance market. Standard & Poor’s Structured Finance Ratings
         Department strategy is to maintain our leadership position by responding to the
         trends of globalization and innovation in this rapidly growing structured finance
         market. This strategy is focused on leveraging Standard & Poor’s brand; our
         overwhelming recognition for quality, independence and objectivity; our global
         network; and most importantly, our most valuable asset, our employees.

         I am very excited about the long-term prospects of the Standard & Poor’s
         Structured Finance Ratings Department, governments, regulators, financial
         institution and corporations all over the world are seeing the benefits of structured
         finance. And why not? Structured finance has proven to be a reliable, highly
         flexible financing tool. Thank you very much for your attention.

         272.    On July 26, 2005, McGraw-Hill issued a press release entitled “The McGraw-Hill

  Companies Reports 18.6% Increase In Second Quarter EPS to $0.51; Revenue Grows by 16.9% ,”

  which stated, in relevant part:

         The McGraw-Hill Companies (NYSE: MHP) today announced diluted earnings per
         share from continuing operations of $0.51 for the second quarter of 2005, an 18.6%
         increase over the $0.43 reported for the same period last year.

                                           *         *    *

         “Net income for the second quarter was $195 million versus $165.6 million for the
         same period last year.

         “Revenue for the second quarter grew by 16.9% to $1.5 billion.

         “A record performance at Financial Services and a solid increase at McGraw-Hill
         Education were key to our second quarter results,” said Harold McGraw III,
         chairman, president and chief executive officer of The McGraw-Hill Companies.

                                           *         *    *

         Financial Services: “Revenue for this segment in the second quarter increased 18.4%
         to $597.4 million and operating profit grew by 20.6% to $258.3 million compared to
         the same period in 2004. Foreign exchange rates contributed $4.4 million to revenue
         and $5.3 million to operating profit in the second quarter of 2005.

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        “Issuer and investor appetite for securitized debt again played a key role in our
        results. Structured finance showed strength across all asset classes and in all of
        our international regions - Europe, Asia, Latin America and Canada. In Europe, our
        largest overseas market, Mortgage-Backed Securities and Collateralized Debt
        Obligations, were particularly strong as investors sought a combination of attractive
        yields, good credit quality and asset protection.

        “In the United States, the Residential Mortgage-Backed Securities market
        continued to confound predictions of a slowdown. A strong housing market, lower
        than expected interest rates and a proliferation of new mortgage products,
        including hybrid adjustable rate mortgages, negative amortization loans and
        interest-only mortgages, helped produce a 39.9% increase in new issue dollar
        volume in the second quarter.

        “The Commercial Mortgage-Backed Securities market set a new U.S. record for
        issuance in the second quarter as dollar volume soared by 75.8%.

        “The Collateralized Debt Obligations in the U.S. market grew by 64.1% in the
        second quarter versus the same period last year.

                                          *         *     *

        “New issue dollar volume grew in the United States and European bond markets in
        the second quarter versus the same period in 2004. In the U.S., total new issue dollar
        volume was up 23.0%. Corporate new issuance declined by 2.0%. Public finance
        grew by 3.0%. Mortgage-Backed issuance climbed by 44.2% while Asset-Backed
        issuance increased 29.1% according to reports from Securities Data Corporation and
        Harrison Scott Publications.

        “In Europe, new issue dollar volume was up 47.8%, according to Securities Data
        Corporation and Harrison Scott Publications.

        "We continue to benefit from ratings and services that are not tied to new issuance.
        They represent just over 19% of ratings revenue in the second quarter as financial
        strength ratings of insurance companies, counterparty credit ratings and performance
        evaluation services helped offset a decline in bank loan ratings and rating evaluation
        services.

                                          *         *     *

        The Outlook: “Given the strength of our first-half performance and the outlook for
        the second half, we are increasing our earnings guidance for the year. We now expect
        double-digit growth in earnings per share from continuing operations, including
        $0.08 to $0.09 dilution from acquisitions in 2004 and 2005 and changes in pension
        plan assumptions for 2005, but excluding the 2004 non-cash benefit of $0.05 per
        share from accrued tax liabilities.”

        273.   Also on July 26, 2005, McGraw-Hill hosted a conference call to discuss its second


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  quarter 2005 financial results. The Individual Defendants participated in the call on behalf of the

  Company. During the call, numerous false and misleading statements were made that were designed

  to artificially inflate the Company’s stock price. For example, McGraw stated:

         Okay, let me now turn over to the financial services segment. We had an
         outstanding performance at Standard and Poor’s. In the second quarter, revenue
         increased 18.4%. Operating profit grew by 20.6% and the operating margin
         increased to 43.2%. For the first half, revenue is up 19.1, operating profit grew 23.9
         and the operating margin increased to 42%. We have consistently predicted double-
         digit top and bottom line performance in growth in 2005 for this segment and
         clearly we’re on track to achieve our forecast.

         Unexpected strength, particularly in the U.S. residential mortgage-backed securities
         market, made the improvement that we had anticipated even better for the second
         quarter. As you may recall, I hope you don’t, but as you may recall, we had expected
         dollar volume issuance in the market to decline by as much as 20% this year. U.S.
         residential mortgage-backed securities dollar volume issuance grew by 40% in the
         second quarter and was up 51% for the first half. So we’re going to stop forecasting
         for the residential mortgage-backed market because it’s just continuing to go up.
         Comparisons are going to be more challenging in the second half or should be.
         Residential mortgage-backed security dollar volume issuance was up 59% in the
         second half of last year, which also set unbelievable new records. But in view of the
         first half strength this year, we no longer expect a decline in dollar volume issuance
         in the U.S. morning-backed securities for the year 2005.

         Now, we also forecasted that the U.S. mortgage-backed securities market would also
         do very well this year. And here we’re on target. Because it had benefited from a
         real nice surge in the commercial mortgage-backed securities area. U.S. dollar
         volume issuance for the commercial mortgage-backed securities set a new record. It
         was up 76% in the second quarter and is up for the first half by 70%.

         That’s not the whole story. There were other important contributors to Standard and
         Poor’s second quarter performance. Our international ratings grew faster than S&P’s
         domestic ratings in the second quarter, again, and accounted for a little over 35% of
         ratings revenue, up from about 33% for the same period last year. Growth overseas
         was broad-based, international ratings grew in all four economic regions; Europe,
         Asia-Pacific, Canada and Latin America. In Europe, ratings revenue has been
         increasingly delinked from changes in both the region’s growth, GDP, as well as
         bond volume issuance. We are adding new issuers and improving our market
         penetration that disintermediation, the movement way from banks, continues in
         Europe. Where even far more corporate debt remains on banks’ balance sheets than
         in the United States.

                                           *         *     *

         All of this activity underscores the market’s embrace of securitization and the
         continued strength of structured finance around the world whether it be asset-
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         backed, mortgage-backed, commercial, residential and so forth. It also is another
         demonstration of why S&P continues growing, even though the issuance of
         corporates in the U.S. bond markets actually trails last year. In the second quarter,
         total U.S. new issuance dollar volume increased by 23%. Corporate issuance was
         down 2%. And public finance grew by only plus 3%. Mortgage-backed securities
         were up 44.2% and asset-backed securities were up 29.1%.

         Just to giving you the same numbers for the first half, for the first half, total U.S.
         dollar volume was up 21%. Corporates were off 11.5%. Public finance was up 8.4.
         Mortgage-backed securities were up 53.4% and asset-backed securities grew by 18.9.

         We continue to benefit from ratings and services that are not tied to new issuance.
         These are the nontraditional rating activity. They accounted for more than 19% of
         ratings revenue in the second quarter. Financial strength ratings of insurance
         companies counter-party credit ratings and performance evaluation services offset a
         slowdown in both bank loan ratings and rating evaluation services. We’re benefiting
         from growth in surveillance fees and the annual fee arrangements. Again, that
         reduces any potential volatility.

         274.      On July 29, 2005, McGraw-Hill filed its interim quarterly financial report on Form

  10-Q for the quarter ending June 30, 2005. The financial results reported in the 10-Q were

  substantially similar to those reported in the Company’s July 26, 2005 press release. The Form 10-Q

  was signed by Bahash, and contained required Sarbanes-Oxley certifications signed by McGraw and

  Bahash stating that the Form 10-Q did not include any material misrepresentations. In discussing

  what drove McGraw-Hill’s improved financial performance, the July 29, 2005 10-Q stated, in

  relevant part:

         In the second quarter of 2005, the Company achieved growth in revenue and income
         from continuing operations of 16.9% and 17.7%, respectively. The increase in
         revenue is primarily attributable to growth in the Financial Services and McGraw-
         Hill Education segments, which contributed $92.9 million and $81.3 million to the
         growth in revenue, respectively. Foreign exchange rates contributed $7.9 million to
         revenue and $5.3 million to income from continuing operations during the second
         quarter.

                                            *         *     *

         Service revenue increased 20.7% in the second quarter of 2005, due primarily to an
         increase in revenue in the Financial Services segment of $92.9 million and the
         acquisition of J.D. Power and Associates which contributed $33.6 million of revenue.
         Strong growth in structured finance reflects continued favorable global market
         conditions, including a low interest rate environment. Growth in corporate finance
         ratings (corporate finance and financial services) is attributable primarily to revenues
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        from recurring fees for surveillance activities and customers on annual fee
        arrangements.

                                           *         *     *

        Financial Services revenue and operating profit dramatically increased over 2004
        second quarter results. Foreign exchange rates contributed $4.4 million to revenue
        and had a positive impact on operating profit of $5.3 million.

        The Financial Services segment’s increase in revenue and operating profit is due
        primarily to the performance of structured finance ratings and corporate finance
        (corporate finance and financial services) ratings, which represented approximately
        38.6% and 8.7% of the growth in revenue, respectively. In structured finance, the
        continuing favorable interest rate environment led to strong growth in the issuance
        of U.S. residential mortgage-backed securities (RMBS), commercial mortgage-
        backed securities (CMBS) and collateralized debt obligations (CDOs). The growth
        in corporate finance ratings is attributable primarily to revenues from recurring
        fees for surveillance activities and customers on annual fee arrangements.

        Total U.S. structured finance new issue dollar volume increased 42.3%; solid growth
        was experienced across all asset classes. U.S. CDO issuance increased 64.1%
        according to Harrison Scott Publications. The U.S. CDO market was driven by
        stabilization of the asset class due to fewer downgrades, strong investor demand as
        well as an increase in new structures (customizations) and arbitrage opportunities.
        U.S. CMBS issuance increased 75.8% over the prior year primarily due to the
        favorable interest rate environment and the refinancing of maturing debt. U.S. RMBS
        issuance increased 39.9% according to Harrison Scott Publications. Issuance in this
        asset class continues to benefit from the low interest rate environment, continuing
        appreciation in home prices, as well as a shift from agency to private origination
        associated with innovative new and variable rate mortgage products. These
        variable rate mortgage products are commanding between 55%-60% of total
        mortgage originations. Although U.S. RMBS issuance volumes have been strong
        overall, the number of issues increased only slightly, leading to issue sizes that are
        substantially larger than last year. The Company had originally anticipated that
        RMBS issuance would decline approximately 15%-20% in 2005. Assuming no
        change in current market conditions such as a large and sudden rise in interest rates,
        no decline is anticipated in issuance versus last year’s levels. According to Securities
        Data, U.S. new issue dollar volume for corporates for the second quarter of 2005
        decreased 2.0% with high yield dollar volume issuance decreasing 36.1% . . .
        International growth was also strong as the favorable trends of securitization,
        disintermediation and privatization continue. In Europe, issuance levels rose in the
        quarter driven by strong issuance in structured finance, especially mortgage-backed
        securities and CDOs. The European CDO market was driven primarily by an
        increase in private synthetic CDOs. Issuance for corporates in Europe was up
        reflecting strength in financial services as a result of low rates and favorable spreads.

                                           *         *     *


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         The market for credit ratings as well as research, investment advisory and broker-
         dealer services is very competitive. The Financial Services segment competes
         domestically and internationally on the basis of a number of factors, including
         quality of ratings, research and investment advice, client service, reputation, price,
         geographic scope, range of products and technological innovation.

                                           *         *     *

         The Company maintains disclosure controls and procedures that are designed to
         ensure that information required to be disclosed in the Company’s reports filed with
         the Securities and Exchange Commission (SEC) is recorded, processed, summarized
         and reported within the time periods specified in the SEC’s rules and forms, and that
         such information is accumulated and communicated to the Company’s management,
         including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
         appropriate, to allow timely decisions regarding required disclosure.

         As of June 30, 2005, an evaluation was performed under the supervision and with the
         participation of the Company’s management, including the CEO and CFO, of the
         effectiveness of the design and operation of the Company’s disclosure controls and
         procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange Act of
         1934). Based on that evaluation, the Company’s management, including the CEO
         and CFO, concluded that the Company’s disclosure controls and procedures were
         effective as of June 30, 2005.

         275.   In response to the July 26, 2005 press release and conference call, and the July 29,

  2005 Form 10-Q, the Company’s stock price posted a quick gain from a closing price of $44.43 on

  July 25, 2005 to closing price of $46.53 on July 26, 2005, and $46.01 on July 29, 2005, as

  demonstrated in the chart below:




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   2500000                                                                                      47




                                                                                                46.5


   2000000

                                                                                                46




                                                                                                45.5
   1500000


                                                                                                       Volume
                                                                                                45
                                                                                                       Price


   1000000
                                                                                                44.5




                                                                                                44

    500000


                                                                                                43.5




        0                                                                                       43
                 7/25/2005     7/26/2005   7/27/2005         7/28/2005   7/29/2005   8/1/2005


             276.     The statements referenced in ¶¶271-74 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶271-74 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

             •        Contrary to Rose’s statements on behalf of the Company, S&P’s structured finance
                      ratings were anything but “independent and objective” and S&P ratings had not
                      “excelled” in that function. Quite the opposite, the Company’s ratings were
                      compromised by Defendants’ fraud, which centered on a desire to maximize market
                      share and short-term profits at the expense of ratings criteria, independence, and
                      objectivity.

             •        Despite touting that new financial engineering techniques were extremely complex
                      and that it was “very desirable to both issuers and investors” to have S&P rate deals,
                      Defendants omitted that the quality of the Company’s ratings had taken a back seat to
                      Defendants’ fraud. Rather than invest in analytics to rate the increasingly complex
                      deals, the Company knowingly used credit rating models with data that was
                      inadequate to predict how high-risk structured finance products would perform.
                      Moreover, the Company’s credit ratings were influenced by competitive pressures,
                      including the drive to maintain market share and accommodate investment bankers
                      bringing in business to the Company.

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        •     The Company was unable, and indeed, unwilling, to keep pace with the innovation
              contributing to the growth of the RMBS and CDO markets. Had the Company
              utilized the resources and models necessary to keep pace, it would have known that
              the ratings being assigned were overblown and unsustainable, causing it to lose deals
              and lose market share, and Defendants’ scheme would have been unsuccessful.

        •     The “higher demand for S&P ratings on all types of RMBS transactions” was
              illusory. Because of Defendants’ scheme, the demand was not created legitimately
              and was a misleading indicator of the “market’s embrace of securitization”; rather, it
              was a byproduct of the Company’s willingness to cater to issuers and lower or
              outright abandon ratings criteria.

        •     Despite claiming that “leadership in the structured finance market is built on two
              pillars, credibility and service” it is now a documented fact that throughout the Class
              Period, the Company abandoned those pillars, leaving them to crumble in favor of
              unsustainable short term profits built on nothing more than a “house of cards,” a
              house constructed of shoddy ratings criteria, intentionally outdated models, and
              abandoned surveillance.

        •     Although the Company proclaimed that it published its ratings criteria, it has been
              revealed that not all of the Company’s criteria was published and that the Company
              frequently made out-of-model adjustments to ratings, “massaged” ratings results, and
              applied “magic number” modifications to models to achieve desired results and
              pocket lucrative ratings fees.

        •     In light of the foregoing, Defendants had no reasonable basis to tout the long-term
              prospects of the S&P Structured Finance Ratings Department. The “outstanding
              performance” at S&P was nothing more than a mirage.

        •     Strong growth in the Company’s financial services segment was not attributable to
              favorable market conditions; rather, it was attributable to Defendants’ scheme to
              maximize market share by lowering ratings criteria and catering to the demands of
              issuers in exchange for lucrative fees.

        •     The US CDO market was fueled not by “stabilization of asset classes” or “strong
              investor demand” – the reality was that it was driven by the AAA ratings S&P
              slapped on what was, as S&P’s Managing Director for Structured Finance, Raiter,
              stated, “crap.”

        •     The “increase in new structures” was likewise fueled by S&P’s gross inability to
              adequately or accurately rate such “new structures” both because of the decision not
              to acquired updated, available data and because the rating models themselves were
              inadequate to keep up with the ever-changing synthetic CDO market. This, in turn,
              created a self-fulfilling prophecy whereby the Company’s willingness to rate
              transactions it was incapable of comprehending further spurred the wildfire of
              growth in exotic asset classes and the alchemy of financial engineering.

        •     Defendants knew that the “shift from agency to private origination associated with
              innovative new and variable rate mortgage products” that were “commanding
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                 between 55%-60% of total mortgage originations” meant that the Company was
                 incapable of rating RMBS and CDOs comprised of those “innovative” – i.e.,
                 subprime, Alt-A, stated income – loans, and the Company sought out such products
                 solely to preserve market share at the expense of its credibility and long-term
                 financial condition.

         277.    On October 20, 2005, McGraw-Hill issued a press release entitled “The McGraw-Hill

  Companies Reports 17.7% Increase in Third Quarter EPS to $1.00; Revenue Grows by 14.8%,”

  which stated, in relevant part:

         The McGraw-Hill Companies (NYSE: MHP) today reported third quarter diluted
         earnings per share from continuing operations of $1.00, which includes a $0.01 gain
         on the sale of Corporate Value Consulting, the valuation services unit of the
         Financial Services segment. Diluted earnings per share from continuing operations
         in 2005 were up 17.7% over the same period last year.

                                          *         *    *

         Net income for the third quarter was $381.3 million versus $324.5 million for the
         same period last year.

         Revenue for the third quarter grew by 14.8% to $2.0 billion.

         “Outstanding results by our elementary-high school group and another record
         performance at Standard & Poor’s were key to our third quarter,” said Harold
         McGraw III, Chairman, President and Chief Executive Officer of The McGraw-Hill
         Companies. “As a result, we improved our operating margin for the third quarter.

                                          *         *    *

         Financial Services: “Revenue for this segment in the third quarter increased
         20.5% to $605.8 million while operating profit improved by 24.7% to $251.9
         million compared to the same period last year. Foreign exchange rates had no
         material effect on revenue and had a negative impact on operating profit of $2.6
         million in the third quarter of 2005.

         “Solid growth in debt and equity markets around the world produced another record
         performance at Standard & Poor’s. International credit ratings and services grew
         faster than domestic ratings and produced more than 36% of ratings revenue, slightly
         higher than last year.

         “Structured finance again was the global pacesetter. In the U.S., Residential
         Mortgage-Backed Securities continued to benefit from low interest rates and the
         prevalence of affordable products, including interest-only mortgages, negative
         amortization loans and hybrid adjustable-rate mortgages. Investor demand
         remained high for Commercial Mortgage-Backed Securities and Collateralized
         Debt Obligations. Asset-Backed Securities benefited from growth in credit card,

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          commercial revolving credit and aircraft leasing deals.

                                            *         *    *

          “International ratings overcame a decline in new issuance in Europe in the third
          quarter with growth in annual fees and ratings and services that are not tied to new
          issuance. And while structured finance softened in Europe in the third quarter,
          securitization was strong in other regions, most notably Asia- Pacific and Latin
          America.

          “New issue dollar volume increased in the U.S. bond market, but declined in Europe
          in the third quarter versus the same period last year. In the U.S., total new issue
          dollar volume was up 17.4%. Corporate new issuance declined 12.2%. Public
          finance grew by 9.6%. Mortgage-Backed Securities issuance was up 32.9% while
          Asset-Backed Securities issuance increased 13.0%, according to reports from
          Securities Data Corporation and Harrison Scott Publications.

          “In Europe, new issue dollar volume was off 16.3%, according to Securities Data
          Corporation and Harrison Scott Publications.

          We continue to experience growth in ratings and services that are not tied to new
          issuance. They accounted for more than 20% of ratings revenue in the third
          quarter. We saw a pickup in rating evaluation services, global infrastructure finance
          ratings and structured finance related ratings and services. There was modest
          growth in bank loan ratings.

                                            *         *    *

          The Outlook: “For 2005, we expect double-digit growth in earnings per share from
          continuing operations, including $0.08 to $0.09 dilution from acquisitions in 2004
          and 2005 and changes in pension plan assumptions for 2005, but excluding a $0.01
          gain on the sale of Corporate Value Consulting and the 2004 non-cash benefit of
          $0.05 per share from accrued tax liabilities.”

          278.    On October 28, 2005, McGraw-Hill filed its interim quarterly financial report on

  Form 10-Q for the quarter ending September 30, 2005. The financial results reported in the 10-Q

  were substantially similar to those reported in the Company’s October 20, 2005 press release. The

  Form 10-Q was signed by Bahash, and contained required Sarbanes-Oxley certifications signed by

  McGraw and Bahash stating that the Form 10-Q did not include any material misrepresentations. In

  discussing what drove McGraw-Hill’s improved financial performance, the October 28, 2005 10-Q

  stated, in relevant part:



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        In the third quarter of 2005, the Company achieved growth in revenue and operating
        profit of 14.8% and 17.5%, respectively. The increase in revenue is primarily
        attributable to growth in the McGraw-Hill Education and Financial Services
        segments, which contributed $110.0 million and $103.0 million to the growth in
        revenue, respectively.

                                           *         *     *

        Financial Services revenue and operating profit dramatically increased over 2004
        third quarter results. Foreign exchange rates had no material effect on revenue and
        had a negative impact on operating profit of $2.6 million.

                                           *         *     *

        The Financial Services segment’s increase in revenue and operating profit is due
        to the performance of structured finance ratings and corporate finance (corporate
        finance and financial services) ratings, which represented approximately 29.2%
        and 17.6% of the growth in revenue, respectively. Growth was experienced in all
        asset classes within structured finance. The continuing favorable interest rate
        environment led to strong growth in the issuance of U.S. residential mortgage-
        backed securities (RMBS), commercial mortgage-backed securities (CMBS) and
        collateralized debt obligations (CDOs). The growth in corporate finance ratings is
        attributable to increases in revenue from customers on annual fee arrangements,
        recurring fees for surveillance activities and transaction revenue from improving
        high yield issuance and financial services, primarily in the insurance sector.

                                           *         *     *

        Total U.S. structured finance new issue dollar volume increased 35.7%; with solid
        growth experienced across all asset classes. U.S. CDO issuance increased 120.6%
        according to Harrison Scott Publications. The U.S. CDO market was driven by
        favorable spreads, stable credit quality and continuing demand by investors
        seeking higher yields. U.S. CMBS issuance increased 96.9% over the prior year
        primarily due to the favorable interest rate environment, which spurred a record level
        of originations. U.S. RMBS issuance increased 27.0% according to Harrison Scott
        Publications. Issuance in this asset class continues to benefit from the low interest
        rate environment, continuing appreciation in home prices, as well as a shift from
        agency to private origination associated with the prevalence of affordability
        products such as hybrid ARMs, negative amortization loans, interest only
        mortgages and silent seconds. Although U.S. RMBS issuance volumes have been
        strong overall, the number of issues increased only moderately leading to issue sizes
        that are substantially larger than last year . . . In Europe, issuance levels declined in
        the quarter driven by a decrease in corporates, primarily financial services. Issuance
        in financial services was down in Europe during the third quarter as pre-funding
        occurred in the first half of the year in part due to the expiration of the Pfandbrief in
        Germany and the introduction of new filing regulations. European CDO issuance
        also decreased largely due to the effect of the Ford and General Motors downgrades
        on the synthetic CDO market, followed by the tightening of spreads, which reduces
        arbitraging opportunities. Declines in RMBS issuance in Europe were partially
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         offset by strong issuance in CMBS.

                                           *         *     *

         The market for credit ratings as well as research, investment advisory and broker-
         dealer services is very competitive. The Financial Services segment competes
         domestically and internationally on the basis of a number of factors, including
         quality of ratings, research and investment advice, client service, reputation, price,
         geographic scope, range of products and technological innovation.

                                           *         *     *

         The Company maintains disclosure controls and procedures that are designed to
         ensure that information required to be disclosed in the Company’s reports filed with
         the Securities and Exchange Commission (SEC) is recorded, processed, summarized
         and reported within the time periods specified in the SEC’s rules and forms, and that
         such information is accumulated and communicated to the Company’s management,
         including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
         appropriate, to allow timely decisions regarding required disclosure.

         As of September 30, 2005, an evaluation was performed under the supervision and
         with the participation of the Company’s management, including the CEO and CFO,
         of the effectiveness of the design and operation of the Company’s disclosure controls
         and procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange
         Act of 1934). Based on that evaluation, the Company’s management, including the
         CEO and CFO, concluded that the Company’s disclosure controls and procedures
         were effective as of September 30, 2005.

         279.    In response to the October 20, 2005 press release and conference call, and the

  October 28, 2005 Form 10-Q, the Company’s stock price traded at a steadily positive pace and

  increased from a closing price of $46.56 on October 20, 2005 to a closing price of $47.69 on October

  21, 2005 and $48.73 on October 28, 2005, as demonstrated in the chart below:




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   2500000                                                                                                  49




                                                                                                            48.5


   2000000

                                                                                                            48




                                                                                                            47.5
   1500000


                                                                                                                   Volume
                                                                                                            47
                                                                                                                   Price


   1000000
                                                                                                            46.5




                                                                                                            46

    500000


                                                                                                            45.5




        0                                                                                                   45
                 10/20/2005   10/21/2005   10/24/2005   10/25/2005   10/26/2005   10/27/2005   10/28/2005


             280.      The statements referenced in ¶¶277-78 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶277-78 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

             •         The US CDO market was not being driven by “stable credit quality,” such “quality”
                       was in name only and was created as a result of Defendants’ fraudulent scheme.

             •         The “record performance” at S&P that was “key” to the third quarter 2005 was
                       premised upon the fruits of Defendants’ fraud. With “[s]tructured finance again [as]
                       the global pacesetter,” Defendants were touting and promoting unsustainable, short
                       term financial gains they knew would evaporate once the truth was revealed.

             281.      On December 6, 2005, McGraw participated in the UBS 33rd Annual Media

  Conference on behalf of the Company. During the conference, McGraw described the expected

  growth in the CDO market, and falsely described McGraw-Hill as being capable of rating CDOs:

             We also expect continued growth in the market for the collateralized debt
             obligations, CDOs. The market is being bolstered by the successful introduction of
             new structures. To accompany this growth Standard & Poor’s continues to expand
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         its CDO product suite by helping market participants to better understand what
         S&P thinks. These products are allowing investors and issuers to be more
         proactive in their investment decisions and in their deal creation.

         282.    On January 9, 2006, McGraw participated in the Citigroup 16th Annual Global

  Entertainment, Media, and Telecommunications Conference on behalf of the Company. During the

  conference, McGraw further misled the market by making false and misleading statements

  concerning the Company’s ability to rate structured finance transactions and its future business

  prospects. For example, McGraw stated:

         Let’s begin [with] the Financial Services segment, in Financial Services, which
         will have another very good year in 2006. Excluding revenue from Corporate Value
         Consulting before its divestiture last year, we’re looking for double-digit top line
         growth from continuing operations. We also expect a double-digit increase in
         operating profit. Corporate Value Consulting produced more than $100 million in
         revenue for Financial Services before the divestiture at the end of the third quarter
         last year. We expect a similar operating margin for the segment this year to the
         margin that we achieved in 2005. This is the year that we expect the U.S. residential
         mortgage-backed securities market to finally cool off with issuance declining
         probably around 10%. It will also probably be a more challenging year in U.S.
         public finance as rising interest rates make refunding a little bit less attractive, but we
         have worked very hard in recent years to strengthen Standard & Poor’s resiliency by
         creating a more diverse revenue stream. . . .

         Our ability to rate a growing array of instruments and provide new tools and
         models to our customers; a fee structure that reduces our dependency on
         transactions through the growth of frequent issuer and surveillance programs. We
         price for value some more complex instruments, obviously produce a better return
         than the more commoditized asset classes, such as certain types of asset-backed
         securities. Balance -- we rate virtually every asset class. Each of them has different
         attributes and behaves differently in different economic environments. Creating that
         balance has clearly reduced our dependency on the performance of any single asset
         class.

         With this framework, let’s look more closely at expectations for market activity this
         year. Structured finance will continue to drive global growth in 2006 with
         increases expected in all of the regions around the world. It is a key reason why we
         expect international ratings to grow faster than domestic ratings. In 2005,
         international ratings accounted for a little over 35% of ratings revenue. That
         proportion should increase again this year and should get to about 50% by the time
         we get to the end of the decade.

                                             *         *      *


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         Earlier I pointed out that we expect a decline in the U.S. residential mortgage-backed
         security market, although it will be very healthy. The comparisons will be a little
         difficult, but we are looking for very strong growth in the commercial mortgage-
         backed securities market. Improvement in commercial real estate fundamentals,
         refinancing of older deals and investor demand will be key factors. We expect more
         growth in the U.S. asset-backed securities market as auto manufacturers continue to
         use securitization as a source of funding and there is also a pickup in credit card
         activity with credit card receivables because consumers will rely less on home equity
         loans.

         We also expect continued growth, both here, in Europe and in Japan with
         collateralized debt obligations.

         283.    On January 25, 2006, McGraw-Hill issued a press release entitled “The McGraw-Hill

  Companies Reports 12.8% Increase in Earnings Per Share for 2005; Revenue Grows by 14.3%,”

  which stated in relevant part:

         The McGraw-Hill Companies (NYSE: MHP) today reported a 12.8% increase for
         2005 diluted earnings per share from continuing operations of $2.21, which includes
         a $0.01 gain on the sale of Corporate Value Consulting, a $0.04 restructuring charge,
         and a $0.03 increase in income taxes on the repatriation of funds.

                                           *       *       *

         Net income for 2005 increased 11.7% to $844.3 million.

         Revenue for 2005 grew 14.3% to $6.0 billion.

                                           *       *       *

         Revenue increased 13.2% in the fourth quarter to $1.5 billion.

         “Record results at Standard & Poor’s and a strong finish to an outstanding year in
         the education market were our growth engines in the fourth quarter and for 2005,”
         said Harold McGraw III, chairman, president and chief executive officer of The
         McGraw-Hill Companies.

                                           *       *       *

         Financial Services: “For 2005, revenue in this segment grew by 16.8% to $2.4
         billion and operating profit increased by 21.4% to $1.0 billion compared to 2004.
         The operating margin expanded to 42.5% from 40.8% in 2004.

         “In the fourth quarter of 2005, revenue for Financial Services grew by 10% to $650.4
         million. Excluding the prior year revenue of $32.4 million from Corporate Value
         Consulting, which was sold at the end of September 2005, fourth quarter revenue
         increased by 16.4% on a non-GAAP basis. Operating profit for the fourth quarter
         increased 14.9% to $286.5 million. The operating margin improved to 44.0% from
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        42.2% for the same period a year ago. Foreign exchange rates decreased revenue by
        $9.0 million and negatively impacted operating profit by $1.9 million in the fourth
        quarter.

        “The record revenue, operating profit and operating margin for both 2005 and the
        fourth quarter underscore another outstanding performance by Standard & Poor’s
        in global financial markets.

        “A strong worldwide structured finance market was key to double-digit growth in
        U.S. and international ratings in 2005. International ratings accounted for 37% of
        ratings revenue in 2005, slightly higher than last year.

        “In the fourth quarter of 2005, U.S. ratings benefited from a late surge in structured
        finance activity to outpace international results. For the fourth quarter of 2005,
        international ratings accounted for 38.4% of revenue, down from 39.3% in 2004.
        More challenging year-to-year comparisons, especially in Europe, were also a key
        factor in the fourth quarter.

        “Structured finance finished the year strongly, producing 73.2% of the revenue
        growth in Financial Services in the fourth quarter. In 2005, structured finance
        represented 40.3% of Financial Services’ revenue growth. U.S. residential
        mortgage-backed securities, U.S. commercial mortgage-backed securities and
        collateralized debt obligations hit record levels in the fourth quarter as issuers
        continued to take advantage of low interest rates, improving credit quality and
        innovative new structures. Ratings also benefited from a solid fourth quarter in the
        U.S. asset-backed securities market. With the Securities and Exchange Commission
        requiring more disclosure under Regulation AB on January 1, 2006, there also was
        some acceleration of deals closed in the fourth quarter.

                                          *         *     *

        “New issue dollar volume increased in the U.S. and European bond markets in the
        fourth quarter versus the same period in 2004, according to reports from Securities
        Data Corporation and Harrison Scott Publications.

        “In the U.S., total new issue dollar volume increased 23.5%. Corporate new issuance
        was up 0.l%. Public finance grew by 12.3%. Mortgage-Backed Securities issuance
        was up 33.0%. Asset-Backed Securities were up 81.7%.

        “In Europe, new issue dollar volume was up 23.7%.

                                          *         *     *

        The Outlook: “In 2006, we confidently expect The McGraw-Hill Companies to
        produce another year of earnings growth. It will be a more challenging year in the
        K-12 education marketplace, which will decline in 2006 after a very strong
        performance in 2005. We also expect another very good performance from
        Financial Services, which once again is expected to achieve a double-digit increase
        in revenue -- excluding revenue from Corporate Value Consulting which was

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         divested in 2005 -- and a double-digit increase in operating profit.”

         284.    Also on January 25, 2006, McGraw-Hill hosted a conference call to discuss its fourth

  quarter 2005 financial results. The Individual Defendants participated in the call on behalf of the

  Company. During the call, numerous false and misleading statements were made that were designed

  to artificially inflate the Company’s stock price. For example, McGraw stated:

         Now moving over to our final segment, the Financial Services Segment, we
         completed a record year with a strong fourth quarter. In 2005 revenue increased
         by 16.8%, operating profit grew by 21.4%. The operating margin expanded to
         42.5% and that’s up from 40.8% in 2004, a growing and diversified lineup produced
         outstanding results in fixed income and equity markets.

         Structured finance was the biggest driver of our global growth in 2005. The ratings
         also benefit from the improvement in corporate finance and from ratings products
         and services that are not linked to new issuance.

         In ratings, 37% of the revenue came from offshore, just over 21% of the revenue was
         produced by rating services that are not tied to the new issue buy out. A lot of
         attention has been focused on the U.S. residential mortgage backed securities market,
         but to appreciate the breadth and strength of the market, it’s worth noting that the
         commercial mortgage backed issuance market, the asset backed issuance market, and
         the collateralized debt obligation market as well as U.S. Residential Market all
         contributed quite handsomely.

         Without exception issuance of each of these asset classes showed year-over-year
         growth in each quarter of 2005 compared to 2004. Very impressive.

         The fourth quarter growth rate for dollar volume issuance in the United States
         commercial mortgage backed securities market was at 111%. It was 82% at asset
         backed securities which eclipsed the 24% increase in the U.S. residential mortgage
         backed securities market.

         New dollar volume issuance in all four asset classes grew substantially this year in
         the U.S. market. 37% for the residential mortgage backed market, 89% for the
         commercial mortgage backed, 32% for the asset backed securities and 64% for
         collateralized debt obligation.

         These statistics are based on reports from Securities Data Corporation and Harrison
         Scott Publications.

         New issue statistics don’t tell the whole story. U.S. corporate dollar volume issuance
         was down 8.2% in 2005, but we showed solid growth in corporate finance. That’s
         another indication obviously of the resiliency that we’ve been creating in this
         portfolio through the growth, the frequent issuer and surveillance program.


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             Standard & Poor’s data and information products also showed good growth, but the
             focus now is on the prospects for 2006. For Financial Services we are looking for
             double digit top line growth, excluding revenue from corporate value consulting.
             Before the divestiture at the end of the third quarter last year corporate value
             consulting contributed more than $100 million in revenue to Financial Services.

             We also expect double digit growth in operating profits. The operating margin will
             be similar to what we achieved in 2005 which was 42.5%. Structured finance will
             be the pace-setter again in 2006. International ratings are expected to grow faster
             than domestic ratings. International ratings as we said before accounted for about
             37% of ratings revenue in 2005 and that proportion should increase again this year.

             285.   As the conference call continued, McGraw described the RMBS market as “healthy”

  and, in response to a question regarding price increases, stated that “[t]he structured finance area

  would be more aggressive because of the complexity of the instrumentation especially on CDOs and

  more modest on the corporate side.” McGraw also falsely described the Company’s surveillance,

  stating:

             Sure. Again, in terms of the volatility associated with transactions versus creating
             more substantive relationships and being able to create surveillance streams and so
             forth, there has been some change in that when you talk about international only
             because of the size of the relationships. As the relationships get bigger so too do the
             value proposition that we can propose to those clients and therefore a surveillance
             fee relationship.

             286.   On February 24, 2006, the Company filed its annual financial report on Form 10-K

  for the year ending December 31, 2005. The financial results reported in the 10-K were substantially

  similar to those reported in the Company’s January 25, 2006 press release. The Form 10-K was

  signed by McGraw and Bahash, and contained required Sarbanes-Oxley certifications signed by

  McGraw and Bahash stating that the Form 10-K did not include any material misrepresentations. In

  discussing what drove McGraw-Hill’s improved financial performance, the February 24, 2006 10-K

  included a letter to the Company’s shareholders that stated, in relevant part:

             To Our Shareholders:

             It’s a world that is smaller, more open, more accessible and more dynamic—as well
             as more complex and competitive.

             It’s a world in which economies, societies and markets are increasingly linked,
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        learning and knowledge are vital, and reliable, trusted information is essential.

        It’s the world we live and work in today.

        And for our customers, our employees and our shareholders, it truly is a world of
        opportunity.

        The insight, analysis and solutions we provide open a world of opportunity for
        countries, markets, businesses, institutions and people around the globe by helping to
        meet three critical needs which drive global progress and economic growth: the need
        for capital, the need for knowledge and the need for information transparency.

        The strengths of our markets and leading brands, coupled with the talent and
        commitment of our people, are driving a world of opportunity for The McGraw-Hill
        Companies. As a result, we have achieved a long-term record of superior
        performance and enjoy strong prospects for future growth. Simply stated, our
        success is based on an effective approach that emphasizes continuous growth,
        exceptional talent and world-class execution.

        World-Class Performance

        Our solid financial performance in 2005 underscores our ability to capture market
        opportunities and create lasting value for our shareholders

                                          *       *       *

        As part of our commitment to maximizing shareholder value, in January 2006 we
        announced a 10% increase in the regular quarterly cash dividend on the
        Corporation’s common stock. The new annual dividend of $0.726 per share
        represents a compound annual growth rate of 10.3% since 1974, and marks our 33rd
        consecutive annual dividend increase.

        In addition, we also announced plans to repurchase up to 45 million — or
        approximately 12.1% — of the Corporation’s outstanding shares. During 2006, we
        expect to repurchase up to 15 million shares as part of this new program, subject to
        market conditions, and to also acquire 3.4 million shares remaining under our
        previous buyback plan.

        The combination of earnings growth, dividends and share repurchases has enabled us
        to continue generating increased value for our investors. The Corporation’s total
        return to shareholders nearly tripled that of the S&P 500 in 2005. In fact, our shares
        have outperformed the S&P 500 over the past one-, three-, five-, seven- and 10-year
        periods.

                                          *       *       *

        A World of Growth

        For McGraw-Hill Financial Services, Standard & Poor’s success in broadening its
        geographic presence and expanding its ratings of asset classes and financial
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        instruments underlie its continued strong performance and excellent prospects.
        2006 is expected to be another year of strong growth.

        The structured finance market, particularly collateralized debt obligations, is
        expected to increase in size and complexity, driving growth in international
        ratings. We also expect growth in products and services not tied to new bond
        issuance, such as Bank Loan Ratings, Ratings Evaluation Services, Advanced
        Analytics, Corporate Credit Ratings and Credit Assessments.

        287.   The 2005 10-K continued:

        The Financial Services segment operates under the Standard & Poor’s brand as one
        reporting unit and provides independent credit ratings, indices, risk evaluation,
        investment research and data to investors, corporations, governments, financial
        institutions, investment managers and advisors globally. The segment and the
        markets it serves are impacted by interest rates, the state of the economy, credit
        quality and investor confidence. The Financial Services segment also continues to be
        favorably impacted by the current trend of the disintermediation of banks and the
        increased use of securitization as a source of funding. In 2005, the Financial Services
        segment was favorably impacted by the continued low interest rate environment.

                                          *         *     *

        Revenue and income from continuing operations increased 14.3% and 11.6%,
        respectively, in 2005. Results from operations improved primarily on the strength
        of the Financial Services segment, which has benefited from the continued low
        interest rate environment.

                                          *         *     *

        Despite challenging market conditions, the Company expects to achieve double-
        digit revenue growth for the Financial Services segment and modest revenue
        growth in the McGraw-Hill Education segment.

        In Financial Services, strong international growth, as favorable trends of
        securitization, disintermediation and privatization continue, and product
        diversification will help mitigate the anticipated decline in U.S. RMBS issuance
        volumes.

                                          *         *     *

        The Company maintains disclosure controls and procedures that are designed to
        ensure that information required to be disclosed in the Company’s reports filed with
        the Securities and Exchange Commission (SEC) is recorded, processed, summarized
        and reported within the time periods specified in the SEC rules and forms, and that
        such information is accumulated and communicated to the Company’s management,
        including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
        appropriate, to allow timely decisions regarding required disclosure.

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        As of December 31, 2005, an evaluation was performed under the supervision and
        with the participation of the Company’s management, including the CEO and CFO,
        of the effectiveness of the design and operation of the Company’s disclosure controls
        and procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange
        Act of 1934). Based on that evaluation, the Company’s management, including the
        CEO and CFO, concluded that the Company’s disclosure controls and procedures
        were effective as of December 31, 2005.

                                          *         *    *

        Service revenue increased 15.4% primarily due to increased revenue in the Financial
        Services segment, which increased 16.8% or $345.5 million. Financial Services
        revenue increased due to the strong performance of structured finance ratings and
        corporate finance ratings (corporate finance and financial services).

                                          *         *    *

        The Financial Services segment’s revenue and operating profit experienced double-
        digit growth in 2005, increasing 16.8% and 21.4%, respectively, over 2004 results.
        The Financial Services segment’s increase in revenue and operating profit in 2005
        is due primarily to the strong performance of structured finance and corporate
        finance (corporate finance and financial services) ratings, which represented
        approximately 40.3% and 17.0% of the growth in revenue, respectively. Growth was
        experienced in all asset classes within structured finance. The continuing
        favorable interest rate environment led to strong growth in the issuance of U.S.
        residential mortgage-backed securities (RMBS), commercial mortgage-backed
        securities (CMBS) and collateralized debt obligations (CDOs). The growth in
        corporate finance ratings was primarily attributable to increased revenues from
        recurring fees for surveillance activities and customers on annual fee arrangements.
        International revenue for the Financial Services segment continues to increase and
        represented 37% of the total revenue for the segment. Foreign exchange rates
        contributed $2.3 million to operating profit and had a slightly negative impact on
        revenue.

                                          *         *    *

        Total U.S. structured finance new issue dollar volume increased in 2005 due to
        solid growth across all asset classes. RMBS issuance was a primary driver of this
        growth, increasing 36.8% according to Harrison Scott Publications and S&P’s
        internal estimates (Harrison Scott Publications/S&P). RMBS issuance rose to record
        levels due to the continued low interest rate environment and further appreciation
        in home values, as well as a shift from agency to private origination associated
        with the prevalence of affordability products such as hybrid adjustable rate
        mortgages, negative amortization loans, interest only mortgages and silent seconds.
        In the fourth quarter of 2005, issuance was up significantly across virtually all
        classes and was favorably impacted in part by deals closing prior to the
        implementation of the Securities and Exchange Commission (SEC) Regulation AB,
        which became effective on January 1, 2006. Although U.S. RMBS issuance volumes
        have been strong overall, the number of issues increased only moderately leading to
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        issue sizes that were substantially larger than last year, which adversely impacted
        pricing due to fee caps. The low interest rate environment and refinancing
        opportunities also drove a record increase in CMBS issuance in 2005. U.S. CDO
        dollar volume issuance in 2005 increased 64.0% according to Harrison Scott
        Publications/S&P. Growth was driven by stabilization of the asset class, improving
        credit quality and strong investor demand, as well as innovation in new structures
        and arbitrage opportunities.

                                          *         *     *

        International issuance growth remained strong in 2005 as the favorable trends of
        securitization, disintermediation and privatization continued. In Europe, the growth
        in issuance levels was primarily driven by strong corporate issuance in the first half
        of the year. Corporate issuance in Europe was up primarily due to the strength in
        financial services which resulted in part from pre-funding that occurred in the first
        half of the year, partly as a result of the expiration of the Pfandbrief in Germany and
        the introduction of new filing regulations. Structured finance also experienced
        strong issuance in the fourth quarter of 2005, primarily in RMBS due to three
        large transactions.

                                          *         *     *

        The market for credit ratings as well as research, investment advisory and broker-
        dealer services is very competitive. The Financial Services segment competes in the
        U.S. and internationally on the basis of a number of factors, including quality of
        ratings, research and investment advice, client service, reputation, price,
        geographic scope, range of products and technological innovation.

                                          *         *     *

        Structured finance will continue to drive global growth in 2006 with increases
        expected in all the regions around the world. However, growth rates in the Financial
        Services segment are expected to decline compared to the growth rates experienced
        over the last several years. The declining growth rates are primarily due to the
        anticipated decline in U.S. RMBS issuance from the robust issuance experienced in
        2005 and 2004. The Mortgage Bankers Association is forecasting a 20% decline in
        mortgage originations, as mortgage rates continue to rise and the rate of home price
        appreciation levels off. The Company anticipates that RMBS issuance will decline
        approximately 10–15% in 2006. Strong international growth and product
        diversification will help mitigate the anticipated decline in U.S. RMBS issuance
        volumes.

        The U.S. CMBS market will be driven by continued improvement in commercial real
        estate fundamentals, investor demand for relative yield and refinancing of older
        deals. U.S. CDO issuance in 2006 will continue to be driven by the stabilization of
        the asset class resulting in fewer downgrades, and more new structures and arbitrage
        opportunities.


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                                               *         *     *

             International market growth will continue to be strong as the favorable trends of
             securitization, disintermediation and privatization continue. In Europe, new
             structured finance issuers continue to enter the market, increasing the volume of
             these securitizations, despite high personal indebtedness levels and the cooling off of
             property markets in the most active RMBS countries. The Company expects strong
             repeat issuance for RMBS in Europe. Strong growth is anticipated in Germany and
             emerging markets for ABS and RMBS issuance. CMBS issuance is expected to grow
             in Europe as borrowers increasingly access capital markets directly as institutional
             real estate funds follow real estate companies in replacing bank borrowings with
             capital market execution. CDO issuance in Europe will continue to be driven by
             innovative new structures in the synthetic space and continued demand for certain
             cash CDO products. Corporate issuance in Europe is expected to remain strong.

             The outlook in Asia is favorable due to expected continued strong economic growth
             across the region and ongoing development of regional capital markets.

             288.   In response to the January 25, 2006 press release and conference call, and the

  February 24, 2006 Form 10-K, the Company’s stock price posted steady increases from a closing

  price of $49.79 on January 25, 2006 to a closing price of $54.31 on February 24, 2006, as

  demonstrated in the chart below:

   3500000                                                                                   56




   3000000                                                                                   55




   2500000                                                                                   54




   2000000                                                                                   53

                                                                                                       Volume
                                                                                                       Price
   1500000                                                                                   52




   1000000                                                                                   51




    500000                                                                                   50




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          289.    The statements referenced in ¶¶281-87 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶281-87 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

          •       Issuers were not taking advantage of low interest rates, improving credit quality and
                  innovative new structures; rather, they were taking advantage of the fact that, with
                  S&P’s help, they could structure their CDOs to achieve AAA ratings despite the fact
                  that the deals were, in reality, junk. S&P facilitated this endeavor by slapping
                  investment grade quality ratings on deals it could not understand and knew would not
                  perform, applying insufficient rating models and stale data.

          •       By 2006, S&P knew its ratings of RMBS and CDOs were inaccurate, and some
                  within S&P revised the Company’s ratings models to produce more accurate ratings.
                  The Company however, refused to use the revised models to re-evaluate existing
                  RMBS and CDO securities – the so-called grandfathering described herein, delaying
                  thousands of ratings downgrades and allowing those securities to carry inflated
                  ratings that misled investors and the market.

          290.    On February 28, 2006, McGraw participated in the Bear, Stearns & Co. 19th Annual

  Media Conference on behalf of the Company. During the conference, McGraw made false and

  misleading statements concerning the Company’s ability to rate complex structured finance

  transactions, as well as its surveillance capabilities, stating:

          As global investors become more sophisticated in their understanding of structured
          finance, the collateralized debt obligations, or CDO, market is rapidly expanding
          trade. As a result, both issuers and investors are turning to Standard & Poor’s for
          globally consistent CDO ratings, whether the transaction is issued in New York,
          London, Hong Kong or Mumbai.

          To help customers create deals, track performance, monitor risk exposure, we have
          developed a fleet of CDO products. . . .

                                             *        *       *

          Well, when we take, again, a look at what we have built, what we have achieved --
          again, a portfolio that create some balance that focuses on potential markets that are
          growing and that are going to offer these kind of opportunities, and then our
          capabilities to be able to drive and execute on that. I agree with you, that Standard
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        and Poor’s is doing extremely well and it has done extremely well, and for good
        reason.

        When you start talking about really about the 2000, 2001 period, we have seen a
        third stage step-up, if you well, in the structured finance market. The structured
        finance market really started in the mid-80s, when banks were trying to unload some
        of their risk. We saw a step-up in the mid-90s on that one. As we went from asset-
        backed securities into commercial, mortgage-backed markets, the residential
        mortgage-backed market, the residential mortgage-backed market was a really small
        part of all that.

        And then it took off in the housing boom, if you will, that started really in the 2000,
        2001 time period with the low interest rate environment. So that created the third
        step-up on the structured finance market. I don’t see that letting up, and outside
        the United States, I think that is only going to accelerate. So we have benefited
        very, very nicely from, again, that third space step-up of that capability.

        Will that continue in perpetuity? I don’t think so. I think what we’re going to see is
        a more robust corporate and government markets. I think you are going to have to be
        very cognizant of the financial information in play, data and information, some of the
        index services, some of the equity research. But again, some of those transparency
        factors that are only going to support those (indiscernible) the network. So if you are
        not in those markets, you run a bit of the risk in terms of betting on one capability.

        So we like the balance in the overall portfolio. We believe, as we were talking about
        on the education market -- and a lot of the things that go on in terms of the digital
        asset management, again across the board -- we believe that we’re right at the
        beginning of one of the most substantial -- we’re 33 years into a 75-year trend in the
        growth of the capital markets, I believe we’re right at the beginning of the learning
        cycle in terms of that knowledge accounting that we expect to benefit. We’ve been
        investing heavily in that side of it throughout the ‘90s to be able to do it. I think on
        the media as we go online, I think those capabilities are going to give us even more
        balance.

        So there are some balance issues at this point, but I think in terms of the markets
        overall, the health of the essential markets that we are in an arcade ability to execute
        on that, I think we’re going to have a much more robust.

        Now, the whole notion of the balanced portfolio was to create superior returns, that
        you can get consistent earnings and sustainable earnings. And so far, when we talk
        about the 10, 7, 5, 3, 1, all those years, we’ve been able to achieve and outperform
        the market throughout all that. And I’m very confident that we’re going to be able
        to continue to do that because of the excitement of the essence of the markets that
        we’re in and where they are going. Again, global and online -- all (indiscernible)
        data, all those online.




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         291.    On March 13, 2006, McGraw participated in the Credit Suisse Global Services

  Conference on behalf of the Company. During the conference, McGraw made false and misleading

  statements touting the Company’s reputation and integrity, stating:

         The need for market insights, transparency, intelligence and continuing education is
         crucial and increasing and that’s the course in our knowledge-based economy.
         Independent and objective information is what professionals expect and get from
         us. Respect for the integrity of information is part of our company’s makeup. It is
         also wide brand extensions, new products and new combinations of existing products
         that we are creating to help professionals become more effective and efficient and
         will enable us to improve our market penetration in the future particularly in non-
         U.S. markets.

                                          *         *    *

         As global investors become more sophisticated in their understanding of structured
         finance the collateralized debt obligation market or CDOs is rapidly expanding. As a
         result both issuers and investors are turning to the Standard & Poor’s for globally
         consistent CDO ratings whether the transaction is issued in New York, London,
         Hong Kong, or Mumbai. To help customer create deals, track performance and
         monitor risk exposure we’ve developed a suite of CDO products.

         292.    During the “breakout session” of the conference, McGraw touted the Company’s

  ability to rate complex CDOs and conduct ongoing surveillance:

         No, it’s -- you’re going to see the continued trend towards surveillance or
         relationship basis. Now, one of the things that we want to do in anything that
         we’re about is you want to be able to know where things have a potential of being
         more volatile and volatility is something you want to get after right away.

                                          *         *    *

         The explosion of instrumentation and all that allows you now, with that kind of
         complexity, to really go deep in terms of risk management and some of the skill sets
         associated with that. And you don’t want to be so transaction focused, these are
         going to be very complex deals.

         It is going to take a lot of scrutiny and you want to have a relationship with that
         issuer and with that investment for a longer period of time to continue to track the
         risk profile associated with that, especially when you start talking about the
         collateralized debt obligation market.

         These are huge instruments as we all know, and they contain a lot of things to it
         and you need to continue to measure. You can’t go up and then down and get up
         the curve again and down. It’s just too risky. You have to have a much more

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         relationship format to it.

         293.    On April 25, 2006, McGraw-Hill issued a press release entitled “The McGraw-Hill

  Companies Reports First Quarter EPS of $0.20, Including $0.04 Charge for Ending Restoration

  Stock Option Program; Revenue Increases by 10.9%,” which stated in relevant part:

         The McGraw-Hill Companies (NYSE: MHP) today reported diluted earnings per
         share from continuing operations of $0.20 for the first quarter of 2006, which
         includes the recently announced one-time charge of $0.04 for the elimination of the
         restoration stock option program. The first quarter results also reflect incremental
         stock-based compensation of $0.04. Net income for the first quarter of 2006 was
         $74.2 million. Revenue for the first quarter of 2006 increased 10.9% to $1.1 billion.

         “Financial Services is normally the key contributor to our first quarter due to the
         seasonality affecting education and advertising and that is the case again this
         year,” said Harold McGraw III, chairman, president and chief executive officer of
         The McGraw-Hill Companies.

                                           *         *     *

         Financial Services: “Revenue for this segment increased 9.6% in the first quarter to
         $600.0 million compared to the same period last year. Excluding the prior year’s
         revenue of $33.5 million from Corporate Value Consulting, which was sold at the
         end of September 2005, and the current year’s revenue from Vista Research
         (acquired April 1, 2005) and CRISIL, Ltd., (majority interest acquired on June 1,
         2005), revenue for the first quarter grew by 13.7% on a non-GAAP basis. Of the
         non-GAAP revenue growth, 52.0% was produced by structured finance, and 22.9%
         came from corporate and government ratings.

                                           *         *     *

         “Both U.S. and international ratings grew at double-digit rates in the first quarter.
         Despite a slow start in the European market after a strong finish last year,
         international ratings accounted for 35.6% of ratings revenue in the first quarter
         versus 35.8% for the same period a year ago.

         “In the robust structured finance market, all U.S. asset classes contributed to growth.
         Buoyed by favorable market conditions, the U.S. residential mortgage-backed and
         commercial mortgage-backed securities markets continued to expand. The asset-
         backed securities market benefited from increased activity in the credit card sector
         and the U.S. collateralized debt obligation market was strong.

                                           *         *     *

         “In the U.S., total new issue dollar volume was up 15.9%. Corporate new issuance
         increased 22.1%. Public finance declined by 25.7%. Mortgage-backed securities
         issuance grew by 16.4%. Asset-backed securities were up 27.9% while collateralized

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          debt obligations issuance was up 75.4%. In Europe, new issue dollar volume was
          up 15.8%.

                                            *         *    *

          The Outlook: “We are encouraged by our start this year, which reinforces our
          confidence in the earnings guidance that was provided at the end of January.
          Excluding the expensing of stock options, we still expect earnings per share of $2.36
          to $2.41 in 2006. With more robust market opportunities taking shape next year, we
          expect to return to double-digit earnings growth in 2007.”

          294.    On April 28, 2006, the Company filed its interim quarterly financial report on Form

  10-Q for the quarter ending March 31, 2006. The financial results reported in the 10-Q were

  substantially similar to those reported in the Company’s April 25, 2006 press release. The Form 10-

  Q was signed by Bahash, and contained required Sarbanes-Oxley certifications signed by McGraw

  and Bahash stating that the Form 10-Q did not include any material misrepresentations. In

  discussing what drove McGraw-Hill’s improved financial performance, the April 28, 2006 10-Q

  stated, in relevant part:

          In the first quarter of 2006, the Company achieved growth in revenue and operating
          profit of 10.9% and 5.2%, respectively. The increase in revenue is primarily
          attributable to growth in the Financial Services segment and the 2005 acquisition of
          J.D. Power and Associates, which contributed $52.7 million and $43.8 million to the
          growth in revenue, respectively.

                                            *         *    *

          Financial Services revenue and operating profit increased substantially over first
          quarter 2005 results, despite the negative effect of foreign exchange rates of $8.1
          million on revenue and a $2.4 million on operating profit.

                                            *         *    *

          The Financial Services segment’s increase in revenue and operating profit was
          due to the performance of structured finance and corporate (industrial and financial
          services) and government ratings, which represented approximately 69.6% and
          30.7%, respectively, of the growth in revenue. Growth in first quarter revenue was
          reduced by 63.6% from the divestiture of CVC. In the U.S., growth was experienced
          across all asset classes in structured finance. The issuance of U.S. residential
          mortgage-backed securities (RMBS), commercial mortgage-backed securities
          (CMBS) and collateralized debt obligations (CDOs) remained strong due to
          favorable market conditions. Mortgage rates were within historical norms and at
          levels that kept home purchase and improvement activity and debt consolidation
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        robust. Commercial real estate fundamentals and investor demand for these
        securities also remained strong. The growth in corporate finance ratings was
        attributable to increases in industrial issuance, driven primarily by the market’s
        favorable financing conditions and healthy merger and acquisition (M&A) activity.

                                          *         *     *

        Total U.S. structured finance new issue dollar volume increased 24.1%. U.S. CDO
        issuance increased 75.4%, according to Harrison Scott Publications and S&P’s
        internal estimates (Harrison Scott Publications/S&P). The U.S. CDO market was
        driven by new structures (hybrids) and arbitrage opportunities within the cash flow
        and synthetic sectors. U.S. CMBS issuance increased 53.2% over the prior year
        driven by strong investor demand, strong commercial origination trends, and issuers
        coming to market in anticipation of higher interest rates. U.S. RMBS issuance
        increased 11.3%, driven by the sub-prime and affordability products and home equity
        sectors as these products are less sensitive to increases in interest rates. Mortgage
        rates, albeit rising, remained within historical norms and were low enough to keep
        home purchase and improvement activity and the debt consolidation market healthy.

                                          *         *     *

        In Europe for the first quarter, RMBS was the strongest sector of issuance,
        representing 60.6% of total European structured finance issuance. Overall, European
        structured finance market grew modestly in the first quarter after coming off a strong
        fourth quarter of 2005. CDO issuance was driven by a surge in cash CDO deals and
        the market for collateralized loan obligations (CLOs) was robust. European corporate
        issuance was up in the first quarter due to solid M&A activity and opportunistic
        issuance in anticipation of further increases in interest rates by the European Central
        Bank.

                                          *         *     *

        The market for credit ratings as well as research, investment advisory and broker-
        dealer services is very competitive. The Financial Services segment competes
        domestically and internationally on the basis of a number of factors, including
        quality of ratings, research and investment advice, client service, reputation, price,
        geographic scope, range of products and technological innovation.

                                          *         *     *

        The Company maintains disclosure controls and procedures that are designed to
        ensure that information required to be disclosed in the Company’s reports filed with
        the Securities and Exchange Commission (SEC) is recorded, processed, summarized
        and reported within the time periods specified in the SEC’s rules and forms, and that
        such information is accumulated and communicated to the Company’s management,
        including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
        appropriate, to allow timely decisions regarding required disclosure.



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         As of March 31, 2006, an evaluation was performed under the supervision and with
         the participation of the Company’s management, including the CEO and CFO, of the
         effectiveness of the design and operation of the Company’s disclosure controls and
         procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange Act of
         1934). Based on that evaluation, the Company’s management, including the CEO
         and CFO, concluded that the Company’s disclosure controls and procedures were
         effective as of March 31, 2006.

         295.    In response to the April 25, 2006 press release and the April 28, 2006 Form 10-Q, the

  Company’s stock price declined slightly on an average volume of nearly 3 million shares traded,

  from a close of $56.25 on April 25, 2006 to a close of $55.66 on April 28, 2006. But for

  Defendants’ false and misleading statements, the Company’s stock price would have declined more

  over this same period.

         296.    The statements referenced in ¶¶290-94 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶290-94 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

         •       While it was true that “issuers and investors [were] turning to Standard & Poor’s” for
                 CDO ratings, they were doing so because Defendants were willing to cater to issuer
                 demands and compromise criteria and ratings quality in the name of lucrative fees
                 associated with rating those deals.

         •       The Company’s “fleet of CDO products” was outdated and ineffective, and when it
                 was updated, the Company did not employ it to re-rate existing deals because doing
                 so would have led to ratings downgrades and loss of market share.

         •       By 2006, S&P knew its ratings of RMBS and CDOs were inaccurate, and some
                 within S&P revised the Company’s ratings models to produce more accurate ratings.
                 The Company however, utilized grandfathering and refused to use the revised models
                 to re-evaluate existing RMBS and CDO securities, delaying thousands of ratings
                 downgrades and allowing those securities to carry inflated ratings that misled
                 investors and the market.

         •       The Company was not producing “[i]ndependent and objective information” and
                 “[r]espect for the integrity of information” had long ago ceased to be a “part of the
                 company’s makeup.” Indeed, internal Company documents during the Class Period
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                 demonstrate that the Company was ready, willing, and able – and did – sacrifice the
                 integrity of information, models, criteria, and surveillance in order to not kill the
                 golden goose that was structured finance ratings fees.

         297.    On June 21, 2006, McGraw and Rose participated in the Newspaper Association of

  America 2006 Mid-Year Media Review Conference on behalf of the Company. During the

  conference, McGraw made statements lacking a reasonable basis concerning the sustainability of the

  Company’s financial services growth and business prospects. For example, McGraw stated:

         There’s nothing temporary about the growth in financial services. In the last 10
         years, the segment’s revenue grew at a compound annual growth rate of 13%. In
         that same period, operating profits grew at a compound annualized rate of 16.9%.

         In 2006 we expect another double-digit growth year in revenue and in operating
         profit, excluding the impact of the divestiture of CVC and the stock-based
         compensation. Growth will continue in 2006 because of our geographic and
         product diversification and continued strong growth in international markets.

         In ratings alone, we have significantly diversified the revenue stream in the last
         decade. In 1994 international revenue represented 21% of ratings. At the end of last
         year, it was 37% of the mix. In 1994 non-traditional products and services such as
         bank loan ratings accounted for only about 8% of revenue. By 2005 non-traditional
         products and services were 22%. In 1994 60% of ratings revenue was dependent
         upon debt transactions and now that number has been ranging between 45% and 50%
         due to increasing levels of fee diversification and the introduction of products and
         services that aren’t dependent on new issuance.

         As we move through the second quarter, the pipeline for the U.S. residential
         mortgage-backed securities market looks very good, but we do anticipate a decline
         in the second half when year-over-year comparisons could be somewhat tougher.
         We will continue to see strength in the issuance of both the U.S. commercial
         mortgage-backed security market, as well as collateralized debt obligations, CDOs.

                                           *         *     *

         Securitization has been one of the most important growth drivers in recent years. Our
         ability to provide a rating to the proliferation of structured instruments adds another
         dimension to our growth, as well as to our diversification.

         298.    As the conference continued, Rose made additional false and misleading statements:

         While the need to be efficient in the use of capital is the driving long-term need
         behind structured finance, there are three key trends that have pushed the market in
         the recent past and continue in 2006 -- first, globalization; second, the growing
         sophistication of the market, which has led to many new types of transactions,
         customization and even greater financial efficiency; and third, historically low
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        interest rates. Since any structured finance transaction involves complex structures
        and the transfer of complex credit risks, the key to a successful transaction is an
        independent and objective analysis of both the structure and the credit risk and it is
        in this function that Standard & Poor’s structured finance ratings have excelled.

                                          *         *     *

        Since that time, several factors have led to a rising investor acceptance of a new crop
        of CDOs and other similar structures. First, beginning in 2003, corporate credits
        stabilized and actually began to improve, but more importantly, tight spreads in
        corporate bonds and a lack of diverse-enough supply of corporate bonds caused both
        the arrangers and the investors for the first time to look to asset-backed, mortgage-
        backed and even other CDOs as assets for these vehicles.

        This market opened-- this opened the market to investors who were interested in the
        stability and extra yield that were provided by the underlying structured assets. In
        addition, we began to see a lot of customization and that was enabled by the synthetic
        structures that evolved in those years.

        As investors have become more sophisticated in their understanding of financial
        engineering techniques, the CDO market has continued to grow and we have seen
        a wave of innovation which includes synthetic structures, credit default swaps,
        CDOs of commercial real estate, hybrid CDOs and even CDOs-squared, which are
        CDOs of CDOs. We expect to see continued development and growth in these new
        types of assets. Moreover, since these transactions are very high in level of
        complexity, a Standard & Poor’s rating is very desirable to both issuers and
        investors.

        The third key trend that has been continuing is the historically low interest rate
        environment we have been experiencing. Nowhere has this effect been more felt
        than the market for securities backed by residential mortgages. Here I’m talking
        about global issuance, excluding the U.S. government-sponsored mortgage agencies.

        Historically low interest rates have led to a massive wave of refinancing of existing
        mortgages and new home purchases in the United States, United Kingdom and
        Australia, and many other countries. This, in turn, has generated a high volume in
        the RMBS market, since a very large percentage of residential mortgages in all of
        these countries are securitized.

        But while low interest rates have been the main story, they are not the only story.
        We have also observed an increasing securitization rate in the residential arena. This
        means that a greater percentage of the mortgages originated are actually winding up
        in securitized transactions and off the balance sheets of financial institutions.

        But most importantly, innovation is driving growth of this market. Residential
        mortgage securities have been used as collateral in CDOs, thereby increasing
        demand for these securities. There has also been a proliferation of innovative
        mortgage products in these markets and this has made mortgages available to an


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        even-larger number of people.

        The next slide shows the growth in volume of these new mortgage products --
        hybrids ARMs, 40-year amortization loans, negative amortization loans, silent
        seconds, interest-only loans, insured products and floating-rate mortgages have
        increased the volume of new mortgages and the complexity of analyzing the
        structured finance transactions. This has led to a higher demand for our ratings
        on all types of RMBS transactions.

        Now leadership in the structured finance market is built on two pillars -- credibility
        and service. Credibility comes from the performance of your ratings over time and
        is built slowly but could be lost quickly. Service is delivering to the markets the
        most informative ratings and other credit-risk evaluation services at the time and
        in the manner that the markets need them.

        We strive for excellence on both these measures. For example, we have a
        dedicated surveillance unit to oversee the continuing credibility of all of our
        ratings. All ratings are regularly reviewed by our surveillance group who back-test
        our ratings to show their credibility over time. Each year we publish a study that
        shows defaults and transitions for the entire market to see.

        When we talk about service, we are talking about providing a quality experience for
        each market participant who interacts with us. That means having well-trained,
        accessible, experienced staff that can handle the complex analysis these transactions
        require and then communicate the results. This means publishing our criteria so
        that the market can see and understand how we look at those transaction. That
        means having the information that the participant is looking for, when they need it, in
        the form they want it.

        We believe that we are second to none in the scope and quality of our staff and the
        information we provide to the structured finance market. Our leadership in the
        structured finance market continues to evolve through our new product offerings
        such as LEVELS, SPIRE, CDS Accelerator, CDS Xpress and CDOI.

        LEVELS provides loan-level risk analysis based on our residential mortgage
        ratings criteria and determines the credit enhancement required for securitizations.
        It enables issuers to perform best execution analysis, which leads to faster, better
        informed decisions on origination. It is the market leader.

        SPIRE also improves the quality of execution. It is the same cash flow model used by
        our analysts. It evaluates potential securitization structures with our criteria, as well
        as alternative scenarios. Since its launch last fall, it is has gained steady market
        acceptance.

        CDS Accelerator and CDS Xpress enable participants in the synthetic or credit
        derivatives market to reduce execution risk by quickly and accurately analyzing new
        and existing CDO transactions by linking our CDO analysis, criteria and ratings data.



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         Standard & Poor’s structured finance ratings strategy is to maintain our leadership
         position by responding to the trends of globalization and innovation in this rapidly
         growing market. The strategy is focused on leveraging Standard & Poor’s brand,
         our overwhelming recognition for quality, independence and objectivity, our global
         network and, most importantly, our most valuable asset, our employees.

         I’m very excited about the long-term prospects of Standard & Poor’s structured
         finance ratings. Governments, regulators, financial institutions and corporations
         all over the world are seeing the benefits of structured finance and why not?
         Structured finance has proven to be a reliable, highly flexible financing tool.

         Thank you very much for your attention.

         299.   On July 25, 2006, McGraw-Hill issued a press release entitled “The McGraw-Hill

  Companies Reports Second Quarter EPS of $0.60, a 17.6% Increase,” which stated, in relevant part:

         “Record results at Financial Services, a solid performance in the U.S. college and
         university market, and effective cost containment were key to our second quarter,”
         said Harold McGraw III, chairman, president and chief executive officer of The
         McGraw-Hill Companies. “As a result, our operating margin improved to 25.8%, up
         from 23.6% for the same period last year.

                                          *         *    *

         Financial Services: “Revenue for this segment increased 13.4% in the second
         quarter to $677.3 million compared to the same period last year. Excluding the
         prior year’s revenue of $34.8 million from Corporate Value Consulting, which was
         sold at the end of September 2005, and April and May revenue of $8.1 million from
         CRISIL, Ltd. (majority interest acquired on June 1, 2005), revenue for the second
         quarter grew by $106.6 million on a non-GAAP basis. Of the non-GAAP revenue
         growth, 38.6% was produced by structured finance and 34.8% came from corporate
         and government ratings.

         “Including the incremental expenses of $6.3 million for stock-based compensation in
         the second quarter, the segment’s operating profit increased 21.5% to $313.9
         million. Corporate Value Consulting contributed approximately $7.5 million to
         operating results in the second quarter of 2005.

         “Strong double-digit growth for ratings in the U.S. and international markets
         helped Financial Services set new records for revenue and operating profit in the
         second quarter. International ratings accounted for 37.4% of ratings revenue in
         the second quarter versus 36.7% for the same period a year ago.

         “Strength in global structured finance was again a key factor as all asset classes
         contributed to the year-over-year improvement. Particularly noteworthy was the
         activity in U.S. Collateralized Debt Obligations, which was driven by leveraged
         loans for mergers and acquisitions, new hybrid structures and arbitrage
         opportunities. And, while dollar volume issuance in U.S. Residential Mortgage-

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         Backed Securities market declined by 1.2% in the second quarter, we benefited
         from an 8.6% pick up in the number of deals coming to market and solid gains in
         more active overseas markets.

                                           *         *    *

         “In the U.S., total new issue dollar volume was up 16.7%. Corporate new issuance
         was up 54.7%. Public finance declined by 6.8%. Mortgage-backed securities were
         off 0.7%. Asset-backed securities were down 12.5%, while collateralized debt
         obligations were up 162.0%. In Europe, new issue dollar volume was up 1.7%.

                                           *         *    *

         The Outlook: “Based on the strength of our first half performance, we are raising
         our guidance for the year.

         “Our previous guidance called for earnings per share of $2.36 to $2.41, excluding the
         incremental impact of all stock-based compensation.

         “Our new guidance for 2006 improves the full-year forecast by $0.08. Therefore, we
         now expect EPS for 2006 of $2.44 to $2.49 excluding the incremental impact of all
         stock-based compensation ($0.13 for incremental stock-based compensation and
         $0.04 for the one-time charge for the elimination of the restoration stock option
         program in the first quarter).

         “With more robust opportunities taking shape next year, we expect to return to
         double-digit earnings growth in 2007.”

         300.    Also on July 25, 2006, McGraw-Hill hosted a conference call to discuss its second

  quarter 2006 earnings and outlook. The Individual Defendants participated in the call on behalf of

  the Company. During the call, numerous false and misleading statements were made that were

  designed to artificially inflate the Company’s stock price. For example, McGraw stated:

         In the U.S. residential mortgage-backed securities market, we saw the first signs in
         the second quarter that new issue volume was softening a little bit. Now these are
         the comparisons, year-over-year comparisons softening a little. New issue dollar
         volume for the U.S. residential mortgage-backed securities slipped by 1.2% in the
         second quarter. But these figures, like the estimates for the gross domestic product,
         are regularly updated. Frequently the estimates grow, so I don’t take today’s figures
         as the last word on market activity here. Rating smaller deals is a plus for Standard
         & Poor’s, so we benefited in the second quarter from an 8.6% increase in the
         number of U.S. residential mortgage-backed security issues. We also benefited
         from a 20% increase in residential mortgage-backed securities dollar volume
         issuance in Europe in the second quarter. We also enjoyed solid growth in the U.S.
         commercial mortgage-backed securities market, but the major factors in structured


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         finance in the second quarter were U.S. collateralized debt obligations, CDOs.

         New issue dollar volume for U.S. collateralized debt obligations grew by 162%.
         Collateralized debt obligations are an excellent example of the financial market’s
         ability to innovate by pooling bonds and loans and derivatives that are then split
         into tranches with varying risk profiles for various investor audiences.

         What emerges are collateralized debt obligations that are based on cash flow, which
         are backed by the actual bonds, loans or asset-backed securities, synthetics backed by
         derivatives, or some combination of both called hybrids. Strong growth in
         collateralized debt obligations throughout 2006 has been driven by a number of
         positive factors, including robust debt origination in areas like leveraged loans,
         residential mortgage-backed securities, commercial mortgage-backed securities
         which are used to create pools of available loans to be put into these large baskets,
         these collateralized debt obligation structures. Strong investor demand as CDOs
         provide opportunities for higher yields in a low interest rate environment and
         diversification across credit. And attractive arbitrage opportunities for issuers and
         investors to transfer specific risks or to take advantage of spreads between asset
         income and liability funding costs. The asset-backed securities market softened
         because of a sharp decline in auto loan issuance, but we did see strong pickup in
         activity in the credit card receivable end and student loan sectors.

         301.    As the call continued, McGraw warned of softening in the U.S. RMBS market, but

  omitted material facts when he also stated:

         Our optimism is based on continued strength in international ratings, as well as
         products and services that are not tied to new issuance. There are tougher
         comparisons ahead in the U.S. residential mortgage-backed securities markets, which
         enjoyed a spectacular second half as we all know in 2005. Residential mortgage-
         backed securities growth continued into the second quarter this year, and the U.S.
         residential mortgage-backed securities dollar volume issuance is up 13.5% for the
         first half of 2006.

         We still have a very good pipeline of business heading into the third quarter, but
         probably not enough to expect year-over-year growth in the face of the challenging
         comparisons. We now expect U.S. residential mortgage-backed security issuance to
         decline by about 5% in 2006. But in Europe we expect the residential mortgage-
         backed securities and the commercial mortgage-backed securities markets to show
         year-over-year growth in the second half. Prospects for the U.S. commercial
         mortgage-backed securities, asset-backed securities and public finance look a little
         soft to us right now. But the pipeline for U.S. collateralized debt obligation
         issuance, CDOs, remains very strong, very strong indeed.

         302.    McGraw also discussed the invaluable nature of S&P’s reputation:

         Standard & Poor’s has been rating bonds since 1916, so the market knows our
         capability and our reputation very well. The integrity, reliability and credibility of
         S&P has enabled us to compete successfully in an increasingly global and complex
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         market, and that is true today and we are confident it will be so in the future.

         303.      Later in the call, McGraw stated that the CDO market was “red hot” and “doing

  extremely well,” and stated:

         On CDOs, it is really right across the board. The whole structured finance market or
         the securitized market is the desired choice of most investors, most financial
         institutions, because it gives them more options in terms of being able to specifically
         tailor their investment portfolios to components that they need. So, with the
         collateralized debt obligation market, you are able to have a lot of flexibility in the
         multitude of tranches that you can take advantage of, and these are very large, very
         complex instruments. And, therefore, I would expect those to continue.

         304.      On July 28, 2006, the Company filed its interim quarterly financial report on Form

  10-Q for the quarter ending June 30, 2006. The financial results reported in the 10-Q were

  substantially similar to those reported in the Company’s July 25, 2006 press release. The Form 10-Q

  was signed by Bahash, and contained required Sarbanes-Oxley certifications signed by McGraw and

  Bahash stating that the Form 10-Q did not include any material misrepresentations. In discussing

  what drove McGraw-Hill’s improved financial performance, the July 28, 2006 10-Q stated, in

  relevant part:

         In the second quarter of 2006, the Company achieved growth in revenue and
         operating profit of 4.9% and 14.9%, respectively. The increase in revenue is
         primarily attributable to growth in the Financial Services segment. Foreign
         exchange rates had minimal impact on revenue or operating profit during the second
         quarter.

                                            *         *    *

         Service revenue increased 11.0% in the second quarter of 2006, due primarily to a
         13.4% increase in Financial Services revenue and the acquisition of JDPA.
         Financial Services revenue increased primarily due to the performance of
         structured finance ratings and corporate (corporate finance and financial services)
         and government finance ratings; somewhat offset by the divestiture of the Corporate
         Value Consulting (CVC) business which contributed $34.8 million to 2005 second
         quarter revenue. Issuance in structured finance was mixed in the second quarter,
         U.S. collateralized debt obligations (CDOs) issuance was up, while issuance of U.S.
         residential mortgage-backed securities (RMBS) and commercial mortgage-backed
         securities (CMBS) were down. . . .

                                            *         *    *

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        Financial Services revenue and operating profit increased substantially over the
        second quarter of 2005.

                                          *         *     *

        The Financial Services segment’s increase in revenue and operating profit was due to
        the performance of structured finance and corporate (industrial and financial
        services) and government ratings, which represented approximately 51.5% and
        46.4%, respectively, of the growth in revenue [ . . . .] Issuance in structured finance
        was mixed in the second quarter, as issuance of U.S. collateralized debt obligations
        (CDOs) and commercial mortgage-backed securities (CMBS) was up, while issuance
        of U.S. residential mortgage-backed securities (RMBS) was down. CDO issuance
        was driven by growth in leveraged loans related to merger and acquisition (M&A)
        activity, new structures (hybrids) and arbitrage opportunities within the cash flow
        and synthetic sectors. . . .

                                          *         *     *

        Total U.S. structured finance new issue dollar volume increased 10.0%. U.S. CDO
        issuance increased 162.0%, according to Harrison Scott Publications and S&P’s
        internal estimates (Harrison Scott Publications/S&P). Driven by investor demand
        and origination levels, U.S. CMBS issuance increased 2.8%. Despite a decline in
        RMBS issuance dollar volume the number of issues was up. RMBS issuance was
        driven by home equity products. The Mortgage Bankers Association currently
        forecasts mortgage originations to decline 18% in 2006 as mortgage rates continue to
        increase. . . .

                                          *         *     *

        In the U.S., growth in issuance was experienced across most asset classes in
        structured finance. The issuance of U.S. residential mortgage-backed securities
        (RMBS), commercial mortgage-backed securities (CMBS) and collateralized debt
        obligations (CDOs) remained strong due to favorable market conditions.
        Mortgage rates were within historical norms and at levels that kept refinancing
        and debt consolidation robust. Commercial real estate fundamentals and investor
        demand for these securities also remained strong. The growth in corporate issuance
        was attributable to increases in industrial issuance, driven primarily by the market’s
        favorable financing conditions and healthy merger and acquisition (M&A) activity.

        Total U.S. structured finance new issue dollar volume increased 20.0%. U.S. CDO
        issuance increased 107.5%, according to Harrison Scott Publications and S&P’s
        internal estimates (Harrison Scott Publications/S&P). The U.S. CDO market was
        driven by growth of leveraged loans related to M&A activity, new structures
        (hybrids) and arbitrage opportunities within the cash flow and synthetic sectors. U.S.
        CMBS issuance increased 26.7% over the prior year driven by strong investor
        demand, strong commercial origination trends, and issuers coming to market in
        anticipation of higher interest rates. U.S. RMBS issuance increased 13.5%, driven by
        the home equity sector as these products are less sensitive to increases in interest
        rates. Mortgage rates, albeit rising, remained within historical norms and were low
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         enough to keep home purchase and improvement activity and the debt consolidation
         market healthy. However, as mortgage rates continue to increase, the rate of home
         price appreciation levels off, and as sub-prime lenders tighten lending standards for
         affordability products, RMBS issuance is anticipated to decline. . . .

                                            *         *     *

         The market for credit ratings as well as research, investment advisory and broker-
         dealer services is very competitive. The Financial Services segment competes
         domestically and internationally on the basis of a number of factors, including
         quality of ratings, research and investment advice, client service, reputation, price,
         geographic scope, range of products and technological innovation.

                                            *         *     *

         The Company maintains disclosure controls and procedures that are designed to
         ensure that information required to be disclosed in the Company’s reports filed with
         the Securities and Exchange Commission (SEC) is recorded, processed, summarized
         and reported within the time periods specified in the SEC’s rules and forms, and that
         such information is accumulated and communicated to the Company’s management,
         including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
         appropriate, to allow timely decisions regarding required disclosure.

         As of June 30, 2006, an evaluation was performed under the supervision and with the
         participation of the Company’s management, including the CEO and CFO, of the
         effectiveness of the design and operation of the Company’s disclosure controls and
         procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange Act of
         1934). Based on that evaluation, the Company’s management, including the CEO
         and CFO, concluded that the Company’s disclosure controls and procedures were
         effective as of June 30, 2006.

         305.    In response to the July 25, 2006 press release and the July 28, 2006 Form 10-Q, the

  Company’s stock price increased dramatically – by more than 12% from a close of $50.40 on July

  24, 2006 to closing prices of $54.32 on July 25, 2006 and $56.30 on July 31, 2006, as reflected in the

  chart below:




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   4000000                                                                                       57



                                                                                                 56
   3500000



                                                                                                 55
   3000000


                                                                                                 54
   2500000

                                                                                                 53

   2000000                                                                                            Volume
                                                                                                      Close
                                                                                                 52

   1500000
                                                                                                 51


   1000000
                                                                                                 50



    500000
                                                                                                 49



         0                                                                                       48
                 7/24/2006    7/25/2006    7/26/2006         7/27/2006   7/28/2006   7/31/2006


             306.     The statements referenced in ¶¶297-304 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶297-304 were each false and misleading

  when made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

             •        By 2006, S&P knew its ratings of RMBS and CDOs were inaccurate, and some
                      within S&P revised the Company’s ratings models to produce more accurate ratings.
                      The Company however, utilized grandfathering and refused to use the revised models
                      to re-evaluate existing RMBS and CDO securities, delaying thousands of ratings
                      downgrades and allowing those securities to carry inflated ratings that misled
                      investors and the market.

             •        The growth in Financial Services was most certainly temporary as it was fueled by
                      Defendants’ fraudulent scheme to achieve and preserve market share at all costs.
                      This created an unsustainable set of circumstances where the Company’s willingness
                      to slap AAA stamps of approval on toxic assets was bound to catch up to it
                      eventually, resulting in the evisceration of the Company’s ratings, reputation, and


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                 financial performance in Financial Services.

         •       The pipeline for the US RMBS market was anything but “very good.” Rather,
                 according to the Company’s internal documents, approximately 76% of 2006 RMBS
                 issuance was comprised of subprime and Alt-A mortgages. At least 93% of all such
                 assets included in deals rated AAA by S&P during 2006 have been downgraded to
                 junk status.

         •       The Company’s ratings models were ill-equipped to deal with the “wave of
                 innovation” in the structured finance market. What Defendants hid from the market
                 was that the Company knew it was completely incapable of accurately rating or
                 understanding the performance of the exotic deals it was rating, which were made up
                 of toxic loans such as hybrids, ARMS, negative amortization loans, and the like.

         •       Defendants were certainly “leveraging Standard & Poor’s brand” and its “recognition
                 for quality, independence and objectivity.” Indeed, they were leveraging it against
                 short-term, lucrative fees that depended upon the performance of toxic assets the
                 Company and its employees knew were destined for failure. Defendants knew the
                 Company’s integrity was poised to be washed away in a sea of materially delayed
                 downgrades.

         307.    On September 20, 2006, McGraw-Hill participated in the Goldman Sachs

  Communacopia XV Conference. Bahash participated in the conference on behalf of the Company.

  During the conference, Bahash made several false and misleading statements designed to artificially

  inflate the Company’s stock price. For example, Bahash stated:

         In assessing the current outlook, Financial Services continues to show strength and
         may actually do a little bit better than we had originally anticipated. We are seeing
         substantial strength in the global issuance of commercial mortgage-backed
         securities and collateralized debt obligations. Corporates in both the U.S. and
         Europe are doing very well too.

         We also are seeing the expected slowdown in the rate of growth in U.S. residential
         mortgage-backed securities issuance that we hadn’t mentioned earlier.

                                            *         *     *

         We continue to see very significant growth in the CDO market, CMBS, the
         securitization in terms of derivative side of the equation, credit default swaps, clearly
         outside the U.S. are very, very significant to us. So those are particular areas that
         are growing rather dramatically.

         I think also we’re seeing significant growth in bank loan ratings, the nontraditional
         side, counterparty risks ratings, rating evaluation services. So I think the one area
         that gets the most attention with regard to perhaps fluctuations would be the
         residential mortgage-backed securities market. And clearly as I mentioned we are
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         seeing a slowdown there. But we right now are thinking that roughly 10% to 12%
         decline is what we expect for 2006, and early on -- and this is really on -- but we
         are expecting a decline in that same range for 2007, so not a significant impact.

         308.    The statements referenced in ¶307 were each materially false and misleading when

  made for the reasons set forth in ¶256 and the factual detail contained throughout this Complaint. In

  addition, the statements referenced in ¶307 were each false and misleading when made as they

  misrepresented and/or omitted adverse facts which then existed and disclosure of which was

  necessary to make the statements not false and/or misleading. The true facts, which were then

  known to or recklessly disregarded by each of the Defendants, were:

         •       By 2006, S&P knew its ratings of RMBS and CDOs were inaccurate, and some
                 within S&P revised the Company’s ratings models to produce more accurate ratings.
                 The Company however, utilized grandfathering and refused to use the revised models
                 to re-evaluate existing RMBS and CDO securities, delaying thousands of ratings
                 downgrades and allowing those securities to carry inflated ratings that misled
                 investors and the market.

         •       The significant growth the Company was seeing in the CDO market was a ruse
                 because it depended upon the continuation of Defendants’ fraudulent scheme, which
                 required outdated models, stale data, inadequate staffing, grandfathering, and a
                 willingness to rate deals that were not likely to perform.

         309.    On October 19, 2006, the Company issued a press release entitled “The McGraw-Hill

  Companies Reports Third Quarter EPS of $1.06, a 6% Increase; Raises Earnings Guidance for

  2006,” which stated, in relevant part:

         “Net income for the third quarter was $382.3 million. Revenue was up 0.8% to $2.0
         billion versus the same period last year.

         “Record results at Financial Services and stringent cost management in the face of a
         softer education market this year were key factors in our third quarter,” said Harold
         McGraw III, chairman, president and chief executive officer of The McGraw-Hill
         Companies.

                                            *         *    *

         Financial Services: “Revenue for this segment increased 11.4% to $675.1 million
         compared to the same period last year [. . . .] Of the non-GAAP revenue growth,
         48.3% was produced by structured finance and 21.6% came from corporate and
         government ratings.

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            “Including the incremental expenses of $8.0 million for stock-based compensation in
            the third quarter, the segment’s operating profit increased 17.3% to $295.7 million.

                                              *         *    *

            “The global pacesetter again was structured finance. Growth in cash flow and
            synthetic Collateralized Debt Obligations increases in Commercial Mortgage-Backed
            Securities due to favorable interest rates, strength in commercial mortgage
            originations and strong leveraged loan activity were key factors in the structured
            finance market.

            “Dollar volume issuance in the U.S. Residential Mortgage-Backed Securities
            market fell again, declining 11.2% in the third quarter after slipping by 1.2% in the
            second quarter. But we continued to benefit from an increase in the number of
            deals, up 1.7% in the third quarter, and from more active Residential Mortgage-
            Backed Securities issuance in international markets.

                                              *         *    *

            The Outlook: “Based on our record of achievement for the first nine months, we
            are raising our guidance for the full year.

            “Our previous guidance called for diluted earnings per share of $2.44 to $2.49
            excluding the incremental impact of all stock-based compensation. That excluded
            $0.13 for stock-based compensation and $0.04 for the one-time charge for the
            elimination of the restoration stock option program in the first quarter.

            “The new guidance calls for diluted earnings per share of $2.53 to $2.55 excluding
            the incremental impact of all stock-based compensation and restructuring charges.
            The incremental impact of stock-based compensation has been revised to $0.11,
            down from $0.13 estimated at the start of the year. For 2007, we fully expect to
            achieve double-digit earnings growth.”

            310.   Also on October 19, 2006, McGraw-Hill hosted a conference call to discuss its third

  quarter 2006 earnings and outlook. The Individual Defendants participated in the call on behalf of

  the Company. During the call, numerous false and misleading statements were made that were

  designed to and, in fact, did artificially inflate the Company’s stock price. For example, McGraw

  stated:

            In looking at the fourth quarter, the structured finance pipeline still looks very
            healthy. We expect strength in the collateralized debt obligation, a very large
            market and getting better, and the commercial mortgage-backed securities markets,
            which we have seen for the last couple of years now gaining strength. U.S.
            residential mortgage-backed security issuance in the fourth quarter is expected to
            decline, the year-over-year comparisons. The absolute volume is still quite high.

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          Corporates still looks very solid, and again, both here and outside of the United
          States. And the leveraged loan market will continue to be strong and international
          issuance looks very good.

          311.    Later in the call, in response to a question from a JP Morgan analyst, McGraw stated:

          Yes, thanks, Fred. In the structured finance market, obviously, it has been strong
          for the last several years and it’s going to continue to be strong. And the good part
          is that it continues to gain strength outside the United States. As we were saying in
          just some of the issuance numbers, the issuance for collateralized debt obligations,
          which is very large and in a big area, was up almost 120%, and it was up -- new issue
          dollar volume in Europe was up roughly 52%. So it’s very, very strong. We
          continue to benefit, obviously, from the shift there.

          Now remember, on the residential mortgage-backed securities market, even though
          we’re seeing year-over-year declines a little bit in the third and fourth quarter, it is
          still very large. Overall, in 2006 in the residential mortgage-backed market, we
          sold $1.2 trillion of new issuance, and that’s in the U.S. alone. So it is very large
          and it continues to grow very strong, and the residential mortgage-backed market in
          Europe is also doing -- is growing very nicely and is doing really well. So that,
          overall, the structured finance market is strong and it’s going to continue to stay
          strong. We’ll see the year-over-year comparisons in residential start to decline a
          little bit, actually for the full year. I expect it to be flat to probably even positive,
          given where we see the pipeline.

          On the commercial mortgage-backed market, you’re going to see the continued
          strong increases that we have been seeing since last year. On the asset-backed, a little
          bit softer on the asset-backed, but again, the CDO market and the collateralized loan
          obligation market are going to continue strong.

          312.    On October 27, 2006, the Company filed its interim quarterly financial report on

  Form 10-Q for the quarter ending September 30, 2006. The financial results reported in the 10-Q

  were substantially similar to those reported in the Company’s October 19, 2006 press release. The

  Form 10-Q was signed by Bahash, and contained required Sarbanes-Oxley certifications signed by

  McGraw and Bahash stating that the Form 10-Q did not include any material misrepresentations. In

  discussing what drove McGraw-Hill’s improved financial performance, the October 27, 2006 10-Q

  stated, in relevant part:

          In the third quarter of 2006, the Company achieved growth in revenue and
          operating profit of 0.8% and 2.8%, respectively. The increase in revenue is
          primarily attributable to growth in the Financial Services segment.


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                                           *         *     *

        Service revenue increased 10.7% in the third quarter of 2006, due primarily to an
        11.4% increase in Financial Services revenue. Financial Services revenue
        increased primarily due to the performance of structured finance ratings and
        corporate (corporate finance and financial services) and government finance ratings;
        somewhat offset by the divestiture of the Corporate Value Consulting (CVC)
        business which contributed $33.0 million to 2005 third quarter revenue. Issuance in
        structured finance was mixed in the third quarter, U.S. collateralized debt
        obligations (CDOs) and commercial mortgage-backed securities (CMBS) issuance
        was up, while issuance of U.S. residential mortgage-backed securities (RMBS)
        were down. . . .

                                           *         *     *

        The Financial Services segment’s increase in revenue and operating profit was
        due to the performance of structured finance and corporate (industrial and financial
        services) and government ratings, which represented approximately 71.3% and
        31.9%, respectively, of the growth in revenue. Growth in third quarter revenue was
        reduced by 47.6% due to the divestiture of CVC. Issuance in U.S. structured
        finance was mixed in the third quarter, as issuance of collateralized debt
        obligations (CDOs) and commercial mortgage-backed securities (CMBS) were up,
        while the issuance of U.S. residential mortgage-backed securities (RMBS) was
        down. CDO issuance was driven by strong investor demand for both the cash flow
        and synthetic sectors, fueled by more innovative structures, arbitraging
        opportunities and growth of the Collateralized Loan Obligations (CLO) sector,
        which benefited from increases in leveraged loans related to merger and acquisition
        (M&A) activity. U.S. CMBS issuance increased on strong commercial real estate
        fundamentals, growth in origination levels and strong investor demand. Residential
        housing market fundamentals have begun to weaken with home price appreciation
        slowing, inventories of unsold homes increasing and new housing starts declining,
        however issuance was favorably impacted by non-traditional mortgage loans being
        sold into the non-Agency markets and refinancing of Adjustable Rate Mortgages
        (ARMs) into fixed-rate product. The growth in U.S. corporate issuance was
        attributable to increases in industrial and financial services issuance, driven primarily
        by the market’s favorable financing conditions and healthy M&A activity. The third
        quarter saw strong issuance in Europe for corporates and across all structured
        finance asset classes. Recurring surveillance activities and customers on annual
        arrangements had a positive impact on results in the third quarter of 2006. Bank
        loan ratings showed strong growth in the quarter.

        Total U.S. structured finance new issue dollar volume increased 8.2% according to
        Harrison Scott Publications and S&P’s internal estimates (Harrison Scott
        Publications/S&P). U.S. CDO issuance increased 118.7%, and U.S. CMBS
        issuance increased 13.9%. Despite an 11.2% decline in RMBS issuance dollar
        volume, the number of issues was up slightly. The Mortgage Bankers Association
        currently forecasts mortgage originations to decline 20% in 2006. According to
        Thomson Financial Securities Data, U.S. corporate dollar volume issuance for the
        third quarter of 2006 increased 25.9%, while high yield issuance decreased 13.6%.
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        The high yield market was off as many issuers opted to finance in the leveraged loan
        market. Following a trend that began in December 2005, U.S. public finance
        issuance decreased in the third quarter of 2006.

        The third quarter saw continued growth in the European structured finance
        market. RMBS was the largest sector in terms of issuance, representing 50.6% of
        total European structured finance issuance. The European securitization market
        remains strong, with the CMBS dollar volume issuance increasing 159.3% in the
        third quarter of 2006, after declining in the second quarter. CDO issuance increased
        122.9% due to strong growth within the cash flow sector. European corporate
        issuance increased in the third quarter driven primarily by strong M&A activity.

                                          *         *     *

        In the first nine months of 2006, the Company achieved growth in revenue and
        operating profit of 4.4% and 6.8%, respectively. The increase in revenue is
        primarily attributable to growth in the Financial Services segment and the 2005
        acquisition of J.D. Power and Associates, which contributed $202.0 million and
        $61.1 million to the growth in revenue, respectively. Foreign exchange rates had no
        material impact on revenue or operating profit for the nine months ended September
        30, 2006.

                                          *         *     *

        Service revenue increased 11.5% in the first nine months of 2006, due primarily to
        an 11.5% increase in Financial Services and the acquisition of JDPA. Financial
        Services increased primarily due to the performance of structured finance ratings
        and corporate (corporate finance and financial services) and government finance
        ratings; somewhat offset by the divestiture of the Corporate Value Consulting (CVC)
        business which contributed $101.3 million to 2005 nine month revenue. Strong
        growth in structured finance reflects continued favorable global market conditions.

                                          *         *     *

        The market for credit ratings as well as research, investment advisory and broker-
        dealer services is very competitive. The Financial Services segment competes
        domestically and internationally on the basis of a number of factors, including
        quality of ratings, research and investment advice, client service, reputation, price,
        geographic scope, range of products and technological innovation.

                                          *         *     *

        The Company maintains disclosure controls and procedures that are designed to
        ensure that information required to be disclosed in the Company’s reports filed with
        the Securities and Exchange Commission (SEC) is recorded, processed, summarized
        and reported within the time periods specified in the SEC’s rules and forms, and that
        such information is accumulated and communicated to the Company’s management,
        including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
        appropriate, to allow timely decisions regarding required disclosure.

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             As of September 30, 2006, an evaluation was performed under the supervision and
             with the participation of the Company’s management, including the CEO and CFO,
             of the effectiveness of the design and operation of the Company’s disclosure controls
             and procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange
             Act of 1934). Based on that evaluation, the Company’s management, including the
             CEO and CFO, concluded that the Company’s disclosure controls and procedures
             were effective as of September 30, 2006.

             313.     In response to the October 19, 2006 press release and October 27, 2006 Form 10-Q,

  the Company’s stock price posted a healthy 7% increase – from a closing price of $59.03 on October

  19, 2006 to closing prices of $62.80 on October 19, 2006 and $63.26 on October 27, 2006, as

  demonstrated in the chart below:

   3500000                                                                                                             65




                                                                                                                       64
   3000000



                                                                                                                       63
   2500000


                                                                                                                       62

   2000000

                                                                                                                            Volume
                                                                                                                       61
                                                                                                                            Close

   1500000

                                                                                                                       60


   1000000
                                                                                                                       59



    500000
                                                                                                                       58




        0                                                                                                              57
               10/18/2006   10/19/2006   10/20/2006   10/23/2006   10/24/2006   10/25/2006   10/26/2006   10/27/2006


             314.     The statements referenced in ¶¶309-12 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶309-12 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of



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  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

         •       By 2006, S&P knew its ratings of RMBS and CDOs were inaccurate, and some
                 within S&P revised the Company’s ratings models to produce more accurate ratings.
                 The Company however, utilized grandfathering and refused to use the revised models
                 to re-evaluate existing RMBS and CDO securities, delaying thousands of ratings
                 downgrades and allowing those securities to carry inflated ratings that misled
                 investors and the market.

         •       The raised guidance was a misleading indicator of the Company’s financial health
                 and future financial performance, because it depended on the continued effectuation
                 of Defendants’ fraudulent scheme to pursue structured finance ratings and market
                 share at the expense of all else, including the Company’s reputation, credibility, and
                 analytical criteria.

         •       The structured finance pipeline was anything but “very healthy.” Rather, according
                 to the Company’s internal documents, approximately 76% of 2006 RMBS issuance
                 was comprised of subprime and Alt-A mortgages. At least 93% of all such assets
                 included in deals rated AAA by S&P during 2006 have been downgraded to junk
                 status. Rather than getting better, the market was getting more toxic. Defendants
                 and the Company knew this fact, and decided to look the other way in order to
                 pursue market share.

         315.    On December 5, 2006, McGraw spoke on behalf of the Company at the UBS 34th

  Annual Global Media Conference. During the conference, McGraw made additional false and

  misleading statements, and stated:

         Let’s go over to the Financial Services segment prospects here. There are
         important and fundamental reasons why Standard & Poor’s will continue its
         double-digit growth. Clearly, we are taking advantage of powerful, endurable
         trends that have stimulated growth and financial markets for some time, and will
         continue to do so for many more years. The globalization of financial markets
         clearly leads the list, as issuers continue to enhance their ability to assess capital
         around the world at lower costs.

         The increasing complexity of capital markets also is creating new opportunities for
         Standard & Poor’s. The continued global growth of securitization is unmistakable,
         and as investors seek superior returns in the face of relatively low interest rates and
         narrow bond spreads, they need our ratings and more sophisticated tools and
         models S&P provides to measure the risks of these complex new instruments.

         316.    At the Citigroup 17th Annual Entertainment, Media and Telecommunications

  Conference on January 10, 2007, McGraw made additional false and misleading statements:

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         The outlook for the ratings business is excellent. The market is both robust and
         innovative. Although the new issuance mix has changed significantly over the last
         20 years there has been one constant, a growing demand for fixed income securities
         as global investors have sought bonds for yield and risk diversification. Structured
         finance has been a key driver with global new issuance growing at a compound
         annual rate of 35% since 2000.

                                           *         *     *

         Risk arbitrage is the key to making all investors happy with a spread that they are
         earning at a risk they are assuming. As investors seek superior returns in the face of
         relatively low interest rates and narrow bond spreads, they need our ratings and the
         sophisticated tools and models that S&P provides to measure the risk of more
         complex instruments that create more opportunity to generate revenue.

         317.    The statements referenced in ¶¶315-16 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶315-16 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

         •       By 2006, S&P knew its ratings of RMBS and CDOs were inaccurate, and some
                 within S&P revised the Company’s ratings models to produce more accurate ratings.
                 The Company however, utilized grandfathering and refused to use the revised models
                 to re-evaluate existing RMBS and CDO securities, delaying thousands of ratings
                 downgrades and allowing those securities to carry inflated ratings that misled
                 investors and the market.

         •       S&P’s prospects for double-digit growth were based on the continuation of
                 Defendants’ fraudulent scheme and the ongoing leveraging of the Company’s
                 reputation, brand, and integrity against toxic pools of mortgages packaged into pools
                 of RMBS and CDOs that the Company’s models were incapable of assessing.

         •       Despite raking in record profits, the Company continued to refuse to commit the
                 necessary resources to adequately rate new deals and test the accuracy of existing
                 ratings.

         •       The Company was well aware that the increased credit risks that had existed for
                 years in the subprime, Alt-A, and exotic mortgage markets had already taken hold.
                 Despite this fact, Defendants continued to point to supposedly “powerful, endurable”
                 growth that was, in reality, an illusion cast by Defendants’ scheme.


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         318.      On January 25, 2007, the Company issued a press release announcing its financial

  results for the fourth quarter and full year 2006 entitled “The McGraw-Hill Companies Reports 8.6%

  Increase in Earnings Per Share for 2006[,] EPS Grows By 12.0% In Fourth Quarter,” which stated in

  relevant part:

         Net income for 2006 increased 4.5% to $882.2 million. Revenue for 2006 grew by
         4.2% to $6.3 billion.

                                           *       *       *

         Net income for the fourth quarter increased 8.2% to $204.8 million. Revenue grew
         by 3.4% to $1.6 billion.

         “A strong finish to an outstanding year in Financial Services and effective cost
         controls in a softening education market were key to our performance in 2006,”
         said Harold McGraw III, chairman, president and chief executive officer of The
         McGraw-Hill Companies.

                                           *       *       *

         Financial Services: “Revenue for this segment in 2006 increased 14.4% to $2.7
         billion. Excluding the prior year’s revenue of $101.3 million from Corporate Value
         Consulting, which was sold at the end of September 2005, revenue in 2006 grew by
         19.4% on a non-GAAP basis. Of the non-GAAP revenue growth, 42.9% was
         produced by structured finance and 26.1% came from corporate and government
         ratings. Foreign exchange rates benefited revenue by $5.6 million and did not
         materially impact operating results.

         “Including incremental expenses of $30.0 million for stock-based compensation and
         a one-time charge for the elimination of the restoration stock option program in 2006,
         the segment’s operating profit increased 18.0% to $1.2 billion compared to 2005.
         The operating margin for 2006 was 43.8%, up from 42.5% in 2005. The sale of
         Corporate Value Consulting produced a pre-tax gain of $6.8 million in 2005.

         “In the fourth quarter, revenue grew by 22.1% to $794.1 million. Structured
         finance produced 44.7% of the revenue increase; 30.5% came from corporate and
         government ratings. Operating profit increased 19.1% to $341.1 million in the
         fourth quarter compared to the same period in 2005.

                                           *       *       *

         Continued worldwide strength in structured finance and a surging corporate
         finance market for both investment-grade and high-yield bonds were key factors in
         the fourth quarter for ratings.

         “Rapid growth in the U.S. market for collateralized debt obligations and solid
         increases in commercial mortgage-backed securities kept the structured market
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         moving ahead. The collateralized debt obligation market in the U.S. is being
         driven by cash flow CDOs of high-yield collateralized loan obligations and asset-
         backed securities transactions. Hybrid transactions, a combination of cash flow
         and synthetics, also continue to gain broader acceptance among investors.

                                           *         *     *

         “The anticipated slowdown in the U.S. residential mortgage-backed securities
         market was evident in the fourth quarter. Increases in mortgage rates, a slowing
         in the rate of home price appreciation and tightening by sub-prime lenders all
         contributed to the softening market. In Europe, however, the residential mortgage-
         backed securities market again produced substantial gains. The asset-backed
         securities market softened as auto manufacturers curtailed securitization while
         they reorganized their businesses.

                                           *         *     *

         The Outlook: “With continued strength in Financial Services and a rebounding
         education market, we are poised for double-digit earnings growth in 2007.”

         319.    Also on January 25, 2007, McGraw-Hill hosted a conference call to discuss its fourth

  quarter and full year 2006 earnings and outlook. The Individual Defendants participated in the call

  on behalf of the Company. During the call, numerous false and misleading statements were made

  that were designed to and, in fact, did artificially inflate the Company’s stock price. For example,

  McGraw stated:

         The structured finance market continues to be a strong driver. In the fourth
         quarter, structured finance’s performance was primarily attributable to growth in
         the collateralized debt obligations and the commercial mortgage-backed securities
         market. In the CDO market there was strong investor demand in cash flow in
         synthetic sectors as well as increases in collateralized loan obligations which
         benefited from the growth in leveraged loans stimulated by merger and acquisition
         activity . . . .

         320.    On January 31, 2007, the Company issued a press release entitled “The McGraw-Hill

  Companies Increases Dividend by 12.9% and Approves New Stock Buyback Plan for up to 45

  Million Shares.” The press release stated in relevant part that the Company “approved a 12.9%

  increase in the regular quarterly cash dividend on the Corporation’s common stock and also

  authorized a new stock repurchase program for up to 45 million shares, or approximately 12.7% of



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  the Corporation’s outstanding shares.”

          321.    In response to the January 31, 2007 press release, the Company’s stock price reacted

  favorably. The day before the press release (January 30, 2007), the stock closed at $66.19. On

  January 31, 2007, it reached $66.08 on volume of more than 3.6 million shares traded, and climbed

  the next day, closing at $67.89 on February 1, 2007.

          322.    On February 28, 2007, the Company filed its annual financial report on Form 10-K

  for the year ending December 31, 2006. The financial results reported in the 10-K were substantially

  similar to those reported in the Company’s January 25, 2007 press release. The Form 10-K was

  signed by McGraw and Bahash, and contained required Sarbanes-Oxley certifications signed by

  McGraw and Bahash stating that the Form 10-K did not include any material misrepresentations. In

  discussing what drove McGraw-Hill’s improved financial performance, the February 28, 2007 10-K

  stated, in relevant part:

          The Financial Services segment continues to be favorably impacted by the current
          trend of the disintermediation of banks and the increased use of securitization as a
          source of funding. In 2006, the Financial Services segment was favorably impacted
          by the continued low interest rate environment and an improved merger and
          acquisition market. The mortgage-backed securities market for commercial and
          residential mortgages remained strong for 2006, as mortgage rates were within
          historical norms and at levels that kept refinancing and debt consolidation robust in
          the early part of the year. Corporate issuance in 2006 also was robust, especially
          high yield issuance.

                                            *         *    *

          • Revenue and income from operations increased 4.2% and 4.5%, respectively, in
          2006. Results from operations improved on the strength of the Financial Services
          segment, primarily due to the performance of structured finance and corporate
          (corporate finance and financial services) and government ratings, and the impact of
          the April 1, 2005 acquisition of J.D. Power and Associates.

                                            *         *    *

          Outlook

          Comparisons in 2007 will be less challenging as Standard & Poor’s continues to
          grow, McGraw-Hill Education enters a stronger state new adoption market and

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        Information & Media receives the benefits of the Sweets transformation.

                                          *         *    *

        In Financial Services, continued global expansion and product diversification as well
        as a favorable interest rate environment, increased capital spending, and robust
        merger and acquisition activity by companies will mitigate the anticipated decline in
        U.S. residential mortgage-backed securities. The U.S. residential mortgage-backed
        securities market is projected to decline 10–15% in 2007.

                                          *         *    *

        In 2006, the Company achieved growth in revenue and income from operations.
        The results are primarily attributable to growth in the Financial Services segment
        and the impact of the April 1, 2005 acquisition of J.D. Power and Associates which
        contributed $43.8 million in revenue in the first quarter of 2006 and had no material
        impact on operating profit.

                                          *         *    *

        Service revenue increased 10.0% primarily due to increased revenue in the
        Financial Services segment, which increased 14.4% or $345.6 million. Financial
        Services revenue increased due to the strong performance of structured finance
        and corporate (industrial and financial services) and government ratings.

                                          *         *    *

        The 2006 operating profit increased as a result of the Financial Services
        segment . . . .

                                          *         *    *

        The Financial Services (FS) segment’s 2006 operating profit and margin grew by
        18.0% and a 1.3 percentage point change, respectively, from 2005. These results
        were primarily due to the following items:

        • Growth in structured finance related to the continued strength in issuance of
        U.S. commercial mortgage-backed securities and collateralized debt obligations
        (CDOs) in 2006, primarily driven by strong investor demand for both asset classes,
        strong commercial real estate origination trends and new CDO structures and
        arbitraging opportunities.

                                          *         *    *

        The Financial Services segment continued to experience double-digit growth in
        revenue and operating profit in 2006, increasing 14.4% and 18.0%, respectively,
        over 2005 results. The increases in revenue and operating profit were due to the
        performance of structured finance and corporate (industrial and financial services)
        and government ratings, which represented approximately 55.4% and 33.7%,

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        respectively, of the growth in revenue.

                                          *         *     *

        In the U.S., in 2006, strong growth was experienced in the issuance of commercial
        mortgage-backed securities (CMBS) and collateralized debt obligations (CDOs).
        CDO issuance was driven by strong investor demand in both the cash flow and
        synthetic sectors, fueled by more innovative structures, arbitraging opportunities and
        growth of the collateralized loan obligations (CLOs) sector, which benefited from
        increases in leveraged loans related to merger and acquisition (M&A) activity.
        CMBS issuance was driven by strong investor demand and strong commercial real
        estate origination trends. The residential mortgage backed securities (RMBS) market
        was up slightly year-over-year, as increases in mortgage rates, a slowing of the rate
        of home price appreciation, and the tightening of lending standards by sub-prime
        lenders for affordability products adversely impacted RMBS issuance. The growth
        in U.S. corporate issuance was attributable to increases in industrial and financial
        services issuance, driven primarily by the market’s favorable financing conditions
        and healthy M&A activity. Bank loan ratings showed strong growth in 2006.

        Total U.S. structured finance new issue dollar volume increased 12.1% in 2006
        according to Harrison Scott Publications and S&P’s internal estimates. U.S. CDO
        issuance increased 85.4%, and U.S. CMBS issuance increased 27.6% over the
        prior year. RMBS issuance increased 1.4%, but the number of issues, while
        smaller in size, increased by 12.6%.

                                          *         *     *

        Growth rates in 2007 in the Financial Services segment are expected to remain
        double-digit despite the declining growth rates primarily due to the anticipated fall-
        off in the U.S. RMBS market. The Mortgage Bankers Association is forecasting
        approximately a 5% decline in mortgage originations, as mortgage rates continue to
        rise and the housing market continues to soften resulting in reduced refinancing. The
        Company anticipates that RMBS issuance will decline approximately 10-15% in
        2007. Strong international growth and product diversification will help mitigate
        the anticipated decline in the U.S. RMBS issuance volumes.

        The U.S. CMBS market in 2007 will be driven by continued strength in commercial
        real estate fundamentals, investor demand for relative yield and refinancing of
        maturing deals. U.S. CDO issuance in 2007 will continue to be driven by the robust
        performance of the asset class resulting in fewer downgrades, more new structures
        and arbitrage opportunities as well as an increasing investor base. Issuance in U.S.
        asset-backed securities market is anticipated to grow moderately in 2007 as auto
        manufacturers continue to rely on securitization as a source of funding. The
        resiliency of the consumer should also lead to growth in the credit card and student
        loan sectors.

                                          *         *     *



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         The market for credit ratings as well as research and investment advisory services
         is very competitive. The Financial Services segment competes domestically and
         internationally on the basis of a number of factors, including quality of ratings,
         research and investment advice, client service, reputation, price, geographic scope,
         range of products and technological innovation.

                                           *      *       *

         The Company maintains disclosure controls and procedures that are designed to
         ensure that information required to be disclosed in the Company’s reports filed with
         the Securities and Exchange Commission (SEC) is recorded, processed, summarized
         and reported within the time periods specified in the SEC’s rules and forms, and that
         such information is accumulated and communicated to the Company’s management,
         including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
         appropriate, to allow timely decisions regarding required disclosure.

         As of December 31, 2006, an evaluation was performed under the supervision and
         with the participation of the Company’s management, including the CEO and CFO,
         of the effectiveness of the design and operation of the Company’s disclosure controls
         and procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange
         Act of 1934). Based on that evaluation, the Company’s management, including the
         CEO and CFO, concluded that the Company’s disclosure controls and procedures
         were effective as of December 31, 2006.

         323.    In response to the January 25, 2007 press release and the February 28, 2007 Form

  10-K, the Company’s stock price declined slightly, falling from a close of $68.40 on January 24,

  2007 to closing prices of $66.36 on January 25, 2007 and $64.56 on February 28, 2007. If not for

  Defendants’ false and misleading statements and omissions, however, the Company’s stock price

  would have declined even further.

         324.    The statements referenced in ¶¶318-19 and ¶322 were each materially false and

  misleading when made for the reasons set forth in ¶256 and the factual detail contained throughout

  this Complaint. In addition, the statements referenced in ¶¶318-19 and ¶322 were each false and

  misleading when made as they misrepresented and/or omitted adverse facts which then existed and

  disclosure of which was necessary to make the statements not false and/or misleading. The true

  facts, which were then known to or recklessly disregarded by each of the Defendants, were:

         •       By 2006, S&P knew its ratings of RMBS and CDOs were inaccurate, and some
                 within S&P revised the Company’s ratings models to produce more accurate ratings.
                 The Company however, utilized grandfathering and refused to use the revised models
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                to re-evaluate existing RMBS and CDO securities, delaying thousands of ratings
                downgrades and allowing those securities to carry inflated ratings that misled
                investors and the market.

         •      Rather than experiencing a “strong finish,” the Company stood on the precipice of
                disaster. The internally expected implosion of the subprime markets was occurring,
                and the Company was delaying massive ratings downgrades in order to squeeze the
                last bits of life out of its structured finance ratings business before the hammer fell.

         325.   On March 5, 2007, McGraw participated in the Bear Stearns 20th Annual Media

  Conference on behalf of the Company. During the conference, McGraw made additional false and

  misleading statements, which included the following:

         We realize that there has been concern about the sub-prime mortgage market, so I
         appreciate the opportunity to share perspective on the credit quality of residential
         mortgage-backed securities and collateralized debt obligations rated by Standard &
         Poor’s and the prospects for our structured finance business as well. Let’s start with
         the sub-prime market.

         Sub-prime market, which represents 20% of rated U.S. residential mortgage-backed
         securities issuance in 2006. It is true that delinquencies in this segment of the
         market have increased, but the impact of overall credit ratings has not been
         significant. In 2006 we lowered about 1.5% of roughly 10,000 outstanding sub-
         prime ratings. To date, in 2007, there were no downgrades and only 10 credit
         watch actions relating to almost 5000 vintage 2006 sub-prime ratings. That is only
         0.2% of the outstanding ratings, so you can see that these actions really represent
         only a small percentage of total rating.

         Despite probably near-term increases in losses and downgrades, S&P expects the
         residential mortgage-backed securities market to perform well over the long term,
         and obviously it certainly has. Most of those residential mortgage-backed security
         transactions now on credit watch were issued during the first half of 2006, before
         S&P raised loss coverage levels for certain sub-prime mortgages. It is also worth
         nothing that the residential mortgage-backed security instrument placed on credit
         watch have had no current impact on any outstanding collateralized debt
         obligation rating.

         S&P saw early signs of poor performance of the collateral backing for these
         residential mortgage-backed securities transactions that are now on credit watch. By
         placing these instruments on credit watch when the transactions had not yet
         experienced a loss, S&P was signaling the market that it was adopting a new, more
         stringent standard for the surveillance of these types of transactions. It notified the
         market in April that it was going to be strengthening loss coverage and
         implemented three months later.

         S&P was able to take this early action because it regularly monitors credit markets,
         and the credit performance of these rated transactions, and systematically report
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        on them at the same time. S&P regularly communicates its opinions on not only
        what is happening, but what may happen through credit watch and its rating actions.
        That’s why professionals closely watch our credit watch actions.

        I think S&P has [been] very on top of the situation in the sub-prime market. When
        lending standards started to deteriorate last year in the sub-prime market, S&P
        raised the level of credit support for riskier sub-prime deals and tightened some
        surveillance standards for residential mortgage-backed securities. Moreover, S&P
        has fully integrated surveillance process for residential mortgage-backed securities
        and CDOs. That means that S&P will determine what effect, if any, the increase in
        delinquencies on certain sub-prime mortgages has on both its rated residential
        mortgage-backed security transactions, and those collateralized debt obligation
        transactions which hold residential backed securities.

        We do not expect the problems in the sub-prime market to impact the growth
        prospects that we anticipate in 2007 for structured finance. We do not expect the
        problems in sub-prime market. Generally, residential mortgage-backed security
        transactions issued during the second half of 2006 are supported by higher loss
        coverage and are still performing as expected, but as a cautionary note I would point
        out that it is very early in the life of these transactions, and I’ve already pointed out
        that last July, S&P increased its loss coverage for sub-prime deals.

        So what’s the current outlook? S&P believes that the 2006 vintage residential
        mortgage-backed securities transactions will underperform relative to 2005
        transactions, but based on our current economic scenarios, S&P does not believe that
        2006 transactions will perform as badly as some have suggested. S&P is
        anticipating losses in the 5.25 to 7.75% range, which is slightly above vintage year
        2000, the previous worst-performing year with average cumulative losses of about
        5%.

        Overall we expect the residential mortgage-backed securities to maintain strong
        credit quality and returns that continue to attract investors at a time when high
        grade corporate issuance is in short supply. Today the credit quality of a U.S.
        corporate bond is average BBB-.

        Between 1978 and 2006, S&P has issued roughly 47,000 residential mortgage-
        backed securities ratings. 85% were initially investment grade, AAA to BBB. Last
        year, 2006 vintage residential mortgage-backed securities, 88 were rated investment
        grade. Of the 3.6 trillion in par value of S&P ratings outstanding as of January 1,
        2007, 88.1% are rated AAA. In general, then, the vast majority of residential
        mortgage-backed securities ratings have been investment grade and are very stable.
        S&P believes its models have captured the deterioration in credit quality of the
        2006 sub-prime mortgages and the sub-prime mortgage obligations may decline
        this year, but the sub-prime market will not evaporate. These mortgages are
        profitable for lenders and represent, for many people, an opportunity to own a
        home who would otherwise never qualify for a prime mortgage.

        In a detailed report at the end of January, the Mortgage Bankers Association pointed
        that, and I quote, “Even with the expansion of credit availability with the growth of
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         the sub-prime market, foreclosures are well below their historic high and will not
         have a macroeconomic impact.” Some other key points from the Mortgage Banker
         report, the residential financial market is fundamentally sound and working
         efficiently. Mortgage obligations will fall in 2007 relative to 2006, given the decline
         of home sales and the diminished refinancing activity. Baring any unexpected
         downturn in the economy, the recent increase in mortgage delinquency rates will
         likely peak by the end of 2007, but at levels low below those of past peaks. The
         lower peak will come despite the change in the composition of the outstanding loans,
         namely the larger portion of the sub-prime loans in recent years. All of which points
         me back to the starting point.

         We began by predicting a 10 to 15% year over year decline in the U.S. residential
         mortgage-backed securities market in 2007. That is a continuation of the slowdown
         experienced in 2006 when the U.S. residential mortgage-backed securities issuance
         rose by only 1%. It was also a year in which our financial services segment had
         double-digit top and double-digit bottom-line growth and margin expansion.

         We started 2007 expecting another year of double-digit increases even though loan
         originations and issuance would decline. Except for the U.S. residential mortgage-
         backed securities issuance we continue to expect increases in all other asset classes,
         and that includes collateralized debt obligations where the financial community’s
         innovation is clearly evident in its ability to meet investor demand for returns and
         obvious, specific risk reward attributes.

                                           *         *     *

         Collateralized debt obligations will show continued strength in the United States
         and abroad driven by new structures and increasing investor base. U.S.
         collateralized debt obligations grew a little over 140% in January, and even faster
         globally; this is a very high quality market. For currently outstanding
         collateralized debt obligations, the overwhelming majority are investment grade. Of
         the $828 billion of outstanding U.S. collateralized transactions, 98% are
         investment grade, 82% are rated AAA.

         326.   As the call continued, McGraw stated:

         We’ve been saying on the residential mortgage-backed market that we would see
         year-over-year declines. Gosh, I think I’ve been saying that for two years. And even
         last year, we knew we were going to see year-over-year declines, and it was actually
         up 1%. But the numbers are so enormous. It’s still a tremendous market. It’s just
         going to be -- year-over-year comparisons are going to be more difficult.

         327.   Later in the call, the following exchange took place, in which McGraw touted the

  Company’s objectivity and ability to monitor the Company’s ratings of CDOs:

         Audience Member: [inaudible] -- your CDO business? Can you talk a little bit
         about, institutionally, what kind of structures you have in place to maintain
         objectivity while managing revenue growth? Obviously, there’s a little bit of a
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         contradiction between wanting to -- between revenue growth and making sure that
         you’re entirely accurate in all of your ratings. Can you talk about your internal
         structure, and how you maintain that objectivity?

         McGraw III: Thank you for raising that. It’s critical. Standard and Poor’s, on the
         rating side, is a trusted business. It’s a reputation business. If you have a
         propensity to get things wrong, and people lose confidence in your credibility to do
         that, you can [be] damage[d] severely. Your compliance -- it’s a process; and your
         compliance to those kind of things, has got to be extremely, extremely strong.

         We have independent compliance officers that are outside management’s purview
         that can go anywhere. We monitor all of our process. We’re very strong in it.
         We’ve been very strong in terms of the credit rating agency performance. And as
         you know -- comments are finished up this week -- we’re in that 30-day period for
         comments, and SEC by Congress has to report back by June with the finished
         product. In large part, we’ve very sanguine with that; First Amendment protections
         and all of those things, are all in that. With the size and complexity of some of these
         instruments, especially CDO, it takes a lot of monitoring activity; it takes a lot of
         compliance; and we have very, very strong processes in place, and we measure
         them.

         328.    The statements referenced in ¶¶325-27 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶325-27 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

         •       McGraw’s statements regarding the small number of ratings downgrades taken to
                 date were materially false and misleading. If the Company’s S&P brand had
                 conducted surveillance on a timely basis utilizing sufficient models, it would have
                 downgraded thousands of subprime and Alt-A structured finance transactions – as
                 ultimately happened – much sooner, which would have revealed the Company’s true
                 financial condition to the market.

         •       The Company’s S&P brand was not “on top of the situation in the sub-prime
                 market.” Rather, the Company had no reasonable basis for predicting the
                 performance of 2006 transactions, despite having more current analytical tools and
                 data at its disposal if it had chosen to use them. The Company was helping lead the
                 charge down the subprime rabbit hole by compromising every aspect of its ratings
                 criteria and methodologies so that it could make sure it captured the most market
                 share and rated as many deals as possible.


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         •      The Company’s inability to conduct surveillance on the transactions it rated, and its
                unwillingness to downgrade transactions on a timely basis, would cause substantial
                damage to the Company’s reputation and credibility.

         •      The Company’s surveillance process for RMBS and CDOs was not “fully
                integrated.” Indeed, the Company failed to look at loan-level data, which meant it
                did not understand the performance of deals it rated. In addition, it refused to
                allocate the people and resources necessary to properly provide surveillance of its
                previously rated deals, violating its publicly touted commitment to surveillance.

         •      McGraw lacked a reasonable basis for stating that S&P expected “the residential
                mortgage backed securities market to perform well over the long term.” His
                statement was the exact opposite of the well-documented internal statements of the
                Company and it’s high-ranking employees set forth herein.

         •      McGraw was further misleading the market by pointing out the purported increase in
                surveillance standards and “strengthening loss coverage.” The reality was that the
                surveillance department was understaffed and lacked the necessary resources to
                evaluate existing deals. Moreover, because the Company’s models had no predictive
                capability for the toxic RMBS and CDOs it had been rating, the Company had no
                idea how much loss coverage was actually required to make sure the deals it rated
                did not implode and collapse.

         •      McGraw lacked a reasonable basis for stating that S&P did not believe that 2006
                transactions would perform as badly as some suggested. McGraw’s statement is
                directly contradicted by a host of internal Company documents demonstrating that
                S&P did indeed expect 2006 transactions to perform poorly, which is exactly what
                they did. McGraw’s purported reassurance to investors was nothing more than a
                complete and total lie.

         •      McGraw lacked a reasonable basis for claiming the Company believed its models
                had captured the deterioration in credit quality of 2006 subprime mortgages. As
                detailed throughout this Complaint and as determined by the Senate Subcommittee,
                S&P knew its models were inaccurate and unable to capture the risks of the subprime
                mortgages the Company rated.

         •      While McGraw correctly pointed out that the trust and reputation of S&P was critical
                to the success of its ratings business, he omitted any disclosure of how Defendants’
                pursuit of short term profits and market share would destroy the Company’s
                reputation when the truth was revealed. Indeed, the Company’s head of surveillance,
                D’Erchia, had been clamoring for the Company to undertake significant downgrades
                since 2006. Despite this, McGraw painted a deceptively rosy picture for the market
                that the Company had everything under control and was well equipped to assess the
                risks of the structured finance market.

         329.   On March 12, 2007, Bahash participated in the Credit Suisse Group Global Services

  Conference on behalf of the Company. During the conference, Bahash made additional false and

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  misleading statements, which included the following:

         Let’s turn now to the Financial Services. We continue to forecast double digit top
         and bottom line growth for this segment despite an estimate decline in the U.S. dollar
         buy and issuance of U.S. Residential Mortgage-Backed Securities, or RMBS, of 10
         to 15%. That is a continuation of the slowdown experienced in 2006 when the U.S.
         RMBS market rose by only 1%. It was also a year in which Financial Services had
         double digit top and bottom line growth and margin expansion.

         Except for U.S. RMBS issuance, we continue to expect increases in all other asset
         classes. By the way, issuance for U.S. RMBS was off 9.3% in January, the only
         month for which we have statistics. That fall-off is mostly due to a decline in home
         equity loan issuance. We recognize there has been a concern about the sub-prime
         market, so I want to review the situation here.

         It is true that delinquencies in the sub-prime market have increased, but the impact
         on overall credit ratings has not yet been significant. In 2006 we lowered about
         1.5% of the almost 10,000 outstanding sub-prime ratings. To date in 2007, there
         were no downgrades, and only 10 credit watch actions relating to almost 5,000
         vintage 2006 sub-prime ratings. That is only 0.2% of the outstanding ratings. S&P
         has been on top of the situation in the sub-prime market.

         When lending standards started to deteriorate last year in the sub-prime market,
         S&P notified the industry in April 2006 that it would be raising in July 2006 the
         level of credit support for riskier sub-prime deals and tightened surveillance
         standards for Residential Mortgage-Backed Securities.

         S&P has a fully integrated surveillance process for RMBS and Collateralized Debt
         Obligations, or CDOs. That means S&P will determine what effect, if any, the
         increase in delinquencies on certain sub-prime mortgages has on both its rated
         RMBS transactions and those CDO transactions which hold Residential Mortgage-
         Backed Securities.

         We do not expect the problems in the sub-prime market to impact the growth
         prospects we anticipated in 2007 for structured finance. Generally, RMBS
         transactions issued during the second half of 2006 are supported by higher loss
         coverage and are still performing as expected. But as a cautionary note, I would
         point out that it is very early in the life of these transactions.

         So, what’s the current outlook? S&P believes that the 2006 vintage RMBS
         transactions will underperform relative to the 2005 transactions. But based on our
         current economic scenarios, S&P does not believe the 2006 transactions will
         perform as badly as some have suggested. S&P is anticipating losses in the 5.25%
         to 7.75% range, which is slightly above vintage year 2000, the previous worst
         performing year, with average cumulative losses of about 5%.

         Overall, we expect the RMBS market to maintain strong credit quality and returns
         that continue to attract investors at a time when high-grade corporate issuance is
         in short supply. Today, the credit quality of U.S. corporate bonds is averaging BBB-
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         minus.

         Between 1978 and 2006, S&P has issued about 47,000 RMBS securities ratings. 85%
         were initially investment grade, AAA to BBB. Of the 3.6 trillion in par value of S&P
         ratings outstanding as of January 1, 2007, 88.1% are rated AAA. In general, then, the
         vast majority of RMBS ratings have been investment grade and very stable.

         S&P believes its models have captured the deterioration in the credit quality of the
         2006 sub-prime mortgages. The sub-prime mortgage originations may decline this
         year, but the market will not evaporate. The mortgages are profitable for lenders and
         represent an opportunity to own a home for many people who would never qualify
         for a prime mortgage.

         330.     The statements referenced in ¶329 were each materially false and misleading when

  made for the reasons set forth in ¶256 and the factual detail contained throughout this Complaint. In

  addition, the statements referenced in ¶329 were each false and misleading when made as they

  misrepresented and/or omitted adverse facts which then existed and disclosure of which was

  necessary to make the statements not false and/or misleading. The true facts, which were then

  known to or recklessly disregarded by each of the Defendants, were:

         •        Bahash’s statements regarding the small number of ratings downgrades taken to date
                  were false and misleading. If the Company’s S&P brand had conducted surveillance
                  on a timely basis utilizing sufficient models, it would have downgraded thousands of
                  subprime and Alt-A structured finance transactions – as ultimately happened – much
                  sooner, which would have revealed the Company’s true financial condition to the
                  market.

         •        The Company’s S&P brand was not “on top of the situation in the sub-prime
                  market.” Rather, the Company had no reasonable basis for predicting the
                  performance of 2006 transactions, despite having more current analytical tools and
                  data at its disposal if it had chosen to use it. The Company was helping lead the
                  charge down the subprime rabbit hole by compromising every aspect of its ratings
                  criteria and methodologies so that it could make sure it captured the most market
                  share and rated as many deals as possible.

         •        The Company’s inability to conduct surveillance on the transactions it rated, and its
                  unwillingness to downgrade transactions on a timely basis, would cause substantial
                  damage to the Company’s reputation and credibility.

         •        The Company’s surveillance process for RMBS and CDOs was not “fully
                  integrated.” Indeed, the Company failed to look at loan-level data, which meant it
                  did not understand the performance of deals it rated.


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         •       Bahash lacked a reasonable basis for stating that S&P expected “the RMBS market
                 to maintain strong credit quality and returns.” His statement was the exact opposite
                 of the well-documented internal statements of the Company and it’s high-ranking
                 employees set forth herein.

         •       Bahash was further misleading the market by highlighting the purported “tightened
                 surveillance standards” and increased “credit support for riskier subprime deals.”
                 The reality was that the surveillance department was understaffed and lacked the
                 necessary resources and data to evaluate existing deals. Moreover, because the
                 Company’s models had no predictive capability for the toxic RMBS and CDOs it had
                 been rating, the Company had no idea how much loss coverage was actually required
                 to make sure the deals it rated did not implode and collapse.

         •       Bahash lacked a reasonable basis for stating that S&P did not believe that 2006
                 transactions would perform as badly as some suggested. Bahash’s statement is
                 undermined by a host of internal Company documents demonstrating that S&P did
                 indeed expect 2006 transactions to perform poorly, which is exactly what they did.
                 Bahash’s purported reassurance to investors was nothing more than a complete and
                 total lie.

         •       Bahash lacked a reasonable basis for claiming the Company believed its models had
                 captured the deterioration in credit quality of 2006 subprime mortgages. As detailed
                 throughout this Complaint and as determined by the Senate Subcommittee, S&P
                 knew its models were inaccurate and unable to capture the risks of the subprime
                 mortgages the Company rated.

         331.    By March 2007, the market was clearly concerned with a meltdown of the subprime

  and Alt-A credit markets. At this time, news articles were released that began to partially reveal the

  true picture at McGraw-Hill, even while Defendants continued making false and misleading

  statements to the contrary. For example, on March 22, 2007, the Wall Street Journal reported that

  the market was beginning to distrust McGraw-Hill’s ratings, pointing to a “widening gap” between

  bond pricing and the opinions of large ratings providers like McGraw-Hill’s S&P brand:

         The meltdown in mortgages for risky, “subprime” borrowers is claiming its latest
         casualties: credit-ratings companies.

         Trading in many bonds backed by subprime mortgages reveals a widening gap
         between investors’ perception of their risk and the opinions of large ratings
         providers like Moody’s Investors Service, Standard & Poor’s and Fitch Ratings.
         Some subprime-mortgage bonds that were assigned investment-grade ratings as
         recently as 2006 are even trading at prices that imply they could be as risky as junk
         bonds. Yet most of their ratings haven’t changed.


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        At the same time, the stock prices of Moody’s Corp. and S&P’s parent, McGraw-Hill
        Cos., have taken a hit over concerns that turmoil in the subprime-mortgage market
        may spread to the broader credit markets and damp issuance of other types of debt
        products like collateralized debt obligations.

        Moody’s and McGraw Hill’s shares are down 11% and 6%, respectively, since early
        February, versus a 1% fall in the S&P 500-stock index over the same period.

        For years, the ratings companies reaped profits by charging issuers for rating bonds
        backed by home loans to borrowers with weak credit, known as subprime mortgages.
        Many Wall Street firms also followed guidelines from the ratings companies when
        they bundled loans together and sold billions of dollars in highly rated securities
        backed by them.

        The ratings providers “were at least as interested as the investment banks in getting
        the deals done because they would get paid for rating them,” notes Edward Grebeck,
        chief executive of Tempus Advisors, a debt-markets strategist in Stamford, Conn.

        Executives at ratings companies deny a conflict exists. “Issuers pay us because
        investors believe our opinions about the risk of the assets have value,” says Glenn
        Costello, a managing director at Fitch. He adds that “it is still too early to determine
        which bonds are going to be most at risk.”

        Stock analysts who track Moody’s and McGraw Hill say subprime-related ratings
        revenue make up a small part of their businesses and they don’t expect the subprime
        issues to affect their forecasts of double-digit earnings growth at the companies this
        year.

        To come up with ratings on mortgage bonds, ratings companies use financial models
        that consider historical default rates among pools of mortgage loans and try to predict
        how newer loan pools will hold up under various economic scenarios. Assumptions
        about movements in interest rates and home prices also are factored in.

        The models help determine how many bonds backed by a pool of loans may be so
        insulated from losses that they can be rated AAA, and how many are less protected
        and thus bear weaker ratings like A or BBB. The bonds usually are backed by loans
        whose value exceeds the bonds’ principal so as to provide a cushion for expected
        losses among the mortgage pool.

        “What’s driving the market now is that defaults are coming significantly faster than
        historical simulations,” says Brian Carlin, head of fixed-income trading at J.P.
        Morgan Private Bank.

        If ratings companies end up having to downgrade a large number of subprime bonds
        issued in 2006, “it would mean they completely misjudged the risk,” says Thomas
        Lawler, a housing economist in Vienna, Va.

        Ratings-company officials say their ratings still accurately reflect the probability of
        actual losses on mortgage bonds. “Subprime mortgages by their nature usually
        perform poorly, and we took that into account when we assigned our ratings,” says
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         Brian Clarkson, co-chief operating officer of Moody’s.

         Susan Barnes, a managing director at S&P, says the firm expected that subprime
         loans originated last year would be weaker than previous years and modified its
         rating criteria. “We expect very infrequent defaults in the investment-grade bonds
         over their life cycle,” she says.

         332.   Similarly, by April 24, 2007, the Wall Street Journal was reporting that the market’s

  concern had placed McGraw-Hill’s S&P brand under a large cloud of uncertainty:

         These should be sunny days for Standard & Poor’s and Moody’s Investors Service,
         Wall Street’s two big credit-rating companies, which profit when debt issuance
         booms. But a cloud hangs over them.

         S&P and Moody’s -- which charge debt issuers fees to rate different flavors of bonds
         and loans -- report first-quarter results today and tomorrow, respectively. Thanks in
         part to the corporate-debt boom, analysts expect 29% growth in earnings per share,
         excluding one-time items, for S&P’s parent, McGraw-Hill Cos., and 18% expansion
         for Moody’s parent, Moody’s Corp., according to Thomson Financial.

         Yet the shares of both companies are down during the past three months, because
         of the housing slowdown. Both companies built up big franchises rating
         mortgage-backed bonds in recent years.

         Now they have a double-barreled problem. First, the housing slowdown means
         fewer bonds to rate. Second, they have a reputation dilemma, the kind that often
         crops up for the raters after debt disasters strike.

         When Enron collapsed, critics wondered why Moody’s and S&P didn’t spot it
         sooner. Now, some critics are asking why they didn’t spot the mess in subprime
         mortgages -- which cater to especially risky homeowners.

         The market value of many subprime-mortgage-backed bonds has been falling, in
         anticipation of severe increases in defaults on the loans that back them. S&P and
         Moody’s say most of these bonds are well-cushioned from losses. But Friday,
         Moody’s said losses among 2006 subprime-loan pools “will be somewhat higher
         than our initial expectations.” It also said it expects more volatility in ratings on
         weaker subprime-mortgage bonds.

         Moody’s says it has been adapting to the environment as it changes. But the latest
         acknowledgment “throws up a red flag,” says Christian Stracke, an analyst at
         independent debt-research firm CreditSights. The company is “implicitly admitting
         that its initial assumptions. . . did not adequately predict the damage that was to
         come.”




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         333.   Despite the uncertainty pointed to in the articles referenced above, any such partial

  revelations were tempered and muted by Defendants’ continued false and misleading statements

  about the quality of the Company’s ratings, its integrity and reputation, and its surveillance

  procedures. For example, on April 24, 2007, the Company issued a press release entitled “The

  McGraw-Hill Companies Reports First Quarter EPS of $0.40, Including $0.03 Gain on Divestiture[,]

  Revenue Increases by 13.7%,” which stated in relevant part:

         Net income for the first quarter of 2007 was $143.8 million. Revenue for the first
         quarter increased 13.7% to $1.3 billion.

         “A strong performance by Financial Services, and improvement in Education and
         Information & Media contributed to our first quarter,” said Harold McGraw III,
         chairman, president and chief executive officer of The McGraw-Hill Companies.
         “The operating margin improved in all three segments.”

                                           *         *    *

         Financial Services: “Revenue for this segment in the first quarter increased
         21.5% to $728.9 million compared to the same period last year. Including a pre-tax
         gain of $17.3 million on the sale of a mutual fund data business, operating profit
         grew by 38.3% to $348.0 million.

         “Standard & Poor’s had the best first-quarter performance in its history as fixed
         income and equity information products and services contributed to new records for
         revenue, operating profit and the operating margin, which was 47.7%, including the
         gain on the sale of the mutual fund data business. Structured finance produced
         40.8% of the revenue growth. Corporate and government ratings contributed 34.3%
         of the revenue increase.

         “Both U.S. and international ratings grew at double-digit rates in the first quarter.
         International credit ratings and services accounted for 36.1% of ratings revenue in
         the first quarter versus 35.6% for the same period a year ago.

         “Structured finance benefited substantially from a robust U.S. collateralized debt
         obligations market where concerns about widening spreads resulting from credit
         quality deterioration in the sub-prime market and an increase in collateralized
         loan obligations resulting from strength in the corporate loan market led to a
         strong pick up in activity in the first quarter.

         “Collateralized debt obligations also grew rapidly in Europe. We had solid results
         from residential mortgage-backed securities in Europe and steady improvement in
         the European commercial mortgage-backed securities market. Auto issuance
         slumped, but increases in credit card and student loans kept asset-backed securities


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         growing in the U.S.

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         “New issuance dollar volume increased in the U.S. and European bond markets in
         the first quarter versus the same period last year, according to reports from Thomson
         Financial, Harrison Scott Publications and S&P estimates. In the U.S., total new
         issue dollar volume was up 28.5% in the first quarter as corporates climbed 42.9%.
         Public finance was up 46.8%. Mortgage-backed securities, reflecting the anticipated
         decline in U.S. residential mortgage-backed securities issuance, decreased by 4.3%.
         Asset-backed securities were up 49.7% in Europe, new issue dollar volume was up
         34.1%.

                                           *         *     *

         The Outlook: “We’re off to a good start to achieving our goal of producing double-
         digit earnings growth in 2007. There will be more double-digit growth and margin
         expansion for the balance of the year in Financial Services, although probably not
         at the exceptional rate of growth we experienced in the first quarter.”

         334.    Also on April 24, 2007, McGraw-Hill hosted a conference call to discuss its first

  quarter 2007 earnings and outlook. The Individual Defendants participated in the call on behalf of

  the Company. During the call, numerous false and misleading statements were made that were

  designed to artificially inflate the Company’s stock price. For example, McGraw stated:

         Structured finance produced another strong quarter despite a 10.8% decline in the
         U.S. residential mortgage back security issuance. As I pointed out earlier, we
         anticipated a 10 to 15% decline in the U.S. residential mortgage back security
         issuance this year. A slowing housing sector, rising mortgage rates, lower housing
         price appreciation and fewer housing starts were factors in shaping our forecast. As
         part of its ongoing ratings and surveillance process for residential mortgage back
         securities. S&P carefully monitors trends in the housing and mortgage finance
         markets, consumer credit, and in the economy overall. Last Spring, a little over a
         year ago, S&P foresaw the trend in the quality of mortgage lending that led to the
         concerns that have arisen in the subprime market today. As a result of the
         deteriorating credit quality of certain subprime mortgage loans in 2006, S&P
         enhanced the credit support necessary for a rating by 50% compared to
         transactions from 2005. While there is a lot going on in the sub-prime market,
         nothing has occurred so far this year to cause us to materially change our
         expectations on the level of issuance that we originally anticipated for 2007. It is
         also worth pointing out that the U.S. residential mortgage backed securities market
         has not come to a dead stop in 2007, not with a $254.1 billion in issuance in the first
         quarter. $254.1 billion in issuance in the first quarter. Prime and Alt-A issuance
         increased 5.6%, particularly offsetting the 24.4% decline in sub-prime issuance in
         the first quarter.

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         335.    During the question and answer portion of the April 24, 2007 conference call, the

  following exchanges took place, during which the Individual Defendants made additional false and

  misleading statements:

         Lisa Monaco (Morgan Stanley, Analyst): Terry [McGraw III] can you comment a
         little bit -- a bit of a follow-up to Peter’s question, just on the debt issuance in the
         first quarter. How much of that was related to potential deals being pulled into
         March from future periods? And then if you could just talk to the strength in the
         CDO market and what is driving that. And if you can quantify what percent of the
         CDOs that you rate are related -- are tied to RMBS in the subprime market and given
         the slow down in RMBS (Inaudible) how is the growth in CDO issuance (Inaudible).
         Thanks.

         McGraw III: Thanks, Lisa. Bob, did you can get that last one. Between us we will
         get these. A lot of questions there. There always is timing issues, Lisa. The pipeline
         has been strong in ‘05, ‘06, and again, the folks work very hard to get it all
         completed, but there are carry-over and timing issues on that one, but, again, it is just
         very, very strong. At this point, there is no let up on that. The CDOs are very
         attractive because it is the instrument of choice of so [many] financial institutions
         because of all of the variability that CDOs have in terms of being able to break up
         into various attributes and risk reward capabilities and the like, and it just gives
         portfolio managers more flexibility to do more things in terms of the construction
         of those portfolios.

         So the CDO strength that we are seeing now is a continuation of the attractiveness
         of those investment[s]. With residential mortgage back, the U.S. market was down
         10.8%. And -- and again, the sub-prime market was down 24.4 on that part. Now,
         the thing on the sub-prime, it has gotten, in my opinion, an awful lot of spotlight in
         the general press as-- and I don’t think it is as warranted or deserved. I don’t want
         to understate it. But, when you are talking about an economy that’s in its sixth year
         of expansion, the Fed Reserve worked hard to bring down the growth rate with the 17
         rate hikes from last year, the housing sector has been most affected. And, therefore,
         with the rise in those rates, we have seen some defaults on the sub-prime side. Yes,
         there were some lenders that were way too aggressive. And that’s why over a year
         ago, S&P changed some of the loss coverage criteria for those lenders. And put
         those into effect such that it reflected the fact that some of these lenders were too
         aggressive. Of the outstanding mortgage loan volume, sub-prime is about 13%, of
         that market. And, yes, I think the housing market slump has bottomed on that in
         terms of sales and new starts, but we will see throughout the year certain defaults on
         some of the sub-prime loans, but it won’t have a material impact in our opinion on
         our results. So we just think that these are in the housing sector, these excesses we
         all know get into the markets, and we see that those that are least able to afford
         certain things, you are going to see some defaults on that. Bob, do you want to add
         anything?

         Bahash:      Yes, Lisa, the growth in the CDO area continues in our case to be
         driven by some of the new structures of the hybrids, the arbitrage opportunities
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         within the class flow and synthetic factors. And clearly sub-prime issuance is part
         of some of the CDO packages, but as Terry pointed out it’s a small piece relative to
         the total issuance volume.

                                           *         *     *

         Michael Meltz (Bear Stearns, Analyst):          Great, thank you. I think I have three
         questions on S&P. Terry, I think -- there was a slide where you talked about the
         outlook specifically for the CDO area and you mentioned growth should decelerate
         or might decelerate. Can you talk a little bit though, are you still expecting revenue
         growth from the CDO business throughout the rest of the year? I know it is a broad -
         - a general question, but I think it is important. And then, Bob, are you -- on the
         margin side, can you just talk a little bit about S&P and the accruals. Was there
         anything -- did you normalize anything this quarter or anything we should be aware
         of on the margin side? Last question, of the 21% revenue growth of the quarter,
         ratings versus nonratings, which grew faster? Thank you.

         McGraw III: Okay. Michael, on the collateralized debt obligation market. Again,
         this has been a very strong market and multiyear and has been growing as the
         acceptance of CDOs and variability of CDO usage is taken -- taken hold of the
         marketplace. The CDO market was up 154% in Q1. And -- and that’s coming off a
         pretty good base. So, I mean, that is pretty stunning growth. Now I just don’t think
         that we can expect 154% growth in each quarter going forward on that one. So we
         are just saying that we think there is a slower growth rate in subsequent quarters, but
         it is going to grow on that one. And we see nothing to hold that back. Bob?

         Bahash:          Yes. Just to expand upon that point. Our second-quarter estimate at
         this point in time based on external data calls for significant growth in the U.S. in
         the CDO area in terms of par value, up over 60%. That’s in the U.S. and in Europe
         we are forecasting close to 23% growth in the CDO marketplace. That is the second
         quarter. So very, very strong. On your question with regard to margins and accruals.
         We are very high in there. What you are seeing is what you are getting. There is a
         very strong quarter. The margin improvement clearly driven by the higher revenue
         elements, as well as the containment of costs.

         336.    On April 25, 2007, at McGraw-Hill’s annual meeting of shareholders, the Individual

  Defendants made additional false and misleading statements. For example, McGraw stated, “Just

  about a year ago S&P alerted investors that underwriting standard in the subprime market had

  deteriorated and S&P would raise the level of credit support for riskier subprime assets in order to

  protect investors. Standard and Poor’s also tightened surveillance standards for the residential

  mortgage backed securities. And the leadership Standard and Poor’s demonstrated anticipating

  weakness in this subprime market illustrates why S&P is one of the most respected names in the

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  financial services industry.”

          337.   On April 27, 2007, the Company filed its interim financial report on Form 10-Q for

  the quarter ending March 31, 2007. The financial results reported in the 10-Q were substantially

  similar to those reported in the Company’s April 24, 2007 press release. The Form 10-Q was signed

  by Bahash, and contained required Sarbanes-Oxley certifications signed by McGraw and Bahash

  stating that the Form 10-Q did not include any material misrepresentations. In discussing what

  drove McGraw-Hill’s improved financial performance, the April 27, 2007 10-Q stated, in relevant

  part:

          In the first quarter of 2007 the Company achieved growth in revenue and
          operating profit of 13.7% and 71.0%, respectively. The increase in revenue is
          primarily attributable to growth in the Financial Services segment.

                                           *         *    *

          Service revenue increased 17.4% in the first quarter of 2007, due primarily to a
          21.5% increase in Financial Services. Financial Services increased primarily due
          to the performance of structured finance ratings and corporate (industrial and
          financial services) and government finance ratings. In the U.S., collateralized debt
          obligations (CDOs) drove growth in structured finance. The growth in corporate
          finance ratings was attributable to increases in industrials, driven by merger and
          acquisition activity, and public finance issuance, driven by refundings. The service
          margin increased to 32.3%.

                                           *         *    *

          The Financial Services segment’s increase in revenue and operating profit was
          due to the performance of structured finance and corporate (industrial and financial
          services) and government ratings, which represented approximately 40.8% and
          34.3%, respectively, of the growth in revenue. In the U.S., collateralized debt
          obligations (CDOs) drove growth in structured finance. The growth in corporate
          finance ratings was attributable to industrials, driven primarily by bond and loan
          issuance related to acquisition financing. Public finance also performed well in the
          quarter with issuance driven primarily by refundings.

          Total U.S. structured finance new issue dollar volume increased 17.2% in the first
          quarter versus prior year. U.S. CDO issuance increased 153.6%, according to
          Harrison Scott Publications and Standard & Poor’s internal estimates (Harrison Scott
          Publications/S&P). Growth in the U.S. CDO market continues to be driven by new
          structures (hybrids) and arbitrage opportunities within the cash flow and synthetic
          sectors; however, in the first quarter issuance volumes were also favorably
          impacted by concerns about widening spreads resulting from credit quality
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         deterioration in the subprime mortgage market. U.S. commercial mortgage-backed
         securities (CMBS) issuance increased 34.9% over the prior year due to the
         historically low interest rate environment and strong commercial real estate
         fundamentals, which are driving commercial originations and the refinancing of
         maturing deals as well as rising property values. U.S. residential mortgage-backed
         securities (RMBS) issuance decreased 10.8%, driven primarily by declines in the
         subprime and affordability products and home equity sectors.

                                           *         *     *

         In Europe for the first quarter, structured finance issuance grew 160.9% as all
         structured finance asset classes experienced growth, with CDOs and RMBS being
         particularly strong. CDO issuance was driven by a surge in cash CDO deals and a
         robust market for collateralized loan obligations (CLOs). A stable economic
         backdrop combined with moderate home price growth in most European countries
         fueled demand for mortgage credit and RMBS volumes picked up as new and
         existing issuers took advantage of tight spreads. European corporate issuance was up
         in the first quarter due primarily to solid growth in the financial services sector.

                                           *         *     *

         The market for credit ratings as well as research, investment advisory and broker-
         dealer services is very competitive. The Financial Services segment competes
         domestically and internationally on the basis of a number of factors, including
         quality of ratings, research and investment advice, client service, reputation, price,
         geographic scope, range of products and technological innovation.

                                           *         *     *

         The Company maintains disclosure controls and procedures that are designed to
         ensure that information required to be disclosed in the Company’s reports filed with
         the Securities and Exchange Commission (SEC) is recorded, processed, summarized
         and reported within the time periods specified in the SEC’s rules and forms, and that
         such information is accumulated and communicated to the Company’s management,
         including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
         appropriate, to allow timely decisions regarding required disclosure.

         As of March 31, 2007, an evaluation was performed under the supervision and with
         the participation of the Company’s management, including the CEO and CFO, of the
         effectiveness of the design and operation of the Company’s disclosure controls and
         procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange Act of
         1934). Based on that evaluation, the Company’s management, including the CEO
         and CFO, concluded that the Company’s disclosure controls and procedures were
         effective as of March 31, 2007.

         338.   In response to the April 24, 2007 press release and conference call, and the April 27,

  2007 Form 10-Q, the Company’s stock price reacted favorably. Specifically, on April 23, 2007, the


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  stock closed at $63.54. In response to the press release, conference call, and Form 10-Q, the stock

  closed at $66.23 on April 24, 2007 and $66.25 on April 27, 2007, as demonstrated in the chart

  below:

   3500000                                                                                   67


                                                                                             66.5

   3000000
                                                                                             66


                                                                                             65.5
   2500000


                                                                                             65

   2000000
                                                                                             64.5
                                                                                                     Volume
                                                                                                     Close
                                                                                             64
   1500000

                                                                                             63.5


   1000000
                                                                                             63


                                                                                             62.5
    500000

                                                                                             62


        0                                                                                    61.5
                    4/23/2007      4/24/2007      4/25/2007       4/26/2007      4/27/2007


             339.      The statements referenced in ¶¶333-37 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶333-37 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

             •         Defendants misled the market when they told investors that the Company understood
                       the credit quality deterioration problems impacting the Company’s Structured
                       Finance division. The truth was that although the Company was aware of such
                       problems, its models and data were outdated and insufficient to address them, ratings
                       downgrades would reach into the thousands (representing billions of dollars), and the
                       Company lacked a reasonable basis for predicting its financial performance.

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         •       Although the CDO market was helping drive the Company’s Structured Finance
                 division, the CDOs were made up of underlying subprime RMBS, and those
                 underlying subprime RMBS were failing at an astonishing rate. The growth
                 attributed to the CDO market was unsustainable and the Company would downgrade
                 tremendous percentages of its CDOs.

         •       The Company did not carefully monitor trends and conduct surveillance for RMBS.
                 In fact, its surveillance process was lagging more than one year behind schedule and
                 its own surveillance protocols were being abandoned.

         •       Defendants’ statements regarding Alt-A issuance were misleading as well, because
                 the Alt-A and subprime markets had converged, making the traditional performance
                 metrics for Alt-A transactions inapplicable to the Alt-A transactions rated by the
                 Company’s S&P brand.

         340.    On June 19, 2007, McGraw and other Company executives participated in the NAA

  Mid-Year Media review on behalf of the Company. During the conference, Tillman , S&P’s

  Executive Vice President, discussed the Company’s exposure to RMBS and stated:

         Let me talk a little bit about the residential mortgage-backed market, which has been
         getting a lot of attention of late. We started this year by forecasting that we were
         going to be down about 10% to 15% in terms of dollar volume increases in the US
         residential mortgage-backed market. Issuance [have] been off, primarily due to a
         slowdown in the subprime area; again, which has been a headliner for a while. But
         the interesting statistic is that it’s up 15% so far in the second quarter.

         As you are aware, the subprime residential mortgage market is attracting
         considerable attention amid mounting delinquencies and defaults. Standard and
         Poor’s took decisive action in 2006 by increasing loss expectation and required
         additional support in the transactions to address issues that we saw in the
         marketplace. Subprime that originated in 2006 -- this is a class of transactions
         that were sold in the year 2006 with mortgages that were originated there -- are
         having the most difficulty. Subprime issuance has been a significant and
         increasing component of the mortgage lending market over the last two years.
         Numerous subprime lenders are facing financial difficulties, while larger, more
         diversified firms have also been experiencing some of the pinch. Subprime
         downgrades will continue increasing, especially in the 2006 vintage. And again,
         when we talk about the 2006 vintage, these are the mortgages that were originated in
         2006.

         341.    The statements referenced in ¶340 were each materially false and misleading when

  made for the reasons set forth in ¶256 and the factual detail contained throughout this Complaint. In

  addition, the statements referenced in ¶340 were each false and misleading when made as they


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  misrepresented and/or omitted adverse facts which then existed and disclosure of which was

  necessary to make the statements not false and/or misleading. The true facts, which were then

  known to or recklessly disregarded by each of the Defendants, were:

          •       Defendants misled the market when they told investors that the Company understood
                  the credit quality deterioration problems impacting the Company’s Structured
                  Finance division. The truth was that although the Company was aware of such
                  problems, its models and data were outdated and insufficient to address them, ratings
                  downgrades would reach into the thousands (representing billions of dollars), and the
                  Company lacked a reasonable basis for predicting its financial performance.

          •       The Company was further misleading the market by identifying the purported
                  increased loss expectations and credit support for riskier subprime deals. The reality
                  was that the surveillance department was understaffed and lacked the necessary
                  resources to evaluate existing deals. Moreover, because the Company’s models had
                  no predictive capability for the toxic RMBS and CDOs it had been rating, the
                  Company had no idea how much loss coverage was actually required to make sure
                  the deals it rated did not implode and collapse.

          342.    As alleged herein, on July 10, 2007, the Company cut and placed under review its

  ratings on billions of dollars worth of mortgage-related deals it had rated. A July 10, 2007 Reuters

  article titled “ABX plunges as S&P warns may cut $12 bln subprime RMBS” stated, in pertinent

  part:

          A downgrade warning by Standard & Poor's on $12.0 billion U.S. subprime
          mortgage securities triggered a precipitous plunge in the benchmark ABX index on
          Tuesday, driving it to a record low, traders and investors said.

          "The index sold off by over 6 points after S&P's rating action. The bid to offer was
          about 3 points wide. Right now the message out there is don't trade unless you
          absolutely need to," said Mike Kagawa, portfolio manager at Payden & Rygel in Los
          Angeles.

          The ABX 2007-1 "BBB-minus" index, which references risky home loans made in
          last year's second half, fell 6.5 points to 49 from 55.5 on Monday, traders said. It has
          fallen 49 percent since January.

          The credit defaults swaps index, which is tied to 20 ABS securities backed by
          subprime loans, is used by investors to hedge their subprime mortgage exposure.

          S&P said it may cut 612 residential mortgage-backed securities totaling $12.0
          billion, which represent 2.13 percent of the $565.3 billion U.S. subprime market.
          Poor collateral performance, expectations of increasing losses on underlying pools of
          loans which would result in a reduction of credit support triggered the "CreditWatch"
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          actions, S&P said.

          "We have been surveilling these transactions on a regular basis and have been
          monitoring market trends. At this time, we do not foresee the poor performance
          abating," said S&P. "Loss rates, which are being fueled by shifting patterns in loss
          behavior and further evidence of lower underwriting standards and
          misrepresentations in the mortgage market, remain in excess of historical precedents
          and our initial assumptions."

          "The focus this morning is on S&P and the fact that they have basically put all
          ratings of pending securitizations on hold. It's not clear as to why they have taken this
          action, but while the cloud of uncertainty exists it will weigh on an already fragile
          market," said another trader.

          A downgrade of that magnitude would trigger severe losses as investors who are
          prevented from holding anything other than investment grade issues would unload
          their holdings en masse, market participants said.

          Many managers of collateralized debt obligations (CDOs) have been big buyers of
          securities backed by subprime mortgage loans, which they use to layer into their
          structured deals. The sector has come under severe pressure as a result.

          "Higher margin requirements for financed ABS and CDO positions and concerns
          over forthcoming forced CDO liquidations have put further selling pressure on ABX
          prices," said Christopher Flanagan, analyst at JP Morgan, noting the index is
          frequently used as a hedge for long risk positions.

          Concerns that hedge funds that gambled on risky subprime investments would
          collapse en masse have been growing since Bear Stearns Asset Management last
          month scrambled to rearrange financing for two leveraged funds after creditors
          abruptly pulled out.

          Heavy redemptions from investors concerned about their holdings of subprime
          mortgage securities claimed the Galena Street Fund of the Braddock Financial Corp.
          as the latest hedge fund victim. United Capital Asset Management also temporarily
          suspended redemptions to investors in its Horizon hedge funds after investors
          demanded refunds.

          S&P said it was reviewing CDO ratings. "We are also conducting a review of CDO
          ratings where the underlying portfolio contains any of the affected securities subject
          to these rating actions," it said.

          The rating agency announced changes to its rating methodology for new transactions,
          as well.

          343.    In another Reuters article on July 10, 2007 titled “ANALYSIS-Downgrade avalanche

  stings risk-takers” it was reported, in pertinent part, that:


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         S&P said it may soon cut 612 residential mortgage-backed securities totaling $12.1
         billion, which represent 2.13 percent of the $565.3 billion U.S. subprime market.

         Most of the mortgage-backed bonds were packed into collateralized debt obligations.
         CDOs, in turn, have been a rapidly growing class of securities created by packaging
         together bonds, including risky subprime loans, junk or high-yield bonds, and high-
         grade debt, to help diversify risk.

         If that weren't enough, rival credit-rating agency Moody's slashed its ratings on 399
         mortgage-backed securities and may cut ratings of another 32, affecting a total of
         $5.2 billion of securities, citing higher-than-expected delinquencies in the underlying
         home loans.

                                           *         *     *

         "Markets should not be surprised by S&P's warning, but rather investors should be
         angry with both S&P and Moody's for not having a more rigorous modeling effort
         that measure the risk structured product from a top down and bottom up approach,"
         said Tom Sowanick, chief investment officer at Clearbrook Financial LLC in
         Princeton, New Jersey.

         344.    The likelihood of immense downgrades surrounded by pointed questions at S&P’s

  timing and modeling ability began to reveal to the market a portion of the truth behind Defendants’

  fraud. Indeed, market commentators began to question why the Company was so late to take action

  on ratings that rested upon toxic mortgages. On July 11, 2007, The Wall Street Journal published an

  article titled, “Ratings Cuts By S&P, Moody’s Rattle Investors – Critics Say Companies Are

  Reacting Too Late To Subprime Debt Woes.” The article stated, in pertinent part:

         The widening meltdown in the subprime-mortgage market caught up with the
         nation's two big debt-rating companies yesterday, with Standard & Poor's and
         Moody's announcing plans to downgrade hundreds of bonds backed by the risky
         home loans.

         The moves jolted jittery financial markets as investors adjusted to the idea that the
         downturn in the nation's housing market is worsening and that a rebound might be
         months away, at best. The Dow Jones Industrial Average tumbled 148.27 points, or
         1.1%, to close at 13501.70 as investors fled stocks and low-quality bonds, and some
         of them criticized the ratings giants for being too slow to act.

         In an acknowledgment that it severely misjudged the risk of bonds tied to subprime
         mortgages, Standard & Poor's Ratings Service said it is looking to slash credit ratings
         on as many as 612 such bonds, with a value of $12 billion, because of mounting
         delinquencies on the underlying mortgages. Subprime mortgages are made to


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        borrowers with shaky credit profiles.

        S&P said its action reflected several factors, including persistent mortgage
        delinquencies, weak home prices and lax loan-underwriting standards. It also cited
        mortgage fraud, a concern highlighted yesterday when the U.S. attorney for the
        Southern District in New York charged 26 people with taking part in "a wide-ranging
        scheme" to commit fraud at mortgage brokers.

        S&P said it would take a tougher look at the steps lenders were taking to minimize
        fraud and misrepresentation of the data it receives.

        Hours after S&P's move, Moody's Investors Service said it was downgrading 399
        mortgage-backed securities issued in 2006 and reviewing an additional 32 for
        downgrade, affecting $5.2 billion of bonds. It also downgraded 52 bonds issued in
        2005.

        "The level of losses continues to exceed historical precedents and our expectations,"
        said Susan Barnes, an S&P managing director, in a conference call with investors to
        discuss the looming downgrades.

        The ratings actions come after months of intensifying turmoil in the market. They
        drew howls from some investors who have complained that S&P and Moody's put
        excessively high ratings on many classes of bonds backed by subprime mortgages
        during the housing boom and then were too slow to lower those ratings when the
        housing market started sinking.

        "Why now?" said Steve Eisman, managing director at hedge fund Frontpoint
        Partners, in the S&P conference call. "Delinquencies have been a disaster for many
        months. It couldn't be that you just woke up to it. The rest of the world was yelling
        and screaming about your ratings for months," added Mr. Eisman, whose fund has
        been bearish on the subprime market.

        "We did it as fast as we could given the information we had," Tom Warrack, an S&P
        managing director, said in response.

        Shares of Moody's parent Moody's Corp. fell $1.11, or 1.8%, to $60.39 yesterday,
        and shares of S&P parent McGraw-Hill Cos. dropped $2.98, or 4.4%, both in 4 p.m.
        composite trading on the New York Stock Exchange.

        Subprime loans have played an increasingly important role in the mortgage market,
        accounting for 20% of all mortgages originated in 2006, according to Inside
        Mortgage Finance. In all, $2.3 trillion of subprime loans were taken out by borrowers
        between 2002 and 2006, according to Inside Mortgage Finance. Key to their growth
        was the ability of lenders to spread the risks by packaging the loans into securities
        and selling them to a large number of investors from pension funds to hedge funds,
        who used the S&P and Moody's ratings to help gauge the quality of the bonds.

        Ratings on such bonds are critical because many investors depend on them to decide
        whether a bond is safe enough to own. Lower ratings could force some investors to

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        dump bonds they had in their portfolios or mark down their value.

        One kind of investment could be especially vulnerable -- collateralized debt
        obligations, or CDOs -- which are bundles of bonds that often contain many
        subprime-mortgage-backed securities. CDOs have been sold by investment banks to
        many pensions, insurance companies and hedge funds. S&P said it is assessing
        whether these investments might also require ratings downgrades.

                                         *         *    *

        Yesterday, S&P said it is likely to lower its ratings on most of the 612 bonds under
        review very shortly. Many of them already had low ratings. But some bore
        investment-grade single-A or double-A ratings. In all, they represented 2.13% of the
        $565 billion in residential mortgage-backed securities that S&P rated between
        October 2005 and the end of 2006.

        S&P also said it is revising its methodology and assumptions for rating new
        subprime bonds and will require more collateral to provide bigger cushions against
        losses.

        Moody's latest downgrades affected around 1.2% of the dollar value of 2006
        subprime bonds it rated, most of them investment grade. Some of the downgrades hit
        bonds backed by loans originated by Fremont Investment & Loan and New Century
        Mortgage Corp., lenders whose problems have been well-known for months.

        New data from credit bureau Equifax Inc. and Moody's Economy.com show
        delinquency rates continued to climb across the broader economy in the second
        quarter, reaching 3.15% of all mortgages, compared with 2.87% in the first quarter.
        In some bonds targeted for downgrade by S&P and Moody's, delinquencies were
        around 20%.

        S&P and Moody's reaped millions of dollars in fees during the housing boom for
        assigning ratings to mortgage bonds and other "structured finance" securities backed
        by subprime assets.

        Typically, the bonds are diced and sliced so that some investors bear more risk than
        others. Some bonds get single-A, double-A or even triple-A ratings because holders
        of these bonds are the last to suffer when defaults on underlying mortgages start
        rising. The fact that they are now being scrutinized for downgrades is a sign of the
        potential depth of the fallout.




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         345.    Thereafter, on July 12, 2007, the Financial Times’ website, www.ft.com, published

  an article titled “Rating agencies under scrutiny.” The article stated, in relevant part:

         When debt investments turn sour, the rating agencies have grown accustomed to
         drawing criticism for spotting problems too late and then taking too long to act on
         them.

         The current turmoil in the US subprime mortgage market is no different for them.
         The crisis has generated a barrage of such investor criticism, which reached fever
         pitch this week in response to a swathe of downgrades of mortgage bonds and related
         complex debt products.

         One investor repeatedly asked analysts at Standard & Poor’s on a conference call this
         week: “What is it that you know today that the markets didn’t know three months
         ago?”

         Amid the steady drumbeat of bad subprime news – late payments and defaults on
         subprime home loans have been worryingly high for several months – the
         downgrades were broadly expected. But investors and analysts are struggling to
         understand what additional evidence the agencies were waiting for to justify the
         moves, and have raised a series of questions over the reliability of their analysis.

         Susan Barnes, analyst at S&P said on the conference call that the rating agency waits
         for a body of evidence to accumulate before taking action: “It takes a period of time
         for these deals to show their true performance. We have been reviewing these deals
         closely and felt it was time to take action.”

         However, the rating agencies admit that the level of losses continues to exceed their
         initial expectations and historical precedent, prompting both Moody’s and S&P to
         review their loss estimates and ratings process. Moody’s announced its review in
         April, and S&P followed this week.


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        For many investors, the delay in taking action has raised concerns over the agencies’
        dependence on performance data that could be unreliable. This is partly because
        structural changes in the mortgage market and a higher incidence of mortgage fraud
        mean that relying on comparisons with data from previous housing downturns could
        give an incomplete picture.

        Meanwhile, some analysts raise concerns that the rating agencies are not asking some
        of the most basic questions. Christian Stracke, analyst at research firm CreditSights,
        said: “An apparent lack of basic analysis behind [mortgage bond] ratings was on
        display in S&P’s discussion of their estimate of the sensitivity of [late payment] rates
        to changes in interest rates: namely, they have no such estimate.”

        Josh Rosner, consultant at research firm Graham Fisher said: “The rating agencies
        appear to have relied, almost exclusively, on information provided to them by issuers
        and even have chosen not to require some meaningful disclosures about underlying
        residential loans included in the structures.”

        Mr Rosner points to an April report from Moody’s that showed the rating agency did
        not consider debt-to-income ratios as a primary piece of data in their mortgage
        models, although this is generally considered as one of the three key predictors of
        mortgage default.

        In the same report Moody’s said it would for the first time request loan level data
        detailing the structure of adjustable-rate mortgages, the servicer, the month of the
        first interest rate adjustment and other data that would allow them to analyse risks.
        S&P admitted this week that it does not receive this kind of granular data on
        performance of individual loans within the mortgage pools backing the bonds that it
        rates.

        One revelation that analysts have described as “extraordinary” this week is that
        S&P has no specific estimate of how much turmoil in the housing market would be
        needed to force downgrades of the AAA and AA ratings that have been left
        untouched in this round of downgrades and constitute the bulk of the principal
        value of most mortgage-backed deals. Moody’s also said in an interview that it had
        no such estimate.

        The rating agencies wield enormous influence, not only because their
        pronouncements can affect the cost of funds for issuers of debt, but because ratings
        are often enshrined in the regulations that govern what securities can be bought by
        insurance companies, pension plans and mutual funds.

        Analysts say some of the main reasons that initial ratings for subprime bonds may
        have been over-optimistic are weaker underwriting standards, fraud, and
        concentration in overvalued regions. Some analysts also warn that other parts of the
        mortgage market are beginning to show symptoms of similar troubles.

        Meanwhile, many of these bonds are held by complex collateralised debt obligations.
        Roughly half of the CDOs issued in 2005 and 2006 were backed by mortgage-
        related debt.

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             Vishwanath Tirupattur, CDO analyst at Morgan Stanley said in a recent report: “Like
             it or not, rating agencies, as arbiters of credit quality, wield enormous influence –
             nowhere more so than in the context of CDOs.”

             346.     The partial revelations that reached the market on July 10-12, 2007 had a significant

  impact on the Company’s stock price. As investors began to learn a portion of the truth behind

  Defendants’ false and misleading statements, the Company’s stock price declined sharply, falling

  from a closing price of $67.22 on July 9, 2007 to a closing price of $62.10 on July 12, 2007,

  representing a decline of more than 7.5%, as demonstrated in the chart below:

   6000000                                                                                   69



                                                                                             68

   5000000

                                                                                             67



   4000000                                                                                   66



                                                                                             65
                                                                                                     Volume
   3000000
                                                                                                     Price
                                                                                             64



   2000000                                                                                   63



                                                                                             62

   1000000

                                                                                             61



        0                                                                                    60
                    7/6/2007       7/9/2007         7/10/2007       7/11/2007    7/12/2007


             347.     On July 24, 2007, the Company issued a press release entitled “The McGraw-Hill

  Companies Reports Second Quarter EPS of $0.79, a 31.7% Increase,” which stated in relevant part:

             Revenue for the second quarter of 2007 increased by 12.5% to $1.7 billion
             compared to the same period in 2006.

                                                *          *    *

             “A very strong performance by Financial Services was a key factor in our second
             quarter,” said Harold McGraw III, chairman, president and chief executive officer
             of The McGraw-Hill Companies. “We also benefited from the McGraw-Hill School
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        Education Group’s strong start in this year’s state new adoption market and solid
        performances in higher education, professional and international markets.

                                         *         *    *

        “Revenue for the first half grew to $3.0 billion, a 13.0% increase over the same
        period in 2006.

                                         *         *    *

        Financial Services: “Revenue for this segment increased 21.2% in the second
        quarter to $821.0 million compared to the same period last year. Operating profit
        grew by 27.9% to $401.4 million.

                                         *         *    *

        “Strength in fixed income and equity information services in domestic and
        international markets produced a record second quarter performance for revenue,
        operating profit and operating margin at Standard & Poor’s. The operating margin
        for the second quarter was 48.9%. Structured finance contributed 42.1% of the
        revenue growth. Corporate and government ratings produced 38.1% of the revenue
        increase.

                                         *         *    *

        “Structured finance was strong globally. In the domestic market, Standard &
        Poor’s benefited from robust activity in commercial mortgage-backed securities
        and collateralized debt obligations. Despite a contraction in the U.S. subprime
        market, domestic collateralized debt obligations remained strong in the second
        quarter as arrangers focused on hybrids, synthetics and collateralized loan
        obligations. As a result, the issuance of collateralized debt obligations grew by
        58.0% in the second quarter. In Europe, we saw solid performances in all asset
        classes.

                                         *         *    *

        “In the U.S., total new issue dollar volume grew by 15.3% in the second quarter.
        Corporates increased 34.5%, setting a new record for issuance for the second
        consecutive quarter. Public finance was up 15.3%. Mortgage-backed securities
        dollar volume was off by 5.7%, reflecting a 12.4% decline in residential mortgage-
        backed securities issuance. Asset-backed securities were up 8.3%. In Europe, new
        issue dollar volume was up 33.4%.

                                         *         *    *

        The Outlook: “We expect to achieve our goal of double-digit earnings growth in
        2007 even though the growth rate will probably slow during the second half of the
        year as compared to our very strong first half performance. Although we expect low
        double-digit growth from Financial Services in the second half, tougher comparisons
        will make the fourth quarter more challenging. Some operating margin compression
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         may occur in our segments in the second half, but we still expect improved operating
         margins in all three segments for the full year.”66

         348.    Also on July 24, 2007, McGraw-Hill hosted a conference call to discuss its second

  quarter 2007 earnings and outlook. The Individual Defendants participated in the call on behalf of

  the Company. During the call, numerous false and misleading statements were made that were

  designed to artificially inflate the Company’s stock price. For example, McGraw attempted to

  downplay the rapid deterioration of the subprime market, characterizing market concerns as an

  “obsession”:

         In the second quarter, the obsession with subprime issues obscured some very, very
         positive trends in the ratings market. International markets grew at a double-digit
         rate and contributed 38.9% of ratings revenue in the second quarter, up from 36.6%
         for the same period a year ago. The U.S. corporate market set a new record for
         issuance for the second quarter in a row, as both U.S. investment grade, which was
         up 33% and high-yield, which was up 42.6%, grew substantially. Public finance
         coming off a slow second quarter last year grew solidly because of new money
         issuance, but also because of refundings. Structured finance was strong globally,
         despite a 12.4% decline in the dollar volume issuance of residential mortgage-
         backed securities in the United States.

                                           *         *     *

         In Europe, the corporate sector is off to a solid start and the current pipeline of
         business is strong and it’s across all sectors. Dollar volume issuance in the U.S.
         public finance started the year on an upswing, but even though this may be a record
         year for issuance, we expect somewhat slower growth for the balance of 2007.
         Similar volume issuance in the U.S. residential mortgage-backed securities market
         is off 11.6% in the first half of this year, and we anticipate a further decline in the
         second half. We now estimate that dollar volume issuance of U.S. residential
         mortgage-backed securities will decline by 15% to 20% this year. Our prior


  66
    On July 24, 2007, the Company issued a revised press release, stating: “This amendment pertains
  to Exhibit 2 of the Registrant’s earnings release filed on Form 8-K on July 24, 2007. In the
  Operating Results by Segment-Operating Profit, for the three and six month periods presented, the
  percentage of change for General corporate expense and Interest expense were inadvertently
  presented as favorable, when they were unfavorable. In the Operating Results by Segment-
  Operating Profit, for the six month period presented, the percentage of change for McGraw-Hill
  Education Operating loss was inadvertently presented as unfavorable when it was favorable. In all
  other respects, the earnings release and related exhibits filed on Form 8-K on July 24, 2007 did not
  require any change.”


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         guidance here was 10% to 15% and we think maybe just a little bit more, up to
         about 20% is right. Activity is being driven primarily by Alt-A and net interest
         margin security deals and the refinancing of adjustable rate mortgages. Many
         potential deals are on hold as issuers reprice to the new criteria and gauge the
         market’s appetite for residential mortgage-backed securities.

         The U.S. commercial mortgage-backed securities market is up 36.8% in the first half,
         and of course that’s driven by low interest rates and strong commercial real estate
         fundamentals, but the pipeline for commercial mortgage-backed securities is robust.
         Dollar volume issuance in the U.S. asset-backed securities market is up 22.5% for the
         first half, and the pipeline looks very solid. The U.S. collateralized debt obligation
         market, CDO market, soared last year and is off to a fast start in 2007. We expect
         more growth in the collateralized debt obligation market in the second half, but at
         rates well below the blistering pace established in the third and the fourth quarters
         last year.

         349.   As the July 24, 2007 conference call continued, McGraw-Hill executives continued to

  downplay the problems of the subprime market and made additional false and misleading

  disclosures. Tillman further attempted to minimize the problems facing the Company:

         There’s been a great deal of commentary recently about the deterioration of the
         subprime market. Not all of it has been particularly insightful or accurate, so we
         think it’s important to share with you Standard & Poor’s’ perspective on our
         market conditions and our ratings. In the brief time I have this morning, I would
         like to make five key points.

         First, the current situation did not develop overnight. For more than a year,
         Standard & Poor’s have been signaling the market about the deterioration in
         residential mortgage-backed securities backed by subprime loans and their
         potential affect on credit worthiness. Second, S&P continues to alert the market to
         new problems. On June 2, for example, we commented to the market about
         emerging issues with collateral debt obligation. S&P said that covenant-like
         juggernaut is raising CLO risks and that we were raising the collateralized loan
         obligation loss criteria to reflect potential expectations of increased loss exposure on
         covenant light loans. Third, we do not structure or engineer transactions nor do we
         arbitrate on which deals can or cannot proceed. Our guidelines and criteria are
         publicly available.

         Fourth, criteria is a factor in whether or not Standard & Poor’s is selected to do a
         rating. Tightening criteria may have an adverse impact on our market share, but we
         will continue to develop and adjust our criteria to reflect how changing conditions
         impact credit risk. We are driven to improve our ratings process because it is our
         excellent track record that makes Standard & Poor’s a rating agency of choice.
         Fifth, the performance of Standard & Poor’s structured finance ratings have been
         exceptionally strong over a long period of time. Our regularly-published default
         studies show the clear relationship between the initial ratings signed by Standard &
         Poor’s and the likelihood of default. Since 1978, the average five-year default rate
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        for investment-grade structured securities is 0.87%. The default rate for speculative-
        grade securities is 15.42%. We identified heightened credit exposure with so-called
        affordability products and the layering of multiple risk factors in loan programs over
        a year ago and adjusted our assumptions going back to April 2006. In any rating
        decision, we are concerned about the duration and the severity of issues affecting
        future credit performance. We need sufficient time and data to show how collateral
        pools are performing. Our recent actions are a continuation of that view and in
        applying our adjusted assumptions to the delinquency default and loss trends to
        make decisions on some of the RMBS transactions.

        Let me quickly sum up our latest actions in July. S&P downgraded 562 classes of
        rated RMBS transactions that were backed by first lien subprime loans from the
        fourth quarter of 2005 through the fourth quarter of 2006. It’s worth noting that
        the 6.3 -- $6.3 billion of securities represented only 1.1% of all first lien subprime
        RMBS deals rated during this period. We also downgraded 418 classes of S&P
        rated RMBS transactions, which were backed by closed-end second liens. That
        represented $3.8 billion in volume or 6.1% of this class. As a result of the first lien
        subprime downgrades, 74 synthetic CDOs were downgrades, 19 classes of cash flow
        and hybrid CDOs were placed on credit watch negative, 17 classes of cash flow and
        hybrid CDOs were placed on credit watch negative as a result of the closed end
        second lien downgrades, and yesterday an additional 33 tranches from eight U.S.
        cash flow and hybrid CDOs were also placed on credit watch negative. Again, the
        result of downgrades of the first lien subprime transactions. The downgrades we
        announced on the first lien subprime collateral did not impact any AAA ratings.

        Also note that while eight classes of the AAA second lien RMBS deals were
        downgraded, none of these fell below investment grade. Of course, we will
        continue to monitor these issues and will take any further rating actions we deem
        to be appropriate. In fact, the actions we have taken in July are part of Standard &
        Poor’s ongoing process of adjusting its assumptions and ratings to reflect current
        trends in the housing market, the mortgage finance market, consumer credit, and the
        overall economy as they move over time. We have provided the market with
        information on our approach for rating new CDOs containing RMBS securities,
        which are backed by nonprime collateral, and S&P is currently reviewing RMBS
        transactions, which are backed by Alt-As and the net interest margin collateral.
        That will be completed over the next several weeks. Transactions issued after
        January 2007 have not had adequate seasoning. We are monitoring these
        transactions under new assumptions and will take such ratings actions as we deem
        appropriate and as more loss data becomes available. In our view, loans made prior
        to January ‘05 are not at the same level of risk as those made since then.

        I’ll wrap up with one final observation. Our role is to provide an independent
        opinion on credit worthiness based on demonstrable facts. Sometimes that puts us
        at odds with the ebb and flow of market sentiment. While the market doesn’t always
        agree with our ratings, we take a longer-term view and do what we believe is right
        for the market. And I would make one further note. Tomorrow, Standard & Poor’s
        structured finance group will be holding a teleconference discussing the details of the
        downgrades that I have gone over with you today, as well as some future actions and
        the changes and assumptions that we have made, and I encourage any of you that are
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         interested in this detail to please dial in. The teleconference facts will be made
         available today. Thank you.

         350.      As the call continued, McGraw told analysts and the market that 2008 would be a

  very good year for the Company’s Financial Services division:

         Karl Choi (Merrill Lynch, Analyst): Hi. A couple of questions here. First, Terry,
         your comment about the fourth quarter for S&P being a little bit more challenging in
         terms of comps. It’s a little bit early, but comps will remain difficult for all of ‘08
         then, given what’s going on in the subprime market and if some maybe liquidity
         growing out of the credit market here, does this change your confidence about S&P’s
         ability to deliver double-digit topline growth next year?

         McGraw III: Well, it’s a little early to get into 2008. I want to get through this
         year on this one. I feel very good about our guidance on double-digit growth, top
         and bottom line for S&P for the remainder of the year. Albeit, it’s going to be at a
         lower rate and we have to see what the affect in some of the subprime there, but,
         again, it’s going to be a smaller impact because of the strength overall, globally as
         well as in the corporate market. But on -- our planning process that is underway
         now for 2008, I think 2008 for Standard & Poor’s is going to be a very good year.
         But it’s too early to quantify that, and so we’ll give guidance come December on
         what we expect on that one, but I have every reason to believe that it’s going to be
         a very good year.

         351.      Later in the July 24, 2007 conference call, Tillman made additional false statements

  to the market:

         I’m mentioning that we’re going to adjust our criteria as we see fit, and if that
         requires higher subordination levels and higher support levels, it’s then up to an
         issuer to make that choice in terms of whether they’re going to go with S&P or not.
         To date, we have made moves in adjusting our criteria and in some regards,
         especially in a collateralized mortgage-backed securities area, as you probably have
         read, we saw the changes in the real estate market a while ago, saw that the
         leveraging and the structuring of the deals and the underwriting was beginning to
         really begin to deteriorate somewhat and even further in the first quarter of ‘07, at
         which point again we called it like it was and just raised our requirements in terms
         of ratings. This can in fact have an adverse impact on whether they come to
         Standard & Poor’s or not, but that’s not what we’re concerned about. We’re
         concerned about calling it as it is.

         352.      On July 27, 2007, the Company filed its interim financial report on Form 10-Q for the

  quarter ending June 30, 2007. The financial results reported in the 10-Q were substantially similar to

  those reported in the Company’s July 24, 2007 press releases. The Form 10-Q was signed by


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  Bahash, and contained required Sarbanes-Oxley certifications signed by McGraw and Bahash stating

  that the Form 10-Q did not include any material misrepresentations. In discussing what drove

  McGraw-Hill’s improved financial performance, the July 27, 2007 10-Q stated, in relevant part:

         In the second quarter of 2007 the Company achieved growth in revenue and
         operating profit of 12.5% and 25.8%, respectively. The increase in revenue is
         primarily attributable to growth in the Financial Services segment.

                                           *         *    *

         Service revenue increased 16.0% in the second quarter of 2007, due primarily to a
         21.2% increase in Financial Services. Financial Services increased primarily due
         to the performance of structured finance ratings and corporate (industrial and
         financial services) and government finance ratings. In the U.S., issuance of
         collateralized debt obligations (CDOs) and commercial mortgage-backed securities
         (CMBS) drove growth in structured finance, while in Europe issuance across all
         asset classes grew at a double-digit pace.

                                           *         *    *

         Financial Services revenue and operating profit increased substantially over
         second quarter 2006 results. Foreign exchange positively impacted revenue growth
         by $12.1 million and had an immaterial impact on operating profit growth.

         The Financial Services segment’s increase in revenue and operating profit was
         due to the performance of structured finance and corporate (industrials and
         financial services) and government ratings, which represented approximately 42.1%
         and 38.1%, respectively, of the growth in revenue. In the U.S., issuance of
         collateralized debt obligations (CDOs) and commercial mortgage-backed securities
         (CMBS) drove growth in structured finance, while in Europe issuance across all
         asset classes grew at a double-digit pace. The growth in corporate ratings issuance
         was driven primarily by acquisition financing, while public finance also performed
         well in the quarter with issuance driven by new money issuance and refundings.

         Total U.S. structured finance new issue dollar volume increased 5.5% in the
         second quarter versus prior year. U.S. CDO issuance increased 58.0%, according
         to Harrison Scott Publications and Standard & Poor’s internal estimates (Harrison
         Scott Publications/S&P). Despite weakness in issuance of cash CDOs backed by
         subprime residential mortgage-backed securities, overall issuance of U.S. CDOs
         remained strong due to growth in other sectors such as issuance of hybrids and
         synthetics as well as issuance of collateralized loan obligations (CLOs) which was
         fueled by the robust acquisition financing market. U.S. commercial mortgage-
         backed securities (CMBS) issuance increased 38.5% over the prior year due to higher
         mortgage originations driven by the low interest rate environment and strong
         commercial real estate fundamentals as well as rising property values and refinancing
         of maturing deals. U.S. residential mortgage-backed securities (RMBS) issuance
         decreased 12.4%, driven primarily by declines in the subprime and home equity
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        sectors. According to Thomson Financial, U.S. corporate issuance by dollar volume
        for the second quarter of 2007 increased 34.5%, with investment grade up 33.0% and
        high yield issuance up 42.6%, driven by continued robust merger and acquisition
        activity and opportunistic financing as issuers took advantage of favorable market
        conditions.

                                          *         *     *

        Structured finance will continue to drive global growth in 2007 with increases
        expected in all regions around the world. However, financial market concerns
        regarding the credit quality of subprime mortgages could adversely impact future
        debt issuance of residential mortgage backed securities and CDOs backed by
        subprime RMBS in the United States. On July 10, 2007, Standard & Poor’s placed
        612 classes of residential mortgage-backed securities backed by U.S. subprime
        collateral on CreditWatch with negative implications. Some of these classes have
        subsequently been downgraded. Standard & Poor’s also indicated that it would
        assess the impact of these potential negative movements on related asset classes,
        such as CDOs. Similar actions were taken by other credit ratings agencies as well.
        Notwithstanding the current market environment in the U.S., the Company had been
        anticipating a decline in residential mortgage originations as well as a slow down in
        the rate of growth of CDO issuance versus the significant rates of growth
        experienced in the past. U.S. residential mortgage backed securities issuance is
        expected to decline by approximately 20%-30% in the second half of the year which
        would result in approximately a 15%-20% decline in issuance for the year. Slower
        growth in U.S. CDO issuance is also expected, with growth rates ranging from
        approximately 15%-20% for the balance of the year. U.S. CDO growth for the year
        is expected to range between approximately 40-45% versus 93% in the first half of
        2007. The outlook for both asset classes as well as others is dependent upon many
        factors including the general condition of the economy, interest rates, credit
        quality and spreads, and the level of liquidity in the financial markets.

                                          *         *     *

        The market for credit ratings as well as research, investment advisory and broker-
        dealer services is very competitive. The Financial Services segment competes
        domestically and internationally on the basis of a number of factors, including
        quality of ratings, research and investment advice, client service, reputation, price,
        geographic scope, range of products and technological innovation.

                                          *         *     *

        The Company maintains disclosure controls and procedures that are designed to
        ensure that information required to be disclosed in the Company’s reports filed with
        the Securities and Exchange Commission (SEC) is recorded, processed, summarized
        and reported within the time periods specified in the SEC’s rules and forms, and that
        such information is accumulated and communicated to the Company’s management,
        including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
        appropriate, to allow timely decisions regarding required disclosure.

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         As of June 30, 2007, an evaluation was performed under the supervision and with the
         participation of the Company’s management, including the CEO and CFO, of the
         effectiveness of the design and operation of the Company’s disclosure controls and
         procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange Act of
         1934). Based on that evaluation, the Company’s management, including the CEO
         and CFO, concluded that the Company’s disclosure controls and procedures were
         effective as of June 30, 2007.

         353.    In response to the July 24, 2007 press releases and conference call, and the July 27,

  2007 Form 10-Q, the Company’s stock price declined, falling approximately 5.5% from a close of

  $63.37 on July 23, 2007 to closing prices of $59.79 on July 24, 2007 and $60.01 on July 27, 2007. If

  not for Defendants’ false and misleading statements and omissions, however, the Company’s stock

  price would have declined even further.

         354.    The statements referenced in ¶¶347-52 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶347-52 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

         •       The Company’s S&P brand had not yet taken “decisive action” (and, in fact, would
                 not until its settlement with the SEC). The Company’s ongoing inability or refusal to
                 conduct meaningful and timely surveillance meant that any action taken by the
                 Company was materially delayed.

         •       Although Defendants purported to give insight into the ongoing problems impacting
                 the Company’s Financial Services segment, the reality was they were misleading
                 investors because the Company’s models were insufficient for rating the performance
                 of subprime and Alt-A RMBS and CDOs.

         •       Although the Company claimed to be reviewing RMBS transactions for future
                 ratings actions, its surveillance was more than one year behind, and was very
                 severely understaffed.

         •       In light of the foregoing, the Company’s forecast for earnings lacked a reasonable
                 basis and McGraw was in no position to comment on the Company’s 2008 financial
                 outlook.


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         355.    On August 16, 2007, investors were shocked when the Associated Press published an

  article entitled “EU to Examine Credit Rating Agencies” reported that “the European Union will

  examine why credit rating agencies were slow to react to early signs of U.S. loan defaults that are

  now worrying investors worldwide.” The Associated Press article stated in relevant part:

                              EU to Examine Credit Rating Agencies

         EU to Look at Why Credit Rating Agencies Were Slow to Downgrade Subprime
         Losses

         BRUSSELS, Belgium (AP) – The European Union will examine why credit rating
         agencies were slow to react to early signs of U.S. loan defaults that are now worrying
         investors worldwide, EU officials said Thursday.

         The inquiry will look specifically at whether there were conflicts of interest, they
         said.

         Credit rating agencies such as Standard & Poor’s Corp., Moody’s Investors
         Service Inc. and Fitch Ratings are paid by the banks that they rate for credit-
         worthiness.

         A senior EU official, who spoke on a condition he not be quoted by name because of
         the sensitivity of the issue, said the EU needed to look at possibly strengthening its
         code of conduct and whether other measures would be appropriate.

         He said there was a “very significant delay” between banks reporting a sharp climb
         in poor returns from U.S. subprime housing loans made to people with poor credit
         and the agencies putting banks on credit watch.

         Agencies continued to support debt trading at a discount after banks’ first quarter
         results this spring showed a growing number of mortgage defaults, he said.

         In the United States, Rep. Barney Frank, chairman of the House Financial Services
         Committee, in a recent interview promised a “serious inquiry” this fall into the
         ratings agencies, which have been criticized for not properly evaluating the risks of
         bonds backed by mortgages given to borrowers with weak credit.

         EU spokeswoman Antonia Mochan confirmed that the European Commission and its
         high-level advisory group on financial services, the Committee of European
         Securities Regulators, would be looking at how credit rating agencies assess
         structured products, investments that derive their value from real assets and are used
         to spread risk.

         Mochan said the EU’s executive arm would look at the governance of these agencies,
         their management of conflict of interests and their ratings performance.


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         In addition, CESR will in parallel report on the agencies next April. A code of
         conduct drawn up by the International Organization of Securities Commissions was
         also under review, she said.

         “We have a general eye on market developments including regulatory supervision
         and hedge funds,” Mochan said. “We are following the situation and will draw any
         lessons that need to be drawn from what we see over the last weeks and in the
         coming days and weeks.”

         Moody’s spokesman Anthony Mirenda said the agency, “is committed to continuing
         the constructive dialogue that we’ve had with regulators and policymakers to
         enhance the overall understanding of the structured financial market, the various
         players in that sector and the role of ratings and rating agencies in the market.”

         A spokesman for S&P, part of McGraw-Hill Cos., declined to comment other than to
         say that S&P is participating in the European review. A Fitch spokesman, James
         Jockle, said that Fitch has not yet been contacted by the EU but “would be happy to
         answer whatever questions they may have about our business.”

         The worsening credit situation prompted French President Nicolas Sarkozy to urge
         the Group of Seven industrial countries to better monitor international financial
         markets. In a letter to German Chancellor Angela Merkel, he called for an
         investigation of the role of credit agencies in identifying risks.

         Sarkozy has repeatedly sought a greater role for governments in managing the
         economy – and has sought to wrest some control of monetary policy from European
         Central Bank regulators.

         356.    Investors were shocked by this news, which partially revealed the Company’s true

  financial condition, and reacted negatively, causing the price of McGraw-Hill shares to fall as low as

  $48 per share – on unusually heavy trading volume – as detailed in the chart below:




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   8000000                                                                                51




   7000000                                                                                50.5




   6000000                                                                                50




   5000000                                                                                49.5



                                                                                                     Volume
   4000000                                                                                49
                                                                                                     Price



   3000000                                                                                48.5




   2000000                                                                                48




   1000000                                                                                47.5




        0                                                                                 47
                    8/15/2007     8/16/2007     8/17/2007       8/20/2007     8/21/2007


             357.      The decline in the Company’s stock price was described in a Reuter’s article

  published on August 16, 2007, which stated:

             Rating agency shares fall on report of EU review

             New York, Aug 16 (Reuters) – Rating agencies’ shares were falling on Thursday
             after a European Union executive announced a review of the code used by the raters,
             a probe that could be critical of the industry.

             EU Internal Market Commissioner Charlie McCreevy said that the crisis in the U.S.
             subprime mortgage sector has highlighted apparent failings in the voluntary code
             now used by the raters.

             The three largest U.S. raters are Moody’s Corp [], Standard & Poor’s, a unit of
             McGraw-Hill Cos. Inc. [] and Fitch, a unit of France’s Fimalac[].

             Moody’s shares were off 1.7 percent or 84 cents in afternoon trading at $48.26 on the
             New York Stock Exchange, below their previous year low of $48.28 set last August;
             they fell as low as $43.70 earlier.

             Shares of McGraw-Hill were off 5.1 percent or $2.60 in NYSE trading, below their
             year low of $50.59 last August; they fell as low as $48.00 earlier.

             Fimalac shares fell 8 percent in Paris to 54.40 euros.

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         “There’s likely to be a headline risk in this story,” said Neil Godsey, and analyst with
         Friedman, Billings, Ramsey & Co. “And it will stay that way until the subprime
         turmoil subsides.”

         After the collapse of energy trader Enron Corp. in 2001, the global market regulators
         come out with a voluntary code. This was targeted at what they saw as conflicts of
         interest in the sector, whereby rating agencies are paid by the firms they rate.

         “The Commission is going to be looking at the issue of credit ratings agencies,
         particularly as they relate to rating of structured products,” Commission
         spokeswoman Antonia Mochan told a regular news briefing.

         In Brussels, Mochan said the Commission would look at a number of issues –
         governance of the agencies, their management of conflicts of interest, resourcing and
         ratings performance.

         She said the Commission would focus on “the concerns we have in regard to their
         apparent slowness in responding to material market evidence of deterioration since
         2006.”

         Mochan said the review would take at least until April 2008, but analysts said
         scapegoats were being hunted for the subprime fallout.

         “THE BLAME GAME”

         “The blame game has already started, with a growing criticism of the rating
         agencies,” Citigroup economist Richard Reid said.

         McCreevy will meet next month with the chairman of the Committee of European
         Securities Regulators (CESR), which groups the EU’s 27 national market watchdogs,
         to discuss the issue.

         Moody’s spokesman Anthony Mirenda said his company would not comment on its
         stock price butt was “committed to constructive dialogue with regulators and
         policymakers.”

         S&P said it was already participating in the CESR’s review of hose the industry
         complied with the code.

         James Jockle, a managing director of Fitch, said his company had not been contacted
         by the EU regarding the review but would be happy to participate. “We talk
         frequently to world regulators,” he said.

         358.   On August 30, 2007, the Company announced that it had terminated its relationship

  with S&P’s president, Corbet. On August 31, 2007, the Wall Street Journal reported on the

  Company’s shift in leadership:


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         McGraw-Hill Cos. replaced the top executive at Standard & Poor’s Corp. as
         criticism of the company’s financial-information division mounts for its role in the
         unfolding subprime-mortgage crisis.

         Kathleen Corbet, S&P’s president, is leaving to pursue other opportunities, McGraw-
         Hill Cos. said yesterday, without elaborating. She will be succeeded by Deven
         Sharma, 51 years old, a senior McGraw-Hill executive who has been at S&P since
         late last year.

         S&P’s bond-rating arm and several other rating services have downgraded
         hundreds of mortgage-backed securities tied to subprime loans in recent months.
         Critics charge S&P and others were too optimistic about the market for too long.
         Ratings firms say they did the best they could with the information available at the
         time. The company also compiles stock indexes such as the S&P’s Composite
         Index of 500 stocks, commonly known as the S&P 500.

         McGraw-Hill spokesman Steven Weiss said Ms. Corbet’s departure wasn’t related to
         criticism of its subprime-bond ratings.

                                           *         *     *

         McGraw-Hill’s shares soared during most of [Corbet’s] S&P tenure, in part because
         of booming credit markets. Shares have tumbled 26% since the start of this year.
         Earlier this month, they hit a 52-week low of $47.15. The shares rose 48 cents to
         $50.27 yesterday in 4 p.m. New York Stock Exchange composite trading.

                                           *         *     *

         The credit-market turmoil has caused a sharp decline in the issuance of mortgage-
         backed securities and derivatives like collateralized debt obligations. During the past
         few years, a large chunk of S&P’s revenue has come from rating these “structured-
         finance” products, which bring in more fees than rating corporate and municipal
         bonds.

         For the first six months of 2007, McGraw-Hill reported net income of $421 million,
         or $1.18 a share, up 49% from a year ago, in part because the previous year included
         a charge. Revenue was up 13% to $3.01 billion, half of which came from S&P,
         which chalked up growth of 21%. Analysts expect McGraw-Hill to report earnings
         of $3.05 a share for the full year, up 22% from 2006, according to Thomson
         Financial. They are expected to rise 14% in 2008. In addition to worries about a
         slowing market, investors have been concerned that the rating business will face
         litigation and more government regulation.

         359.   On September 7, 2007, The Wall Street Journal reported that the SEC and State

  Attorneys General of New York and Ohio were investigating and subpoenaing McGraw-Hill.

  Although the subpoenas attracted media coverage, McGraw-Hill did not disclose their existence to


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  investors for several weeks. The article stated, in part:

                                 Ratings Firms’ Practices Get Rated

                        SEC Probes if Conflicts Fueled Subprime Troubles

         In the wake of mortgage-market turmoil, regulators plan to probe how the big credit-
         rating companies are paid and whether they are independent enough of the Wall
         Street firms that issue bonds.

         The Securities and Exchange Commission and state attorneys general in New York
         and Ohio have begun to examine how the ratings firms evaluated subprime-
         mortgage-backed securities that grew into a trillion-dollar market. The ratings
         firms include McGraw-Hill Cos.’ Standard & Poor’s; the Moody’s Investors
         Service unit of Moody’s Corp., whose stock has soared in recent years; and Fitch
         Ratings, a unit of Fimalac SA of Paris.

         Wall Street bankers churned out profits in recent years by bundling mortgages into
         securities and selling them to investors. Ratings firms played an important role
         because they gave investment-grade ratings to many of those securities, making it
         easier for Wall Street firms to sell the bonds.

         Hundreds of those securities have since been downgraded by the ratings
         companies.

         Though that is a small portion of all the securities graded by the ratings firms, the
         reversal contributed to a rout in credit markets last month and has sparked criticism
         of the ratings firms.

                                                *       *     *

         In New York state, Attorney General Andrew Cuomo has subpoenaed documents
         from S&P and Fitch as part of a broader probe into the mortgage market. In Ohio,
         Attorney General Marc Dann is looking into the ways that rating firms interacted
         with Wall Street underwriters. “The more we look at it, the more we realize that
         these firms are important,” said Mr. Dann.

         360.    On September 10, 2007, CNBC reported that more states were joining in the probe of

  McGraw-Hill’s S&P brand:

         Half a dozen states are working together to investigate rating agencies, banks and
         other players that benefited from the onetime boom in subprime mortgages that has
         since turned into a meltdown, Ohio Attorney General Marc Dann told Reuters.

         Cooperating with Ohio, states including Massachusetts, Illinois and New York, as
         well as the District of Columbia, are gathering data to determine if agencies are
         independent enough from Wall Street banks that issue mortgage bonds and other
         securities, he said.

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        Dann also stressed that the investigation focuses on all the firms that participated in
        the booming market for mortgage securities: mortgage brokers, appraisers, wholesale
        and retail lenders, investment banks, law firms and accounting firms.

        “Everybody knows they don’t get paid until the transaction gets a triple-A rating,”
        said Dann, who has been looking into rating agencies since July.

        “The system clearly is broken, and the poster child for that breakdown is the
        securitization of fraudulently obtained mortgages now known as subprime bonds,”
        Dann said in a brief interview Friday. “Something has to be done about it.”

        A spokesman for Massachusetts Secretary of the Commonwealth William Galvin
        confirmed the office is looking into subprime market issues.

        New York Attorney General spokesman Jeffrey Lerner declined to comment on the
        credit agencies probe. “We have not commented on the ongoing investigation.”

                                 Incentives for Ratings Agencies?

        Dann in recent months has been among the most vocal critics of the mortgage
        securities industry. He argues that agencies such as the Moody’s Investors Service
        unit of Moody’s and Standard & Poor’s, part of McGraw-Hill, had an incentive to
        work with underwriters and ultimately grant high ratings to securities packaged by
        Wall Street banks.

        Those ratings in several cases were downgraded after subprime loans went sour,
        leading to losses in related securities. The rating cuts sparked a wider panic in debt
        markets that has triggered losses for investors and a credit crunch more broadly.

        Thousands of Ohio homeowners now face default and state pension funds suffered
        losses on mortgage bonds that were supposed to be as safe as Treasuries, Dann said.

        On Wednesday, the Securities and Exchange Commission said it had begun a probe
        into the role of rating agencies in the mortgage market. The review, an SEC official
        told a Congressional hearing, looks at advisory services provided by agencies to
        underwriters and to lenders, the potential for conflicts of interest, disclosures and the
        performance of credit ratings after issuance.

        Moody’s said it is cooperating with the various probes.

        “In light of developments in the market we’ve received and anticipate receiving
        various government inquiries and we will assist with each of these inquiries,”
        Moody’s spokesman Tony Mirenda said. S&P officials were not immediately
        available for comment.

        Dann declined to comment on the specifics of his probe. He did say the state plans to
        hire an outside legal counsel over the next few weeks and has beefed up staff
        assigned to handle the expanding probe.

        Looking ahead, Dann said he expects these actions will lead to industry reforms,
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         including greater transparency surrounding the relationship between banks and
         agencies. He also hopes the industry can create a different evaluation process for
         bonds that prevent conflicts of interest.

         “We’re going to work as hard as we can for consumers and pensioners, to hold
         accountable all those who created such a perverted version of our capital markets,”
         Dann said.

         361.   On September 18, 2007, the Company issued a press release entitled “The McGraw-

  Hill Companies Reaffirms Double-Digit Earnings Growth for 2007,” which stated in relevant part:

         In a presentation today at Goldman Sachs’ Communacopia XVI 2007 conference,
         Harold McGraw III, chairman, president and CEO of The McGraw-Hill Companies
         (NYSE: MHP), reaffirmed that the Corporation expects to achieve double-digit
         earnings growth in 2007, continuing its long-standing record of growth.

         “We expect to achieve our goal of double-digit earnings growth for the year even
         though the rate of growth is expected to slow during the second half of the year as
         compared to our very strong first-half performance,” said Mr. McGraw. “For the full
         year, we also still expect to achieve double-digit top- and bottom-line growth in
         Financial Services, as well as improved operating margins in our McGraw-Hill
         Education and Financial Services business segments.”

                                           *         *    *

         In Financial Services we anticipate top-line growth of nine-to-12 percent and
         double-digit bottom-line growth in the third quarter, while our Information &
         Media businesses will continue to battle the impact of a soft advertising market for
         the remainder of the year, which may affect our hopes for 2007 margin improvement
         in this business segment.”

         Mr. McGraw noted that Standard & Poor’s faces the toughest comparisons of the
         year in the fourth quarter given that its revenue grew by 22.1 percent in the fourth
         quarter of 2006. In reviewing current deceleration in the U.S. structured finance
         market, Mr. McGraw commented that “assuming it continues, we anticipate flat to
         declining revenue in the fourth quarter and a reduction in operating profit versus
         the same period last year” in Financial Services.

         “We are obviously coming through a challenging period in Financial Services, but
         we believe the issues are short-term and can be addressed. Furthermore, favorable
         long-term trends, including the globalization of financial markets, securitization,
         privatization and the disintermediation of the banks in favor of public markets, will
         continue to drive our business for some time to come,” said Mr. McGraw.

         “We look forward to continuing Standard & Poor’s tradition of service to investors
         around the globe by working with government officials as they review the role our
         industry plays in the capital markets and the way credit ratings are set,” added Mr.
         McGraw.

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         362.    Also on September 18, 2007, McGraw participated in the Goldman Sachs

  Communacopia XVI Conference. During the conference, McGraw made additional false and

  misleading statements to the market:

         S&P has always lived in a goldfish bowl. Our business model has always been built
         on transparency and regulators now require it. That is why we publish our ratings
         and analysis free to investors and to others around the world in real time. Each day,
         S&P publicly issues between 500 and 1000 ratings opinions across the globe. Today,
         there are more than 1.2 million public and private opinions on debt outstanding, most
         of which are available for free at standardandpoors.com. Investors can access up to
         nine million current and historical ratings on S&P’s RatingsDirect.

         Because the market wants to scrutinize our ratings, we also host conferences,
         seminars, teleconferences around the world and we publish articles explaining
         assumptions, methodologies, criteria guidelines, transition studies and performance
         data on our ratings opinions. We have institutional safeguards in place to ensure
         the independence and integrity of those opinions.

         For all that transparency, we still see misunderstanding starting with the basic notion
         of what a credit rating represents. A rating is an impartial and independent opinion
         on the credit quality of bonds and the likelihood that investors will be paid interest
         and principal in a timely fashion. At S&P, these ratings are decided by committees,
         not by individual analysts. Rating the ultimate credit risk of course is not the same as
         pricing the bond.

         In our view, credit ratings do not and should not fluctuate like bond prices. Bond
         prices are anticipatory, while bond ratings are based on current and expected credit
         performance. In other words, bond ratings are an assessment of the current credit
         worthiness of an obligation in accordance with its terms. We are not operating a
         buy/sell/hold business. Ratings in comparison to the ebb and flow of market prices
         are designed to be stable. They do change of course, but that is based on new
         information or fundamental adjustments to risk profiles that drive the assumptions
         behind our credit opinions.

         We do not structure transactions nor do we determine which deals can or cannot
         proceed. We are not investment advisors and we are not consultants. There is no
         distinction between a rating of a corporate bond or a rating of just one tranche of a
         structured finance transaction. In both cases, Standard & Poor’s is applying its
         own predetermined, nonnegotiable and publicly available criteria and assumptions
         to the facts presented.

         So while there may be more dialog between S&P and an issuer in the structured
         finance transaction, that does not change the reality that at its core, S&P is still just
         applying its own predetermined, nonnegotiable, publicly available criteria in a factual
         context.


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         As part of the ratings process, we do have regular dialog with bond issuers. We think
         it is necessary and the international regulatory community insists on openness,
         transparency and dialog. This dialog helps issuers understand our ratings criteria and
         it helps S&P understand the structured securities so that it can arrive at better
         informed opinions on credit worthiness.

         S&P has been criticized by some for moving too fast or too slow, moving too slowly
         as the charge in the subprime market. The problems in the subprime market did not
         develop overnight. We are in the 20th month of a housing recession. By early 2006,
         S&P was informing the market about increased risk. Here is a headline from the
         S&P RatingsDirect in January 2006. US residential mortgage backed securities
         market still robust, but risks are increasing and growth drivers are softening.

         In April of 2006, S&P told the market that it was raising the level of credit support,
         credit enhancement, collateral required for riskier subprime deals. Here is a headline
         from S&P RatingsDirect in May 2006. A more stressful test of a housing market
         decline on US residential mortgage backed securities. By July 2006, S&P was
         reporting sector report card, the heat is on for subprime mortgage. The point is that
         Standard & Poor’s was already clearly informing the market in early 2006 about
         risks that it perceived in the residential mortgage backed securities backed by
         subprime loans and the potential effect on credit worthiness.

         363.    The statements referenced in ¶¶361-62 were each materially false and misleading

  when made for the reasons set forth in ¶256 and the factual detail contained throughout this

  Complaint. In addition, the statements referenced in ¶¶361-62 were each false and misleading when

  made as they misrepresented and/or omitted adverse facts which then existed and disclosure of

  which was necessary to make the statements not false and/or misleading. The true facts, which were

  then known to or recklessly disregarded by each of the Defendants, were:

         •       The so-called “challenging period” being experienced in Financial Services was the
                 direct result of Defendants’ fraudulent scheme and concealed risks resulting
                 therefrom. Moreover, Defendants lacked a reasonable basis for labeling the issues as
                 “short-term.” Quite the opposite, they were fully aware they had leveraged the
                 Company’s entire reputation on the pursuit of market share at any cost.

         •       McGraw’s statement that the Company’s ratings of tranches of structured finance
                 transactions was based on S&P applying its “own predetermined, nonnegotiable and
                 publicly available criteria and assumptions to the facts presented” was a complete
                 and total fabrication. It is a documented fact that the Company’s criteria was
                 negotiable and not entirely publicly available. Defendants’ entire race to the bottom
                 in pursuit of market share required the continual downward negotiation of ratings
                 criteria so that the Company could rate more deals and not lose deals to its
                 competition, including Moody’s, among others.

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         •      McGraw was further misleading the market by hiding behind the purported warnings
                S&P gave to the market in 2006 about increased credit risk. The reality was that
                because the Company’s models had no predictive capability for the toxic RMBS and
                CDOs it had been rating, the Company had no idea how much loss coverage was
                actually required to make sure the deals it rated did not implode and collapse.

         364.   On October 18, 2007, the Company issued a press release entitled “The McGraw-Hill

  Companies Reports Third Quarter EPS of $1.34, a 26.4% Increase,” which stated in relevant part:

         The McGraw-Hill Companies (NYSE: MHP) today reported diluted earnings per
         share increased 26.4% to $1.34 in the third quarter compared to $1.06 for the same
         period last year. Diluted earnings per share in 2006 included a $0.03 charge for
         restructuring business operations.

                                          *         *    *

         “Double-digit growth and increased share in the elementary-high school market in
         the most important quarter of the year for education and solid performances in
         Financial Services even as the structured finance market deteriorated were key to
         our results,” said Harold McGraw III, chairman, president and chief executive
         officer of The McGraw-Hill Companies. “The operating margin expanded in all
         three segments.

                                          *         *    *

         Financial Services: “Revenue for this segment increased 12.5% in the third
         quarter to $759.6 million compared to the same period last year. Operating profit
         grew by 17.3% to $346.7 million. Foreign exchange rates positively affected
         revenue growth by $12.6 million and had an immaterial impact on operating profit
         growth.

         “Double-digit growth in Standard & Poor’s international fixed income markets, a
         strong performance by corporate and government ratings, and outstanding results
         from financial information products and services offset growing weakness in
         structured finance. Although new issuance in the U.S. bond market declined
         precipitously in September, the segment improved its operating margin to 45.6%,
         up from 43.8% for the same period in 2006.

         “International credit ratings and services accounted for 41.6% of ratings revenue in
         the third quarter versus 38.5% for the same period last year.

         “Structured finance revenues declined modestly in the third quarter due to difficult
         conditions in the credit markets created by the performance of subprime
         mortgages. Solid growth overseas partially offset a decline in the U.S. market. The
         contraction in U.S. residential mortgage-backed securities activity and the related
         impact on the collateralized debt obligation sector were the biggest contributors to
         the revenue shortfall in structured finance. Revenue increased in the asset-backed


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         securities market.

                                            *         *     *

         “For the third quarter, new issue dollar volume declined by 19.7% in the U.S. market
         and by 23.6% in Europe, according to reports from Thomson Financial and Harrison
         Scott Publications and Standard & Poor’s estimates.

         “In the U.S., investment-grade corporate dollar volume issuance increased 9.4%
         while speculative volume fell 76.8%. As a result, total corporate issuance was flat.
         Public finance issuance was up 3.8%. Mortgage-backed securities issuance was off
         43.9% as residential mortgage-backed securities fell 59.3%. Asset-backed securities
         issuance was off 7.6%.

                                            *         *     *

         The Outlook : “We are still on course to produce double-digit earnings per share
         growth in 2007, as well as improved operating margins in the Financial Services and
         McGraw-Hill Education segments. For the fourth quarter, revenues and earnings
         will not match last year’s results because of challenging conditions in the structured
         finance market and some softness in education.”

         365.    Also on October 18, 2007, McGraw-Hill hosted a conference call to discuss its third

  quarter 2007 earnings and outlook. The Individual Defendants participated in the call on behalf of

  the Company. During the call, numerous false and misleading statements were made that were

  designed to artificially inflate the Company’s stock price. For example, McGraw stated:

         Credit quality issues and the repricing and re-evaluation of risks, due in part to the
         concerns regarding the performance of subprime mortgages, all contributed to that
         decline.

                                            *         *     *

         Although new issue volume is an imperfect measure of our performance in any one
         period, recent issuance does illustrate the trajectory of business in the third quarter.
         As this chart indicates, after a slow start in July, there was strong acceleration in new
         dollar issuance in the U.S. industrial market in August and September and obviously
         for the third quarter. There also was modest improvement in the public finance
         sector, which was encouraging, but we saw a sharp decline in new issuance dollar
         volume in the U.S. structured finance markets as the third quarter progressed. The
         following charts illustrate the pattern I have just described. You can see year-over-
         year volume plunging in September for the U.S. residential mortgage-backed
         securities, and also somewhat for the U.S. commercial mortgage-backed securities,
         and U.S. collateralized debt obligations, CDOs.



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         The activity that we’re seeing in the U.S. structured finance so far in October is
         tracking the level of issuance we saw in September. We already pointed out that the
         year-to-year comparisons are challenging in the fourth quarter for structured finance.
         It is a large quarter seasonally for that business, and the revenue model is heavily
         transaction oriented. We now expect new issue dollar volume in the U.S. residential
         mortgage-backed securities market to decline by 70 to 75% in the fourth quarter
         versus last year, which obviously was robust. Declines of 85% to 90% are possible
         in the new issuance of U.S. CDOs, collateralized debt obligations, in the fourth
         quarter versus last year. As these charts illustrate, new issue dollar volume in the
         fourth quarter of 2006 actually surged in December for U.S. residential mortgage-
         backed securities, and collateralized debt obligations. The comparisons may not be
         quite as challenging for asset-backed securities, and possibly U.S. commercial
         mortgage-backed securities.

         366.    Regarding the problems in the subprime market, McGraw downplayed the extent of

  problems facing the Company:

         Well, we’re in to subjective territory, Craig. My opinion is just one. I personally
         don’t think a two-year timeframe for a credit crunch in the structured finance market
         to return is realistic. We’re already seeing signs of things like the commercial
         mortgage-backed market starting to pick up again, and I think it was just a pause it
         had taken there because we had seen since early 2005 that market do very well. But,
         I think we have to assume that there’s going to be some softness, certainly with
         CDOs and residential mortgage-backed securities going forward here, but I don’t
         think we’re going to see an extended credit crunch. I think that would have
         implications on the economy overall, and I don’t think that would be in the best
         interest of the major lending institutions either, so I just don’t see that taking place.
         There is enormous liquidity that still exists in the system because of all of the
         worldwide surpluses and that still has to be employed. So, I see this as more
         temporary in nature rather than long-term in nature.

         367.    Later in the conference call, the following exchange took place as one analyst

  questioned how McGraw-Hill’s S&P brand would be impacted by the extreme problems in the

  structured finance market:

         David Einhorn (Greenlight Capital, Analyst):               Oh, thanks for taking my
         question as well. My question is, as you look at the structured finance market, are
         there parts of that it you feel, looking back -- it’s not a question that they -- there’s a
         temporary issue, but maybe some of this just wasn’t such a good idea to begin with?
         And, second, I’m wondering how you view Standard & Poor’s from a brand, and
         what might be happening to the brand as a result of what’s gone on in the
         structured finance market? Thanks so much.

         McGraw III: Yes, David, the market is what the market is, and what we do is
         provide access to the capital markets, and provide in the structured area, credit
         ratings that relate to the risk a particular instrument has in terms of defaulting on its
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          interest or on its principal payment. So, the structured finance market is a -- is a
          market that institutional investors like, and a lot. The reason is, is because with
          structured product you can -- you can divide them up in to tranches and you can get
          just the risk reward characteristics or attributes that you are looking for in terms of
          your own portfolio construction on that one. So, if the market wants those kinds of
          products, and the institutional investors want those products, then we move with the
          market and we’re going to rate whatever on that part.

          Give even the current environment I think what you are going to see is more of a
          flight to quality, and -- and less to speculative grade on that, and -- and we’re
          reflecting that now. In terms of Standard & Poor’s as a brand, no. I mean, your
          constantly growing. You’re constantly learning. You’re constantly involved in not
          only the rating side of the market, but providing the transparency in terms of all of
          the financial information products. And we are -- we take that responsibility very
          seriously, and the credibility that S&P has as a brand, in terms of serving the
          markets in a lot of areas here and around the world, is only going to grow with the
          growth of the capital markets.

          368.    On October 26, 2007, Connecticut Attorney General Blumenthal confirmed that his

  office issued subpoenas to the three largest debt rating agencies as part of an antitrust investigation

  into the commercial debt rating industry. Blumenthal sent the subpoenas October 10, 2007 to S&P,

  among others. McGraw-Hill did not disclose the subpoena until October 26, 2007.

          369.    Also on October 26, 2007, the Company filed its interim financial report on Form 10-

  Q for the quarter ending September 30, 2007. The financial results reported in the 10-Q were

  substantially similar to those reported in the Company’s October 18, 2007 press releases. The Form

  10-Q was signed by Bahash, and contained required Sarbanes-Oxley certifications signed by

  McGraw and Bahash stating that the Form 10-Q did not include any material misrepresentations. In

  discussing what drove McGraw-Hill’s improved financial performance, the October 26, 2007 10-Q

  stated, in relevant part:

          In the third quarter of 2007 the Company achieved growth in revenue and
          operating profit of 9.8% and 17.0%, respectively. The increase in revenue is
          primarily attributable to growth in the McGraw-Hill Education and the Financial
          Services segments.

                                            *         *     *

          Service revenue increased 10.5% in the third quarter of 2007, due primarily to a
          12.5% increase in Financial Services. Financial Services increased primarily due to
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        the performance of corporate (industrial and financial services) and government
        finance ratings. Structured finance ratings faced challenging market conditions as
        a result of the performance in the subprime mortgage sector as well as concerns
        about credit quality across most debt asset classes. The service margin increased to
        34.4% from 30.0% in the third quarter of 2006.

        In Financial Services, because of current credit market conditions, issuance levels
        have deteriorated across all asset classes and regions during the latter half of the
        third quarter. The impact on U.S. residential mortgage-backed securities and U.S.
        collateralized debt obligations has been the greatest. If current market conditions
        persist, the Company expects global issuance levels to decline significantly in the
        fourth quarter of 2007 versus the prior year, primarily in structured finance. The
        outlook for both asset classes as well as others is dependent upon many factors
        including the general condition of the economy, interest rates, credit quality and
        spreads, and the level of liquidity in the financial markets.

                                          *         *     *

        The performance of corporate (industrials and financial services) and government
        ratings contributed to the segment’s increase in revenue and operating profit.
        Structured finance ratings faced challenging market conditions as a result of the
        performance in the subprime mortgage sector as well as concerns about credit
        quality across most debt asset classes. In the U.S., issuance declines were
        experienced in the quarter across all structured asset classes with the exception of
        commercial mortgage-backed securities (CMBS), while in Europe, issuance
        increased across all structured asset classes with the exception of CMBS. A flight to
        quality led to increases in U.S. corporate investment grade issuance and U.S. public
        finance as well as a large decline in speculative grade issuance.

        Total U.S. structured finance new issue dollar volume declined 33.6% in the third
        quarter versus prior year. U.S. commercial mortgage-backed securities issuance
        increased 52.5% over the prior year, according to Harrison Scott Publications and
        Standard & Poor’s internal estimates (Harrison Scott Publications/S&P), as
        commercial real estate fundamentals remained strong through the first half of the
        year, which favorably impacted the third quarter. U.S. residential mortgage-backed
        securities (RMBS) issuance decreased 59.3%, driven primarily by declines in the
        subprime, Alt-A and home equity sectors and a weak housing market. U.S.
        collateralized debt obligation (CDO) issuance declined 13.3%. The unfavorable
        conditions in the credit markets contributed to weakness in CDOs by curtailing
        issuance of CDOs of asset-backed securities (ABS) and collateralized loan
        obligations (CLOs). According to Thomson Financial, U.S. corporate issuance by
        dollar volume for the third quarter of 2007 was flat compared to the same period in
        2006, with investment grade issuance up 9.4% but high yield issuance down 76.8%,
        driven primarily by investor flight to quality. The U.S. municipal market grew
        modestly at 3.8%, coming off a slow third quarter 2006, with new money issuance
        outpacing the decline in refundings.

        In Europe for the third quarter, structured finance issuance decreased 4.4% as a result
        of a large decline in CMBS. European corporate issuance declined 34.0% in the
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        third quarter with decreases in both financial services and industrials. High yield and
        investment grade issuance in Europe were down 8.7% and 34.5%, respectively, for
        the quarter.

        Financial market concerns regarding the credit quality of subprime mortgages have
        adversely impacted debt issuance of residential mortgage-backed securities and
        CDOs backed by subprime RMBS in the United States and in Europe. The Company
        had been anticipating a decline in residential mortgage originations and RMBS
        issuance as well as a slowdown in the rate of growth of CDO issuance versus the
        significant growth rates experienced in the past. U.S. residential mortgage-backed
        securities issuance is expected to decline by approximately 70%-75% in the fourth
        quarter, as compared to the fourth quarter of 2006, which would result in
        approximately a 35%-40% decline in issuance for the year. Slower growth in U.S.
        CDO issuance is also expected; with declines in the range of 85%-90% for the fourth
        quarter, as compared to the fourth quarter of 2006, and flat to declining for the year.
        Because of the current credit market conditions, issuance levels have deteriorated
        across all asset classes and regions during the latter half of the third quarter. The
        impact on U.S. RMBS and U.S. CDOs has been the greatest. If current market
        conditions persist, the Company expects global issuance levels to decline
        significantly in the fourth quarter of 2007 versus the prior year, primarily in
        structured finance. The outlook for both asset classes as well as others is dependent
        upon many factors including the general condition of the economy, interest rates,
        credit quality and spreads, and the level of liquidity in the financial markets.

                                          *         *     *

        In the third quarter of 2007, rating agencies became subject to scrutiny for their
        ratings on structured finance transactions that involve the packaging of subprime
        residential mortgages, including residential mortgage-backed securities (RMBS)
        and collateralized debt obligations (CDOs).

        On August 29, 2007, Standard & Poor’s received a subpoena from the New York
        Attorney General’s Office requesting information and documents relating to
        Standard & Poor’s ratings of securities backed by residential real estate mortgages.
        Standard & Poor’s is responding to this request.

        On October 16, 2007, Standard & Poor’s received a subpoena from the
        Connecticut Attorney General’s Office requesting information and documents
        relating to the conduct of Standard & Poor’s credit ratings business. The
        subpoena appears to relate to an investigation by the Connecticut Attorney General
        into whether Standard & Poor’s, in the conduct of its credit ratings business,
        violated the Connecticut Antitrust Act. The Company is responding to the
        subpoena.

        In September 2007, the SEC commenced an examination of rating agencies’
        policies and procedures regarding conflicts of interest and the application of those
        policies and procedures to ratings on RMBS and related CDOs. Standard &
        Poor’s is cooperating with the SEC staff in connection with this examination. On
        September 26, 2007, Standard & Poor’s testified before the U.S. Senate Committee
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         on Banking, Housing and Urban Affairs concerning the role of rating agencies in the
         capital markets and, specifically, the subprime market. On September 27, 2007,
         Standard & Poor’s also testified before the U.S. House of Representatives (Financial
         Services Committee) Subcommittee on Capital Markets, Insurance and Government
         Sponsored Enterprises concerning the role of rating agencies in the structured finance
         market.

                                           *         *     *

         The market for credit ratings as well as research and investment advisory services
         is very competitive. The Financial Services segment competes domestically and
         internationally on the basis of a number of factors, including quality of ratings,
         research and investment advice, client service, reputation, price, geographic scope,
         range of products and technological innovation.

                                           *         *     *

         The Company maintains disclosure controls and procedures that are designed to
         ensure that information required to be disclosed in the Company’s reports filed with
         the Securities and Exchange Commission (SEC) is recorded, processed, summarized
         and reported within the time periods specified in the SEC’s rules and forms, and that
         such information is accumulated and communicated to the Company’s management,
         including its Chief Executive Officer (CEO) and Chief Financial Officer (CFO), as
         appropriate, to allow timely decisions regarding required disclosure.

         As of September 30, 2007, an evaluation was performed under the supervision and
         with the participation of the Company’s management, including the CEO and CFO,
         of the effectiveness of the design and operation of the Company’s disclosure controls
         and procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange
         Act of 1934). Based on that evaluation, the Company’s management, including the
         CEO and CFO, concluded that the Company’s disclosure controls and procedures
         were effective as of September 30, 2007.

         370.    In response to the October 18, 2007 press release and conference call, and the

  October 26, 2007 Form 10-Q, the Company’s stock price declined slightly, trading at closing prices

  of $51.42 on October 18, 2007 and $49.75 on October 26, 2007. If not for Defendants’ materially

  false and misleading statements during that time period, the Company’s stock price would have

  suffered additional declines.

         371.    The statements referenced in ¶¶364-67 and ¶369 were each materially false and

  misleading when made for the reasons set forth in ¶256 and the factual detail contained throughout

  this Complaint. In addition, the statements referenced in ¶¶364-67 and ¶369 were each false and

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  misleading when made as they misrepresented and/or omitted adverse facts which then existed and

  disclosure of which was necessary to make the statements not false and/or misleading. The true

  facts, which were then known to or recklessly disregarded by each of the Defendants, were:

         •       McGraw lacked a reasonable basis for downplaying the problems facing the
                 Company and labeling them as temporary in nature. It was well documented within
                 the Company that S&P had been rating toxic deals that were unlikely to perform, that
                 the models used to do so were wholly inadequate and inaccurate, and that
                 surveillance of the deals it rated had been nothing short of atrocious.

         •       The Company’s brand was on life support. Defendants were fully aware that once
                 the totality of their fraud was exposed, the S&P brand would no longer be trusted to
                 “serve the markets” because it would lack any semblance of credibility.

         •       The Company’s structured finance ratings faced much more than “challenging
                 market conditions.” It faced the culmination of Defendants’ fraud and the
                 evaporation of the unsustainable, lucrative fees the Company had raked in throughout
                 the Class Period through the use of inadequate models and relaxed criteria standards.

         372.    On December 3, 2007, McGraw spoke at the UBS Global Media Conference on

  behalf of the Company. During the conference, McGraw made numerous false and misleading

  statements designed to minimize the impact of the subprime market meltdown on the Company and

  to maintain the artificial inflation in the Company’s stock price. For example, McGraw stated:

         Financial services also faces challenging comparisons in the first half next year and
         into the third quarter. We will be obviously providing constant updates as the market
         recovers. But getting some still to be determined level of activity in 2008, we expect
         to see a reduced appetite for complex structured products, a tightening of credit
         standards by originators who remain in the marketplace, more issuance by higher
         quality issuers, and although there will be a pullback in the U.S. structured finance
         market next year and whereas there is some weakness in Europe, the fundamentals of
         structured finance remain very positive there.

                                            *         *     *

         With that, let’s spend a little bit of time on the regulatory and the legal risks that we
         face. For the record, the U.S. Securities and Exchange Commission on September
         24th officially registered at Standard & Poor’s as a nationally recognized statistical
         rating organization under the U.S. Credit Rating Agency Reform Act of 2006, which
         went into effect in June of this year. The SEC is using its new authority to examine
         S&P’s policies and procedures, and obviously not only are we cooperating fully, it is
         in our best interest to do everything possible to make sure that we are supporting the
         SEC and to ensure that the new process works effectively and efficiently. And we are

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        working with the various appropriate entities outside the United States as well.

        Because as we all are aware, the SEC isn’t the only interested party in rating
        agencies. In the wake of recent events in the subprime mortgage market, we are also
        dealing obviously with the Congress, with regulators in Europe, and that would be
        both CESR, the security regulators as well as IOSCO, the security commissioners,
        State Attorney Generals, other government agencies, and representatives.

        Lawsuits have been filed with federal courts in California and in Washington, but so
        far none has been served with a complaint in either case. Much has been written
        about all of this and it is disappointing how much of the commentary is misinformed.
        We see default on subprime loans confused with defaults on AAA-rated U.S.
        residential mortgage-backed securities.

                                          *         *     *

        S&P is currently studying a range of voluntary actions in four key areas, governance,
        analytics, education, and information and communication. And in all of these areas,
        over the next three weeks you’ll be hearing a number of pronouncements that we will
        be making in terms of what we’re going to do in terms of voluntary actions to make
        things even tighter.

        373.   As the conference continued, McGraw continued to tout the strength of the subprime

  mortgage market:

        What we’re seeing now -- by the way, subprime gets a lot of hard knocks. The
        subprime market is a fabulous market. It was established about 20 years ago and
        the first ten years of it was fairly small in terms of volume. It was used for a lot of
        debt consolidation, paying credit card bills, things like that. It was about ten years
        ago when the volume took off and what the subprime market was designed -- at
        again, the innovation of the capital markets -- was designed to do was to provide
        access to credit and access to homeownership to the underclass. And in the last ten
        years, homeownership in America has gone from 64% to 69%.

        So it has been a very lucrative market. Where the problem is is in the 2005/2006
        vintage loans, and it’s more than end of cycle kind of phenomenon. So what we have
        seen is that there has been a lot of speculation in those loans. After the fact, we now
        know that about 36% of the 2005/2006 vintage were used for speculative investment.
        This is where I would buy your house, fix it up, and flip it in four months. There was
        a lot of that activity.

                                          *         *     *

        We saw that problem at the end of 2005 and we are working with regulators in terms
        of being able to strengthen some of these underwriting standards. In April of ‘06, we
        came out with an announcement saying the criteria and the assumptions that you
        need to focus on that are publicly available to make a credit rating have to be
        strengthened. That is when we did that, but then you need the hard evidence of

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         delinquencies and defaults and so forth before you can actually initiate a downgrade.
         You can’t do it on sentiment.

                                           *         *    *

         So we have to -- we’re going to have to see what those activities are on that one. So
         we got a three-tiered cost structure plan. The first one is where we are right now.
         You are screwing everything you have. Do we have a hiring freeze? No. Are we
         hiring? No. We just don’t -- you don’t want to be going to that for internal purposes
         and all of those kind of things. But we are watching that.

         374.   On January 8, 2008, the Company issued a press release announcing that it had

  terminated 600 employees.      The press release was entitled “The McGraw-Hill Companies

  Announces Restructuring of Select Business Operations,” and stated in part:

         The McGraw-Hill Companies (NYSE: MHP) today announced that it restructured a
         limited number of business operations in the fourth quarter of 2007 to fortify the
         Corporation’s long-term growth prospects.

                                           *         *    *

         In the fourth quarter of 2007, the Corporation incurred a restructuring charge of
         $43.7 million, pre-tax, consisting mostly of employee severance costs related to a
         workforce reduction of approximately 600 positions across the Corporation. This
         reduction represents approximately three percent of the Corporation’s global
         workforce. The total restructuring charge after tax is $27.3 million, or $0.08 per
         diluted share of fourth quarter 2007 earnings.

         “Reducing staff is never an easy decision, but we believe the steps we have taken
         will strengthen our organization, enhance our ability to serve our customers and
         maximize shareholder value,” said Mr. McGraw.

                                           *         *    *

         The Financial Services segment accounts for $18.8 million, pre-tax, of the
         restructuring charge. In this segment, the reduction was driven by the current
         business environment, as well as the consolidation of several support functions
         across Standard & Poor’s global operations. The segment’s restructuring actions
         affected both Standard & Poor’s ratings and non-ratings businesses.

         375.   On January 24, 2008, the Company issued a press release announcing its financial

  results for the fourth quarter and full year 2007 entitled “The McGraw-Hill Companies Reports

  22.5% Increase in 2007 EPS,” which stated in part:



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        The McGraw-Hill Companies (NYSE: MHP) today reported 2007 diluted earnings
        per share of $2.94, an increase of 22.5% versus $2.40 in 2006. The 2007 results
        include a $0.03 diluted per share gain on the divestiture of a mutual fund data
        business and an $0.08 restructuring charge mainly for employee severance costs
        for a reduction of 611 positions.

                                          *         *    *

        Net income for 2007 increased 14.9% to $1.0 billion compared to 2006. Revenue in
        2007 grew by 8.3% to $6.8 billion versus 2006.

                                          *         *    *

        Net income for the fourth quarter of 2007 was $140.6 million versus $204.8 million
        in 2006. Revenue declined 1.5% to $1.6 billion in the fourth quarter of 2007.

                                          *         *    *

        Financial Services : “Revenue for this segment in 2007 increased by 10.9% to $3.0
        billion compared to last year. Operating profit grew by 13.1% to $1.4 billion.
        Included in the segment’s operating profit is a pre-tax gain of $17.3 million on the
        divestiture of a mutual fund data business in the first quarter and an $18.8 million
        pre-tax restructuring charge in the fourth quarter consisting mostly of severance
        relating to a workforce reduction of 172 positions, driven by the current business
        environment, as well as the consolidation of business support functions.

                                          *         *    *

        “In the fourth quarter, revenue declined by 7.2% to $736.7 million. Including the
        restructuring charge, operating profit in the fourth quarter fell by 22.8% to $263.4
        million.

                                          *         *    *

        The Outlook: “We are facing a challenging economic environment in 2008.
        Nevertheless, we expect revenue growth in 2008 of 6% to 8% at McGraw-Hill
        Education and Information & Media, and a 2% to 4% increase at Financial
        Services.

        “The diversity and breadth of our portfolio again will be a significant factor in the
        performance of Financial Services in 2008. The negative impact on the segment’s
        operating margin from the fall-off in structured finance will be partially offset by
        growth in other ratings markets and by Standard & Poor’s Investment Services. As a
        result, the segment’s operating margin may decline between 125 and 225 basis points
        in 2008.

                                          *         *    *

        “As a result, we now expect to produce another year of growth with earnings per
        share increasing by 3% to 5% in 2008. Net income, reflecting increased interest
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         expense for share buybacks, will decline slightly.

         376.    Reacting to the Company’s press release, analysts responded favorably. For example,

  on January 21, 2008, analysts from Bear Stearns stated, in part:

         The point was well taken – S&P seems to have good diversification, and
         management is confident that the credit crunch will not eviscerate revenues/profits
         in 2008. In fact, S&P guidance for 2008 is better than expected – revenues +2-4%
         with margin down 125-225 basis points.

                                           *         *     *

         [McGraw-Hill] shares jumped 7% today – short covering likely provided some of the
         boost. However, we think management did a good job detailing the expected
         revenue build-up for S&P in 2008.

         377.    On February 7, 2008, the Company issued a press release entitled “S&P Announces

  New Actions to Enhance Independence, Strengthen the Ratings Process, and Increase Transparency

  to Better Serve Global Markets,” which stated in part:

         Standard & Poor’s Ratings Services (“S&P”) today announced that we have begun
         implementing a broad set of new actions to further strengthen our ratings
         operations and better serve capital markets around the world.

         “The ongoing transformation of the financial markets requires us to continue to bring
         more innovative thinking, greater resources, and improved analytics to the ratings
         process,” said Deven Sharma, president of S&P. “By further enhancing
         independence, strengthening the ratings process, and increasing transparency, the
         actions we are taking will serve the public interest by building greater confidence in
         credit ratings and supporting the efficient operation of the global credit markets.”

         The actions, which will be implemented throughout S&P’s global organization,
         include enhancements in the following four areas:

                 •      Governance: S&P is implementing new measures that build on
                        existing governance policies and protections and further strengthen
                        the integrity of the ratings process to ensure its independence, make
                        the effectiveness of our governance even more transparent and to
                        maintain investor confidence.

                 •      Analytics: S&P is taking steps to ensure that our ratings models,
                        processes, and analytical talent continue to be of the highest quality
                        and that S&P remains fully equipped to rate complex financial
                        structures with increasing transparency regarding assumptions.

                 •      Information: S&P is providing market participants with greater

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                        transparency about the ratings process and greater clarity about the
                        risks that could cause a change in ratings assumptions.

                •       Education: S&P is undertaking an extensive educational outreach
                        program to help market participants better understand what a credit
                        rating is – and is not. The goal is to help them use ratings
                        appropriately.

        S&P has already adopted a number of these enhancements and will implement the
        remainder throughout the year. S&P also is evaluating additional actions and intends
        to introduce further measures throughout the year.

        “This initial set of actions is the product of a comprehensive, formal assessment of
        our policies and practices conducted in collaboration with an independent third-party
        expert, as well as active dialogue with market participants, regulators, and legislators.
        These actions are consistent with our commitment to continuous improvement,” said
        Sharma. “Our goal is not only to enhance specific processes but also to minimize
        even the potential for perceived conflicts of interest and provide the public a greater
        understanding of how our ratings are determined, what they mean, and how market
        trends and events affect them.

        “We are committed to playing a leadership role, in collaboration with market
        participants, regulators, and experts, in addressing the issues currently facing the
        global credit markets. We will continue to engage with market participants and
        policymakers on an ongoing basis and consider additional steps in response to the
        feedback we receive,” concluded Sharma.

        Highlights of S&P’s New Actions

        Below are brief descriptions of some of the major new actions that S&P is
        undertaking. Details of all 27 individual measures that S&P is implementing are
        available at http://www.spnewactions.com/.

        Enhancing Governance

                •       Establish an Office of the Ombudsman that will address concerns
                        related to potential conflicts of interest and to analytical and
                        governance processes across S&P’s businesses that issuers, investors,
                        employees, and other market participants may raise. The Ombudsman
                        will oversee the handling of all issues, with authority to escalate any
                        unresolved matters, as necessary, to the CEO of The McGraw-Hill
                        Companies and the Audit Committee of the Board of Directors.

                •       Engage an external firm to periodically conduct an independent
                        review of S&P Ratings’ compliance and governance processes. This
                        firm will issue a public opinion that addresses whether S&P is
                        effectively managing potential conflicts of interest and maintaining
                        the independence of our ratings.


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               •      Institute periodic rotations for lead analysts.

               •      Implement “look back” reviews whenever an analyst leaves to work
                      for an issuer to ensure the integrity of prior ratings.

        Strengthening Analytics

               •      Complement traditional credit ratings analysis by highlighting non-
                      default risk factors such as liquidity, volatility, correlation, and
                      recovery that can influence the valuation and performance of rated
                      securities and portfolios of these securities.

               •      Add new surveillance capabilities, including tools, models, and data
                      sets, that will enable S&P to better monitor the performance of
                      collateral pools over time.

               •      Establish a Model Oversight Committee within the Quantitative
                      Analytics Group, which will be separate from and independent of the
                      business unit, to assess and validate the quality of models and tools.

               •      Increase annual analyst training requirements, enhance training
                      programs, and establish an analyst certification program.

        Increasing Transparency of Information

               •      Develop an identifier that will highlight to the market that the rating
                      is on a securitization or on a new type of instrument.

               •      Include “what if” scenario analysis in rating reports to explain key
                      rating assumptions and the potential impact on the rating of
                      unexpected events. The goal is to help investors better assess an
                      issue’s risk profile.

               •      Work with issuers and investors to improve disclosure of information
                      on collateral supporting structured securities.

               •      Request greater minimum portfolio disclosure criteria of issuers of
                      certain structured securities.

               •      Collect more information about the procedures issuers and originators
                      use to assess the accuracy and integrity of their data and to detect
                      fraud.

        Educating the Public

               •      Create a Credit Ratings User Manual and Investor Guidelines to
                      promote better understanding of our ratings process and the role of
                      ratings in the financial markets.


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                •       Establish an Advisory Council with membership that includes risk
                        managers, academics, and former government officials to provide
                        guidance on addressing complex issues and to establish topics for
                        market education.

                •       Broaden distribution of analysis and opinions via the Web and other
                        media.

         378.   The response to the Company’s broad-based reforms of its operations was negative.

  For example, on February 7, 2008, Dow Jones Factiva and the Wall Street Journal reported that the

  reforms were referred to as “window dressing” and “too little, too late” by the New York Attorney

  General:

         New York Attorney General Andrew Cuomo wants ratings firms to go further in
         their efforts to fix their processes for rating mortgage bonds.

         After McGraw-Hill Cos.’ (MHP) Standard & Poor’s and Moody’s Corp.’s (MCO)
         Moody’s Investors Service this week put out plans to improve their methodologies
         for rating mortgage-related bonds and other hard-hit structured finance vehicles,
         Cuomo’s office will release a statement Thursday calling the moves “window
         dressing” that fall short of the systemic reform needed to restore investor
         confidence, according to a person familiar with the matter.

         Cuomo’s office is investigating the rating firms to ascertain how culpable they are
         for assigning ratings that were far too high for various bonds backed by subprime
         mortgages. Many collateralized debt obligations, or CDOs, that heavily invested in
         mortgage instruments were also highly rated, but many have now been downgraded,
         forcing billions of dollars in write-offs at financial firms. The New York Attorney
         General’s Office has subpoenaed both S&P and Moody’s in an effort to find out
         how much each knew about flaws in the mortgage products that they rated triple-
         A. The rating firms have been meeting with representatives of the Attorney
         General’s Office in recent weeks.

         While critics of the rating firms say they grew too close to the investment banks that
         sold billions of dollars in mortgage bonds, others say they simply made bad judgment
         calls about the direction of the housing market and relied on incomplete or incorrect
         data provided by banks and mortgage firms.

         Cuomo is meeting with executives of the three major ratings firms this week, the
         person familiar with the matter said. In addition to Moody’s and S&P, Fimalac
         SA’s (3794.FR) Fitch Ratings is a big player in ratings. “The supposed reforms
         announced today by Standard & Poor’s and by Moody’s on Tuesday are too little
         too late,” the attorney general said in his statement.

         In an interview with CNBC, Standard & Poor’s President Deven Sharma deflected
         questions about an investigation, saying only that “we are very happy to engage
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             with the attorney general on any and every question that he may have as we will
             cooperate and offer him all of the information that his office may need to come to
             appropriate conclusions.”

             379.   On the following day, the Company’s stock price fell approximately 5.5%, dropping

  from a close of $43.01 on February 7, 2008 to a closing price of $40.66 on February 8, 2008, as

  demonstrated in the chart below:

   5000000                                                                              43.5



   4500000
                                                                                        43

   4000000


                                                                                        42.5
   3500000



   3000000
                                                                                        42

                                                                                                  Volume
   2500000
                                                                                                  Close

                                                                                        41.5
   2000000



   1500000
                                                                                        41


   1000000

                                                                                        40.5
    500000



        0                                                                               40
                       2/7/2008                2/8/2008                2/11/2008


             380.   On February 29, 2008, the Company filed its annual financial report on Form 10-K

  for the year ending December 31, 2007. The financial results reported in the 10-K were substantially

  similar to those reported in the Company’s January 24, 2008 press release. The Form 10-K was

  signed by the Individual Defendants, and contained required Sarbanes-Oxley certifications signed by

  the Individual Defendants stating that the Form 10-K did not include any material

  misrepresentations. In discussing what drove McGraw-Hill’s improved financial performance, the

  2007 10-K stated, in relevant part:

             TO OUR SHAREHOLDERS:

             For The McGraw-Hill Companies, 2007 was filled with significant achievements—
             and some equally big challenges.


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        It was a year in which we delivered record results and impressive growth thanks to
        the outstanding performance of our business portfolio. But it was also a year in
        which the U.S. housing bubble burst and the market for mortgage-related securities
        deteriorated, fueling disruption in the capital markets and causing a slowdown in our
        fourth-quarter results.

        It was a year in which phrases like “subprime mortgage” and “credit crunch” made
        headlines and ratings agencies were thrust into an unfamiliar spotlight—with
        questions raised about their performance, policies and practices.

        As we reflect on the events of the past year and focus on our opportunities for 2008
        and beyond, there is one imperative shared by the management team across The
        McGraw-Hill Companies—to extend our record of growth while generating superior
        shareholder value.

        Our senior leadership team is actively managing through the current environment.
        We believe that steps we are taking now will strengthen our operations and position
        us for continued growth. And while it’s difficult to make definitive predictions,
        history tells us that our markets will stabilize and the current turmoil will eventually
        pass.

                                           *       *       *

        Focusing on Another Year of Growth

        Entering 2008, we expect to achieve another year of growth, although at a slower
        pace than in 2007. We anticipate that the economy and conditions in the credit
        markets will begin to improve later in the year, and we are ready to capitalize on all
        available opportunities.

        To prepare us for the year ahead, we restructured certain business operations in the
        fourth quarter of 2007, consistent with our efforts to streamline operations and lower
        costs. The steps we took resulted in a 3% reduction in our workforce, and while the
        decision to reduce staff is never easy, we believe these steps will strengthen our
        efficiency.

                                           *       *       *

        As we look ahead, we remain confident about our prospects in the U.S. corporate and
        public finance markets in 2008, while expecting a more conservative approach to
        financing in the structured markets and reduced investor appetite for complex
        products.

                                           *       *       *

        In Financial Services, issuance levels deteriorated across all asset classes and regions
        during the latter part of the year because of the current credit market conditions. The
        impact on U.S. residential mortgage-backed securities (“RMBS”) and U.S.
        collateralized debt obligations (“CDOs”) had the greatest impact on structured
        finance ratings. The Company expects the current market conditions and global
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        issuance levels to persist through the first half of 2008 versus the prior year,
        primarily in structured finance. The outlook for U.S. RMBS and CDOs as well as
        other asset classes is dependent upon many factors including the general condition of
        the economy, interest rates, credit quality and spreads, and the level of liquidity in
        the financial markets.

                                          *         *     *

        In 2007, the Financial Services segment incurred restructuring charges totaling $18.8
        million pre-tax. The pre-tax charge consists of employee severance costs related to a
        workforce reduction of approximately 170 positions across the segment. The current
        business environment and the consolidation of several support functions drove these
        restructuring activities across the segment’s global operations. The segment’s
        restructuring actions affected both its Credit Market Services and Investment
        Services businesses.

                                          *         *     *

        In the third quarter of 2007, rating agencies became subject to scrutiny for their
        ratings on structured finance transactions that involve the packaging of subprime
        residential mortgages, including residential mortgage-backed securities (“RMBS”)
        and collateralized debt obligations (“CDOs”).

        On August 29, 2007, Standard & Poor’s received a subpoena from the New York
        Attorney General’s Office requesting information and documents relating to
        Standard & Poor’s ratings of securities backed by residential real estate mortgages.
        Standard & Poor’s is responding to this request.

        In September 2007, the SEC commenced an examination of rating agencies’
        policies and procedures regarding conflicts of interest and the application of those
        policies and procedures to ratings on RMBS and related CDOs. Standard & Poor’s
        is cooperating with the SEC staff in connection with this examination.

        On October 16, 2007, Standard & Poor’s received a subpoena from the
        Connecticut Attorney General’s Office requesting information and documents
        relating to the conduct of Standard & Poor’s credit ratings business. The subpoena
        appears to relate to an investigation by the Connecticut Attorney General into
        whether Standard & Poor’s, in the conduct of its credit ratings business, violated the
        Connecticut Antitrust Act. Subsequently, a second subpoena dated December 6,
        2007, seeking information and documents relating to the rating of securities backed
        by residential real estate mortgages, and a third subpoena dated January 14, 2008,
        seeking information and documents relating to the rating of municipal and corporate
        debt, were served. The Company is responding to the subpoenas.

        On November 8, 2007, Standard & Poor’s received a civil investigative demand
        from the Massachusetts Attorney General’s Office requesting information and
        documents relating to Standard & Poor’s ratings of securities backed by residential
        real estate mortgages. Standard & Poor’s is responding to this request.


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                                           *         *     *

        In 2007, total U.S. structured finance new issue dollar volume decreased 22.2%
        versus prior year due primarily to a decline of 40.4% in U.S. residential mortgage-
        backed securities (“RMBS”) issuance attributable to reductions in mortgage
        originations in the subprime and affordability products and home equity sectors.
        Although U.S. collateralized debt obligation (“CDO”) issuance was strong during
        the first half of 2007, it slowed significantly during the second half due to
        deteriorating market conditions and was up only 1.4% for the full year 2007 as
        compared with 2006 according to Harrison Scott Publications and Standard & Poor’s
        internal estimates (“Harrison Scott Publications/S&P”). U.S. commercial mortgage-
        backed securities (“CMBS”) issuance increased 6.8% over the prior year due to
        higher mortgage originations driven by the low interest rate environment and strong
        commercial real estate fundamentals as well as rising property values and refinancing
        of maturing deals experienced over the first three quarters of the year offset by sharp
        declines in issuance in the fourth quarter of 2007.

                                           *         *     *

        Financial market concerns regarding the credit quality of sub-prime mortgages
        adversely impacted debt issuance of RMBS and CDOs backed by subprime RMBS
        in the United States. The Company had been anticipating a decline in residential
        mortgage originations as well as a slowdown in the rate of growth of CDO issuance
        versus the significant rates of growth experienced in the past. U.S. RMBS declined
        by 70.5% in the second half of the year, as compared with the same period in 2006,
        which resulted in a 40.4% decline in issuance for the year. U.S. CDO issuance
        declined 48.5% in the second half of the year, as compared to the same period in
        2006, and was up a slight 1.4% for the year.

        Because of the current credit market conditions, issuance levels deteriorated across
        all asset classes and all regions with the exception of Europe, which was up a slight
        1.8% during the second half of the year. The impact on U.S. RMBS and U.S. CDOs
        has been the greatest. The Company expects the current market conditions and
        global issuance levels to persist through the first half of 2008, primarily in structured
        finance. The outlook for U.S. RMBS and U.S. CDOs asset classes as well as other
        asset classes is dependent upon many factors, including the general condition of the
        economy, interest rates, credit quality and spreads, and the level of liquidity in the
        financial markets.

        Growth rates in 2008 for Credit Market Services will be unfavorably impacted for at
        least the first half of the year due to expected lower issuance levels for most U.S.
        structured finance and challenging comparisons to the same period of the prior year.
        The Mortgage Bankers Association is forecasting approximately a 16% decline in
        mortgage originations due to continued weakness in the housing market, which is
        expected to adversely impact the U.S. RMBS sector. International growth and
        product diversification may help mitigate the anticipated decline in most U.S.
        structured finance issuance volumes.


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         The U.S. CMBS market in 2008 is expected to decline significantly due to lower
         commercial origination levels and investor aversion to risk. U.S. CDO issuance will
         be impacted by an anticipated decrease in investor demand for complex securities in
         favor of those that are less complex as well as a decline in the availability of
         underlying collateral. Issuance in the U.S. asset-backed securities market is
         anticipated to grow moderately in 2008 as auto manufacturers continue to rely on
         securitization as a source of funding. The resiliency of the consumer should also
         lead to growth in the credit card and student loan sectors.

                                           *         *    *

         The Company maintains disclosure controls and procedures that are designed to
         ensure that information required to be disclosed in the Company’s reports filed with
         the Securities and Exchange Commission (“SEC”) is recorded, processed,
         summarized and reported within the time periods specified in the SEC’s rules and
         forms, and that such information is accumulated and communicated to the
         Company’s management, including its Chief Executive Officer (“CEO”) and Chief
         Financial Officer (“CFO”), as appropriate, to allow timely decisions regarding
         required disclosure.

         As of December 31, 2007, an evaluation was performed under the supervision and
         with the participation of the Company’s management, including the CEO and CFO,
         of the effectiveness of the design and operation of the Company’s disclosure controls
         and procedures (as defined in Rules 13a-15(e) under the U.S. Securities Exchange
         Act of 1934). Based on that evaluation, the Company’s management, including the
         CEO and CFO, concluded that the Company’s disclosure controls and procedures
         were effective as of December 31, 2007.

         381.    The statements referenced in ¶¶372-75, ¶377, and ¶380 were each materially false

  and misleading when made for the reasons set forth in ¶256 and the factual detail contained

  throughout this Complaint. In addition, the statements referenced in ¶¶372-75, ¶377, and ¶380 were

  each false and misleading when made as they misrepresented and/or omitted adverse facts which

  then existed and disclosure of which was necessary to make the statements not false and/or

  misleading. The true facts, which were then known to or recklessly disregarded by each of the

  Defendants, were:

         •       The subprime market was anything but a fabulous market. Defendants’ ratings
                 models were insufficient, as demonstrated by the extreme volume of significant
                 ratings downgrades, and as admitted to by the Company on May 1, 2008, when it
                 announced it would stop rating certain structured finance transactions.



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         •       The Company lacked any reasonable basis to predict 2008 revenue growth, and
                 would abruptly withdraw its recently issued guidance at the end of the Class Period.

         •       Given the substantial surveillance failures and time lag, management could not “be
                 confident” that the credit crunch would not destroy the Company’s revenues.

         •       The actions to “further strengthen” the Company’s ratings were admissions that the
                 Company’s ratings protocols were abandoned and that surveillance was inadequate
                 during the Class Period.

  IX.    THE TRUTH IS PARTIALLY REVEALED

         382.    On March 11, 2008, the Company withdrew its financial forecasts for its Financial

  Services segment. In response, analysts from Lehman Brothers cut their target price for the stock, as

  the Associated Press reported:

                            Lehman Cuts Price Target on McGraw-Hill

         McGraw-Hill Hits New Low As Lehman Cuts Price Target; Downgrades Moody’s
         Rating

         NEW YORK (AP) -- Shares of textbook publisher and Standard & Poor’s owner
         McGraw-Hill Cos. dipped Tuesday even as the Dow surged 260 points, as a
         Lehman Brothers analyst lowered his price target on the stock to take into account
         risk associated with fundamentals, regulatory, and litigation.

         Analyst Craig Huber dropped his 12-month target price on the stock to $47 from $63,
         but maintained an “Overweight” rating on shares. He said the stock is attractive for
         long-term investors, but warned that S&P ratings revenue comparisons will be very
         difficult through August.

         McGraw-Hill owns credit ratings agency Standard & Poor’s. Huber said he prefers
         McGraw-Hill (S&P) shares over those of Moody’s Corp., another credit ratings firm,
         due to the diversity of its portfolio and the fact that it trades at a discount.

         Historically, Moody’s and McGraw-Hill`s S&P Ratings business models have been
         quite successful with each currently having 40 percent global market share of credit
         ratings. However, Huber originally expected a rebound in the fixed income markets
         in September, but is now not expecting the market to regain ground until January
         2009. Therefore, new issue dollar volume is expected to drop 42.5 percent, much
         lower than his prior estimate for a 30 percent drop in 2008.

         “If new issuance stays at these low levels, for say 2-3 years, then the fixed income
         markets are just not working and would signal significant global financial distress
         further hurting Moody’s fundamentals,” he wrote in a note to clients.

         He is modeling a 15 percent rebound in 2009, however, “given expected pent-up

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         demand and a healthier global credit market.”

         Huber cut Moody’s to “Underweight” from “Overweight” with a 12-month price
         target of $29 -- forecasting 18 percent downside to the stock’s current $34.60 price.
         Since August, Moody`s ratings business has been experiencing pressure from a
         significant downturn in new issuance of fixed income products, furthermore, because
         of market criticism of the ratings agencies’ responsibility for rating troubled
         securities linked to the subprime mortgage crisis, there could be changes made to the
         business model and/or sector that could alter the nature of the credit ratings business.

         “Investor concerns regarding litigation risk are quite widespread in the marketplace,”
         he added. “Moody`s may be sued under various theories such as contract, tort, or a
         fraud-type claim.”

         Huber thinks litigation concerns have been quite heavily reflected in the stock price
         already, but nevertheless discounts the stock’s value to account for further
         uncertainty.

         McGraw-Hill shares fell 69 cents, or 1.8 percent, to close at $37.30, having earlier hit
         a new 52-week low of $36.32. Moody’s dropped 31 cents, or less than a percent, to
         $35.19. Meanwhile, the Dow Jones Industrial average surged 340 points, or nearly 3
         percent, to 12,080 in late afternoon trading after the Federal Reserve and other
         central banks said they will pump $200 billion into the financial markets to help ease
         the strain from the credit crisis.

         383.   Similarly, on March 11, 2008, Dow Jones Factiva and Reuters reported on the

  negative reaction to McGraw-Hill’s abrupt withdrawal of its recently issued guidance:

         The parent companies of Moody’s Investors Service and Standard & Poor’s, the
         largest credit rating agencies, Tuesday cut their 2008 forecasts, saying capital
         markets turmoil will persist at least through mid-year as the economy slows.

         Moody’s Corp said profit and revenue will decline more than expected. McGraw-
         Hill Cos said revenue from its financial services unit, which includes S&P, and
         overall profit should both fall short of its prior forecast.

         “We have just a complete freeze in some market sectors, and we are trying to,
         frankly, catch up with that reality,” Moody’s Chief Executive Raymond McDaniel
         said at a Bear Stearns & Co media conference in Palm Beach, Florida. “We have
         declining prices, we have liquidity issues, we have confidence issues.”

         Moody’s expects 2008 profit per share of $1.90 to $2.00, with revenue declining by a
         mid- to high-teens percent-age. On Feb. 7, Moody’s had forecast profit per share of
         $2.17 to $2.25, with a low double-digit drop in revenue.

         McGraw-Hill Chief Executive Harold “Terry” McGraw said his company is
         unlikely to achieve its Jan. 24 forecast for 2008 profit growth of 3 percent to 5
         percent excluding items, compared with $2.99 per share in 2007.

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        He also withdrew his forecast for 2 percent to 4 percent revenue growth in
        financial services, after demand for ratings fell below expectations in January and
        February.

        “Uncertainty remains high,” McGraw said at the Bear Stearns conference. “Nobody
        can predict when the credit crunch is going to unwind.”

        Moody’s and S&P have suffered as the housing crisis led to disappearing demand for
        a wide variety of debt, including “structured products” such as collateralized debt
        obligations. This reduced demand for ratings needed to sell such debt.

        Analysts on average expected Moody’s to post 2008 profit of $2.12 per share on
        revenue of $2 billion, the latter reflecting an 11 percent drop, according to Reuters
        Estimates.

        McGraw Hill’s full-year profit was expected to be $3.01 per share. The company
        also publishes textbooks and magazines such as BusinessWeek, and owns researcher
        J.D. Power & Associates.

        On a day of broad market gains, Moody’s shares closed down 31 cents at $35.19,
        while McGraw-Hill shares fell 69 cents to $37.30.

        DISTRESS IN CREDIT MARKETS

        Lehman Brothers Inc analyst Craig Huber assigned an “underweight” rating and $29
        price target to Moody’s. He rates McGraw-Hill “overweight,” but cut its price target
        to $47 from $63. Huber expects the dollar volume of fixed-income securities
        issuance to fall 42.5 percent this year.

        “If new issuance stays at these low levels, for say two to three years, then the fixed-
        income markets are just not working and would signal significant global financial
        distress further hurting Moody’s fundamentals,” Huber wrote.

        Critics have faulted the rating agencies for long being willing to assign “triple-A”
        credit ratings to securities backed by risky debt, including subprime mortgages.

        But the quantity and speed of downgrades over the last several months have
        exacerbated the credit crunch.

        McDaniel, Moody’s chief executive, said it would be “disingenuous” to say his
        company’s reputation hasn’t been hurt by the market turmoil.

        Moody’s has said it might change how it rates structured products, and may drop its
        usual 21 traditional letter grades -- which range from “Aaa” to “C” -- for numerical
        ratings.

        Meanwhile, S&P last month announced 27 actions it said would help bolster
        confidence in, and accuracy of, its ratings.

        New York Attorney General Andrew Cuomo, who is conducting a broad
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            investigation into lending-related problems and abuses, last month called the
            proposed changes “too little, too late.”

            The largest investor in Moody’s is Warren Buffett’s Berkshire Hathaway Inc, which
            reported a 19.1 percent stake at year end. (Editing by Derek Caney, Phil Berlowitz)

  X.        THE COMPANY’S CODE OF CONDUCT WAS ALSO FALSE AND
            MISLEADING

            384.   At all times relevant hereto, S&P maintained a code of conduct that it published on its

  website. That code of conduct purported to set forth the Ratings Services’ mission to “provide high-

  quality, objective, independent, and rigorous analytical information to the marketplace.” To achieve

  that mission, S&P’s October 2005 code of conduct, which replaced its September 2004 code of

  conduct, stated that:67

            Ratings Services strives for analytic excellence at all times, evaluated its ratings
            criteria, methodologies and procedures on a regular basis, and modifies or enhances
            them as necessary to respond to the needs of the global capital markets.

            Ratings Services endeavors to conduct the rating and surveillance processes in a
            manner that is transparent and credible and that also ensures that the integrity and
            independence of such processes are not compromised by conflicts of interest, abuse
            of confidential information or other undue influences.

            385.   Discussing the “quality and integrity of the ratings process,” the code of conduct

  stated, in pertinent part:

            Each rating shall be based on a thorough analysis of all information known to
            Ratings Services and believed by Ratings Services to be relevant to its analysis
            according to Ratings Services’ established criteria and methodology.

            Ratings Services shall use rating criteria and methodologies that take into
            consideration Ratings Services’ goal of maintaining rigorous analysis and systematic
            processes, and, where possible, result in ratings that can be subjected to some form of
            objective validation based on historical experience.

            In assessing the creditworthiness of an issuer or issue, Analysts involved in the
            preparation or review of any Rating Action shall use criteria and methodologies
            established by Ratings Services. Analysts shall consistently apply the then existing


  67
       A true and correct copy of S&P’s October 2005 code of conduct is attached hereto as Exhibit 51.


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         rating criteria and methodologies in the analytical process for any Rating Action, in
         each case, as determined by Ratings Services.

                                            *         *     *

         Ratings Services shall endeavor to devote sufficient resources to perform credible
         credit assessments for all issuers and issues it rates. When deciding whether to rate
         or continue rating an issuer or issue, Ratings Services shall assess whether it is able
         to devote sufficient Analysts with sufficient skill sets to make a credible credit
         assessment, and whether its Analysts likely will have access to sufficient information
         needed in order to make such an assessment.

         386.    Turning to surveillance, the code of conduct stated, in pertinent part:

         In accordance with Rating Services’ established policies and procedures for
         surveillance, unless the issuer requests a rating without surveillance, once a rating is
         assigned Ratings Services shall monitor on an ongoing basis and update the rating
         by:

                 a. regularly reviewing the issuer’s creditworthiness;

                b. Initiating a review of the status of the rating upon becoming aware of any
         information that might reasonably be expected to result in a Rating Action (including
         withdrawal of a rating), consistent with the applicable rating criteria and
         methodology; and

                c. updating on a timely basis the rating, as appropriate, based on the results
         of such review.

         387.    Discussing independence, the code of conduct stated, in pertinent part:

         Ratings assigned by Ratings Services to an issuer or issue shall not be affected by the
         existence of, or potential for, a business relationship between Ratings Services (or
         any Non-Ratings Business) and the issuer (or its affiliates) or any other party, or the
         non-existence of such a relationship.

         388.    Addressing S&P’s responsibilities to the public and publication of rating actions, the

  code of conduct stated, in part:

         Ratings Services shall publish sufficient information about its procedures,
         methodologies and assumptions (including financial statement adjustments that
         deviate materially from those contained in the issuer’s published financial
         statements) so that outside parties can understand how a rating was arrived at by
         Ratings Services. This information will include (but not be limited to) the meaning of
         each rating category and the definition of default or recovery, and the time horizon
         Ratings Services used when making a rating decision.



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         When publishing a rating, Ratings Services shall explain in its press releases and
         reports, if any, the key elements underlying the rating, subject to any restrictions
         imposed by applicable confidentiality agreements and any applicable laws regarding
         the release of Confidential Information.

         389.     As documented extensively herein, the procedures and “mission” purported to be

  established in S&P’s code of conduct were nothing more than a farce to Defendants. Rather than

  adhere to the code of conduct, which would have ensured the continuation of the Company’s

  reputation, credibility, and integrity, the Defendants pushed a fraudulent scheme that trampled over

  the code of conduct. This fact is established by, among other things, the confidential witnesses

  detailed herein, the internal Company documents made public by the House Oversight Committee

  and the Senate Subcommittee, as well as the Senate Subcommittee’s formal findings of fact. As a

  result, S&P’s published code of conduct, and all Class Period versions thereof, served as nothing

  more than one more instance of Defendants making materially false statements designed to mislead

  investors and the market, which had the effect of artificially inflating the price of the Company’s

  common stock until the truth was revealed and such artificial inflation was removed at the end of the

  Class Period.

  XI.    ADDITIONAL SCIENTER ALLEGATIONS

         390.     As alleged herein, Defendants acted with scienter in that they knew or disregarded

  with severe recklessness that the public documents and statements, issued or disseminated in the

  name of the Company, were materially false and misleading, knew that such statements or

  documents would be issued or disseminated to the investing public, and knowingly and substantially

  participated or acquiesced in the issuance or dissemination of such statements or documents as

  primary violations of the federal securities laws. As set forth elsewhere herein in detail throughout

  this complaint, Defendants, by virtue of their receipt of information reflecting the true facts

  regarding McGraw-Hill, their control over, and/or receipt and/or modification of McGraw-Hill’s

  allegedly materially misleading misstatements and/or their associations with the Company which

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  made them privy to confidential proprietary information concerning McGraw-Hill, participated in

  the fraudulent scheme alleged herein.

         391.    Defendants knew and/or disregarded with severe recklessness the falsity and

  misleading nature of the information that they caused to be disseminated to the investing public. The

  ongoing fraudulent scheme described in this complaint could not have been perpetrated over a

  substantial period of time, as has occurred, without the knowledge and complicity of the personnel at

  the highest level of the Company, including each of the Individual Defendants.

  XII.   APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE
         MARKET DOCTRINE

         392.    At all relevant times, the market for McGraw-Hill’s publicly-traded securities was an

  efficient market for the following reasons, among other things:

                 (a)     McGraw-Hill’s securities met the requirements for listing, and were listed and

  actively traded on the NYSE, a highly efficient and automated market;

                 (b)     As a regulated issuer, McGraw-Hill filed periodic public reports with the

  SEC; and

                 (c)     McGraw-Hill regularly communicated with public investors via established

  market communication mechanisms, including through regular disseminations of press releases on

  the national circuits of major newswire services and through other wide-ranging public disclosures,

  such as communications with the financial press and other similar reporting services.

         393.    As a result, the market for McGraw-Hill’s publicly-traded securities promptly

  digested current information regarding McGraw-Hill from all publicly-available sources and

  reflected such information in McGraw-Hill’s securities prices. Under these circumstances, all

  purchasers of McGraw-Hill’s publicly traded securities during the Class Period suffered similar

  injury through their purchase of McGraw-Hill’s publicly-traded securities at artificially inflated



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  prices and a presumption of reliance applies.

  XIII. LOSS CAUSATION

         394.    During the Class Period, as detailed herein, Defendants engaged in a scheme to

  deceive the market and a course of conduct that artificially inflated McGraw-Hill’s stock price and

  operated as a fraud or deceit on Class Period purchasers of McGraw-Hill stock by misrepresenting

  the Company’s business success and future business prospects, including but not limited to

  misrepresentations regarding the growth and financial performance of the Financial Services division

  of Standard and Poor’s, which, during the Class Period, was the driver of the Company’s revenue

  growth and income generation.

         395.    As a result of Defendants’ fraudulent conduct as alleged herein, the prices at which

  McGraw-Hill securities traded were artificially inflated during the Class Period. When Plaintiff and

  other members of the Class purchased their McGraw-Hill securities, the true value of such securities

  was substantially lower than the prices actually paid by Plaintiff and the other members of the Class.

         396.    During the Class Period, Defendants improperly concealed the true reasons behind

  the increases in McGraw-Hill’s financial performance and outlook, and, consequently, the price of

  its stock was artificially inflated throughout the Class Period. Defendants also misrepresented the

  reasons behind McGraw-Hill’s reported results and made numerous false and misleading statements

  regarding many aspects of its business and future prospects. Later, however, when the truth

  regarding McGraw-Hill’s true financial circumstances leaked out and Defendants’ prior

  misrepresentations and fraudulent conduct became apparent to the market, McGraw-Hill stock fell

  precipitously as the prior artificial inflation came out of McGraw-Hill’s stock price. As a result of

  their purchases of McGraw-Hill stock during the Class Period, Plaintiff and other members of the

  Class suffered economic loss, i.e., damages under federal securities laws.




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            397.   By misrepresenting the success of the Company’s business and concealing its

  improprieties, Defendants presented a misleading picture of McGraw-Hill’s business and prospects.

  These claims of future profitability caused and maintained the artificial inflation in McGraw-Hill’s

  stock price throughout the Class Period until the truth was partially revealed to the market.

            398.   As a result of Defendants’ materially false and misleading statements and documents,

  as well as the adverse, undisclosed information known to the Defendants, Plaintiff and other

  members of the Class relied, to their detriment on such statements and documents, and/or the

  integrity of the market, in purchasing their McGraw-Hill stock at artificially inflated prices during

  the Class Period. Had Plaintiff and the other members of the Class known the truth, they would not

  have taken such actions.

            399.   As explained herein, these false statements directly or proximately caused, or were a

  substantial contributing cause of the damages and economic loss suffered by Plaintiff and other

  members of the Class, and maintained the artificial inflation in McGraw-Hill’s stock price

  throughout the Class Period and until the truth leaked into and was partially revealed to the market,

  at which time the prior inflation came out of the stock.

            400.   Defendants’ false and misleading statements had the intended effect and directly and

  proximately caused, or were a substantial contributing cause of McGraw-Hill’s stock trading at

  artificially inflated levels, reaching as high as more than $72.00 per share, throughout the Class

  Period.

            401.   Between July 10-12, 2007, partial revelations reached the market as the Company

  slashed its credit ratings on approximately $12 billion worth of bonds because of mounting

  delinquencies on the underlying mortgages. Various articles published by Reuters, The Wall Street

  Journal, and the Financial Times pointed to a cloud of uncertainty around the Company, calling into

  question S&P’s modeling abilities and surveillance, among other things. As the market began to


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  realize the extent of problems at S&P and the misstatements made by Defendants, the Company’s

  stock price declined more than 7.5% between July 9, 2007 and July 12, 2007.

         402.    On August 16, 2007, the Associated Press published a story on McGraw-Hill that

  disclosed the European Union’s commitment to closely examine why McGraw-Hill, among others,

  was slow to react to early signs of U.S. loan defaults that formed the bedrock of the Company’s

  explosive growth in its Financial Services division. As investors and the market became aware of

  McGraw-Hill’s prior misstatements and concealments and that McGraw-Hill’s actual business

  prospects were, in fact, driven by static ratings, as opposed to dynamic ratings that reacted to

  tremendous changes in market characteristics, at least a portion of the prior artificial inflation came

  out of McGraw-Hill’s stock price, damaging investors.

         403.    As a direct result of the public revelations regarding the truth about McGraw-Hill’s

  conduct, financial condition, and its actual business prospects going forward, the volume of trading

  in the Company’s stock soared to more than 7.39 million shares and the stock price dropped from

  $50.74 per share on August 15, 2007 to a low of $47.76 per share on August 16, 2007 – a difference

  of 6% – before closing at $48.85 later that day – a drop of approximately 4%. These drops removed

  at least a portion of the inflation from McGraw-Hill’s stock price, causing real economic loss to

  investors who had purchased the stock during the Class Period, as evidenced by the chart below:




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   8000000                                                                                 51




   7000000                                                                                 50.5




   6000000                                                                                 50




   5000000                                                                                 49.5



                                                                                                  Volume
   4000000                                                                                 49
                                                                                                  Price



   3000000                                                                                 48.5




   2000000                                                                                 48




   1000000                                                                                 47.5




        0                                                                                  47
                    8/15/2007      8/16/2007     8/17/2007      8/20/2007      8/21/2007


             404.      The decline in McGraw-Hill’s stock price on August 16, 2007 was a direct result of

  and proximately caused by the nature and extent of Defendants’ fraud partially being revealed to

  investors and the market. Similarly, the 5.5% decline in the Company’s stock price on February 8,

  2008, and the approximately 3% decline to a low of $36.32, on enormous volume of more than 8.75

  million shares, on March 11, 2008, were the direct and proximate cause of the partial revelation of

  Defendants’ fraud and the Company’s true financial condition, as demonstrated in the chart below:




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   10000000                                                                           45


    9000000                                                                           44


    8000000
                                                                                      43

    7000000
                                                                                      42

    6000000
                                                                                      41
                                                                                             Volume
    5000000
                                                                                             Price
                                                                                      40
    4000000

                                                                                      39
    3000000


                                                                                      38
    2000000


    1000000                                                                           37



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          405.   The timing and magnitude of McGraw-Hill’s stock price declines negate any

  inference that the loss suffered by Plaintiff and other Class members was caused by changed market

  conditions, macroeconomic or industry factors or Company-specific facts unrelated to the

  Defendants’ fraudulent conduct. The economic loss, i.e., damages, suffered by Plaintiff and other

  members of the Class was a direct result of Defendants’ fraudulent scheme to artificially inflate

  McGraw-Hill’s stock price and the subsequent significant declines in the value of McGraw-Hill’s

  stock when Defendants’ prior misrepresentations and other ongoing fraudulent conduct were

  revealed and the artificial inflation came out of McGraw-Hill’s stock.

          406.   In addition, the declines in McGraw-Hill’s stock price were a natural and probable

  consequence of Defendants’ fraud and should have been foreseen by Defendants in light of the

  attending circumstances. The market reaction to the partial disclosure of McGraw-Hill’s true

  financial condition was foreseeable to Defendants and well within the “zone of risk” concealed by



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  Defendants’ fraudulent conduct.

         407.    In sum, there were no changed economic circumstances, changed investor

  expectations, new industry-specific facts or McGraw-Hill-specific facts, conditions or other events,

  which taken separately or together account for the decline in the price of McGraw-Hill stock

  described therein.

  XIV. NO SAFE HARBOR

         408.    The federal statutory safe harbor provision, which provides for forward-looking

  statements under certain circumstances, does not apply to any of the allegedly false statements

  pleaded in this complaint. Many of the specific statements pleaded herein were not identified as

  “forward-looking statements” when made.            To the extent there were any forward-looking

  statements, there were no meaningful cautionary statements identifying important factors that could

  cause actual results to differ materially from those in the purportedly forward-looking statements.

  Alternatively, to the extent that the statutory safe harbor does apply to any forward-looking

  statements pleaded herein, Defendants are liable for those false forward-looking statements because

  at the time each of those forward-looking statements was made, the particular speaker knew that the

  particular forward-looking statement was false, and/or the forward-looking statement was authorized

  and/or approved by an executive officer of McGraw-Hill who knew that those statements were false

  when made. Moreover, to the extent that Defendants issued any disclosures designed to “warn” or

  “caution” investors of certain “risks,” those disclosures were also false and misleading since they did

  not disclose that Defendants were actually engaging in the very actions about which they purportedly

  warned and/or had actual knowledge of material adverse facts undermining such disclosures.




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  XV.     COUNT I: FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE
          ACT AND RULE 10b-5 PROMULGATED THEREUNDER AGAINST ALL
          DEFENDANTS

          409.    Plaintiff repeats and realleges the allegations set forth above as though fully set forth

  herein. This claim is asserted against all Defendants.

          410.    During the Class Period, McGraw-Hill and the Individual Defendants, and each of

  them, carried out a plan, scheme and course of conduct which was intended to and, throughout the

  Class Period, did: (i) deceive the investing public, Plaintiff and other Class members, as alleged

  herein; (ii) artificially inflate and maintain the market price of McGraw-Hill’s publicly traded

  securities; and (iii) cause Plaintiff and other members of the Class to purchase McGraw-Hill’s

  publicly-traded securities at artificially inflated prices. In furtherance of this unlawful scheme, plan

  and course of conduct, McGraw-Hill and the Individual Defendants, and each of them, took actions

  set forth herein.

          411.    These Defendants: (i) employed devices, schemes, and artifices to defraud; (ii) made

  untrue statements of material fact and/or omitted to state material facts necessary to make the

  statements not misleading; and (iii) engaged in acts, practices, and a course of business which

  operate as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

  maintain artificially high market prices for McGraw-Hill’s securities in violation of Section 10(b) of

  the Exchange Act and Rule 10b-5. These Defendants are sued as primary participants in the

  wrongful and illegal conduct charged herein. The Individual Defendants are also sued as controlling

  persons of McGraw-Hill, as alleged below.

          412.    In addition to the duties of full disclosure imposed on Defendants as a result of their

  making affirmative statements and reports, or participating in the making of affirmative statements

  and reports, or participating in the making of affirmative statements and reports to the investing

  public, they each had a duty to promptly disseminate truthful information that would be material to


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  investors in compliance with the integrated disclosure provisions of the SEC as embodied in SEC

  Regulation S-X (17 C.F.R. § 210.01 et seq.) and S-K (17 C.F.R. §229.10 et seq.) and other SEC

  regulations, including accurate and truthful information with respect to the Company’s operations,

  surveillance, financial condition and operational performance, so that the market prices of the

  Company’s publicly traded securities would be based on truthful, complete and accurate

  information.

         413.    McGraw-Hill and each of the Individual Defendants, individually and in concert,

  directly and indirectly, by the use, means or instrumentalities of interstate commerce and/or of the

  mails, engaged and participated in a continuous course of conduct to conceal adverse material

  information about the business, business practices, performance, operations and future prospects of

  McGraw-Hill as specified herein.

         414.    These Defendants each employed devices, schemes and artifices to defraud, while in

  possession of material adverse non-public information and engaged in acts, practices, and a course of

  conduct as alleged herein in an effort to assure investors of McGraw-Hill’s value and performance,

  financial and operational growth, which included the making of, or the participation in the making

  of, untrue statements of material facts and omitting to state necessary facts in order to make the

  statements made about McGraw-Hill and its business operations and future prospects in light of the

  circumstances under which they were made, not misleading, as set forth more particularly herein,

  and engaged in transactions, practices and a course of business which operated as a fraud and deceit

  upon the purchasers of McGraw-Hill securities during the Class Period.

         415.    Each of the Individual Defendants’ primary liability, and controlling person liability,

  arises from the following facts: a) each of the Individual Defendants was a high-level executive

  and/or director at the Company during the Class Period; b) each of the Individual Defendants, by

  virtue of his responsibilities and activities as a senior executive officer and/or director of the


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  Company, was privy to and participated in the creation, development and reporting of the

  Company’s financial performance, projections and/or reports; and c) each of the Individual

  Defendants was aware of the Company’s dissemination of information to the investing public which

  each knew or disregarded with severe recklessness was materially false and misleading.

         416.    Each of these Defendants had actual knowledge of the misrepresentations and

  omissions of material facts set forth herein, or acted with severely reckless disregard for the truth in

  that each failed to ascertain and to disclose such facts, even though such facts were available to each

  of them. Such Defendants’ material misrepresentations and/or omissions were done knowingly or

  with severe recklessness and for the purpose and effect of concealing McGraw-Hill’s operating

  condition and future business prospects from the investing public and supporting the artificially

  inflated price of its securities. As demonstrated by Defendants’ misstatements of the Company’s

  financial condition and performance throughout the Class Period, each of the Individual Defendants,

  if he did not have actual knowledge of the misrepresentations and omissions alleged, was severely

  reckless in failing to obtain such knowledge by deliberately refraining from taking those steps

  necessary to discover whether those statements were false and misleading.

         417.    As a result of the dissemination of the materially false and misleading information

  and failure to disclose material facts, as set forth above, the market prices of McGraw-Hill’s

  securities were artificially inflated during the Class Period. In ignorance of the fact that market

  prices of McGraw-Hill’s publicly-traded securities were artificially inflated, and relying directly or

  indirectly on the false and misleading statements made by Defendants, or upon the integrity of the

  market in which the securities trade, and/or on the absence of material adverse information that was

  known to or disregarded with severe recklessness by Defendants but not disclosed in public

  statements by Defendants during the Class Period, Plaintiff and the other members of the Class

  acquired McGraw-Hill securities during the Class Period at artificially high prices and were


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  damaged thereby, as evidenced by, among others, the stock price declines on or about July 10-12,

  2007, August 16, 2007, February 8, 2008, and March 11, 2008, when the artificial inflation was

  released from McGraw-Hill stock.

         418.    At the time of said misrepresentations and omissions, Plaintiff and other members of

  the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and the other

  members of the Class and the marketplace known of the true performance, future prospects and

  intrinsic value of McGraw-Hill, which were not disclosed by Defendants, Plaintiff and other

  members of the Class would not have purchased or otherwise acquired their McGraw-Hill publicly-

  traded securities during the Class Period, or they would not have done so at the artificially inflated

  prices which they paid.

         419.    By virtue of the foregoing, McGraw-Hill and the Individual Defendants have each

  violated Section 10(b) of the Exchange Act, and Rule 10b-5 promulgated thereunder.

         420.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

  other members of the Class suffered damages in connection with their respective purchases and sales

  of the Company’s securities during the Class Period, as evidenced by, among others, the stock price

  declines on or about July 10-12, 2007, August 16, 2007, February 8, 2008, and March 11, 2008,

  when the artificial inflation was released from McGraw-Hill stock.

  XVI. COUNT II: FOR VIOLATIONS OF SECTION 20(a) OF THE
       EXCHANGE ACT AGAINST THE INDIVIDUAL DEFENDANTS

         421.    Plaintiff repeats and realleges the allegations set forth above as though fully set forth

  herein. This claim is asserted against the Individual Defendants.

         422.    Each of the Individual Defendants acted as a controlling person of McGraw-Hill

  within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-

  level positions with the Company, participation in and/or awareness of the Company’s operations



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  and/or intimate knowledge of the Company’s fraudulent marketing and promotions and actual

  performance, each of the Individual Defendants had the power to influence and control and did

  influence and control, directly or indirectly, the decision-making of the Company, including the

  content and dissemination of the various statements which Plaintiff contends are false and

  misleading. Each of the Individual Defendants was provided with or had unlimited access to copies

  of the Company’s reports, press releases, public filings and other statements alleged by Plaintiff to

  be misleading prior to and/or shortly after these statements were issued and had the ability to prevent

  the issuance of the statements or cause the statements to be corrected.

         423.    In addition, each of the Individual Defendants had direct involvement in the day-to-

  day operations of the Company and, therefore, is presumed to have had the power to control or

  influence the particular transactions giving rise to the securities violations alleged herein, and

  exercised the same.

         424.    As set forth above, McGraw-Hill and the Individual Defendants each violated Section

  10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

  controlling positions, each of the Individual Defendants is liable pursuant to Section 20(a) of the

  Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

  members of the Class suffered damages in connection with their purchases of the Company’s

  securities during the Class Period, as evidenced by, among others, the stock price declines on or

  about July 10-12, 2007, August 16, 2007, February 8, 2008, and March 11, 2008, when the artificial

  inflation was released from McGraw-Hill stock.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                 (a)     Determining that this action is a proper class action and designating Lead

  Plaintiff as a class representative under Rule 23 of the Federal Rules of Civil Procedure;

                 (b)     Awarding compensatory damages in favor of Plaintiff and the other Class


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  members against all Defendants, jointly and severally, for all damages sustained as a result of

  Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

                 (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred

  in this action, including counsel fees and expert fees; and

                 (d)     Such other and further relief as the Court may deem just and proper.

  XVII. JURY TRIAL DEMANDED

         425.    Plaintiff hereby demands a trial by jury.




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